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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                 Chapter 15

    PB LIFE AND ANNUITY CO., LTD.,                         Case No. 20-12791 (LGB)
    et al.,1
                                                           (Jointly Administered)
             Debtors in Foreign Proceedings.


    JOHN JOHNSTON and EDWARD                               Adv. Proc. No. 23-01000 (LGB)
    WILLMOTT, as Joint Provisional
    Liquidators on behalf of PB LIFE AND
    ANNUITY CO., LTD., NORTHSTAR
    FINANCIAL SERVICES (BERMUDA)
    LTD., OMNIA LTD., and PB
    INVESTMENT HOLDINGS LTD., and
    PB LIFE AND ANNUITY CO., LTD.,
    NORTHSTAR FINANCIAL SERVICES
    (BERMUDA) LTD., OMNIA LTD., and
    PB INVESTMENT HOLDINGS LTD.,

                    Plaintiffs,
    v.

    GREGREY EVAN LINDBERG A/K/A
    GREG EVAN LINDBERG,
    CHRISTA M. MILLER,
    CHRISTOPHER E. HERWIG,
    DEVIN E. SOLOW,
    ERIC D. BOSTIC,
    BANKERS LIFE INSURANCE
    COMPANY,
    COLORADO BANKERS LIFE
    INSURANCE COMPANY,
    SOUTHLAND NATIONAL
    INSURANCE CORPORATION,

1
  PB Life and Annuity Co., Ltd., Northstar Financial Services (Bermuda) Ltd., Omnia Ltd. and PB Investment
Holdings Ltd., foreign Debtors, are Bermuda limited companies which each have a registered address in Bermuda c/o
Deloitte Financial Advisory Ltd. Bermuda, Corner House, 20 Parliament Street, Hamilton HM 12, Bermuda, and are
Jointly Administered for procedural purposes, by Order of this Court entered on April 2, 2021, Main Case, ECF No.
42.
                                                       1

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 SOUTHLAND NATIONAL
 REINSURANCE CORPORATION,
 286 SPRING PH HOLDINGS CORP.,
 2B4A SÀRL,
 2MEDIA GMBH,
 3BL HOLDINGS, LLC,
 4839 N. ELSTON, LLC,
 5 STAR TECHNICAL SERVICES, LLC,
 A.C.J COMPUTER SERVICES
 LIMITED,
 A/R ALLEGIANCE GROUP, LLC,
 AAH LOAN-BACKED FUNDING, LLC,
 AAM HOLDINGS I, LLC,
 AAM HOLDINGS, LLC,
 AAPC HOLDINGS, LLC,
 AAPC INDIA PRIVATE, LTD,
 AAPC INVESTMENTS, LLC,
 AAPC VOTING TRUST,
 AAPC, LLC,
 ACADEMY FINANCIAL ASSETS, LLC,
 ACADEMY FINANCIAL HOLDINGS,
 LLC,
 ACQUIRED DEVELOPMENT, LLC,
 ADDICTION RECOVERY HELPLINE
 LLC,
 ADVANCED BENEFIT CONNECTIONS
 LLC,
 ADVANTAGE CAPITAL
 INVESTMENTS LLC,
 ADVISORY CONSULTANTS, LLC,
 AFFGLO HOLDINGS, INC.,
 AFP, LLC,
 AGENCE DE RECOUVREMENT
 GLOBAL, INC.,
 AGERA ENERGY, LLC,
 AGERA HOLDINGS, LLC,
 AGH PARENT, LLC,
 AGT MEDIA LTD.,
 AGX HOLDINGS, LLC,
 AHOSKIE, LLC,
 ALCOHOL & DATA HOLDINGS, LLC,
 ALLIANCE MEDIA GROUP LLC,
 ALPHARETTA, LLC,
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 ALPINE CAPITAL, LLC,
 ALSTEAD, LLC,
 ALTA BILLING HOLDINGS, LLC,
 ALTA BILLING, LLC,
 AMERICA FREE PRESS, LLC,
 AMERICAN ACADEMY HOLDINGS
 LTD.,
 AMERICAN ACADEMY HOLDINGS,
 LLC (D/B/A AAPC),
 AMERICAN ACADEMY OF
 PROFESSIONAL CODERS CHAPTER
 ASSOCIATION,
 AMERICAN FUNERAL AND
 CREMATION PLANS, LLC,
 AMERICAN HEALTHCARE
 ALLIANCE LIMITED,
 AMERICAN YACHT CHARTERS, LLC,
 AMHERST, LLC,
 ANACONDA, LLC,
 ANALYTICAL MEDICAL INSIGHT
 LIMITED,
 ANDOVER ASSET MANAGEMENT,
 LLC,
 APAC HOLDCO, LLC,
 APACHE JUNCTION, LLC,
 APEX INTERNATIONAL, LLC,
 APIO LOCAL, LLC,
 APP THIS, INC.,
 AQUA BLUE HOLDINGS, LLC,
 AR MANAGEMENT (ARREVIO)
 TRUST,
 AR MANAGEMENT (GGH) TRUST,
 AR PURCHASING SOLUTIONS 2, LLC,
 AR PURCHASING SOLUTIONS, LLC,
 ARA GROUP HOLDINGS, LLC,
 ARCANE TINMEN APS T/A AT
 PRIVATE LABELS APS,
 ARREVIO HOLDINGS, LLC,
 ARREVIO, LLC,
 ASCENDENT D4K HOLDINGS, LLC,
 ASCENDENT DENTAL GROUP
 (FIELET & LEE), P.C.,

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 ASCENDENT DENTAL
 MANAGEMENT D4K, LLC,
 ASHEBORO, LLC,
 ASIM CE, LLC,
 ASIM HOLDINGS, LLC,
 ASIM, LLC,
 ASL HOLDINGS, LLC,
 ASL NEW HOLDINGS, LLC,
 ASPIDA FINANCIAL SERVICES, LLC,
 ASPIDA HOLDCO, LLC
 ASSET MANAGEMENT, INC.,
 ASSISTIVE PARTNER INVESTMENTS
 LIMITED,
 AT DENMARK INVESTMENTS APS,
 ATHENS, LLC,
 ATKINSON, LLC,
 ATLANTA BIDCO LIMITED,
 ATLANTA MIDCO LIMITED,
 ATLANTA TOPCO LIMITED,
 ATLAS GLOBAL HOLDINGS, LLC,
 ATLAS GLOBAL, LLC,
 ATLAS GROUP, LLC,
 AUDIOEDUCATOR, LLC,
 AUDIOSOLUTIONZ, LLC,
 AUDIT SERVICES GROUP, LLC,
 AUGUSTA ASSET MANAGEMENT,
 LLC,
 AUGUSTA, LLC,
 AUTOMOTIVE FLEET INVESTMENTS
 LIMITED,
 AUTONOMY HEALTHCARE
 MANAGEMENT, LLC,
 AUTONOMY HOLDINGS, LLC,
 AUTONOMY INVESTMENTS, LLC,
 AXAR CAPITAL MANAGEMENT L.P.
 AYC CREW, LLC,
 AYC HOLDINGS LIMITED,
 AYC HOLDINGS, LLC,
 AYC HOLDINGS, LTD.,
 BALDWIN ASSET MANAGEMENT,
 LLC,
 BAM HOLDINGS I, LLC,

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 BANKERS INSURANCE HOLDINGS
 S.A.,
 BANKERS REINSURANCE COMPANY
 LTD.,
 BARNSTEAD, LLC,
 BARRINGTON, LLC,
 BBLN-AGERA CORP,
 BCC HOLDINGS, LLC,
 BCC JUNIOR LOAN-BACKED
 FUNDING, LLC F/K/A BCC JUNIOR
 LOAN BACK SECURITY FUNDING,
 LLC,
 BCC RESEARCH, LLC F/K/A
 BANKERS MINUTE, LLC,
 BCC SENIOR LOAN-BACKED
 FUNDING, LLC F/K/A BCC SENIOR
 LOAN BACK SECURITY FUNDING,
 LLC,
 BEAUFORT HOLDING, S.A.,
 BECKETT AUCTION HOLDINGS, LLC,
 BECKETT AUCTIONS, LLC,
 BECKETT AUTHENTICATION
 SERVICES, LLC,
 BECKETT BUSINESS SOLUTIONS,
 LLC,
 BECKETT COIN & ROCK, LLC,
 BECKETT COLLECTIBLES
 HOLDINGS, LLC,
 BECKETT COLLECTIBLES, LLC,
 BECKETT CONFERENCES, LLC,
 BECKETT MEDIA, LLC,
 BEGONIA EIGHT, LLC,
 BENSON, LLC,
 BERKELEY LAKE, LLC,
 BERLIN, LLC,
 BHLN-286 SPRING CORP.,
 BHLN-AGERA CORP.,
 BIDWORLD PRIVATE LIMITED,
 BISBEE, LLC,
 BKT LOAN-BACKED FUNDING, LLC
 F/K/A BKT LOAN BACK SECURITY
 FUNDING, LLC,
 BKX HOLDINGS, LLC,
                                            5

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 BLACKFIN FINANZEN SAS,
 BLACK ROSE, LLC,
 BLH CAPITAL, LLC,
 BLI HOLDINGS, INC.,
 BLUE DAFFODIL, LLC,
 BLUE IRIS, LLC,
 BLUE MARIGOLD, LLC,
 BLUE SKIES ADDICTION CENTRE
 LTD.,
 BLUE VIOLET, LLC,
 BLUESPIER INTERNATIONAL
 LIMITED,
 BMX BERMUDA HOLDINGS, LTD.,
 BMX HOLDINGS, LLC,
 BOLN-286 SPRING CORP.,
 BOLN-AGERA CORP.,
 BOSTON LASER EYE CARE
 MANAGEMENT, LLC,
 BOSTON LASER HOLDINGS, LLC,
 BOSTON LASER-EYE & LASIK
 SPECIALISTS HOLDINGS, LLC,
 BOW, LLC,
 BRC CAPITAL, LLC,
 BRC HOLDING, LLC,
 BRC HOLDINGS, INC.,
 BRCB (BARBADOS) CAPITAL, LTD.,
 BRCB (BARBADOS) HOLDINGS, LTD.,
 BRITISH ORIENT INFOTEL PRIVATE
 LIMITED,
 BULLHEAD CITY, LLC,
 CAF HOLDINGS, LLC,
 CAF II HOLDINGS, LLC,
 CAF III HOLDINGS, LLC,
 CAF IV HOLDINGS, LLC,
 CAF V HOLDINGS, LLC,
 CAM HOLDINGS I, LLC,
 CAMP VERDE, LLC,
 CANAAN, LLC,
 CANDESCENT EYE HEALTH
 SURGICENTER, LLC,
 CANDESCENT EYE SURGICENTER,
 LLC,
 CANDOR GLOBAL SERVICES, LLC,
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 CANTA HEALTH, LLC,
 CAPITAL ASSET FUND I, LLC,
 CAPITAL ASSET FUND II, LLC,
 CAPITAL ASSET FUND III, LLC,
 CAPITAL ASSET FUND IV, LLC,
 CAPITAL ASSET FUND V, LLC,
 CAPITAL ASSET MANAGEMENT II,
 LLC,
 CAPITAL ASSET MANAGEMENT III,
 LLC,
 CAPITAL LENDING PARTNERS, INC.,
 CAPLOC HOLDINGS, LLC,
 CAPLOC, LLC,
 CAPSTONE PRENEED FUNERAL AND
 BURIAL ASSOCIATION,
 CARE REFERRALS LIMITED,
 CAREER HEALTH, LLC,
 CARNATION THREE, LLC,
 CAROLINA EYE CENTER, LLC N/K/A
 CAROLINA EYE CENTER, P.A.,
 CAROLINA LONGEVITY INSTITUTE,
 LLC N/K/A THE DAILY NEWS
 CORPORATION, LLC,
 CARTERSVILLE, LLC,
 CASAR, LLC,
 CASTLE & COOKE MORTGAGE LLC,
 CATO HOLDINGS, INC.,
 CAVE CREEK, LLC,
 CBCS HOLDINGS, LLC,
 CBCS OPERATIONS, LLC,
 CBS GROUP HOLDINGS, LLC,
 CBS GROUP SERVICES, LLC,
 CBV COLLECTION SERVICES LTD.,
 CBV COLLECTIONS LIMITED,
 CC MORTGAGE TRUST,
 CCM HOLDINGS, LLC,
 CCM INVESTMENTS, LLC,
 CEIC CAPITAL, LLC,
 CEIC HOLDINGS, INC.,
 CELANDINE EIGHT, LLC,
 CENTURY VENTURE GLOBAL, LLC,
 CENTURY VISION GLOBAL, LLC,

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 CERTIFICATION FOR LONG-TERM
 CARE, LLC,
 CERTITREK GROUP, LLC,
 CFH HOLDINGS, LLC,
 CHATSWORTH ASSET
 MANAGEMENT, LLC,
 CHRYSANTHEMUM TWO, LLC,
 CLAIMSURE SLÁINTE (IRELAND)
 LIMITED,
 CLANWILLIAM AUSTRALIA
 INVESTMENTS PTY LIMITED,
 CLANWILLIAM GROUP,
 CLANWILLIAM HEADQUARTERS
 LIMITED,
 CLANWILLIAM HEALTH (DGL)
 LIMITED,
 CLANWILLIAM HEALTH (RX WEB)
 LIMITED,
 CLANWILLIAM HEALTH (SOCRATES)
 LIMITED,
 CLANWILLIAM HEALTH LIMITED,
 CLANWILLIAM INVESTMENTS (UK)
 LIMITED,
 CLANWILLIAM INVESTMENTS
 IRELAND LIMITED,
 CLANWILLIAM NZ LIMITED,
 CLANWILLIAM SOFTWARE LIMITED,
 CLANWILLIAM VENTURES LIMITED,
 CLAREMONT, LLC,
 CLARIS VISION HOLDINGS, LLC,
 CLARIS VISION LLC,
 CLAXTON, LLC,
 CLAYTON, LLC,
 CLIENT SERVICES CSICR, SRL A/K/A
 CLIENT SERVICES CSICR SR LTDA,
 CLIENT SERVICES HOLDINGS, LLC,
 CLIENT SERVICES, INC.,
 CLOVER CONCEPTS, LLC,
 CLTC HOLDINGS, LLC,
 CLTC JUNIOR LOAN-BACKED
 FUNDING, LLC F/K/A CLTC JUNIOR
 LOAN BACK SECURITY FUNDING,
 LLC,
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 CLTC SENIOR LOAN-BACKED
 FUNDING, LLC F/K/A CLTC SENIOR
 LOAN BACK SECURITY FUNDING,
 LLC,
 CMC HOLDING COMPANY, LLC,
 CMC LOAN-BACKED FUNDING, LLC
 F/K/A CMC LOAN BACK SECURITY
 FUNDING, LLC,
 COBRA, LLC,
 CODING INSTITUTE, LLC,
 COLLECTION MANAGEMENT
 COMPANY,
 COLLECTIONS MANAGEMENT
 HOLDINGS, LLC,
 COLUMBUS, LLC,
 COMPLIANCE SERVICES LTD.,
 COMPLIANCE SERVICES, LLC,
 COMPLYSMART HOLDINGS, LLC,
 COMPLYSMART, LLC,
 CONCEPT CREATIONS CORP.,
 CONNECT2 CME LIMITED N/K/A
 ALCHEMIE MEDICAL EDUCATION
 LIMITED,
 CONNECT2 MEDICAL
 COMMUNICATIONS LIMITED,
 CONSERVATRIX LEVEN, NV,
 CONWAY, LLC,
 COWPER, LLC,
 CREATIVE COLLECTIBLE COMPANY,
 LLC,
 CRESTON, LLC,
 CRI HOLDINGS, LLC,
 CSI INTERCO, LLC,
 CV EQUIPMENT LEASING, LLC,
 CV HOLDINGS, LLC,
 CV INVESTMENTS, LLC,
 CVE HOLDINGS, LLC,
 CWNP, LLC,
 DAFFODIL SIX, LLC,
 DAHLIA TEN, LLC,
 DAISY SEVEN, LLC,
 DAM HOLDINGS I, LLC,

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 DAMASCUS ASSET MANAGEMENT,
 LLC,
 DAMOCO BIDCO LIMITED (UK),
 DAMOCO HOLDCO LIMITED (UK),
 DAMOCO MIDCO LIMITED (UK),
 DAMOVA POLSKA SP. ZO.O,
 DAMOVO BELGIUM NV/SA,
 DAMOVO COSTA RICA SRL,
 DAMOVO DEUTSCHLAND GMBH &
 CO. KG,
 DAMOVO DEUTSCHLAND TOPCO
 GMBH,
 DAMOVO DEUTSCHLAND
 VERWALTUNGS GMBH,
 DAMOVO GLOBAL SERVICES (UK)
 LIMITED,
 DAMOVO HOLDINGS
 DEUTSCHLAND GMBH,
 DAMOVO IRELAND LIMITED,
 DAMOVO LTD (ATLANTA TOPCO
 LIMITED),
 DAMOVO LUXEMBOURG S.A.R.L.,
 DAMOVO ÖSTERREICH GMBH,
 DAMOVO SCHWEIZ AG,
 DAMOVO SVERIGE.AB,
 DAMOVO USA, INC.,
 DANIELSVILLE, LLC,
 DEERING, LLC,
 DELMAR CENTER HOLDINGS, LLC,
 DELMAR SURGICAL CENTER, LLC,
 DEMAND SIDE MEDIA, LTD.,
 DENTAL MANAGEMENT HOLDINGS,
 LLC,
 DENTAL MANAGEMENT
 OPERATIONS, LLC,
 DERRY, LLC,
 DGX HOLDINGS, LLC,
 DICTATE IT LIMITED,
 DJRTC, LLC,
 DREAM MARKETS, INC.,
 DRUMMOND GROUP, LLC,
 DSE HOLDINGS, LLC,
 DTH HOLDINGS, LTD,
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 DUNBARTON, LLC,
 DUNHILL HOLDINGS, LLC,
 DUNSTANS PUBLISHING LIMITED,
 DURHAM, LLC,
 EAM HOLDINGS I, LLC,
 EAST HILL HOLDINGS, LLC,
 EASTERN ENTERPRISES, LLC,
 EATONTON, LLC,
 ECL GROUP, LLC,
 ECL HOLDINGS, LLC,
 ECLL PRIVATE LTD,
 EDWARDS MILL ASSET
 MANAGEMENT, LLC,
 EFFINGHAM, LLC,
 E-FINITY LEADS LTD. N/K/A CANDID
 INSURANCE SERVICES LTD,
 EG MEDIA HOLDINGS, LLC,
 EG MEDIA INVESTMENTS, LLC,
 EGX HOLDINGS, LLC,
 EIFFEL HOLDINGS, LLC,
 ELBERTON, LLC,
 ELEMENTS COMMUNICATIONS
 LIMITED,
 ELEVATE HEALTHCARE, INC.,
 ELEVATE PORTFOLIO, LLC,
 ELI ARREVIO LIMITED N/K/A
 GLOBAL GROWTH ARREVIO
 PRIVATE LIMITED,
 ELI BPO INDIA PRIVATE LTD,
 ELI BUSINESS SOLUTIONS PRIVATE
 LTD,
 ELI DENMARK INVESTMENTS, LLC,
 ELI DEUTSCHLAND GMBH,
 ELI EQUITY, LLC,
 ELI GERMANY HOLDINGS, LLC,
 ELI GLOBAL ASIA PACIFIC LIMITED,
 ELI GLOBAL PHILIPPINES
 RESOURCES OPERATIONS CENTER,
 INC.,
 ELI GLOBAL, LLC,
 ELI HEALTH SOLUTIONS PVT. LTD.,
 ELI KNOWLEDGE SERVICES (INDIA)
 PRIVATE LIMITED,
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 ELI NEW MEDIA, LLC,
 ELI PUBLICATIONS, INC.,
 ELI RESEARCH INDIA PRIVATE
 LIMITED,
 ELI RESEARCH, LLC,
 ELI REVENUE CYCLE SOLUTIONS
 PRIVATE LIMITED,
 ELI SHARED SERVICES PRIVATE
 LIMITED,
 ELI VENTURES, LLC,
 ELLAVILLE, LLC,
 ELP HOLDINGS, LLC,
 ELT GROUPE,
 ENG HOLDINGS, LLC,
 ENGAGED MEDIA HOLDINGS, LLC,
 ENGAGED MEDIA, LLC,
 ENGAGEMENT GROUP, LLC,
 ENGLERT HOLDINGS, LLC,
 ENTERPRISES SERVICES, LLC,
 ENTRUST GLOBAL GROUP, LLC,
 ENX, LLC,
 EPHESUS ASSET MANAGEMENT,
 LLC,
 EPIC CARE HOME TECHNOLOGIES
 LIMITED,
 EPIC SOLUTIONS LIMITED,
 EPPING, LLC,
 ERADIMAGING, LLC,
 ERIE PROPERTIES, LLC,
 ERX HOLDINGS, LLC,
 EYE & LASIK EYE CARE
 MANAGEMENT, LLC,
 EYE & LASIK HOLDINGS, LLC,
 EYE & LASIK OPTICAL, LLC,
 EYE CARE LEADERS HOLDINGS,
 LLC,
 EYE CARE LEADERS PORTFOLIO
 HOLDINGS, LLC,
 EYE REACH PATIENTS, LLC,
 F1RSTMARK, LLC,
 FAFNIR DISTRIBUTION APS,
 FAISON, LLC,
 FARGO, LLC,
                                            12

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 FARMINGTON, LLC,
 FARRINGTON MILL HOLDINGS, LLC,
 FAYETTEVILLE, LLC,
 FIA HOLDINGS, LLC,
 FIASCO FINE WINE, LLC,
 FINANCIAL INSTITUTE ADVISORS,
 LLC,
 FINANZEN FRANCE SAS,
 FINANZEN HOLDINGS, LLC,
 FINANZEN.DE MAKLERSERVICE
 GMBH,
 FINANZEN.DE
 VERMITTLUNGSGESELLSCAFT TOR
 VERBRAUCHERVERTR,
 FIRST INTERNATIONAL FINANCIAL,
 INC.,
 FLAGSHIP HOLDINGS, LLC,
 FLEET ASSIST INTERCO LIMITED,
 FLEET ASSIST LIMITED,
 FLEMINGTON, LLC,
 FLOVILLA, LLC,
 FLOWERY BRANCH, LLC,
 FMC MORTGAGE CORPORATION,
 FIRSTMARK, LLC,
 FMX HOLDINGS, LLC,
 FOLKSTON, LLC,
 FOREST PARK ASSET
 MANAGEMENT, LLC,
 FORSYTH, LLC,
 FORTREX HOLDINGS, LLC,
 FORTREX TECHNOLOGIES
 HOLDINGS, LLC,
 FORTREX, LLC,
 FOXFORD INVESTMENTS LIMITED,
 FPAM HOLDINGS I, LLC,
 FRANCONIA, LLC,
 FS WINDUP, LLC,
 FTGU HOLDINGS, LLC,
 FTGU MEDICAL BILLING, LLC,
 FUNSTON, LLC,
 FUTURESOURCE CONSULTING
 LIMITED,

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 FUTURESOURCE HOLDINGS
 LIMITED,
 GAM HOLDINGS I, LLC,
 GAM HOLDINGS, LLC,
 GAMESPRO GLOBAL GROUP APS,
 GARDENIA ONE, LLC,
 GARFIELD, LLC,
 GB CAPITAL, LLC,
 GB LIFE LUXEMBOURG S.A.,
 GB UK INVESTMENTS, LLC,
 GB VENTURE FUND, LLC,
 GBC ADVISORS, LLC,
 GBC HOLDINGS, LLC,
 GBI GROUP, LLC,
 GBIG BUSINESS SOLUTIONS
 PRIVATE LIMITED,
 GBIG CAPITAL, LLC,
 GBIG HOLDINGS, LLC (AKA GBIG
 HOLDINGS & REINSURANCE
 COMPANY INC.),
 GBIG PORTUGAL, S.A.,
 GBVF HOLDINGS, LLC,
 GC HOLDINGS, LLC,
 GCC HOLDINGS US, LLC,
 GCC HOLDINGS, LLC,
 GCC INTERCO, LLC,
 GERANIUM TWO, LLC,
 GHTG INVESTMENT, LLC,
 GILFORD ASSET MANAGEMENT,
 LLC,
 GILFORD, LLC,
 GILLSVILLE, LLC,
 GIX HOLDINGS, LLC,
 GLOBAL A&D HOLDINGS, LLC,
 GLOBAL BANKERS INSURANCE
 GROUP, LLC,
 GLOBAL CREDIT & COLLECTION
 (INDIANA) CORPORATION,
 GLOBAL CREDIT & COLLECTION
 CORPORATION,
 GLOBAL CREDIT AND
 COLLECTIONS, INC.,
 GLOBAL DATA INSIGHTS LIMITED,
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 GLOBAL ETC, LLC,
 GLOBAL GROWTH, LLC,
 GLOBAL GROWTH HOLDINGS, INC.
 F/K/A ACADEMY ASSOCIATION,
 INC.,
 GLOBAL HEALTH TECHNOLOGY
 GROUP, LLC,
 GLOBAL MORTGAGE CAPITAL
 HOLDINGS, LLC,
 GLOBAL MORTGAGE CAPITAL, INC.,
 GLOBAL OPERATIONS SERVICES,
 LLC,
 GLOBAL TIC CE, LLC,
 GLOBAL VISION GROWTH, LLC,
 GMK PEPPER HOLDINGS LIMITED,
 GOFFSTOWN, LLC,
 GOLDEN ENERGY GROUP, LLC,
 GOPRIME MORTGAGE, INC.,
 GOSHEN, LLC,
 GP MANAGEMENT, LLC,
 GRANDE LLC,
 GREEN LILAC, LLC,
 GREENFIELD CAPITAL, LLC,
 GREENVILLE, LLC,
 GSRE 27, LLC,
 GSRE 29, LLC,
 GTIC HOLDINGS, LLC,
 GTIC&A, LLC,
 HA WIND UP 1, LLC F/K/A HANSEN
 AEROSPACE HOLDINGS, LLC,
 HAM HOLDINGS I, LLC,
 HAMPSTEAD, LLC,
 HAMPTON ASSET MANAGEMENT,
 LLC,
 HANSEN AEROSPACE HOLDINGS,
 LLC N/K/A HA WINDUP 1, LLC,
 HANSEN AEROSPACE, LLC,
 HARVARD COLLECT, LLC,
 HARVARD COLLECTION SERVICES,
 LLC,
 HEALTH AUDIO, LLC,
 HEALTH CARE CLOUD SERVICES,
 LLC,
                                            15

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 HEALTH IRELAND PARTNERS
 LIMITED,
 HEALTH THROUGH INFORMATION,
 HEALTHCARE JOBS, LLC,
 HEALTHICITY, LLC,
 HEALTHLINK GROUP INVESTMENTS
 LIMITED,
 HEALTHLINK GROUP LIMITED,
 HEALTHLINK GROUP PTY LIMITED,
 HEALTHLINK HOLDINGS, LLC,
 HEALTHLINK INVESTMENTS, LLC,
 HEALTHLINK RESEARCH LIMITED,
 HELIX HEALTH GROUP LIMITED,
 HELIX HEALTH SOFTWARE
 LIMITED,
 HEMOPHILIA PREFERRED CARE OF
 MEMPHIS, INC.,
 HEMOPHILIA PREFERRED CARE OF
 MISSISSIPPI, INC.,
 HEMOPHILIA PREFERRED CARE OF
 OKLAHOMA, INC.,
 HENNIKER, LLC,
 HH SPIRAL HOLDINGS LIMITED,
 HIBISCUS THREE, LLC,
 HOLT, LLC,
 HOME MEDICAL EQUIPMENT
 SPECIALISTS, LLC (D/B/A HME
 SPECIALISTS LLC),
 HOOKSETT, LLC,
 HOPKINTON, LLC,
 HORIZON HOLDINGS I, LLC,
 HPC BIOLOGICALS, INC.,
 HPC SPECIALTY RX OF KANSAS,
 INC.,
 HPC SPECIALTY RX REED, INC.,
 HPC SPECIALTY RX WEST VIRGINIA,
 INC.,
 HPC, LLC,
 HPCNC, INC.,
 HPCSP HOLDINGS, LLC,
 HPCSP INVESTMENTS, LLC,
 HRWEB HOLDINGS, LLC,
 HRWEB SOFTWARE, LLC,
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 HYBRID TREATMENT SOLUTIONS,
 LLC,
 HYACINTH FOUR, LLC,
 HYDRANGEA FOUR, LLC,
 I SBA-INTERNATIONAL SOCIETY OF
 BUSINESS APPRAISERS, LLC,
 IBC MANAGEMENT, LLC,
 ICAM HOLDINGS I, LLC,
 IFA SYSTEMS AG,
 IMEDICWARE, INC.,
 IMW EMR, LLC,
 IMW HOLDINGS, LLC,
 IN THE ARENA, LLC,
 INDEPENDENT CONTRACTOR
 SERVICES, LLC,
 INDEPENDENT CONTRACTOR, LLC,
 INFORMATICA INVESTMENTS
 LIMITED,
 INFORMATICA SYSTEMS LIMITED,
 INHEALTHCARE, LLC,
 INKOP, LLC,
 INSIGHT SOFTWARE, LLC,
 INTEGRITY EMR HOLDINGS, LLC,
 INTEGRITY EMR, LLC,
 INTRALAN (UK) LIMITED,
 INTRALAN GROUP LIMITED,
 INTRALAN INVESTMENTS LIMITED,
 INTRALAN TELECOM LIMITED,
 IO PRACTICEWARE, INC.,
 IOPW HOLDINGS, LLC,
 IREDELL, LLC,
 IRIS FOUR, LLC,
 IRON CITY ASSET MANAGEMENT,
 LLC,
 ISBA-INTERNATIONAL SOCIETY OF
 BUSINESS APPRAISERS, LLC,
 ITECH FUNDING, LLC,
 JACKSON ASSET MANAGEMENT,
 LLC,
 JACKSONVILLE, LLC,
 JAFFREY, LLC,
 JAM HOLDINGS I, LLC,
 JASMINE FIVE, LLC,
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 K2B SÀRL,
 KENLY, LLC,
 KEYMED HOLDINGS, LLC,
 KEYMED, LLC,
 KITE ASSET MANAGEMENT, LLC,
 KITE HOLDINGS I, LLC,
 KONNECT NET HOLDINGS, LLC,
 KONNECT NET INVESTMENTS
 LIMITED,
 KONNECT NET LIMITED,
 LACONIA, LLC,
 LAM HOLDINGS I, LLC,
 LAM HOLDINGS, INC.,
 LARES HOLDINGS, LLC,
 LARES, LLC,
 LAVENDER SIX, LLC,
 LENS ON DEMAND, LLC,
 LIBERTY HOLDINGS LLC,
 LIBERTY HOUSE CLINIC LIMITED,
 LILAC SIX, LLC,
 LILLY ASSET MANAGEMENT, LLC,
 LILY TWO, LLC,
 LIMITLESS RESEARCH, INC.,
 LITTLETON, LLC,
 LMG HOLDINGS, LLC,
 LMG MANAGEMENT HOLDINGS,
 LLC,
 LMG MANAGEMENT, LLC,
 LONDONDERRY, LLC,
 LOTUS SEVEN, LLC,
 LOUDON, LLC,
 LOUISBURG, LLC,
 M INVESTMENTS, LLC,
 MACON, LLC,
 MADBURY, LLC,
 MAGNOLIA EIGHT, LLC,
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 CONSULTANCY LIMITED,
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 MASTER PROCURE, LLC,
 MAXWELL STANLEY CONSULTING
 INVESTMENTS LIMITED,
 MAXWELL STANLEY CONSULTING
 LIMITED F/K/A ONE STEP AHEAD
 CONSULTANCY LTD,
 MBS INVESTMENTS PTY. LTD. N/K/A
 CLANWILLIAM AUSTRALIA PTY
 LIMITED,
 MBW HOLDCO, LLC,
 MBW INTERCO, LLC,
 MCCARTHY, BURGESS & WOLFF,
 INC.,
 MCKINLEY VENTURES GROUP, LLC,
 MD OFFICE, LLC,
 MDO GROUP HOLDINGS, LLC,
 MDX, LLC,
 MED CLAIMS INTERNATIONAL, LLC,
 MEDATTEND, LLC N/K/A USA MASK
 COMPANY, LLC,
 MEDCLAIMS HOLDINGS, LLC,
 MEDFLOW HOLDINGS, LLC,
 MEDFLOW, INC.,
 MEDIA PRODUCT SERVICES, LLC,
 MEDICAL BUSINESS SYSTEMS PTY
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 MEDICOM MEDICAL COMPUTER
 SOLUTIONS LIMITED,
 MERCATO LEADMANAGEMENT
 INVESTMENTS HOLDINGS GMBH,
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 INC.,
 MRX HOLDINGS, LLC F/K/A MPLUS
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 MVE HOLDING, LLC N/K/A MNI
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 MY VISION EXPRESS, INC.,
 NAM HOLDINGS I, INC.,
 NASHUA, LLC,
 NATIONWIDE RECOVERY
 HOLDINGS, LLC,
 NATIONWIDE RECOVERY SYSTEMS,
 LTD.,
 NEBB HOLDINGS, LLC,
 NEBB INSTITUTE, LLC,
 NEC HOLDINGS, LLC,
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 NN LIFE LUXEMBOURG S.A.,
 NOM GB 2018 I, LLC,
 NON SPORT UPDATE HOLDINGS,
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 NORLINA, LLC F/K/A HIGHLIGHT,
 LLC,
 NORTHEAST INSURANCE
 HOLDINGS, INC.,
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 NOTOCHORD LIMITED,
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 NPC NATIONAL PHYSICS
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 NS BEAUFORT INVESTMENTS, LLC,
 NS EBR, LLP,
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 ORCHID FIVE, LLC,
 P A S HOLDING LIMITED,
 P WINDUP1 LIMITED,
 P WINDUP2 LIMITED,
 PAM HOLDINGS I, INC.,
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 PARADIGM PARK HOLDINGS, LLC,
 PARADISE ASSET MANAGEMENT,
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 PARALLEL CAPITAL ASSETS, LLC,
 PATENT REVIEW SCORE, INC. A/K/A
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 PATRIOT GROUP HOLDINGS, LLC,
 PAVONIA LIFE INSURANCE
 COMPANY OF MICHIGAN,
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 PMX, LLC,
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 POPPY NINE, LLC,
 PPF OFF 151 NORTH FRANKLIN
 STREET, LLC,
 PPH HOLDINGS, LLC,
 PRACTICE BUILDERS, LLC,
 PRAIRIE E&L HOLDINGS, LLC,
 PRAIRIE E&L MANAGEMENT, LLC,
 PREFERRED FINANCIAL
 CORPORATION, LLC,
 PRIME CASE FUNDING, LLC,
 PRIME MORTGAGE LENDING, INC.,
 PRIME TRUST,
 PROACTIVE SOFTWARE HOLDINGS,
 LLC,
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 PROEDTECH, LLC,
 PROFESSIONAL MEDICAL
 MANAGEMENT SERVICES LIMITED,
 PROLIMIATE SOLUTIONS HOLDINGS,
 LLC,
 PROLIMIATE SOLUTIONS, LLC,
 PROSPECT RIDGE ENERGY, LLC,
 PULSE IT COMMUNICATIONS PTY
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 RESOLUTE FREE PRESS, LLC,
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 ROCK HOLDINGS I, LLC F/K/A ROCK
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 SAF HOLDINGS I, LLC,
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 SAM HOLDINGS I, LLC,
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 SHOPPER LOCAL, LLC,
 SIC US HOLDINGS, LLC,
 SIRIUS CAPITAL HOLDINGS
 LIMITED,
 SKYWORLD CORPORATION,
 SN GROUP DEVELOPMENT, LLC,
 SN MALTA SERVICES LIMITED,
 SNA CAPITAL, LLC N/K/A GBIG
 CAPITAL, LLC,
 SNA FUNDING, LLC,
 SNH ACQUISITION, LLC,
 SOCRATES HEALTHCARE, INC.,
 SOMERSWORTH, LLC,
 SOUTH HILL HOLDINGS, LLC,
 SOUTHEAST INSURANCE CAPITAL,
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 STODDARD, LLC,
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 INCOME FUND LLC,
 STRATFORD HOLDCO, LLC N/K/A
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 LLC,
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 TAC HOME MORTGAGE, LLC,
 TAC INVESTMENTS, LLC,
 TALARIA GLOBAL HEALTH, LLC,
 TALENT ACQUISITION INNOVATION
 HOLDINGS, LLC,
 TALENT ACQUISITION INNOVATION,
 LLC,
 TARGETED METRICS, LLC,
 TCC JUNIOR LOAN-BACKED
 FUNDING, LLC,
 TCC SENIOR LOAN-BACKED
 FUNDING, LLC,
 TCI LOAN-BACKED FUNDING, LLC
 F/K/A TCI LOAN BACK SECURITY
 FUNDING, LLC,
 TECHDATE CORP.,
 TESLA MANAGEMENT, INC.,
 THE AMERICAN COUNCIL ON
 ENGLISH LANGUAGE PROGRAM
 CERTIFICATION, INC.,
 THE AMERICAN COUNCIL, INC.,
 THE CORPORATE RESPONSIBILITY
 BOARD, LLC,
 THE HOEHNE GROUP - SOFTWARE
 DIVISION, LLC F/K/A THE HOEHNE
 GROUP – SOFTWARE DIVISION, INC.,
 THE HOME MEDICAL EQUIPMENT
 TRUST,
 THE ONLINE REHAB LIMITED,
 THE RECOVERY HOUSE LIMITED,
 THE RIVER SOURCE SOLUTION
 HOLDINGS COMPANY, LLC,
 THE RIVER SOURCE SOLUTIONS,
 LLC,
 THE RIVER SOURCE TREATMENT
 CENTRE-CASA GRANDE, LLC,
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 TORNADO, LLC,
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 COLLECTION CORP,
 TRANSCONTINENTAL HOLDINGS,
 LLC,
 TRANSGLOBAL UK LIMITED,
 TREATMENT DIRECT LIMITED,
 TRIER HOLDING B.V.,
 TRITON FINANCIAL LIMITED,
 TUX HOLDINGS, LLC,
 TV FANFARE CANADA LTD / TV
 FANFARE CANADA LTÉE,
 TYBEE ISLAND ASSET
 MANAGEMENT, LLC F/K/A TYBEE
 ISLAND ASSET MANAGEMENT, INC.,
 UAM HOLDINGS I, INC.,
 UK ADDICTION TREATMENT GROUP
 LIMITED,
 UK ADDICTION TREATMENT
 LIMITED,
 UK ASSET FUND HOLDINGS, LLC,
 UK ATLANTA HOLDINGS, LLC,
 UK FINTECH HOLDINGS, LLC,
 UK AUTOMOTIVE HOLDINGS, LLC,
 UK INFORMATICA INVESTMENTS,
 LLC,
 UK INTRALAN INVESTMENTS, LLC,
 UK INVESTMENT HOLDINGS, LLC,
 UK MARVAL INVESTMENTS, LLC,
 UKAT HOLDINGS, LLC,
 UKAT INTERCO LIMITED,
 UKAT INVESTMENTS LIMITED,
 ULTIMATE ADVISORS, LLC,
 UNDERSTAND.COM, LLC,
 UNDERSTAND.COM HOLDING, LLC,
 UNIFY COMMUNICATIONS N.V.
 N/K/A DAMOVO TECHNOLOGY
 SERVICES NV/SA,
 UNIT 77, LLC,
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 VISION CARE ALLIANCE, LLC,
 VISION CARE SERVICES HOLDINGS,
 LLC,
 VISION CARE SERVICES, LLC,
 VISTA LIFE & CASUALTY
 REINSURANCE COMPANY,
 VOICE & DATA NETWORK AG,
 VR COLLECTIONS, LLC,
 VR ENTERPRISES, LLC,
 VRC HOLDINGS, LLC,
 WACO ASSET MANAGEMENT, INC.,
 WACO HOLDINGS I, INC.,
 WC HOLDINGS, LLC,
 WCS RESOURCES, LLC,
 WEARE, LLC,
 WEB COURSEWORKS, LLC,
 WESTERN BANCORP, INC.,
 WESTERNB HOLDINGS, LLC,
 WESTERNB INVESTMENTS, LLC,
 WHITAKER MILL, LLC F/K/A
 TRIVIAL, LLC,
 WHITE LILY, LLC,
 WILLIAM STREET ASSET
 MANAGEMENT LIMITED,
 WILLIAMSON, LLC,
 WILMINGTON HOLDINGS LIMITED,
 WINN OVER ENTERPRISES, LLC,
 WOLFEBORO, LLC,
 WPP CAPITAL, LLC,
 WPSC HOLDCO, LLC,
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 YARROW THREE, LLC,
 YELLOW CARNATION, LLC,
 YELLOW LOTUS, LLC,
 YELLOW MAGNOLIA, LLC,
 YELLOW SUNFLOWER, LLC,
 ZAM HOLDINGS I, INC.,
 ZAPIT MEDICAL PHYSICS, LLC,
 ZEN SERVICES, INC.,
 ZION ASSET MANAGEMENT, INC.,
 and JOHN DOE #1 THROUGH JOHN
 DOE #50, THE LAST FIFTY NAMES
 BEING FICTITIOUS AND UNKNOWN
 TO PLAINTIFFS; THE PERSONS OR
 PARTIES INTENDED BEING
 ASSIGNEES, SUCCESSORS, AND/OR
 TRANSFEREES

                    Defendants.




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                             RESTATED AMENDED COMPLAINT

       Plaintiffs John Johnston and Edward Willmott of Deloitte Financial Advisory Ltd.

Bermuda, in their capacities as the Joint Provisional Liquidators and authorized foreign

representatives (“JPLs”) for PB Life and Annuity Co., Ltd. (“PBLA”), Northstar Financial

Services (Bermuda) Ltd. (“Northstar”), Omnia Ltd. (“Omnia”) and PB Investment Holdings Ltd.

(“PBIHL,” together with PBLA, Northstar and Omnia, the “Debtors”), in liquidation proceedings

currently pending before the Supreme Court of Bermuda (the “Bermuda Court”), Companies

(Winding Up) Commercial Court, 2020: No. 306, 304 and 305, and 441 respectively (the

“Bermuda Proceedings”) as well as PBLA, Northstar, Omnia and PBIHL (the JPLs, PBLA,

Northstar, Omnia, and PBIHL, collectively the “Plaintiffs”) bring this Restated Amended

Complaint (“Amended Complaint”) and allege as follows:

                               PRELIMINARY STATEMENT

            1. The Debtors were subjected to two separate sets of misconduct orchestrated by

Global Growth Holdings, Inc. (d/b/a Global Growth), f/k/a Academy Association, Inc. (d/b/a Eli

Global) (“Global Growth”), Gregrey Evan Lindberg a/k/a Greg Evan Lindberg (“Lindberg”) and

his affiliates and co-conspirators, including Christopher E. Herwig (“Herwig”), Devin E. Solow

(“Solow”), Christa M. Miller (“Miller”), and Eric D. Bostic (“Bostic”) (collectively, the “Senior

Decision Makers,” and later, also “RICO Defendants,” with others).

            2. The Debtors were formed and existing in Bermuda under Bermudian law during

pertinent times material to this Amended Complaint. Soon after the creation of PBLA and PBIHL,

and the acquisition of Northstar and Omnia, discussed in greater detail infra, Lindberg and the

Senior Decision Makers, operating from the Global Growth headquarters in North Carolina,

divested the Debtors’ Bermudian resident executives and other high-level employees of any


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material or consequential strategic, operational or financial control and/or authority over the

Debtors.

                3. Substantially all the $500 million of Debtors’ liquid assets were taken from Debtors

by or at the instruction of Lindberg and the Senior Decision Makers. The substantial majority of

those instructions and decisions were made, communicated, memorialized, and acted upon and

effectuated from the Lindberg Defendants’ headquarters offices in North Carolina, Lindberg’s

residences and destinations for his business travel within the United States, and the residences and

destinations for business travel within the United States of the Senior Decision Makers.

                4. Lindberg, the Senior Decision Makers, and those acting at their instruction for the

Lindberg Defendants used Debtors’ and Lindberg-controlled counterparties’ bank accounts

maintained with United States financial institutions such as Wells Fargo and Wilmington Trust,

including multiple wire transfers across state lines and between the United States and Puerto Rico;

with proceeds maintained by Debtors in United States financial institutions and bank branches

from the Debtors’ insurance policyholders and financial products owners, a majority of whom

were United States citizens; and examples of the wrongs perpetrated and damages caused to each

Debtor by Lindberg, the Senior Decision Makers, and their affiliates within the United States, are

alleged in substantial detail in this Amended Complaint.

                5. The June 2023 United States Supreme Court decision in Yegiazaryan v. Smagin,2

clarified and authorized plaintiffs similarly situated to the Debtors to bring Racketeering

Influenced and Corrupt Organization Act (“RICO”) claims, which prior decisional authority had

made unavailable to them.




2
    599 U.S. __, 143 S. Ct. 1900 (2023).
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    I.       First Set of Improper Transactions – Malfeasance Claims
              6. Between 2017 and 2019, Lindberg engineered, and he and his co-conspirator Senior

Decision Makers implemented, a vast and intricate fraudulent scheme to drain over $500 million

of liquid assets from the Debtors (over $1 billion including the PBLA ULICO 2017 Reinsurance

Trust and Comfort Trust, hereinafter the “PBLA ULICO Trusts”) and caused these liquid assets to

be transferred to a convoluted and opaque network of hundreds of Lindberg affiliates (collectively,

“Lindberg Affiliates”).3

              7. These transfers were disguised as legitimate loans and equity investments, but in

fact most of them were sham transactions used by Lindberg and his co-conspirators to siphon over

$500 million of liquid assets directly from the Debtors for the benefit of Lindberg and the Lindberg

Affiliates. For instance, in late 2018, when Global Growth was facing regulatory pressure to make

a significant capital contribution to the North Carolina insurance companies that Lindberg

formerly controlled by year-end, the Senior Decision Makers caused Northstar to make various

“investments” in Lindberg Affiliates, so that the proceeds could be used to capitalize the NCIC.4

There was no independent basis for these so-called investments, which were clearly of no material

benefit to Northstar, and among other harms, drained it of the liquidity it required to satisfy

policyholder claims. Instead, in an attempt to salvage the equity he had in the NCIC, Lindberg

improperly diverted Northstar’s assets to capitalize the NCIC solely because Northstar still had

available liquid assets at that time.




3
  “Lindberg Affiliates” means all the entities named as defendants, excluding Lindberg, Miller, Herwig, Solow, Bostic
and the NCIC (defined below).
4
  The “NCIC” means and refers to Colorado Bankers Life Insurance Company (“CBL”), Bankers Life Insurance
Company (“BLIC”), Southland National Insurance Corporation (“SNIC”) and Southland National Reinsurance
Corporation (“SNRC”).
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            8. After depleting various sources of revenue for policyholder and financial product

owner redemptions and claims, Lindberg and his Senior Decision Makers would often loot the

Debtors’ bank accounts without regard to whether a particular payment or redemption or a series

of payments or redemptions was funded by cash or investment returns held as reserves tied to or

resulting from a policyholder’s or financial product owner’s (or insurer’s or issuer’s) business.

            9. In the simplest terms, Lindberg and his Senior Decision Makers directed and caused

insurance claims payments and financial products redemptions, particularly in and after August

2018 through the Debtors’ placement into provisional liquidation in Bermuda in September 2020,

from cash held by any Lindberg Affiliate with available cash. The Debtors, particularly Northstar

and PBLA, during this time repeatedly were used as cash cows and had their assets diverted and

raided by Lindberg and the Senior Decision Makers to address the obligations of Lindberg

Affiliates in the United States to policyholders and financial products owners in the United States

that had incurred obligations with Lindberg Affiliates other than the Debtors, and to acquire,

finance, and otherwise invest into and operate what constituted an ongoing racketeering enterprise

for the principal benefit of Lindberg, and lesser but no less wrongful personal benefit of the Senior

Decision Makers who conspired with and on behalf of Lindberg and his racketeering.

           10. Lindberg and the Senior Decision Makers understood clearly that any failure to

satisfy claims and surrenders presented clear enterprise risk that threatened regulatory intervention

and decisive reputational injury. Constant scrambles and fire drills to find and transfer cash among

entities to pay surrenders and claims – including with Northstar, Omnia, and PBIHL in 2018, 2019,

and 2020 – prove it, as set forth in more detail below.

           11. As explained further, infra, Lindberg has been indicted twice in the U.S. District

Court for the Western District of North Carolina for violating: 18 U.S.C. § 1349 [Conspiracy to


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Commit Honest Services Wire Fraud]; 18 U.S.C. § 666(a)(2) [Bribery Concerning Programs

Receiving Federal Funds]; 18 U.S.C. § 1001(a)(2) [False Statements]; 18 U.S.C. § 2 [Aiding and

Abetting]; 18 U.S.C. § 371 [Conspiracy]; 18 U.S.C. § 1343 [Wire Fraud]; 18 U.S.C. § 1033(a)

[False Insurance Business Statements Presented to Regulators]; 18 U.S.C. § 1033(c) [False Entries

about the Financial Condition or Solvency of an Insurance Business]; 18 U.S.C. § 1956(h) [Money

Laundering Conspiracy], and awaits retrial on the first indictment and a second trial on the newer

indictment, after the retrial. In addition:

                 a.     Herwig, Lindberg’s right-hand dealmaker was charged federally with

                        Conspiracy to Defraud the United States [18 U.S.C. § 371], including the

                        underlying crimes of wire fraud, money laundering, and investment advisor

                        fraud, among other crimes, by Bill of Information filed on December 19,

                        2022, all in connection with his work as a Senior Decision Maker for

                        Lindberg. Herwig pled guilty to that charge, including all underlying

                        crimes, on December 22, 2022.

                 b.     Solow, an individual Defendant, Senior Decision Maker, and the principal

                        internal architect and operating engineer of Lindberg’s enterprise, was

                        charged federally with Conspiracy to Defraud the United States [18 U.S.C.

                        § 371], including the underlying crimes of wire fraud, money laundering,

                        and investment advisor fraud, among other crimes, by Bill of Information

                        filed on December 19, 2022, all in connection with his work as a Senior

                        Decision Maker for Lindberg. The acts alleged involve many of the facts

                        alleged in this Amended Complaint, including the underlying conspiracy to

                        defraud insurance regulators and policyholders led by Herwig, Solow, and


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                        Lindberg. On January 20, 2023, Solow entered a Deferred Prosecution

                        Agreement, in which he admitted guilt to the federal government’s

                        conspiracy charge, including all underlying crimes, in exchange for

                        deferred prosecution and his promise of full cooperation with the federal

                        government’s ongoing investigation.

                 c.     Bostic, an individual Defendant and Senior Decision Maker, was Solow’s

                        right-hand executor of the transactions that advanced the racketeering

                        enterprise, and on information and belief has entered into an agreement to

                        cooperate with federal authorities in lieu of prosecution for crimes he

                        committed in his work, including in association with the racketeering

                        enterprise.

           12. In addition to the foregoing and the factual allegations of this Amended Complaint,

each of Lindberg, Herwig, Solow, and Bostic during pre-Amended Complaint Rule 2004

testimony given by each of them under oath repeatedly in response to all (in the case of Lindberg,

Solow and Bostic) or almost all (in the case of Herwig) declined to answer material questions

posed to them concerning their acts and omissions relating to the Debtors based on their Fifth

Amendment privilege against self-incrimination. Adverse inferences are appropriate, and the

Debtors repeatedly identify specific invocations in this Amended Complaint where one or more

adverse inferences is appropriate.

           13. Moreover, as part of his scheme to defraud the policyholders and financial product

owners of the insurance companies he created and acquired, Lindberg diverted more than

$12 million of the Debtors’ cash to Lindberg Affiliates to pay Lindberg’s personal expenses




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incurred, due and owing in the United States (the “Personal Expense Companies”). 5 Upon

information and belief based on the incomplete books and records available to the JPLs, Lindberg

diverted substantially more than $12 million of the Debtors’ cash. Lindberg’s personal expenses

paid by the Personal Expense Companies or other Lindberg Affiliates with cash taken from the

Debtors included, but are not limited to, payments of Lindberg’s personal American Express cards;

salary payments to Lindberg’s Personal Expense Company staff; operating expense and lease

payments related to Lindberg’s personal jets; lavish parties in Las Vegas and Miami, among other

destinations; maintenance and operating expenses related to Lindberg’s yacht, the “Double

Down”; mortgage and/or operating expenses for properties Lindberg acquired and diverted for

personal use; and substantial payments and gifts to multiple women who provided Lindberg with

their eggs for fertility purposes, with some payments in excess of                            in a single year.

             14. Lindberg and his co-conspirators engaged in many other self-dealing transactions.

For instance, they engaged in round-tripping transactions whereby funds originating from

Lindberg Affiliates in the United States were moved through various other Lindberg Affiliates in

Malta, Barbados, at times through the Debtors in Bermuda, and then back to the Lindberg Affiliates

in the United States within a few days, with each transfer being disguised as a legitimate

investment including sale and repurchase agreements (“Repo Agreements”). Also, Lindberg and

the Senior Decision Makers utilized loan to shareholder (“LTS”) transactions, each of which was

simply a façade when company assets or money were used to pay Lindberg’s personal expenses –

these often went unpaid and Lindberg received all the benefit with no repayment to the company


5
  Non-exhaustive examples of Lindberg’s Personal Expense Companies include: Acquired Development, LLC
(“Acquired Development”); American Yacht Charters, LLC (“American Yacht”); Apex International, LLC (“Apex”);
AYC Holdings Limited (“AYC Holdings”); Dunhill Holdings, LLC (“Dunhill”); East Hill Holdings, LLC (“East
Hill”); First International Financial, Inc. (“First International”); Horizon Holdings I, LLC (“Horizon”); New Hill Asset
Management, LLC (“New Hill”); Skyworld Corporation (“Skyworld”); South Hill Holdings, LLC (“South Hill”); and
Unit 77, LLC (“Unit 77”), all formed and existing in the United States.
                                                           7

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that extended the LTS. Essentially, a LTS with a Lindberg Affiliate was a pretextual transaction

used by Lindberg and the Senior Decision Makers to move money among the Lindberg Affiliates.

Sandi White (“White”)—Global Growth’s Vice President of Corporate Treasury until 2020—

testified, moreover, that no LTSs had been repaid by Lindberg in more than a decade, and all LTSs

have been forgiven, amended or ignored.

           15. These sham transactions enabled Lindberg and the Senior Decision Makers to

siphon off millions of dollars from the Debtors to fund: (1) operating expenses of Global Growth

and its subsidiaries; (2) Lindberg’s personal expenses; (3) “investments” in Lindberg Affiliates;

and/or (4) lucrative but unjustified “transaction” fees and bonuses.

           16. There are also instances where Lindberg and the Senior Decision Makers

intentionally foisted assets onto the Debtors that they knew to be in default, bankrupt or otherwise

impaired at par for the benefit of other Lindberg Affiliates. For instance, on December 14, 2017,

to alleviate regulatory issues at CBL, Lindberg and the Senior Decision Makers caused CBL to

sell a $3.7 million participation interest at par to PBLA in a defaulted loan issued by a company

called Satori Waters, LLC (“Satori Waters”). Similarly, when Global Growth acquired Omnia and

PBIHL in June 2017 from Beechwood, LLC (“Beechwood”), Lindberg and the Senior Decision

Makers knew the positions that Omnia and PBIHL held in a group of companies called Agera6

were misvalued and inflated, and that Agera’s financial condition was impaired, but chose to keep

Agera on the books at an improper valuation to deceive the Bermuda regulators.7 Thereafter, in

January 2018, the Senior Decision Makers caused: (a) PBIHL to make a $3,000,000 investment in

worthless Agera preferred equity at par; and (b) PBLA, Omnia and PBIHL to spend $7,587,918 to



6
  “Agera” means AGH Parent, LLC (“AGH”), Agera Holdings, LLC (“Agera Holdings”) and Agera Energy, LLC
(“Agera Energy”).
7
  Agera Holdings later filed for Chapter 11 and the Debtors’ equity was wiped out.
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acquire from CBL its worthless interests in Yarrow Three, LLC (“Yarrow Three”), whose only

asset was a loan to another Lindberg Affiliate which only held Agera preferred equity.

           17. Even where investment proceeds were not used for Lindberg’s personal purposes,

these so-called investments, in substance, were wholly inappropriate for insurance and reinsurance

companies such as the Debtors because: (i) the investments were illiquid, opaque, not marketable,

and non-negotiable; and (ii) the Debtors were left with insufficient liquid assets to adequately

protect policyholders from the risk that available cash would be insufficient and/or unavailable

caused by overly concentrated investments in illiquid assets. Among other problems, the

investment of virtually all Debtors’ cash and similarly liquid funds in illiquid assets beginning in

2019, and less than two years after the acquisition of Northstar, Omnia and PBIHL, left them

without sufficient readily available cash to pay policyholder claims and surrenders. In fact, most

of these so-called investments were loans to shell companies, where loan proceeds to a

counterparty were immediately transferred through multiple layers to other Lindberg Affiliates.

Through multiple Orders directing turnover of the Debtors’ books and records, as well as

documents received from insiders, non-insiders and the NCIC pursuant to multiple Orders under

Fed R. Bankr. P. 2004, the JPLs have been able to substantiate many instances of improper use of

the Debtors’ funds, aggregating hundreds of millions of dollars.

           18. The JPLs still do not have complete transparency as to where all the Debtors’ funds

ultimately wound up in the Lindberg empire, the nature of all those indirect investments that are

multiple layers removed from the Debtors’ direct counterparties, or the financial condition of all

these multiple direct and indirect counterparties.

           19. Even in instances where the Debtors’ funds were ultimately invested in profitable

operating companies, the Debtors were harmed because in most instances they have no direct


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investment in a company with real assets and operations. Instead, for the most part, Lindberg and

the Senior Decision Makers left the Debtors with promissory notes or preferred equity issued by

non-operating, opaque, and sometimes shell companies. As a result, the Debtors are not in a

position to monetize these so-called investments at par, and have received little or no cash flow

therefrom, resulting in significant harm.

              20. These so-called investments created an immediate liquidity mismatch between the

Debtors’ obligations to their policyholders, and in the case of PBLA, the Trust established for the

benefit of Universal Life Insurance Company of Puerto Rico (“ULICO”). Moreover, by causing

the Debtors to invest virtually all their assets in Lindberg Affiliates and the diversion of cash to

Lindberg’s Personal Expense Companies, Lindberg and the Senior Decision Makers violated

contractual and legal obligations limiting investments in affiliates, as well as standards of prudent

investing applicable to insurance companies, reinsurance companies and reinsurance trusts, both

in Bermuda and in the United States.

              21. These investments also generated excessive and improper success fees, origination

fees, management fees, and other improper and unacceptably disproportionate payments to

Lindberg, the Senior Decision Makers and the Lindberg Affiliates including but not limited to

Standard Advisory Services, Ltd. (“SASL”), Standard Financial Limited (“SFL”) and Standard

Investment Capital Ltd. (“SICL”).8

              22. The transfers from the Debtors to Lindberg Affiliates were made at an overvalue,

not for reasonably equivalent value, or were made at a time when the Debtors were already

distressed and/or experiencing cash flow problems. There is material evidence suggesting that the

Debtors began experiencing cash flow problems at least as early as autumn of 2018.



8
    See SEC v. Lindberg, et al., Case No. 22-cv-715 (M.D.N.C.) [ECF No. 1] (the “SEC Lawsuit Complaint”).
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           23. By orchestrating and implementing the foregoing putative “investments” that

benefited Lindberg personally and his non-Debtor affiliates at the Debtors’ expense, the Debtors’

officers and directors breached the fiduciary duties that they owed to the Debtors. As alleged in

this Amended Complaint, Lindberg, Herwig, Solow, and Bostic’s acts constituted a racketeering

conspiracy actionable under the laws of the United States for the damage caused by their wrongful

acts and suffered by the Debtors in the United States. See, e.g., Yegiazaryan v. Smagin, 599 U.S.

__, 143 S. Ct. 1900 (2023).

           24. Lindberg, and the Senior Decision Makers, did not respect the separateness of the

Debtors or the Lindberg Affiliates in dealing with the Debtors and the Lindberg Affiliates,

including the Debtor Investment Counterparties. In fact, he and they commingled assets and

shuttled money between entities freely whenever the need for funds arose (including without

limitation the examples cited above), while failing to adhere to corporate formalities and

appropriate governance procedures, including the lack of basic internal controls and accurate

recordkeeping, the failure to properly perform due diligence before making investments, the failure

to monitor investments or comply with loan covenants, the failure to obtain required corporate and

regulatory consents, and the failure to maintain adequate capitalization.

           25. The effect, purpose and result of these actions was to create a complex web of

companies behind the Debtor Investment Counterparties into which the Debtors’ funds

disappeared and were concealed from the purview of creditors and regulators, thereby making it

extremely difficult if not impossible for the Debtors to ever be repaid on loans or equity

investments, to sell such investments, or otherwise realize value therefrom. As a result, this Court

should pierce the corporate veils of the Lindberg Affiliates to allow the Debtors, as creditors of

and investors in the Debtor Investment Counterparties, most of which are merely shell companies,


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to reach the assets of all of the Lindberg Affiliates. In the alternative, this Court should

substantively consolidate the Lindberg Affiliates with the Debtors. In the alternative, this Court

should impose a constructive trust for the benefit of the Debtors over the assets of the Lindberg

Affiliates to prevent unjust enrichment.

      II.      Government Allegations Support the Plaintiffs’ Fraud Claims and RICO Claims,
               as do Guilty Pleas, Deferred Prosecution Agreements, and a Consent Judgment
              26. Lindberg and his associates have been credibly accused by governmental entities

of fraud and dishonesty, consistent with the foregoing allegations by the Plaintiffs that the Debtors’

so-called investments were nothing more than sham transactions.

            SEC Lawsuit

              27. On August 30, 2022, the United States Securities and Exchange Commission

(“SEC”) filed a complaint against Lindberg, Herwig, and a Malta-based Lindberg Affiliate, SASL

alleging violations of Sections 206(1) and 206(2) of the Advisers Act, 15 U.S.C. § 80b-2(a)(11).9

              28. Lindberg caused SASL to be formed in 2016, ostensibly to render investment

advisory services to his affiliated entities which included PBLA after its formation in 2017.

              29. SASL was registered with the SEC as an investment adviser from December 2016

to October 2019. It also possessed a license to provide investment advice from the Malta Financial

Services Authority.

              30. The SEC alleged, inter alia, that Lindberg, Herwig, and SASL, while acting as

investment advisers, and in breach of their fiduciary duties, directly or indirectly, knowingly,

willfully, or recklessly: (1) employed devices, schemes, and/or artifices to defraud PBLA and the

NCIC; and (2) engaged in transactions, practices, and/or courses of business which operated as a

fraud or deceit upon PBLA and the NCIC.


9
    See SEC v. Lindberg, et al., Case No. 22-cv-715 (M.D.N.C.) [ECF No. 1] (the “SEC Lawsuit”).
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            31. With regard to PBLA specifically, the SEC alleged that Lindberg, Herwig, and

SASL devised a scheme to extract millions of dollars in cash or other highly liquid assets from the

PBLA ULICO Trusts to finance the growth of Lindberg’s other businesses.

            32. SASL was “Investment Manager” of the PBLA ULICO Trust, which when initially

constituted, held more than $530 million in assets.

            33. The SEC alleged that Lindberg, Herwig, and SASL advised PBLA to invest in ways

that violated the Bank of New York Mellon (“BNY”) and Wilmington Trust agreements governing

the PBLA ULICO Trusts, PBLA’s investment guidelines, and Puerto Rico insurance law.

Importantly, the SEC further alleged that Lindberg, Herwig and SASL filled PBLA’s balance sheet

with Repo Agreements to dishonestly inflate the asset position, which is also supported by the

Debtors’ books and records.

            34. The District Court denied each of the motions to dismiss the SEC’s complaint filed

by Lindberg, Herwig, and SASL.10

            35. In denying the Motions, the District Court concluded that the case could proceed

with the SEC’s Complaint, as originally filed. Specifically, the District Court found the SEC’s

complaint “detailed and specific. . . . describ[ing] the alleged fraud in substantial detail, identifying

the alleged transactions that constitute the fraudulent scheme, how the transactions benefited the

defendants and caused losses to those to whom they owed fiduciary duties, and specifying the

actions the defendants took to conceal those transactions and accomplish the fraud.” ECF No. 28

at pg. 1, ECF No. 35, at pg. 3.

            36. As alleged in greater detail, infra, Herwig has consented to the entry of judgment

against himself in the SEC Lawsuit.


10
  In support of its motion to dismiss, SASL advised that it “is in the process of winding up operations.” [ECF No.
23].
                                                       13

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               37. For over two (2) years beginning in 2017, Lindberg and the other Senior Decision

Makers caused PBLA to participate in the SASL scheme. Lindberg was a director of SASL and

Chairman of PBLA in 2017, and Herwig was appointed as a director of SASL in May 2018 after

Lindberg resigned from his seat.

               38. In addition, SASL served as an “Investment Advisor” to PBLA. For services

rendered from Q1 of 2018 through Q2 of 2019, the Debtors’ incomplete books and records, made

available by the Lindberg Affiliates, show that SASL charged PBLA nearly $11 million in

advisory fees.

               39. Lindberg additionally used SASL—one of a web of Malta entities ultimately owned

by him—to compensate himself, and at least Herwig and Solow, among the Senior Decision

Makers.

           Lindberg Indictments

               40. Separately, on March 18, 2019, Lindberg was first indicted by a federal grand jury

empaneled within the United States District Court for the Western District of North Carolina.11

               41. The charges included: (1) conspiracy to commit honest-services wire fraud (18

U.S.C. §§ 1343, 1346); and (2) committing and aiding and abetting federal-funds bribery (18

U.S.C. §§ 666(a)(2)).

               42. The first indictment, in generalized terms, resulted from Lindberg’s interactions

between November 2017 and August 2018 with Mike Causey (“Causey”), the Commissioner of

the North Carolina Department of Insurance (“NCDOI”), a public official.




11
     See U.S. v. Lindberg, et al., Case No. 5:19-cr-22 (W.D.N.C.) [ECF No. 3].
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               43. Lindberg was tried in February 2020 and on March 5, 2020, a federal jury convicted

Lindberg of conspiracy to commit honest services wire fraud and bribery concerning a program

that received federal funds.

               44. His conviction was reversed in June 2022 based on a faulty jury instruction, and his

request for release from prison was granted. Lindberg is scheduled to be retried for bribery

beginning on November 6, 2023, and currently confined by judicial order to the Middle District of

Florida.

               45. Unrelated to his first indictment but related to the allegations set forth in greater

detail below, on February 23, 2023, Lindberg was indicted on charges of conspiracy to defraud the

United States, wire fraud, false insurance business statements presented to regulators, false entries

about the financial condition or solvency of an insurance business, and money laundering

conspiracy, all directly connected with and relating to his wrongful acts amounting to racketeering

causing damage to the Debtors from and within the United States as alleged further in this

Amended Complaint.12 The matter is continued for a status conference to the trial term

commencing three (3) months after the conclusion of U.S. v. Lindberg, et al., Case No. 5:19-cr-22

(W.D.N.C).

           Herwig Bill of Information & Guilty Plea

               46. On December 19, 2022, prosecutors in the Western District of North Carolina and

Fraud Section of the United States Department of Justice’s Criminal Division filed a Bill of

Information charging Herwig with Conspiracy to Defraud the United States (18 U.S.C. § 371),

including the underlying federal crimes of wire fraud, money laundering, and investment advisor

fraud. In it, prosecutors alleged a conspiracy – led by Herwig, Solow, and Lindberg – to deceive



12
     See U.S. v. Lindberg, et al., Case No. 3:23-cr-48 (W.D.N.C.) [ECF No. 1].
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and defraud the NCDOI, various ratings agencies, life insurance companies, and insurance

policyholders; evade regulatory requirements meant to protect policyholders; conceal the true

financial condition of the Lindberg Affiliates; and conceal the true use of insurance company

funds, all directly connected with and relating to his wrongful acts for Lindberg and the Lindberg

Affiliates as a Senior Decision Maker, including fraudulent and wrongful acts amounting to

racketeering causing damage to the Debtors from and within the United States as alleged further

in this Amended Complaint. See United States of America v. Christopher Herwig, 3:22-cr-314-

MOC (W.D.N.C. 2022) [ECF No. 3].

           47. Prosecutors alleged, inter alia, as part of the manner and means of the conspiracy,

that Herwig, Solow, and Lindberg engaged in circular transactions among Lindberg’s web of

entities using insurance company funds, and made, and caused to be made, various false and

fraudulent representations, concealed material facts, and told deceptive half-truths to the NCDOI

and other third parties regarding these transactions. Id.

           48. For example, as part of the conspiracy and in furtherance of its purposes, the Bill

of Information alleged, inter alia, that Herwig, Solow, and Lindberg: (a) engaged in a series of

“sham” Repo Agreements “totaling nearly $96 million . . . to, among other things, artificially

inflate the capital position of” the insurance companies; (b) “fraudulently extracted nearly $200

million” from the insurance companies to amass “show money” in connection with Lindberg’s

planned acquisition of another insurance company; (c) caused the insurance companies to enter

into “advisory service agreements” used to “extract millions of dollars . . . in the form of investment

advisory fees;” and (d) “used loans to extract money from the insurance companies for

[Lindberg’s] personal benefit indirectly, including through transfers . . . documented as “loans to

shareholder.” Id.


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            49. On December 22, 2022, Herwig pled guilty to Conspiracy to Defraud the United

States, including all underlying crimes. Id. [ECF. No. 10].

          Solow Bill of Information & Deferred Prosecution Agreement

            50. On December 19, 2022, prosecutors in the Western District of North Carolina and

Fraud Section of the Department of Justice’s Criminal Division filed a Bill of Information,

comparable in its content to Herwig’s Bill of Information, naming Solow as a Defendant.

            51. Solow was charged with Conspiracy to Defraud the United States (18 U.S.C. §

371), including the underlying federal crimes of wire fraud, money laundering, and investment

advisor fraud, all directly connected with and relating to the same underlying conspiracy to defraud

insurance regulators and policyholders led by Herwig, Solow, and Lindberg. See United States of

America v. Devin Solow, 3:22-cr-315-MOC (W.D.N.C. 2022) [ECF No. 3].

            52. Solow entered into a Deferred Prosecution Agreement with the United States on

January 23, 2023. Id. [ECF No. 8]. In it, he admitted guilt to Conspiracy to Defraud the United

States and all underlying crimes in exchange for deferred prosecution and his promise of full

cooperation with the federal government’s ongoing investigation. Id.

            53. Lindberg, Herwig, Bostic, and Solow, when questioned under oath pursuant to

Bankruptcy Rule 2004 subpoenas issued by this Court, all invoked their Fifth Amendment rights

against self-incrimination in response to substantive questions concerning the Debtors and the

matters alleged herein. As such and among other things, adverse inferences are appropriate.

   III.      Second Set of Improper Transactions – Voiding the IALA and MOU
            54. After having already impaired the assets and capital of the Debtors by

implementing the illiquid and improper investments in Lindberg Affiliates, Lindberg, the Senior

Decision Makers and the NCIC then entered into two related contracts, both dated June 27, 2019,


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that further impaired these investments: (1) the Interim Amendment to Loan Agreements (the

“IALA”); and (2) the Memorandum of Understanding (the “MOU”).

            55. Under the IALA, the NCIC, Lindberg, and certain of the Senior Decision Makers

adversely modified the economic terms of over $500million of debt and preferred equity held by

the Debtors by imposing lengthy maturity extensions of up to nine years, interest rate deferrals and

reductions, and other waivers, for absolutely no consideration. If the MOU is ever implemented,

the NCIC would take control of 511 Lindberg Affiliates, the book value of which is believed to

exceed $2 billion, including companies in which the Debtors invested over $500 million. The

investments of the Debtors and NCIC are intertwined and in some instances the parties are agents

for each other on loan agreements.

            56. The NCIC traded concessions to Lindberg and his companies under the IALA in

exchange for a host of benefits they hoped to receive from Lindberg and his companies under the

MOU. However, the Debtors were also forced to make significant concessions under the IALA,

currently estimated to be in excess of $113.9 million (and increasing by approximately $78,57813

with each passing day), for absolutely no consideration. At the time, CBL and SNIC were acting

as agents for the Debtors in their capacities as lenders under at least twenty-nine (29) loans to

Lindberg Affiliates. CBL and SNIC breached their fiduciary duties owed to the Debtors and

breached the implied covenant of good faith and fair dealing by adversely modifying loan terms

for their own benefit, and to the Debtors’ detriment. Since execution of the IALA and MOU, CBL

and SNIC have continued to breach their fiduciary duties owed to the Debtors as agents by



13
  Both the $113.9 million aggregate damages amount and the per diem damages were calculated using the non-default
rates of interest under the original loan documents before such rates were reduced under the IALA. If default rates are
used, the damages incurred thus far would be approximately $188 million and the per diem damages would be
approximately $124,081. It appears these investments have been in default for many years. The JPLs reserve all rights
to calculate damages based on applicable default rates
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improperly executing transactions for CBL’s and SNIC’s own benefit, tortiously interfering with

the Debtors’ contract rights under loan agreements, failing to remit interest due to the Debtors, and

charging excessive fees.

           57. Importantly, the Plaintiffs dispute that the IALA and MOU are valid, binding,

effective, and enforceable as to the Debtors because, inter alia: (1) the investment modifications

purportedly instituted thereunder expressly required prior written approval from the Bermuda

Monetary Authority (the “BMA”), which was never obtained [see Affidavit of Graham Lamb,

Assistant Director of the BMA, Concerning The JPLs’ Applications for Orders Authorizing

Issuance of Subpoenas Directing Production of Documents and Attendance for Deposition

Testimony [ECF No. 250] (the “Lamb Aff.”), ¶¶ 8-9 (“The BMA believes that the parties to the

MOU and IALA knew or should have known that the BMA’s prior written approval was required

for modification of the Debtor investments;” and “The BMA never gave such prior written

approval. . .”)], thus the IALA is ultra vires; (2) the only consideration received for the MOU was

the loan concessions under the IALA, so if the IALA is ultra vires, then the MOU is also invalid

for failure of consideration; (3) the IALA adversely modified the economic terms of over $1 billion

of debt and preferred equity held by the Debtors and the PBLA ULICO Trusts by imposing lengthy

maturity extensions of up to nine years, interest rate deferrals and reductions, and other waivers,

for absolutely no consideration; (4) the modifications purportedly made pursuant to the IALA and

MOU represent avoidable fraudulent transactions on the basis that they were made at a time when

the Debtors were insolvent (or in the alternative, rendered the Debtors insolvent), for no

consideration; (5) there is insufficient evidence that PBLA was duly authorized to enter into these

agreements, in that the JPLs have not been provided with any corporate resolutions or evidence of

another formal corporate act sufficiently authorizing the same, putting aside, arguendo, the


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absence of the necessary BMA approval; (6) there is insufficient evidence as to Northstar, Omnia,

PBIHL, and the Trustee of the Trusts agreeing to be bound in an enforceable manner, and none of

which even executed the agreements and for none of which the JPLs have been provided corporate

resolutions or evidence of another formal corporate act sufficiently authorizing the MOU or IALA;

(7) the only law firms which may have been engaged for any Debtor in connection with the

negotiation and execution of the IALA and MOU—Cadwalader, Wickersham & Taft LLP

(“Cadwalader”) and Moore & Van Allen PLLC (“MVA”)—have repeatedly disclaimed any

engagement by or for a Debtor, including with MVA as recently as the May 12, 2022 hearing in

the Chapter 15 Proceeding, leaving the Debtors without any representation in the negotiations and

entry into the MOU and IALA;14 and (8) with respect to assets held in the reinsurance trusts

established for the benefit of ULICO, the Trustee (then Bank of New York Mellon, now TMI Trust

Company) was not a party to the IALA or MOU, so the purported modifications cannot possibly

be binding on assets held in the Trusts.

           58. The concessions that the Debtors were improperly forced to make under the IALA

and MOU were made at little to no value, nor for reasonably equivalent value, and were made at

a time that the Debtors were insolvent, or such transactions rendered the Debtors insolvent.

           59. By implementing the foregoing transactions under the IALA and MOU that

benefited Lindberg personally, his non-Debtor affiliates, and the NCIC at the Debtors’ expense,

the Debtors’ officers and directors breached the fiduciary duties that they owed to the Debtors.

     IV.    Claims Against and Related to the Debtor Investment Counterparties
           60. The Debtors can sue as creditors of the Debtor Investment Counterparties to avoid

the fraudulent transfers they made to other Lindberg Affiliates under United States law. The


14
  When asked directly by the NC MOU Court whether PBLA was represented by MVA, Lindberg responded, “that’s
a good question. I’m not sure.” Lindberg NC MOU Action Trial Testimony [Volume 6] Tr., at 73:1-4.
                                                   20

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Debtors also have standing to sue subsequent transferees of the initial transferees under United

States fraudulent transfer law. In the alternative, the Debtor Investment Counterparties are in

default of payment and non-payment obligations under the relevant documents memorializing such

loan and equity investments. The Debtors hereby accelerate all promissory notes issued by the

Debtor Investment Counterparties. As a result, the Debtors are entitled to a judgment against the

Debtor Investment Counterparties15 in the amounts specified in Exhibit A, plus continuing interest

(at the default interest rate set forth in the respective loan agreements) 16 or dividends (at the pre-

IALA rates), late charges, and attorneys’ fees.

                                        PROCEDURAL HISTORY

            61. The JPLs since their appointment in September 2020 have invested more than

57,000 person-hours in the pursuit of their duties as appointed officers of the Supreme Court of

Bermuda in connection with the Debtors.

            62. The JPLs, among other things, have gathered, attempted to organize with varying

degrees of success, and analyzed and assessed more than three million pages of books and records

of the Debtors possessed by a number of custodians and other holders of the same, documents and

ESI produced in response to Rule 2004 subpoenas authorized by this Court, and records of and

relating to the Debtors from other sources.

            63. Material portions of the Debtors’ books and records remain incomplete,

fragmented, missing, within the possession of custodians and persons outside the jurisdiction of

the Courts of Bermuda and the United States, or otherwise unavailable presently to the Plaintiffs.




15
   Debtor Investment Counterparties are the defendants identified in Exhibit A.
16
   “Default Rate” is defined as two (2) times the Base Interest Rate (the greater of (i) LIBOR plus 3% per annum, and
(ii) 4% per annum) then in effect.
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            64. There have not been since the JPLs’ appointment in September 2020 any directors,

officers, or employees of any Debtor within the control of the JPLs to contribute materially to the

work of the JPLs, including the work leading to the development and pursuit of this Amended

Complaint and the claims asserted in this Amended Complaint.

            65. On December 3, 2020, in their capacities as the JPLs of Northstar, the JPLs

presented a petition to the Bermuda Court to, inter alia, wind up PBIHL and to appoint Rachelle

Frisby, who has since left the employment of Deloitte Financial Advisory Ltd. Bermuda, and John

Johnston as the JPLs of PBIHL. By Order dated January 8, 2021, the JPLs were appointed as duly

authorized foreign representatives of PBIHL.

            66. On December 3, 2020, the JPLs filed separate voluntary petitions with this Court

under Chapter 15 on behalf of PBLA, Northstar and Omnia, seeking recognition of the Bermuda

Proceedings as foreign main proceedings (or, in the alternative, as foreign nonmain proceedings)

[ECF Nos. 1 and 2],17 and related relief under Bankruptcy Code sections 1520 and 1521 (the

“Recognition Motion”) and included a motion for the joint administration of PBLA, Northstar and

Omnia. [ECF No. 8]

            67. On December 4, 2020, the Court granted PBLA, Northstar and Omnia’s motion for

joint administration and, after a hearing held on January 5, 2021, the Court entered an order

granting recognition of the PBLA, Northstar and Omnia Bermuda Proceedings as foreign main

proceedings. [ECF Nos. 11 and 33]

            68. On April 2, 2021, the JPLs filed a voluntary petition under Chapter 15 on behalf of

PBIHL seeking recognition of the PBIHL Bermuda Proceeding as a foreign main proceeding (or,

in the alternative, as a foreign nonmain proceeding) and related relief under Bankruptcy Code


17
  See also In re Northstar Financial Services (Bermuda) Ltd., Case No. 20-12792 (LGB) [ECF Nos. 1 and 2] and In
re Omnia Ltd., Case No. 20-12793 (LGB) [ECF Nos. 1 and 2].
                                                      22

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sections 1520 and 1521.18 The JPLs also filed a motion seeking joint administration of PBIHL

with PBLA, Northstar and Omnia. [In re PBIHL, ECF No. 7]

              69. On April 2, 2021, the Court entered an order granting the joint administration of

PBIHL with PBLA, Northstar and Omnia and, on May 4, 2021, the Court entered an order granting

recognition of the PBIHL Bermuda Proceeding as a foreign main proceeding (together with the

order granting recognition of the Bermuda Proceedings of PBLA, Northstar and Omnia, the

“Recognition Orders”). [ECF Nos. 42 and 50]

              70. The Recognition Orders expressly provide, “[a]ll provisions of section 1520 of the

Bankruptcy Code apply in these Chapter 15 Cases, including, without limitation, the stay under

section 362 of the Bankruptcy Code throughout the duration of these Chapter 15 Cases or until

otherwise ordered by this Court.” PBLA, Northstar and Omnia Recognition Order, pg. 5, ¶ 3 and

PBIHL Recognition Order, pg. 4, ¶ 3.

              71. The Recognition Order further provides that all entities are enjoined from

“transferring, relinquishing, or disposing of any property of the Debtors to any entity (as that term

is defined in section 101(15) of the Bankruptcy Code) other than the JPLs.” Recognition Order at

pg. 6, ¶ 7(d).

                                                   PARTIES

              72. PBLA is a Bermuda-based life and annuity reinsurance company incorporated on

April 17, 2017 by Global Bankers Insurance Group, LLC n/k/a Aspida Financial Services, LLC

(“GBIG, LLC” or “Aspida”).19 PBLA was registered as a Class E insurer under The Insurance Act

1978 of Bermuda on the basis that it would issue life and annuity products in the international

offshore market and also provide reinsurance to small and middle market life insurance entities


18
     In re PB Investment Holdings, Ltd., Case No. 21-10623 (LGB) [ECF Nos. 1 and 2].
19
     GBIG, LLC was owned by Lindberg, prior to its acquisition by Aspida Holdco, LLC.
                                                        23

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writing annuities, long-term disability insurance and life insurance products. PBLA is owned by

PBX Bermuda Holdings, Ltd. (“PBX Bermuda”). Upon information and belief based on the books

and records currently available to the JPLs, the following persons and entities were Directors and

Officers of PBLA according to its available corporate documents:

         a) Greg Lindberg (Chairman, May 2017– November 2018);

         b) Scott Boug (President, August 2017 – May 2021; Director, November 2018 – 2020;20

             and Chief Executive Officer, November 2018 – May 2021);

         c) Brian Stewart (Chief Financial Officer, August 2018 – November 2018);

         d) Christopher Herwig (Director, November 2018 – 2020);21

         e) Kenneth Goertzen (Director, August 2019 – March 2020);

         f) Joseph Machado (Chief Operations Officer, November 2017 – June 2021; Money

             Laundering Reporting Officer and Compliance Officer, April 2019 – June 2021);

         g) Paul Brown (Director, May 2017 – November 2018);

         h) Sarah Demerling (Director, August 2017 – November 2018);

         i) George Luecke (Director, May 2017 – November 2018);

         j) Allison Dryer-Fagundo (Director, November 2018 – July 2019);

         k) Krishnan Harihara (Director, November 2018 – June 2019);

         l) James Damian Resnik (Director, March 2020 – May 2020);

         m) Estera Services (Bermuda) Limited n/k/a Ocorian Services (Bermuda) Limited

             (Secretary, May 2017 – September 2020);




20
   Boug’s power as a director ceased, but he remained a director in the absence of a resignation as of the date of the
JPLs’ appointment.
21
   Herwig’s power as a director ceased, but he remained a director in the absence of a resignation as of the date of the
JPLs’ appointment.
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         n) Tamre Edwards (Chief Legal Officer and Assistant Secretary, August 2018 –

             November 2018); and

         o) Aon Insurance Managers (Bermuda) Ltd. (Principal Representative and Insurance

             Manager, May 2017 – June 2019).

             73. On February 17, 2023, PBLA was placed into liquidation, with matters pending

before the Bermuda Court.

             74. Northstar is an insurance company formed under the laws of Bermuda and acquired

by Lindberg on July 3, 2018. Northstar was registered as a long-term Class C insurer under The

Insurance Act 1978 of Bermuda and as a segregated accounts company under the Segregated

Accounts Act 2000. Northstar administered a block of insurance and annuity products, including

individual variable contracts, fixed-rate contracts, variable universal life insurance and universal

life insurance policies. Northstar is owned by BMX Bermuda Holdings, Ltd. (“BMX Bermuda”).

Upon information and belief based on the books and records currently available to the JPLs, the

following persons and entities were Directors and Officers of Northstar according to its available

corporate documents:

     a) Scott Boug (Principal Representative and President, August 2018 – March 2021; Director,

         November 2018 – 2020;22 and Chief Executive Officer, November 2018 – May 2021);

     b) Greg Lindberg (Director, August 2018 – August 2018);

     c) Christopher Herwig (Director, November 2018 – 2020);23

     d) Paul Brown (Director, August 2018 – November 2018);




22
   Boug’s power as a director ceased, but he remained a director in the absence of a resignation as of the date of the
JPLs’ appointment.
23
   Herwig’s power as a director ceased, but he remained a director in the absence of a resignation as of the date of the
JPLs’ appointment.
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   e) Tamre Edwards (Director, Chief Legal Officer and Assistant Secretary, August 2018 –

         November 2018);

   f) Brian Stewart (Chief Financial Officer, August 2018 – November 2018);

   g) George Luecke (Director, August 2018 – November 2018);

   h) Kenneth Goertzen (Director, August 2019 – March 2020);

   i) Joseph Machado (Chief Operations Officer and Compliance Officer, November 2018 –

         March 2021);

   j) James Damian Resnik (Director March, 2020 – May 2020);

   k) Henry Komansky (Money Laundering Reporting Officer, November 2018 – November

         2020);

   l) Allison Dryer-Fagundo (Director, November 2018 – June 2019);

   m) Krishnan Harihara (Director, November 2018 – July 2019);

   n) Lynn Superina (Chief Financial Officer, November 2018 – August 2019; Secretary and

         Segregated Account Representative, 2017 – August 2018; Money Laundering Reporting

         Officer, 2014 – November 2018);

   o) Anthony Patrick Donaghy (Deputy Anti-Money Laundering Officer, 2017 – November

         2018); and

   p) Estera Services (Bermuda) Limited n/k/a Ocorian Services (Bermuda) Limited (Secretary,

         July 2018 – September 2020).

           75. Northstar is currently in liquidation, with matters pending before the Bermuda

Court.

           76. Omnia is an insurance company formed under the laws of Bermuda and acquired

by Lindberg on June 30, 2017. Omnia was a long-term Class E insurer under The Insurance Act


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1978 of Bermuda, and historically sold variable annuity unit linked contracts, fixed annuity and

deferred annuity discretionary contracts with participating features. Effective March 2009, Omnia

went into run off and discontinued writing new business. Omnia is owned by PBX Bermuda. Upon

information and belief based on the books and records currently available to the JPLs, the

following persons and entities were Directors and Officers of Omnia according to its available

corporate documents:

     a) Scott Boug (Compliance Officer and Money Laundering, June 2017 to March 2019;

         Principal Representative, November 2017 – March 2021; Director, November 2018 to

         2020;24 and Chief Executive Officer, November 2018 – May 2021);

     b) Christopher Herwig (Director, November 2018 – 2020); 25

     c) Paul Brown (Director, June 2017 – November 2018);

     d) George Luecke (Director, June 2017 – November 2018);

     e) Brian Stewart (Chief Financial Officer, August 2018 – November 2018);

     f) Tamre Edwards (Chief Legal Officer and Assistant Secretary, August 2018 – November

         2018);

     g) Sarah Demerling (Director, June 2017 – November 2018);

     h) Kenneth Goertzen (Director, August 2019 – March 2020);

     i) Allison Dyer- Fagundo (Director, November 2018 – July 2019);

     j) Krishnan Harihara (Director, November 2018 – June 2019);

     k) James Damian Resnik (Director, March 2020 – May 2020);

     l) Aon Insurance Managers (Bermuda) Ltd. (Insurance Manager, August 2018 – May 2019);


24
   Boug’s power as a director ceased, but he remained a director in the absence of a resignation as of the date of the
JPLs’ appointment.
25
   Herwig’s power as a director ceased, but he remained a director in the absence of a resignation as of the date of the
JPLs’ appointment.
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     m) Joseph Machado (Chief Operations Officer, November 2017 – June 2021; Compliance

         Officer and Money Laundering Reporting Officer, April 2019 – March 2021); and

     n) Estera Services (Bermuda) Limited n/k/a Ocorian Services (Bermuda) Limited (Secretary,

         June 2017 – September 2020).

             77. Omnia is currently in liquidation, with matters pending before the Bermuda Court.

             78. PBIHL is an investment company formed under the laws of Bermuda and acquired

by Lindberg on June 30, 2017. Historically, PBIHL sold fixed and variable investment products to

non-US/non-Bermuda citizens. PBIHL was placed into receivership in late 2016, and has been in

run off since its acquisition by Lindberg. PBIHL is owned by BMX Bermuda. Upon information

and belief based on the books and records currently available to the JPLs, the following persons

and entities were Directors and Officers of PBIHL according to its available corporate documents:

     a) Scott Boug (President, November 2017 – April 2021; Director and Chief Executive

         Officer, November 2019 2018 – 2020;26 and Chief Executive Officer, November 2018 –

         May 2021);

     b) Christopher Herwig (Director, November 2018 – 2020); 27

     c) Paul Brown (Director, June 2017 – November 2018);

     d) George Luecke (Director, June 2017 – November 2018);

     e) Brian Stewart (Chief Financial Officer, August 2018 – November 2018);


     f) Tamre Edwards (Chief Legal Officer and Assistant Secretary, August 2018 – November
        2018);

     g) Sarah Demerling (Director, July 2017 – November 2018);


26
   Boug’s power as a director ceased, but remained director in the absence of a resignation as of the date of the JPLs’
appointment.
27
   Herwig’s power as a director ceased, but remained director in the absence of a resignation as of the date of the JPLs’
appointment.
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     h) Krishnan Harihara (Director, November 2018 – June 2019);

     i) Allison Dyer- Fagundo (Director, November 2018 – July 2019);

     j) Kenneth Goertzen (Director, August 2019 – March 2020);

     k) James Damian Resnik (Director, March 2020 – May 2020);

     l) Joseph Machado (Chief Operations Officer and Compliance Officer, November 2017 –

        June 2021); and

     m) Estera Services (Bermuda) Limited n/k/a Ocorian Services (Bermuda) Limited (Secretary,

        2017 – January 2021).

            79. PBIHL is currently in liquidation, with matters pending before the Bermuda Court.

            80. John Johnston and Edward Willmott are the JPLs28 appointed by the Bermuda

Court on a provisional basis to administer the Debtors’ affairs. Bermuda Order, at ¶ 4. As JPLs of

the Debtors, their responsibilities include, but are not limited to, the following: (i) to conduct such

investigations and obtain such information so far as it is necessary to locate, protect, secure, take

possession of, collect and get in the assets, and determine the liabilities, of the [Debtor], including

but not limited to securing the shares in and controlling the subsidiaries of the [Debtor]; (ii) to

investigate the assets and affairs of the [Debtor] and the circumstances which gave rise to its

insolvency; (iii) to consider any legal or arbitration proceedings (including winding up

proceedings) wherever situate in which the [Debtor] is a party and to give all instructions in

connection therewith and take such action as may be thought necessary to continue to prosecute

or defend such proceedings or to apply for a stay of such proceedings; and (iv) to consider and if

thought advisable to commence such actions as may be necessary in Bermuda or elsewhere to


28
  On September 25, 2023, the Bermuda Court entered an Order removing Rachelle Frisby as JPL and recognized Mr.
Willmott as Mr. Johnston’s counterpart as a new joint provisional liquidator of the Debtors, effective October 17,
2023. By Order dated October 30, 2023, this Court amended the Recognition Orders to recognize Mr. Willmott as one
of the Debtors’ JPLs and authorized foreign representatives.
                                                       29

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protect, recover or obtain assets or money belonging to the [Debtor]. Id., at ¶¶ 4.8, 4.9, 4.15 and

4.16.

           81. Upon information and belief, Defendant Gregrey Evan Lindberg a/k/a Greg Evan

Lindberg is a necessary party and a United States citizen and resident of Florida, who before his

criminal conviction in 2020 was a resident of North Carolina.

           82. Upon information and belief, Defendant Christa M. Miller is a necessary party and

a United States citizen who is a resident of North Carolina.

           83. Upon information and belief, Defendant Christopher E. Herwig is a necessary party

and a United States citizen who is a resident of North Carolina.

           84. Upon information and belief, Defendant Devin E. Solow is a necessary party and a

United States citizen who is a resident of North Carolina.

           85. Upon information and belief, Defendant Eric D. Bostic is a necessary party and a

United States citizen who is a resident of North Carolina.

           86. Upon information and belief, Defendant Bankers Life Insurance Company is a

necessary party and an insurance company formed by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

           87. Upon information and belief, Defendant Colorado Bankers Life Insurance

Company is a necessary party and an insurance company formed by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

           88. Upon information and belief, Defendant Southland National Insurance Corporation

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.




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           89. Upon information and belief, Defendant Southland National Reinsurance

Corporation is a necessary party and an insurance company formed by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

           90. Upon information and belief, Defendant 286 Spring PH Holdings Corp. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

           91. Upon information and belief, Defendant 2B4A Sàrl is a necessary party and a

company owned or controlled directly or indirectly by Greg Lindberg organized and existing under

the laws of Switzerland.

           92. Upon information and belief, Defendant 2media GmbH is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of Switzerland.

           93. Upon information and belief, Defendant 3BL Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Oregon.

           94. Upon information and belief, Defendant 4839 N. Elston, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Illinois.

           95. Upon information and belief, Defendant 5 Star Technical Services, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Michigan.




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           96. Upon information and belief, Defendant A.C.J Computer Services Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

           97. Upon information and belief, Defendant A/R Allegiance Group, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Kansas.

           98. Upon information and belief, Defendant AAH Loan-Backed Funding, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

           99. Upon information and belief, Defendant AAM Holdings I, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         100. Upon information and belief, Defendant AAM Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Illinois.

         101. Upon information and belief, Defendant AAPC Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Wyoming.

         102. Upon information and belief, Defendant AAPC India Private, Ltd. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of India.




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         103. Upon information and belief, Defendant AAPC Investments, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         104. Upon information and belief, Defendant AAPC Voting Trust is a necessary party

and trust created and governed by the laws of the State of North Carolina. Ankura Trust Company

acts as the Trustee for Defendant AAPC Voting Trust.

         105. Upon information and belief, Defendant AAPC, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         106. Upon information and belief, Defendant Academy Financial Assets, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         107. Upon information and belief, Defendant Academy Financial Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         108. Upon information and belief, Defendant Acquired Development, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Wyoming.

         109. Upon information and belief, Defendant Addiction Recovery Helpline LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of California.




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         110. Upon information and belief, Defendant Advanced Benefit Connections LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Wyoming.

         111. Upon information and belief, Defendant Advantage Capital Investments LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Michigan.

         112. Upon information and belief, Defendant Advisory Consultants, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Wisconsin.

         113. Upon information and belief, Defendant AFFGLO Holdings, Inc. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Canada.

         114. Upon information and belief, Defendant AFP, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         115. Upon information and belief, Defendant Agence de Recouvrement Global, Inc. is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Canada.

         116. Upon information and belief, Defendant Agera Energy, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.




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         117. Upon information and belief, Defendant Agera Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         118. Upon information and belief, Defendant AGH Parent, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         119. Upon information and belief, Defendant AGT Media Ltd. is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the United Kingdom.

         120. Upon information and belief, Defendant AGX Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         121. Upon information and belief, Defendant Ahoskie, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         122. Upon information and belief, Defendant Alcohol & Data Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         123. Upon information and belief, Defendant Alliance Media Group LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Wyoming.




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         124. Upon information and belief, Defendant Alpharetta, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         125. Upon information and belief, Defendant Alpine Capital, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         126. Upon information and belief, Defendant Alstead, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         127. Upon information and belief, Defendant Alta Billing Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         128. Upon information and belief, Defendant Alta Billing, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         129. Upon information and belief, Defendant America Free Press, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         130. Upon information and belief, Defendant American Academy Holdings Ltd. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Bermuda.




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            131. Upon information and belief, Defendant American Academy Holdings, LLC (d/b/a

AAPC) is a necessary party and a company owned or controlled directly or indirectly by Greg

Evan Lindberg organized and existing under the laws of the State of North Carolina.

            132. Upon information and belief, Defendant American Academy of Professional

Coders Chapter Association is a necessary party and a company owned or controlled directly or

indirectly by Greg Evan Lindberg organized and existing under the laws of the State of North

Carolina.

            133. Upon information and belief, Defendant American Funeral and Cremation Plans,

LLC is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of Alabama.

            134. Upon information and belief, Defendant American Healthcare Alliance Limited is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Ireland.

            135. Upon information and belief, Defendant American Yacht Charters, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Wyoming.

            136. Upon information and belief, Defendant Amherst, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

            137. Upon information and belief, Defendant Anaconda, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.




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         138. Upon information and belief, Defendant Analytical Medical Insight Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Ireland.

         139. Upon information and belief, Defendant Andover Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         140. Upon information and belief, Defendant APAC Holdco, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         141. Upon information and belief, Defendant Apache Junction, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         142. Upon information and belief, Defendant Apex International, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         143. Upon information and belief, Defendant Apio Local, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         144. Upon information and belief, Defendant App This, Inc. is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Arizona.




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         145. Upon information and belief, Defendant Aqua Blue Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Florida.

         146. Upon information and belief, Defendant AR Management (Arrevio) Trust is a

necessary party and trust created and governed by the laws of the State of North Carolina. Hugh

Steven Wilson and Walter L. Tippett, Jr. act as co-trustee of Defendant AR Management (Arrevio)

Trust.

         147. Upon information and belief, Defendant AR Management (GGH) Trust is a

necessary party and trust created and governed by the laws of the State of North Carolina. Hugh

Steven Wilson and Walter L. Tippett, Jr. act as co-trustee of Defendant AR Management (Arrevio)

Trust.

         148. Upon information and belief, Defendant AR Purchasing Solutions 2, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         149. Upon information and belief, Defendant AR Purchasing Solutions, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         150. Upon information and belief, Defendant ARA Group Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         151. Upon information and belief, Defendant Arcane Tinmen ApS t/a AT Private Labels

APS is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of Denmark.


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         152. Upon information and belief, Defendant Arrevio Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         153. Upon information and belief, Defendant Arrevio, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         154. Upon information and belief, Defendant Ascendent D4K Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         155. Upon information and belief, Defendant Ascendent Dental Group (Fielet & Lee),

P.C. is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of California.

         156. Upon information and belief, Defendant Ascendent Dental Management D4K, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         157. Upon information and belief, Defendant Asheboro, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         158. Upon information and belief, Defendant AsiM CE, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.




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         159. Upon information and belief, Defendant ASIM Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         160. Upon information and belief, Defendant ASIM, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         161. Upon information and belief, Defendant ASL Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         162. Upon information and belief, Defendant ASL New Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         163. Upon information and belief, Defendant Aspida Financial Services, LLC is a

necessary party and existing under the laws of the State of Delaware.

         164. Upon information belief, Defendant Aspida Holdco, LLC (“Aspida Holdco”), is a

necessary party and a holding company governed by the laws of the State of Delaware. Upon

information and belief, Aspida Holdco acquired GBIG, LLC from GBIG Holdings in July 2021,

with GBIG, LLC thereafter becoming known as Aspida Financial Services, LLC.

         165. Upon information and belief, Defendant Asset Management, Inc. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Delaware.




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         166. Upon information and belief, Defendant Assistive Partner Investments Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         167. Upon information and belief, Defendant AT Denmark Investments ApS is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Denmark.

         168. Upon information and belief, Defendant Athens, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         169. Upon information and belief, Defendant Atkinson, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         170. Upon information and belief, Defendant Atlanta BidCo Limited is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the United Kingdom.

         171. Upon information and belief, Defendant Atlanta MidCo Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.

         172. Upon information and belief, Defendant Atlanta TopCo Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.




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         173. Upon information and belief, Defendant Atlas Global Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         174. Upon information and belief, Defendant Atlas Global, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         175. Upon information and belief, Defendant Atlas Group, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         176. Upon information and belief, Defendant AudioEducator, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         177. Upon information and belief, Defendant AudioSolutionz, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         178. Upon information and belief, Defendant Audit Services Group, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         179. Upon information and belief, Defendant Augusta Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.




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         180. Upon information and belief, Defendant Augusta, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         181. Upon information and belief, Defendant Automotive Fleet Investments Limited is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         182. Upon information and belief, Defendant Autonomy Healthcare Management, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         183. Upon information and belief, Defendant Autonomy Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         184. Upon information and belief, Defendant Autonomy Investments, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         185. Upon information and belief, Defendant AYC Crew, LLC, is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Wyoming.

         186. Upon information and belief, Defendant AYC HOLDINGS LIMITED is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Malta.




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         187. Upon information and belief, Defendant AYC Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of Delaware.

         188. Upon information and belief, Defendant AYC Holdings, Ltd. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the Cayman Islands.

         189. Upon information and belief, Defendant Baldwin Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         190. Upon information and belief, Defendant BAM Holdings I, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         191. Upon information and belief, Defendant Bankers Insurance Holdings S.A. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Luxembourg.

         192. Upon information and belief, Defendant Bankers Reinsurance Company Ltd. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Barbados.

         193. Upon information and belief, Defendant Barnstead, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.




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         194. Upon information and belief, Defendant Barrington, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         195. Upon information and belief, Defendant BBLN-Agera Corp. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         196. Upon information and belief, Defendant BCC Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         197. Upon information and belief, Defendant BCC Junior Loan-Backed Funding, LLC

f/k/a BCC Junior Loan Back Security Funding, LLC is a necessary party and a company owned or

controlled directly or indirectly by Greg Evan Lindberg organized and existing under the laws of

the State of North Carolina.

         198. Upon information and belief, Defendant BCC Research, LLC f/k/a Bankers

Minute, LLC is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of the State of North Carolina.

         199. Upon information and belief, Defendant BCC Senior Loan-Backed Funding, LLC

f/k/a BCC Senior Loan Back Security Funding, LLC is a necessary party and a company owned

or controlled directly or indirectly by Greg Evan Lindberg organized and existing under the laws

of the State of North Carolina.

         200. Upon information and belief, Defendant Beaufort Holding, S.A. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Luxembourg.


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         201. Upon information and belief, Defendant Beckett Auction Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         202. Upon information and belief, Defendant Beckett Auctions, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         203. Upon information and belief, Defendant Beckett Authentication Services, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         204. Upon information and belief, Defendant Beckett Business Solutions, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         205. Upon information and belief, Defendant Beckett Coin & Rock, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         206. Upon information and belief, Defendant Beckett Collectibles Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         207. Upon information and belief, Defendant Beckett Collectibles, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.




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         208. Upon information and belief, Defendant Beckett Conferences, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         209. Upon information and belief, Defendant Beckett Media, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         210. Upon information and belief, Defendant Begonia Eight, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         211. Upon information and belief, Defendant Benson, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         212. Upon information and belief, Defendant Berkeley Lake, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         213. Upon information and belief, Defendant Berlin, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         214. Upon information and belief, Defendant BHLN-286 Spring Corp. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Delaware.




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         215. Upon information and belief, Defendant BHLN-Agera Corp. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         216. Upon information and belief, Defendant Bidworld Private Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of India.

         217. Upon information and belief, Defendant Bisbee, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         218. Upon information and belief, Defendant BKT Loan-Backed Funding, LLC f/k/a

BKT Loan Back Security Funding, LLC is a necessary party and a company owned or controlled

directly or indirectly by Greg Evan Lindberg organized and existing under the laws of the State of

North Carolina.

         219. Upon information and belief, Defendant BKX Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         220. Upon information and belief, Defendant BlackFin Finanzen SAS is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of France.

         221. Upon information and belief, Defendant Black Rose, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         222. Upon information and belief, Defendant BLH Capital, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         223. Upon information and belief, Defendant BLI Holdings, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         224. Upon information and belief, Defendant Blue Daffodil, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         225. Upon information and belief, Defendant Blue Iris, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         226. Upon information and belief, Defendant Blue Marigold, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         227. Upon information and belief, Defendant Blue Skies Addiction Centre Ltd. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         228. Upon information and belief, Defendant Blue Violet, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         229. Upon information and belief, Defendant Bluespier International Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         230. Upon information and belief, Defendant BMX Bermuda Holdings, Ltd. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Bermuda.

         231. Upon information and belief, Defendant BMX Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         232. Upon information and belief, Defendant BOLN-286 Spring Corp. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Delaware.

         233. Upon information and belief, Defendant BOLN-Agera Corp. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         234. Upon information and belief, Defendant Boston Laser Eye Care Management, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         235. Upon information and belief, Defendant Boston Laser Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.




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         236. Upon information and belief, Defendant Boston Laser-Eye & Lasik Specialists

Holdings, LLC is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of the State of North Carolina.

         237. Upon information and belief, Defendant Bow, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         238. Upon information and belief, Defendant BRC Capital, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         239. Upon information and belief, Defendant BRC Holding, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         240. Upon information and belief, Defendant BRC Holdings, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Nebraska.

         241. Upon information and belief, Defendant BRCB (Barbados) Capital, Ltd. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Barbados.

         242. Upon information and belief, Defendant BRCB (Barbados) Holdings, Ltd. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Barbados.




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         243. Upon information and belief, Defendant British Orient Infotel Private Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of India.

         244. Upon information and belief, Defendant Bullhead City, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         245. Upon information and belief, Defendant CAF Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         246. Upon information and belief, Defendant CAF II Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         247. Upon information and belief, Defendant CAF III Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         248. Upon information and belief, Defendant CAF IV Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         249. Upon information and belief, Defendant CAF V Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         250. Upon information and belief, Defendant CAM Holdings I, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         251. Upon information and belief, Defendant Camp Verde, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         252. Upon information and belief, Defendant Canaan, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         253. Upon information and belief, Defendant Candescent Eye Health Surgicenter, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of Delaware.

         254. Upon information and belief, Defendant Candescent Eye Surgicenter, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         255. Upon information and belief, Defendant Candor Global Services, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Ukraine.

         256. Upon information and belief, Defendant Canta Health, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         257. Upon information and belief, Defendant Capital Asset Fund I, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         258. Upon information and belief, Defendant Capital Asset Fund II, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         259. Upon information and belief, Defendant Capital Asset Fund III, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         260. Upon information and belief, Defendant Capital Asset Fund IV, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         261. Upon information and belief, Defendant Capital Asset Fund V, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         262. Upon information and belief, Defendant Capital Asset Management II, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         263. Upon information and belief, Defendant Capital Asset Management III, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.




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         264. Upon information and belief, Defendant Capital Lending Partners, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Wyoming.

         265. Upon information and belief, Defendant CapLOC Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         266. Upon information and belief, Defendant CAPLOC, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         267. Upon information and belief, Defendant Capstone Preneed Funeral and Burial

Association is a necessary party and a company owned or controlled directly or indirectly by Greg

Evan Lindberg organized and existing under the laws of the State of Virginia.

         268. Upon information and belief, Defendant Care Referrals Limited is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the United Kingdom.

         269. Upon information and belief, Defendant Career Health, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         270. Upon information and belief, Defendant Carnation Three, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         271. Upon information and belief, Defendant Carolina Eye Center, LLC n/k/a Carolina

Eye Center, P.A. is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of South Carolina.

         272. Upon information and belief, Defendant Carolina Longevity Institute, LLC n/k/a

The Daily News Corporation, LLC is a necessary party and a company owned or controlled

directly or indirectly by Greg Evan Lindberg organized and existing under the laws of the State of

North Carolina.

         273. Upon information and belief, Defendant Cartersville, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         274. Upon information and belief, Defendant Casar, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         275. Upon information and belief, Defendant Castle & Cooke Mortgage LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         276. Upon information and belief, Defendant Cato Holdings, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         277. Upon information and belief, Defendant Cave Creek, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         278. Upon information and belief, Defendant CBCS Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         279. Upon information and belief, Defendant CBCS Operations, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         280. Upon information and belief, Defendant CBS Group Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         281. Upon information and belief, Defendant CBS Group Services, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         282. Upon information and belief, Defendant CBV Collection Services Ltd. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Canada.

         283. Upon information and belief, Defendant CBV Collections Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Canada.

         284. Upon information and belief, Defendant CC Mortgage Trust is a necessary party

and trust created and governed by the laws of the State of Delaware. Robert Majka and Bryn Mawr

Trust Company act as co-trustees for Defendant CC Mortgage Trust.




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         285. Upon information and belief, Defendant CCM Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         286. Upon information and belief, Defendant CCM Investments, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         287. Upon information and belief, Defendant CEIC Capital, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         288. Upon information and belief, Defendant CEIC Holdings, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         289. Upon information and belief, Defendant Celandine Eight, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         290. Upon information and belief, Defendant Century Venture Global, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         291. Upon information and belief, Defendant Century Vision Global, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.




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         292. Upon information and belief, Defendant Certification for Long-Term Care, LLC is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         293. Upon information and belief, Defendant Certitrek Group, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         294. Upon information and belief, Defendant CFH Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         295. Upon information and belief, Defendant Chatsworth Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         296. Upon information and belief, Defendant Chrysanthemum Two, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         297. Upon information and belief, Defendant Claimsure Sláinte (Ireland) Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Ireland.

         298. Upon information and belief, Defendant Clanwilliam Australia Investments PTY

Limited is a necessary party and a company owned or controlled directly or indirectly by Greg

Evan Lindberg organized and existing under the laws of Australia.




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         299. Upon information and belief, Defendant Clanwilliam Group is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Nevada.

         300. Upon information and belief, Defendant Clanwilliam Headquarters Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Ireland.

         301. Upon information and belief, Defendant Clanwilliam Health (DGL) Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         302. Upon information and belief, Defendant Clanwilliam Health (RX Web) Limited is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         303. Upon information and belief, Defendant Clanwilliam Health (Socrates) Limited is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Ireland.

         304. Upon information and belief, Defendant Clanwilliam Health Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.

         305. Upon information and belief, Defendant Clanwilliam Investments (UK) Limited is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.




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         306. Upon information and belief, Defendant Clanwilliam Investments Ireland Limited

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of Ireland.

         307. Upon information and belief, Defendant Clanwilliam NZ Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of New Zealand.

         308. Upon information and belief, Defendant Clanwilliam Software Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Ireland.

         309. Upon information and belief, Defendant Clanwilliam Ventures Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Ireland.

         310. Upon information and belief, Defendant Claremont, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         311. Upon information and belief, Defendant Claris Vision Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Delaware.

         312. Upon information and belief, Defendant Claris Vision LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.




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         313. Upon information and belief, Defendant Claxton, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         314. Upon information and belief, Defendant Clayton, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         315. Upon information and belief, Defendant Client Services CSICR, SRL a/k/a Client

Services CSICR SR LTDA is a necessary party and a company owned or controlled directly or

indirectly by Greg Evan Lindberg organized and existing under the laws of Costa Rica.

         316. Upon information and belief, Defendant Client Services Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         317. Upon information and belief, Defendant Client Services, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Montana.

         318. Upon information and belief, Defendant Clover Concepts, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Arizona.

         319. Upon information and belief, Defendant CLTC Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         320. Upon information and belief, Defendant CLTC Junior Loan-Backed Funding, LLC

f/k/a CLTC Junior Loan Back Security Funding, LLC is a necessary party and a company owned


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or controlled directly or indirectly by Greg Evan Lindberg organized and existing under the laws

of the State of North Carolina.

         321. Upon information and belief, Defendant CLTC Senior Loan-Backed Funding, LLC

f/k/a CLTC Senior Loan Back Security Funding, LLC is a necessary party and a company owned

or controlled directly or indirectly by Greg Evan Lindberg organized and existing under the laws

of the State of North Carolina.

         322. Upon information and belief, Defendant CMC Holding Company, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         323. Upon information and belief, Defendant CMC Loan-Backed Funding, LLC f/k/a

CMC Loan Back Security Funding, LLC is a necessary party and a company owned or controlled

directly or indirectly by Greg Evan Lindberg organized and existing under the laws of the State of

North Carolina.

         324. Upon information and belief, Defendant Cobra, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         325. Upon information and belief, Defendant Coding Institute, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         326. Upon information and belief, Defendant Collection Management Company is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Pennsylvania.




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         327. Upon information and belief, Defendant Collections Management Holdings, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         328. Upon information and belief, Defendant Columbus, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         329. Upon information and belief, Defendant Compliance Services Ltd. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Bermuda.

         330. Upon information and belief, Defendant Compliance Services, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         331. Upon information and belief, Defendant ComplySmart Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         332. Upon information and belief, Defendant ComplySmart, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         333. Upon information and belief, Defendant Concept Creations Corp. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of South Dakota.




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         334. Upon information and belief, Defendant Connect2 CME Limited n/k/a Alchemie

Medical Education Limited is a necessary party and a company owned or controlled directly or

indirectly by Greg Evan Lindberg organized and existing under the laws of the United Kingdom.

         335. Upon information and belief, Defendant Connect2 Medical Communications

Limited is a necessary party and a company owned or controlled directly or indirectly by Greg

Evan Lindberg organized and existing under the laws of the United Kingdom.

         336. Upon information and belief, Defendant Conservatrix Leven, NV is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the Netherlands.

         337. Upon information and belief, Defendant Conway, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         338. Upon information and belief, Defendant Cowper, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         339. Upon information and belief, Defendant Creative Collectible Company, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         340. Upon information and belief, Defendant Creston, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.




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         341. Upon information and belief, Defendant CRI Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         342. Upon information and belief, Defendant CSI Interco, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         343. Upon information and belief, Defendant CV Equipment Leasing, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         344. Upon information and belief, Defendant CV Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         345. Upon information and belief, Defendant CV Investments, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         346. Upon information and belief, Defendant CVE Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         347. Upon information and belief, Defendant CWNP, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.




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         348. Upon information and belief, Defendant Daffodil Six, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         349. Upon information and belief, Defendant Dahlia Ten, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         350. Upon information and belief, Defendant Daisy Seven, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         351. Upon information and belief, Defendant DAM Holdings I, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         352. Upon information and belief, Defendant Damascus Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         353. Upon information and belief, Defendant Damoco Bidco Limited (UK) is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         354. Upon information and belief, Defendant Damoco Holdco Limited (UK) is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.




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         355. Upon information and belief, Defendant Damoco Midco Limited (UK) is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         356. Upon information and belief, Defendant Damova Polska sp. Zo.o is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Poland.

         357. Upon information and belief, Defendant Damovo Belgium NV/SA is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Belgium.

         358. Upon information and belief, Defendant Damovo Costa Rica SRL is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Costa Rica.

         359. Upon information and belief, Defendant Damovo Deutschland GmbH & Co. KG is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Germany.

         360. Upon information and belief, Defendant Damovo Deutschland TopCo GmbH is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Germany.

         361. Upon information and belief, Defendant Damovo Deutschland Verwaltungs GmbH

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of Germany.




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         362. Upon information and belief, Defendant Damovo Global Services (UK) Limited is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         363. Upon information and belief, Defendant Damovo Holdings Deutschland GmbH is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Germany.

         364. Upon information and belief, Defendant Damovo Ireland Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Ireland.

         365. Upon information and belief, Defendant Damovo Ltd (Atlanta TopCo Limited) is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         366. Upon information and belief, Defendant Damovo Luxembourg S.a.r.l. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Luxembourg.

         367. Upon information and belief, Defendant Damovo Österreich GmbH is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Austria.

         368. Upon information and belief, Defendant Damovo Schweiz AG is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of Switzerland.




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         369. Upon information and belief, Defendant Damovo Sverige.AB is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of Sweden.

         370. Upon information and belief, Defendant Damovo USA, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Ohio.

         371. Upon information and belief, Defendant Danielsville, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         372. Upon information and belief, Defendant Deering, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         373. Upon information and belief, Defendant Delmar Center Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         374. Upon information and belief, Defendant Delmar Surgical Center, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Maryland.

         375. Upon information and belief, Defendant Demand Side Media, Ltd. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.




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         376. Upon information and belief, Defendant Dental Management Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         377. Upon information and belief, Defendant Dental Management Operations, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         378. Upon information and belief, Defendant Derry, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         379. Upon information and belief, Defendant DGX Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         380. Upon information and belief, Defendant Dictate IT Limited is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the United Kingdom.

         381. Upon information and belief, Defendant DJRTC, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         382. Upon information and belief, Defendant Dream Markets, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Iowa.




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         383. Upon information and belief, Defendant Drummond Group, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         384. Upon information and belief, Defendant DSE Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         385. Upon information and belief, Defendant DTH Holdings, Ltd is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the Cayman Islands.

         386. Upon information and belief, Defendant Dunbarton, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         387. Upon information and belief, Defendant Dunhill Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         388. Upon information and belief, Defendant Dunstans Publishing Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         389. Upon information and belief, Defendant Durham, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.




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         390. Upon information and belief, Defendant EAM Holdings I, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         391. Upon information and belief, Defendant East Hill Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         392. Upon information and belief, Defendant Eastern Enterprises, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of South Dakota.

         393. Upon information and belief, Defendant Eatonton, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         394. Upon information and belief, Defendant ECL Group, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         395. Upon information and belief, Defendant ECL Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         396. Upon information and belief, Defendant ECLL Private Ltd is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of India.




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         397. Upon information and belief, Defendant Edwards Mill Asset Management, LLC is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         398. Upon information and belief, Defendant Effingham, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         399. Upon information and belief, Defendant E-finity Leads Ltd. n/k/a CANDID

INSURANCE SERVICES LTD is a necessary party and a company owned or controlled directly

or indirectly by Greg Evan Lindberg organized and existing under the laws of the United Kingdom.

         400. Upon information and belief, Defendant EG Media Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         401. Upon information and belief, Defendant EG Media Investments, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         402. Upon information and belief, Defendant EGX Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         403. Upon information and belief, Defendant Eiffel Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         404. Upon information and belief, Defendant Elberton, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         405. Upon information and belief, Defendant Elements Communications Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         406. Upon information and belief, Defendant Elevate Healthcare, Inc. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         407. Upon information and belief, Defendant Elevate Portfolio, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         408. Upon information and belief, Defendant Eli Arrevio Limited n/k/a Global Growth

Arrevio Private Limited is a necessary party and a company owned or controlled directly or

indirectly by Greg Evan Lindberg organized and existing under the laws of India.

         409. Upon information and belief, Defendant Eli BPO India Private Ltd is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of India.

         410. Upon information and belief, Defendant Eli Business Solutions Private Ltd is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of India.




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         411. Upon information and belief, Defendant Eli Denmark Investments, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         412. Upon information and belief, Defendant Eli Deutschland GmbH is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Germany.

         413. Upon information and belief, Defendant Eli Equity, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Florida.

         414. Upon information and belief, Defendant Eli Germany Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         415. Upon information and belief, Defendant Eli Global Asia Pacific Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Hong Kong.

         416. Upon information and belief, Defendant Eli Global Philippines Resources

Operations Center, Inc. is a necessary party and a company owned or controlled directly or

indirectly by Greg Evan Lindberg organized and existing under the laws of Philippines.

         417. Upon information and belief, Defendant Eli Global, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.




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         418. Upon information and belief, Defendant Eli Health Solutions Pvt. Ltd. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of India.

         419. Upon information and belief, Defendant Eli Knowledge Services (India) Private

Limited is a necessary party and a company owned or controlled directly or indirectly by Greg

Evan Lindberg organized and existing under the laws of India.

         420. Upon information and belief, Defendant Eli New Media, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         421. Upon information and belief, Defendant Eli Publications, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Connecticut.

         422. Upon information and belief, Defendant Eli Research India Private Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of India.

         423. Upon information and belief, Defendant Eli Research, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         424. Upon information and belief, Defendant Eli Revenue Cycle Solutions Private

Limited is a necessary party and a company owned or controlled directly or indirectly by Greg

Evan Lindberg organized and existing under the laws of India.




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         425. Upon information and belief, Defendant Eli Shared Services Private Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of India.

         426. Upon information and belief, Defendant Eli Ventures, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         427. Upon information and belief, Defendant Ellaville, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         428. Upon information and belief, Defendant ELP Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         429. Upon information and belief, Defendant ELT Groupe is a necessary party and a

company owned or controlled directly or indirectly by Greg Lindberg organized and existing under

the laws of France.

         430. Upon information and belief, Defendant ENG Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         431. Upon information and belief, Defendant Engaged Media Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.




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         432. Upon information and belief, Defendant Engaged Media, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         433. Upon information and belief, Defendant Engagement Group, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         434. Upon information and belief, Defendant Englert Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         435. Upon information and belief, Defendant Enterprises Services, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         436. Upon information and belief, Defendant Entrust Global Group, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         437. Upon information and belief, Defendant ENX, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         438. Upon information and belief, Defendant Ephesus Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.




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         439. Upon information and belief, Defendant Epic Care Home Technologies Limited is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Ireland.

         440. Upon information and belief, Defendant Epic Solutions Limited is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of Ireland.

         441. Upon information and belief, Defendant Epping, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         442. Upon information and belief, Defendant eRADIMAGING, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         443. Upon information and belief, Defendant Erie Properties, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Wyoming.

         444. Upon information and belief, Defendant ERX Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         445. Upon information and belief, Defendant Eye & LASIK Eye Care Management,

LLC is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.




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         446. Upon information and belief, Defendant Eye & LASIK Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         447. Upon information and belief, Defendant Eye & LASIK Optical, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         448. Upon information and belief, Defendant Eye Care Leaders Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         449. Upon information and belief, Defendant Eye Care Leaders Portfolio Holdings, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         450. Upon information and belief, Defendant Eye Reach Patients, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         451. Upon information and belief, Defendant F1rstmark, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         452. Upon information and belief, Defendant Fafnir Distribution ApS is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Denmark.




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         453. Upon information and belief, Defendant Faison, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         454. Upon information and belief, Defendant Fargo, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         455. Upon information and belief, Defendant Farmington, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         456. Upon information and belief, Defendant Farrington Mill Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         457. Upon information and belief, Defendant Fayetteville, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         458. Upon information and belief, Defendant FIA Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         459. Upon information and belief, Defendant Fiasco Fine Wine, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.




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         460. Upon information and belief, Defendant Financial Institute Advisors, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         461. Upon information and belief, Defendant Finanzen France SAS is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of France.

         462. Upon information and belief, Defendant Finanzen Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         463. Upon information and belief, Defendant Finanzen.de Maklerservice GmbH is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Germany.

         464. Upon information and belief, Defendant finanzen.de Vermittlungsgesellscaft t0r

Verbrauchervertr is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of Germany.

         465. Upon information and belief, Defendant First International Financial, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Wyoming.

         466. Upon information and belief, Defendant Flagship Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.




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         467. Upon information and belief, Defendant Fleet Assist Interco Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.

         468. Upon information and belief, Defendant Fleet Assist Limited is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the United Kingdom.

         469. Upon information and belief, Defendant Flemington, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         470. Upon information and belief, Defendant Flovilla, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         471. Upon information and belief, Defendant Flowery Branch, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         472. Upon information and belief, Defendant FMC Mortgage Corporation is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         473. Upon information and belief, Defendant Firstmark, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Lindberg organized and existing under

the laws of the State of Mississippi.




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         474. Upon information and belief, Defendant FMX Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         475. Upon information and belief, Defendant Folkston, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         476. Upon information and belief, Defendant Forest Park Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         477. Upon information and belief, Defendant Forsyth, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         478. Upon information and belief, Defendant Fortrex Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         479. Upon information and belief, Defendant Fortrex Technologies Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         480. Upon information and belief, Defendant Fortrex, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.




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         481. Upon information and belief, Defendant Foxford Investments Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         482. Upon information and belief, Defendant FPAM Holdings I, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Delaware.

         483. Upon information and belief, Defendant Franconia, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         484. Upon information and belief, Defendant FS Windup, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         485. Upon information and belief, Defendant FTGU Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         486. Upon information and belief, Defendant FTGU Medical Billing, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         487. Upon information and belief, Defendant Funston, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.




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         488. Upon information and belief, Defendant Futuresource Consulting Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         489. Upon information and belief, Defendant Futuresource Holdings Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         490. Upon information and belief, Defendant GAM Holdings I, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         491. Upon information and belief, Defendant GAM Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         492. Upon information and belief, Defendant GamesPro Global Group ApS is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Denmark.

         493. Upon information and belief, Defendant Gardenia One, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         494. Upon information and belief, Defendant Garfield, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.




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         495. Upon information and belief, Defendant GB Capital, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         496. Upon information and belief, Defendant GB Life Luxembourg S.A. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Luxembourg.

         497. Upon information and belief, Defendant GB UK Investments, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         498. Upon information and belief, Defendant GB Venture Fund, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         499. Upon information and belief, Defendant GBC Advisors, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         500. Upon information and belief, Defendant GBC Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         501. Upon information and belief, Defendant GBI Group, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         502. Upon information and belief, Defendant GBIG Business Solutions Private Limited

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of India.

         503. Upon information and belief, Defendant GBIG Capital, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         504. Upon information and belief, Defendant GBIG Holdings, LLC (aka GBIG

Holdings & Reinsurance Company Inc.) is a necessary party and a company owned or controlled

directly or indirectly by Greg Evan Lindberg organized and existing under the laws of the State of

North Carolina.

         505. Upon information and belief, Defendant GBIG Portugal, S.A. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of Portugal.

         506. Upon information and belief, Defendant GBVF Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         507. Upon information and belief, Defendant GC Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         508. Upon information and belief, Defendant GCC Holdings US, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.




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         509. Upon information and belief, Defendant GCC Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         510. Upon information and belief, Defendant GCC Interco, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         511. Upon information and belief, Defendant Geranium Two, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         512. Upon information and belief, Defendant GHTG Investment, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         513. Upon information and belief, Defendant Gilford Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         514. Upon information and belief, Defendant Gilford, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         515. Upon information and belief, Defendant Gillsville, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.




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         516. Upon information and belief, Defendant GIX Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         517. Upon information and belief, Defendant Global A&D Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         518. Upon information and belief, Defendant Global Bankers Insurance Group, LLC

(“GBIG, LLC”) is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of the State of North Carolina. Upon

information and belief, GBIG, LLC provided certain investment compliance, executive

management and other regulatory oversight and administrative services to the NCIC, Pavonia Life

Insurance Company of Michigan and Debtors for certain timeframes, including between 2017 and

2019.

         519. Upon information and belief, Defendant Global Credit & Collection (Indiana)

Corporation is a necessary party and a company owned or controlled directly or indirectly by Greg

Evan Lindberg organized and existing under the laws of the State of Delaware.

         520. Upon information and belief, Defendant Global Credit & Collection Corporation is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         521. Upon information and belief, Defendant Global Credit and Collections, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Canada.




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            522. Upon information and belief, Defendant Global Data Insights Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

            523. Upon information and belief, Defendant Global ETC, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

            524. Upon information and belief, Defendant Global Growth, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

            525. Upon information and belief, Defendant Global Growth Holdings, Inc. f/k/a

Academy Association, Inc. is a necessary party and a company owned or controlled directly or

indirectly by Greg Evan Lindberg organized and existing under the laws of the State of North

Carolina.

            526. Upon information and belief, Defendant Global Health Technology Group, LLC is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

            527. Upon information and belief, Defendant Global Mortgage Capital Holdings, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

            528. Upon information and belief, Defendant Global Mortgage Capital, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.




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         529. Upon information and belief, Defendant Global Operations Services, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         530. Upon information and belief, Defendant Global TIC CE, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         531. Upon information and belief, Defendant Global Vision Growth, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         532. Upon information and belief, Defendant GMK Pepper Holdings Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         533. Upon information and belief, Defendant Goffstown, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         534. Upon information and belief, Defendant Golden Energy Group, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of South Dakota.

         535. Upon information and belief, Defendant GoPrime Mortgage, Inc. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.




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         536. Upon information and belief, Defendant Goshen, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         537. Upon information and belief, Defendant GP Management, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of South Dakota.

         538. Upon information and belief, Defendant Grande LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Arizona.

         539. Upon information and belief, Defendant Green Lilac, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         540. Upon information and belief, Defendant Greenfield Capital, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         541. Upon information and belief, Defendant Greenville, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         542. Upon information and belief, Defendant GSRE 27, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.




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            543. Upon information and belief, Defendant GSRE 29, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

            544. Upon information and belief, Defendant GTIC Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

            545. Upon information and belief, Defendant GTIC&A, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

            546. Upon information and belief, Defendant HA Wind Up 1, LLC f/k/a Hansen

Aerospace Holdings, LLC is a necessary party and a company owned or controlled directly or

indirectly by Greg Evan Lindberg organized and existing under the laws of the State of North

Carolina.

            547. Upon information and belief, Defendant HAM Holdings I, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

            548. Upon information and belief, Defendant Hampstead, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

            549. Upon information and belief, Defendant Hampton Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.




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         550. Upon information and belief, Defendant Hansen Aerospace Holdings, LLC n/k/a

HA Windup 1, LLC is a necessary party and a company owned or controlled directly or indirectly

by Greg Evan Lindberg organized and existing under the laws of the State of North Carolina.

         551. Upon information and belief, Defendant Hansen Aerospace, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         552. Upon information and belief, Defendant Harvard Collect, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         553. Upon information and belief, Defendant Harvard Collection Services, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Illinois.

         554. Upon information and belief, Defendant Health Audio, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         555. Upon information and belief, Defendant Health Care Cloud Services, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of North Carolina.

         556. Upon information and belief, Defendant Health Ireland Partners Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Ireland.




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         557. Upon information and belief, Defendant Health Through Information is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         558. Upon information and belief, Defendant Healthcare Jobs, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         559. Upon information and belief, Defendant Healthicity, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         560. Upon information and belief, Defendant HealthLink Group Investments Limited is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of New Zealand.

         561. Upon information and belief, Defendant HealthLink Group Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of New Zealand.

         562. Upon information and belief, Defendant HealthLink Group PTY Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Australia.

         563. Upon information and belief, Defendant Healthlink Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.




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         564. Upon information and belief, Defendant Healthlink Investments, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         565. Upon information and belief, Defendant HealthLink Research Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of New Zealand.

         566. Upon information and belief, Defendant Helix Health Group Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Ireland.

         567. Upon information and belief, Defendant Helix Health Software Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Ireland.

         568. Upon information and belief, Defendant Hemophilia Preferred Care of Memphis,

Inc. is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of Alabama.

         569. Upon information and belief, Defendant Hemophilia Preferred Care of Mississippi,

Inc. is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of Mississippi.

         570. Upon information and belief, Defendant Hemophilia Preferred Care of Oklahoma,

Inc. is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of Oklahoma.




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          571. Upon information and belief, Defendant Henniker, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

          572. Upon information and belief, Defendant HH Spiral Holdings Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Ireland.

          573. Upon information and belief, Defendant Hibiscus Three, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

          574. Upon information and belief, Defendant Holt, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

          575. Upon information and belief, Defendant Home Medical Equipment Specialists,

LLC (d/b/a HME Specialists LLC) is a necessary party and a company owned or controlled directly

or indirectly by Greg Evan Lindberg organized and existing under the laws of the State of New

Mexico.

          576. Upon information and belief, Defendant Hooksett, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

          577. Upon information and belief, Defendant Hopkinton, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.




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         578. Upon information and belief, Defendant Horizon Holdings I, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         579. Upon information and belief, Defendant HPC Biologicals, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Alabama.

         580. Upon information and belief, Defendant HPC Specialty Rx of Kansas, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Oklahoma.

         581. Upon information and belief, Defendant HPC Specialty Rx Reed, Inc. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of West Virginia.

         582. Upon information and belief, Defendant HPC Specialty Rx West Virginia, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of West Virginia.

         583. Upon information and belief, Defendant HPC, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Alabama.

         584. Upon information and belief, Defendant HPCNC, Inc. is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.




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         585. Upon information and belief, Defendant HPCSP Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         586. Upon information and belief, Defendant HPCSP Investments, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         587. Upon information and belief, Defendant HRWeb Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         588. Upon information and belief, Defendant HRWeb Software, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         589. Upon information and belief, Defendant Hybrid Treatment Solutions, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Lindberg

organized and existing under the laws of the State of North Carolina.

         590. Upon information and belief, Defendant Hyacinth Four, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         591. Upon information and belief, Defendant Hydrangea Four, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         592. Upon information and belief, Defendant I SBA-International Society of Business

Appraisers, LLC is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of the State of North Carolina.

         593. Upon information and belief, Defendant IBC Management, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Florida.

         594. Upon information and belief, Defendant ICAM Holdings I, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Delaware.

         595. Upon information and belief, Defendant IFA Systems AG is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of Germany.

         596. Upon information and belief, Defendant iMedicWare, Inc. is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of New Jersey.

         597. Upon information and belief, Defendant IMW EMR, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         598. Upon information and belief, Defendant IMW Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         599. Upon information and belief, Defendant In the Arena, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Wyoming.

         600. Upon information and belief, Defendant Independent Contractor Services, LLC is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         601. Upon information and belief, Defendant Independent Contractor, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Georgia.

         602. Upon information and belief, Defendant Informatica Investments Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Lindberg

organized and existing under the laws of the United Kingdom.

         603. Upon information and belief, Defendant Informatica Systems Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         604. Upon information and belief, Defendant Inhealthcare, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         605. Upon information and belief, Defendant Inkop, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.




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         606. Upon information and belief, Defendant Insight Software, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         607. Upon information and belief, Defendant Integrity EMR Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         608. Upon information and belief, Defendant Integrity EMR, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         609. Upon information and belief, Defendant Intralan (UK) Limited is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the United Kingdom.

         610. Upon information and belief, Defendant Intralan Group Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.

         611. Upon information and belief, Defendant Intralan Investments Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         612. Upon information and belief, Defendant Intralan Telecom Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.




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         613. Upon information and belief, Defendant IO Practiceware, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of New York.

         614. Upon information and belief, Defendant IOPW Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         615. Upon information and belief, Defendant Iredell, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         616. Upon information and belief, Defendant Iris Four, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         617. Upon information and belief, Defendant Iron City Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         618. Upon information and belief, Defendant ISBA-International Society of Business

Appraisers, LLC is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of the State of North Carolina.

         619. Upon information and belief, Defendant iTech Funding, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Arizona.




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         620. Upon information and belief, Defendant Jackson Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         621. Upon information and belief, Defendant Jacksonville, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         622. Upon information and belief, Defendant Jaffrey, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         623. Upon information and belief, Defendant JAM Holdings I, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         624. Upon information and belief, Defendant Jasmine Five, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         625. Upon information and belief, Defendant K2B Sàrl is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of France.

         626. Upon information and belief, Defendant Kenly, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.




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         627. Upon information and belief, Defendant KeyMed Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         628. Upon information and belief, Defendant KeyMed, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         629. Upon information and belief, Defendant Kite Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         630. Upon information and belief, Defendant KITE Holdings I, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         631. Upon information and belief, Defendant Konnect Net Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         632. Upon information and belief, Defendant Konnect Net Investments Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of New Zealand.

         633. Upon information and belief, Defendant Konnect Net Limited is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of New Zealand.




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         634. Upon information and belief, Defendant Laconia, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         635. Upon information and belief, Defendant LAM Holdings I, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         636. Upon information and belief, Defendant LAM Holdings, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         637. Upon information and belief, Defendant Lares Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         638. Upon information and belief, Defendant Lares, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         639. Upon information and belief, Defendant Lavender Six, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         640. Upon information and belief, Defendant Lens on Demand, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         641. Upon information and belief, Defendant Liberty Holdings LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of South Dakota.

         642. Upon information and belief, Defendant Liberty House Clinic Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         643. Upon information and belief, Defendant Lilac Six, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         644. Upon information and belief, Defendant Lilly Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         645. Upon information and belief, Defendant Lily Two, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         646. Upon information and belief, Defendant Limitless Research, Inc. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Canada.

         647. Upon information and belief, Defendant Littleton, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.




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         648. Upon information and belief, Defendant LMG Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         649. Upon information and belief, Defendant LMG Management Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         650. Upon information and belief, Defendant LMG Management, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         651. Upon information and belief, Defendant Londonderry, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         652. Upon information and belief, Defendant Lotus Seven, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         653. Upon information and belief, Defendant Loudon, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         654. Upon information and belief, Defendant Louisburg, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         655. Upon information and belief, Defendant M Investments, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         656. Upon information and belief, Defendant Macon, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         657. Upon information and belief, Defendant Madbury, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         658. Upon information and belief, Defendant Magnolia Eight, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         659. Upon information and belief, Defendant MAM Holdings I, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Delaware.

         660. Upon information and belief, Defendant Marigold Nine, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         661. Upon information and belief, Defendant Market Tech Media Corporation is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.




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         662. Upon information and belief, Defendant Mars Cars, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Wyoming.

         663. Upon information and belief, Defendant Marshall Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         664. Upon information and belief, Defendant Marval Group Limited is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the United Kingdom.

         665. Upon information and belief, Defendant Marval Investments Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.

         666. Upon information and belief, Defendant Marval Software Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.

         667. Upon information and belief, Defendant Marval Training and Consultancy Limited

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the United Kingdom.

         668. Upon information and belief, Defendant Marvel Investments Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Lindberg organized and

existing under the laws of the United Kingdom.




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         669. Upon information and belief, Defendant Master Procure, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         670. Upon information and belief, Defendant Maxwell Stanley Consulting Investments

Limited is a necessary party and a company owned or controlled directly or indirectly by Greg

Evan Lindberg organized and existing under the laws of the United Kingdom.

         671. Upon information and belief, Defendant Maxwell Stanley Consulting Limited f/k/a

One Step Ahead Consultancy Ltd is a necessary party and a company owned or controlled directly

or indirectly by Greg Evan Lindberg organized and existing under the laws of the United Kingdom.

         672. Upon information and belief, Defendant MBS Investments PTY. LTD. n/k/a

Clanwilliam Australia PTY Limited is a necessary party and a company owned or controlled

directly or indirectly by Greg Evan Lindberg organized and existing under the laws of Australia.

         673. Upon information and belief, Defendant MBW Holdco, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         674. Upon information and belief, Defendant MBW Interco, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         675. Upon information and belief, Defendant McCarthy, Burgess & Wolff, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.




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         676. Upon information and belief, Defendant McKinley Ventures Group, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Michigan.

         677. Upon information and belief, Defendant MD Office, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         678. Upon information and belief, Defendant MDO Group Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         679. Upon information and belief, Defendant MDX, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         680. Upon information and belief, Defendant Med Claims International, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         681. Upon information and belief, Defendant MedAttend, LLC n/k/a USA Mask

Company, LLC is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of the State of North Carolina.

         682. Upon information and belief, Defendant MedClaims Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.




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         683. Upon information and belief, Defendant Medflow Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         684. Upon information and belief, Defendant Medflow, Inc. is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         685. Upon information and belief, Defendant Media Product Services, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         686. Upon information and belief, Defendant Medical Business Systems PTY Ltd. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Australia.

         687. Upon information and belief, Defendant Medical Physics, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         688. Upon information and belief, Defendant Medicom Medical Computer Solutions

Limited is a necessary party and a company owned or controlled directly or indirectly by Greg

Evan Lindberg organized and existing under the laws of Ireland.

         689. Upon information and belief, Defendant Mercato Leadmanagement Investments

Holdings GmbH is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of Germany.




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         690. Upon information and belief, Defendant Meredith, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         691. Upon information and belief, Defendant Merrimack, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         692. Upon information and belief, Defendant Metronome Financial, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         693. Upon information and belief, Defendant Metronome Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         694. Upon information and belief, Defendant Miracard, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         695. Upon information and belief, Defendant MM Holdings I, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Missouri.

         696. Upon information and belief, Defendant MM Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.




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         697. Upon information and belief, Defendant MM Logistics, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Wyoming.

         698. Upon information and belief, Defendant MNI Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         699. Upon information and belief, Defendant Morning Mountain Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         700. Upon information and belief, Defendant Morresville, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         701. Upon information and belief, Defendant Mountain West Innovations Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Wyoming.

         702. Upon information and belief, Defendant MRX Holdings, LLC f/k/a Mplus

Holdings, LLC is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of the State of North Carolina.

         703. Upon information and belief, Defendant MVE Holding, LLC n/k/a MNI Holdings,

LLC is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.




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         704. Upon information and belief, Defendant My Vision Express, Inc. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Georgia.

         705. Upon information and belief, Defendant NAM Holdings I, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         706. Upon information and belief, Defendant Nashua, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         707. Upon information and belief, Defendant Nationwide Recovery Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         708. Upon information and belief, Defendant Nationwide Recovery Systems, Ltd. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Texas.

         709. Upon information and belief, Defendant NEBB Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         710. Upon information and belief, Defendant NEBB Institute, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         711. Upon information and belief, Defendant NEC Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         712. Upon information and belief, Defendant NEI Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         713. Upon information and belief, Defendant NEI Investments, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         714. Upon information and belief, Defendant NEI Management, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         715. Upon information and belief, Defendant Netfarmers GmbH is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of Germany.

         716. Upon information and belief, Defendant Netherlands Insurance Holdings, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         717. Upon information and belief, Defendant Netherlands Insurance Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.




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         718. Upon information and belief, Defendant New England Capital, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         719. Upon information and belief, Defendant New Hill Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         720. Upon information and belief, Defendant New Hill, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Oregon.

         721. Upon information and belief, Defendant New Ipswich, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         722. Upon information and belief, Defendant Next Level Purchasing, Inc. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Pennsylvania.

         723. Upon information and belief, Defendant Next Level Purchasing, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         724. Upon information and belief, Defendant NHA Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         725. Upon information and belief, Defendant NHC Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         726. Upon information and belief, Defendant Nice Asset Management, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         727. Upon information and belief, Defendant NIH Capital, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         728. Upon information and belief, Defendant NLC Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Lindberg organized and existing

under the laws of the State of North Carolina.

         729. Upon information and belief, Defendant NLC Investments, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Lindberg organized and

existing under the laws of the State of North Carolina.

         730. Upon information and belief, Defendant NLP Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         731. Upon information and belief, Defendant NN Life Luxembourg S.A. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Luxembourg.




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         732. Upon information and belief, Defendant NOM GB 2018 I, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         733. Upon information and belief, Defendant Non Sport Update Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         734. Upon information and belief, Defendant Non Sport Update, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         735. Upon information and belief, Defendant Norlina, LLC f/k/a Highlight, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         736. Upon information and belief, Defendant Northeast Insurance Holdings, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         737. Upon information and belief, Defendant Northeast LMG Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         738. Upon information and belief, Defendant Northern Air, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Wyoming.




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         739. Upon information and belief, Defendant Northstar Financial Insurance Services,

LLC is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of Delaware.

         740. Upon information and belief, Defendant Notochord Limited is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of Ireland.

         741. Upon information and belief, Defendant Nottingham, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         742. Upon information and belief, Defendant NPC National Physics Consultants, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         743. Upon information and belief, Defendant NS Beaufort Investments, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         744. Upon information and belief, Defendant NS EBR, LLP is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Texas.

         745. Upon information and belief, Defendant NSES 13, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.




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         746. Upon information and belief, Defendant NSES B, Inc. is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         747. Upon information and belief, Defendant NSES C, Inc. is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         748. Upon information and belief, Defendant NSES D, Inc. is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         749. Upon information and belief, Defendant NSES E, Inc. is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         750. Upon information and belief, Defendant NSES F, Inc. is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         751. Upon information and belief, Defendant NSES Funding 10, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Delaware.

         752. Upon information and belief, Defendant NSES G, Inc. is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.




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         753. Upon information and belief, Defendant NSES H, Inc. is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         754. Upon information and belief, Defendant NSX Wilmington Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Ireland.

         755. Upon information and belief, Defendant NW Eye Care Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         756. Upon information and belief, Defendant NW Eye Surgeons Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         757. Upon information and belief, Defendant NWES Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         758. Upon information and belief, Defendant OAM Holdings I, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         759. Upon information and belief, Defendant Oatman Asset Management, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.




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         760. Upon information and belief, Defendant Obsidian Healthcare Group Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         761. Upon information and belief, Defendant Ocean Ophthalmology Management

Holdings, LLC is a necessary party and a company owned or controlled directly or indirectly by

Greg Lindberg organized and existing under the laws of the State of North Carolina.

         762. Upon information and belief, Defendant Ocean Ophthalmology Management, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Lindberg

organized and existing under the laws of the State of North Carolina.

         763. Upon information and belief, Defendant OGX Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         764. Upon information and belief, Defendant OMPC, LLC f/k/a OMPC Therapy, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         765. Upon information and belief, Defendant Online Reputations Manager, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         766. Upon information and belief, Defendant Orange Gardenia, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         767. Upon information and belief, Defendant Orange Petunia, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         768. Upon information and belief, Defendant Orange Poppy, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         769. Upon information and belief, Defendant Orchid Five, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         770. Upon information and belief, Defendant P A S Holding Limited is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of New Zealand.

         771. Upon information and belief, Defendant P Windup1 Limited is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the United Kingdom.

         772. Upon information and belief, Defendant P Windup2 Limited is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the United Kingdom.

         773. Upon information and belief, Defendant PAM Holdings I, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.




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         774. Upon information and belief, Defendant PAM Holdings I, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         775. Upon information and belief, Defendant Paradigm Park Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         776. Upon information and belief, Defendant Paradise Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         777. Upon information and belief, Defendant Parallel Capital Assets, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         778. Upon information and belief, Defendant Patent Review Score, Inc. a/k/a Patient

Review Score, Inc. is a necessary party and a company owned or controlled directly or indirectly

by Greg Evan Lindberg organized and existing under the laws of the State of North Carolina.

         779. Upon information and belief, Defendant Patriot Group Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         780. Upon information and belief, Defendant Pavonia Life Insurance Company of

Michigan (“PLIC MI”) is a necessary party and a company owned or controlled directly or

indirectly by Greg Evan Lindberg organized and existing under the laws of the State of Michigan.

         781. Upon information and belief, Defendant Axar Capital Management LP (“Axar”) is

a necessary party and partnership governed by the laws of the State of Delaware. Upon information


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and belief, in January 2022, Lindberg caused GBIG Holdings to enter a stock purchase agreement

with Axar, under which Axar purchased the stock of PLIC MI in exchange for cash.

         782. Upon information and belief, Defendant PB Investment Company Ltd. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Bermuda.

         783. Upon information and belief, Defendant PBO Holdings, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         784. Upon information and belief, Defendant PBX Bermuda Holdings, Ltd. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Bermuda.

         785. Upon information and belief, Defendant PBX Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         786. Upon information and belief, Defendant PCF Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         787. Upon information and belief, Defendant PCF, LLC f/k/a Litigation Funding, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         788. Upon information and belief, Defendant Pelton Group, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.


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         789. Upon information and belief, Defendant Pelton Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         790. Upon information and belief, Defendant Penn Medical Informatics Systems, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         791. Upon information and belief, Defendant Peony Five, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         792. Upon information and belief, Defendant Periwinkle Seven, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         793. Upon information and belief, Defendant Petunia Ten, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         794. Upon information and belief, Defendant Pharma Database, LLC n/k/a SixSails,

LLC is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         795. Upon information and belief, Defendant Pharma Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.




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         796. Upon information and belief, Defendant PharmaSys Investments Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         797. Upon information and belief, Defendant PharmaSys Limited is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the United Kingdom.

         798. Upon information and belief, Defendant Phenna Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         799. Upon information and belief, Defendant PI Software Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         800. Upon information and belief, Defendant PI Software, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         801. Upon information and belief, Defendant Pierre Mendes, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         802. Upon information and belief, Defendant Pink Orchid, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         803. Upon information and belief, Defendant Pink Tulip, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         804. Upon information and belief, Defendant Plaistow, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         805. Upon information and belief, Defendant PMMS Investments Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.

         806. Upon information and belief, Defendant PMX, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         807. Upon information and belief, Defendant Point of No Return, Inc. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Arizona.

         808. Upon information and belief, Defendant Poppy Nine, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         809. Upon information and belief, Defendant PPF OFF 151 North Franklin Street, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of Delaware.




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         810. Upon information and belief, Defendant PPH Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         811. Upon information and belief, Defendant Practice Builders, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         812. Upon information and belief, Defendant Prairie E&L Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         813. Upon information and belief, Defendant Prairie E&L Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         814. Upon information and belief, Defendant Preferred Financial Corporation, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         815. Upon information and belief, Defendant Prime Case Funding, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Lindberg organized and

existing under the laws of the State of Delaware.

         816. Upon information and belief, Defendant Prime Mortgage Lending, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         817. Upon information and belief, Defendant Prime Trust is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing


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under the laws of the State of North Carolina. Border Credit Advisors LLC acts as Trustee for

Defendant Prime Trust.

         818. Upon information and belief, Defendant ProActive Software Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         819. Upon information and belief, Defendant ProActive Software Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of New Zealand.

         820. Upon information and belief, Defendant ProEdTech, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         821. Upon information and belief, Defendant Professional Medical Management

Services Limited is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of the United Kingdom.

         822. Upon information and belief, Defendant Prolimiate Solutions Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         823. Upon information and belief, Defendant Prolimiate Solutions, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         824. Upon information and belief, Defendant Prospect Ridge Energy, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Delaware.


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         825. Upon information and belief, Defendant Pulse IT Communications PTY Ltd. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Australia.

         826. Upon information and belief, Defendant QAM Holdings I, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         827. Upon information and belief, Defendant Queenstown Asset Management, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         828. Upon information and belief, Defendant R&A Eye Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         829. Upon information and belief, Defendant R&A Eye Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         830. Upon information and belief, Defendant Raymond, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         831. Upon information and belief, Defendant Recovery Web Solutions Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.




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         832. Upon information and belief, Defendant Red Begonia, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         833. Upon information and belief, Defendant Red Dahlia, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         834. Upon information and belief, Defendant Red Daisy, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         835. Upon information and belief, Defendant Red Eagle Enterprises, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of South Dakota.

         836. Upon information and belief, Defendant Red Jasmine, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         837. Upon information and belief, Defendant Red River Developments, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Michigan.

         838. Upon information and belief, Defendant Research Triangle Clinical Development

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.




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         839. Upon information and belief, Defendant Resolute Free Press, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         840. Upon information and belief, Defendant Revenue Health Solutions, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         841. Upon information and belief, Defendant Reynolds & Anliker Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         842. Upon information and belief, Defendant RHS Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         843. Upon information and belief, Defendant Rindge, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         844. Upon information and belief, Defendant Rock Holdings I, LLC f/k/a Rock

Holdings I, Inc. is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of the State of Delaware.

         845. Upon information and belief, Defendant Rockdale Asset Management, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.




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         846. Upon information and belief, Defendant Rose Four, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         847. Upon information and belief, Defendant RPI Radiological Physics, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         848. Upon information and belief, Defendant Rumney, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         849. Upon information and belief, Defendant SAF Holdings I, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         850. Upon information and belief, Defendant SAF Holdings II, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         851. Upon information and belief, Defendant SAF Holdings III, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         852. Upon information and belief, Defendant SAF Holdings IV, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.




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         853. Upon information and belief, Defendant SAM Holdings I, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         854. Upon information and belief, Defendant Sanctuary Banbury Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.

         855. Upon information and belief, Defendant Sandown, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         856. Upon information and belief, Defendant Satori Waters, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Florida.

         857. Upon information and belief, Defendant SCMA, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         858. Upon information and belief, Defendant Secured Loan-Backed Funding I, LLC is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         859. Upon information and belief, Defendant Secured Loan-Backed Funding II, LLC is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.




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         860. Upon information and belief, Defendant Secured Loan-Backed Funding III, LLC is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         861. Upon information and belief, Defendant Secured Loan-Backed Funding IV, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         862. Upon information and belief, Defendant Secured Loan-Backed Funding V, LLC is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         863. Upon information and belief, Defendant Secured Loan-Backed Funding VI, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         864. Upon information and belief, Defendant Secured Loan-Backed Funding VII, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         865. Upon information and belief, Defendant Secured Loan-Backed Funding VIII, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         866. Upon information and belief, Defendant Secured Loan-Backed Funding IX, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.




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         867. Upon information and belief, Defendant Secured Loan-Backed Funding X, LLC is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         868. Upon information and belief, Defendant Secured Loan-Backed Funding XI, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         869. Upon information and belief, Defendant Secured Loan-Backed Funding XII, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         870. Upon information and belief, Defendant Secured Loan-Backed Funding XIII, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         871. Upon information and belief, Defendant Secured Loan-Backed Funding XIV, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         872. Upon information and belief, Defendant Secured Loan-Backed Funding XV, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         873. Upon information and belief, Defendant Secured Loan-Backed Funding XVI, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.




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         874. Upon information and belief, Defendant Secured Loan-Backed Funding XVII, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         875. Upon information and belief, Defendant Sedwick, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         876. Upon information and belief, Defendant SFM Loan-Backed Funding, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         877. Upon information and belief, Defendant Shirt, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         878. Upon information and belief, Defendant Shop Loc Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         879. Upon information and belief, Defendant Shopper Local, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         880. Upon information and belief, Defendant SIC US Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.




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         881. Upon information and belief, Defendant Sirius Capital Holdings Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Malta.

         882. Upon information and belief, Defendant Skyworld Corporation is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Wyoming.

         883. Upon information and belief, Defendant SN Group Development, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         884. Upon information and belief, Defendant SN Malta Services Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Malta.

         885. Upon information and belief, Defendant SNA Capital, LLC n/k/a GBIG Capital,

LLC is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         886. Upon information and belief, Defendant SNA Funding, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         887. Upon information and belief, Defendant SNH Acquisition, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.




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         888. Upon information and belief, Defendant Socrates Healthcare, Inc. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of New York.

         889. Upon information and belief, Defendant Somersworth, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         890. Upon information and belief, Defendant South Hill Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         891. Upon information and belief, Defendant Southeast Insurance Capital, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         892. Upon information and belief, Defendant Southern Hobby Distribution, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         893. Upon information and belief, Defendant Southern Hobby Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         894. Upon information and belief, Defendant SP HoldCo, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         895. Upon information and belief, Defendant Speedy Services, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of South Dakota.

         896. Upon information and belief, Defendant SSH Capital, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         897. Upon information and belief, Defendant Standard Advisory Services Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Malta.

         898. Upon information and belief, Defendant Standard Assets Fund I, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         899. Upon information and belief, Defendant Standard Assets Fund II, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         900. Upon information and belief, Defendant Standard Assets Fund III, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         901. Upon information and belief, Defendant Standard Assets Fund IV, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.




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         902. Upon information and belief, Defendant Standard Financial Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Malta.

         903. Upon information and belief, Defendant Standard Holdings Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Malta.

         904. Upon information and belief, Defendant Standard Insurance Holdings, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         905. Upon information and belief, Defendant Standard Investment Capital, Ltd. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Malta.

         906. Upon information and belief, Defendant Standard Investment Holdings Ltd. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Malta.

         907. Upon information and belief, Defendant Standard LC Capital, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         908. Upon information and belief, Defendant Standard LC Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Delaware.




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         909. Upon information and belief, Defendant Standard Life Holdings Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Malta.

         910. Upon information and belief, Defendant Standard Life Limited is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of Malta.

         911. Upon information and belief, Defendant Standard Malta Holdings Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Malta.

         912. Upon information and belief, Defendant Standard Malta Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Malta.

         913. Upon information and belief, Defendant Standard Pacific Investments PTY LTD is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Australia.

         914. Upon information and belief, Defendant Stoddard, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         915. Upon information and belief, Defendant Strategic Consolidated Income Fund, LLC

is a necessary party and organized and existing under the laws of the State of Delaware.

         916. Upon information and belief, Defendant Stratford HoldCo, LLC n/k/a Stratco

Holdings, LLC is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of the State of North Carolina.


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         917. Upon information and belief, Defendant Stratford Pharmaceuticals, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Florida.

         918. Upon information and belief, Defendant Stratham, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         919. Upon information and belief, Defendant Stunner Productions, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Wyoming.

         920. Upon information and belief, Defendant Summerville Asset Management, LLC is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         921. Upon information and belief, Defendant SW Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Lindberg organized and existing

under the laws of the State of North Carolina.

         922. Upon information and belief, Defendant SunBiz Resources, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Florida.

         923. Upon information and belief, Defendant Sunflower Six, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         924. Upon information and belief, Defendant Swanzey, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

         925. Upon information and belief, Defendant Sweet Consultants, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of South Dakota.

         926. Upon information and belief, Defendant TAC Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         927. Upon information and belief, Defendant TAC Home Mortgage, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         928. Upon information and belief, Defendant TAC Investments, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         929. Upon information and belief, Defendant Talaria Global Health, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Lindberg organized and

existing under the laws of the State of North Carolina.

         930. Upon information and belief, Defendant Talent Acquisition Innovation Holdings,

LLC is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.




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            931. Upon information and belief, Defendant Talent Acquisition Innovation, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

            932. Upon information and belief, Defendant Targeted Metrics, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

            933. Upon information and belief, Defendant TCC Junior Loan-Backed Funding, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

            934. Upon information and belief, Defendant TCC Senior Loan-Backed Funding, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

            935. Upon information and belief, Defendant TCI Loan-Backed Funding, LLC f/k/a TCI

Loan Back Security Funding, LLC is a necessary party and a company owned or controlled directly

or indirectly by Greg Evan Lindberg organized and existing under the laws of the State of North

Carolina.

            936. Upon information and belief, Defendant TechDate Corp. is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Wyoming.

            937. Upon information and belief, Defendant Tesla Management, Inc. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Arizona.




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         938. Upon information and belief, Defendant The American Council on English

Language Program Certification, Inc. is a necessary party and a company owned or controlled

directly or indirectly by Greg Evan Lindberg organized and existing under the laws of the State of

North Carolina.

         939. Upon information and belief, Defendant The American Council, Inc. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         940. Upon information and belief, Defendant The Corporate Responsibility Board, LLC

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of North Carolina.

         941. Upon information and belief, Defendant The HOEHNE Group – Software Division,

LLC f/k/a The HOEHNE Group – Software Division, Inc. is a necessary party and a company

owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing under

the laws of the State of Utah.

         942. Upon information and belief, Defendant The Home Medical Equipment Trust is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware. Hugh Steven Wilson acts as

Trustee for Defendant The Home Medical Equipment Trust.

         943. Upon information and belief, Defendant The Online Rehab Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.




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         944. Upon information and belief, Defendant The Recovery House Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         945. Upon information and belief, Defendant The River Source Solution Holdings

Company, LLC is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of the State of North Carolina.

         946. Upon information and belief, Defendant The River Source Solutions, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         947. Upon information and belief, Defendant The River Source Treatment Centre-Casa

Grande, LLC is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of the State of Arizona.

         948. Upon information and belief, Defendant TIAM Holdings I, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Delaware.

         949. Upon information and belief, Defendant Tier 1 Lending Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         950. Upon information and belief, Defendant Tier 1 Lending, LLC f/k/a Tier One

Funding, LLC is a necessary party and a company owned or controlled directly or indirectly by

Greg Evan Lindberg organized and existing under the laws of the State of North Carolina.




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         951. Upon information and belief, Defendant toconnect GmbH is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of Switzerland.

         952. Upon information and belief, Defendant Toniq Limited is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of New Zealand.

         953. Upon information and belief, Defendant Tornado, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         954. Upon information and belief, Defendant Trans-Continental Credit & Collection

Corp is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the State of New York.

         955. Upon information and belief, Defendant Transcontinental Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         956. Upon information and belief, Defendant Transglobal UK Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.

         957. Upon information and belief, Defendant Treatment Direct Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.




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         958. Upon information and belief, Defendant Trier Holding B.V. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the Netherlands.

         959. Upon information and belief, Defendant Triton Financial Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Ireland.

         960. Upon information and belief, Defendant TUX Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         961. Upon information and belief, Defendant TV Fanfare Canada Ltd / TV Fanfare

Canada Ltée is a necessary party and a company owned or controlled directly or indirectly by Greg

Evan Lindberg organized and existing under the laws of Canada.

         962. Upon information and belief, Defendant Tybee Island Asset Management, LLC

f/k/a Tybee Island Asset Management, Inc. is a necessary party and a company owned or controlled

directly or indirectly by Greg Evan Lindberg organized and existing under the laws of the State of

Delaware.

         963. Upon information and belief, Defendant UAM Holdings I, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

         964. Upon information and belief, Defendant UK Addiction Treatment Group Limited

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the United Kingdom.




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         965. Upon information and belief, Defendant UK Addiction Treatment Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the United Kingdom.

         966. Upon information and belief, Defendant UK Asset Fund Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         967. Upon information and belief, Defendant UK Atlanta Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         968. Upon information and belief, Defendant UK Automotive Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Lindberg

organized and existing under the laws of the State of North Carolina.

         969. Upon information and belief, Defendant UK Fintech Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Lindberg organized and

existing under the laws of the State of North Carolina.

         970. Upon information and belief, Defendant UK Informatica Investments, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         971. Upon information and belief, Defendant UK Intralan Investments, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.




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         972. Upon information and belief, Defendant UK Investment Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Lindberg

organized and existing under the laws of the State of North Carolina.

         973. Upon information and belief, Defendant UK Marval Investments, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Lindberg

organized and existing under the laws of the State of North Carolina.

         974. Upon information and belief, Defendant UKAT Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         975. Upon information and belief, Defendant UKAT Interco Limited is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the United Kingdom.

         976. Upon information and belief, Defendant UKAT Investments Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.

         977. Upon information and belief, Defendant Ultimate Advisors, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of South Dakota.

         978. Upon information and belief, Defendant Understand.com, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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         979. Upon information and belief, Defendant Understand.com Holding, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

         980. Upon information and belief, Defendant Unify Communications N.V. n/k/a

Damovo Technology Services NV/SA is a necessary party and a company owned or controlled

directly or indirectly by Greg Evan Lindberg organized and existing under the laws of Belgium.

         981. Upon information and belief, Defendant Unit 77, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         982. Upon information and belief, Defendant United Staffing Solutions, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Lindberg

organized and existing under the laws of the State of North Carolina.

         983. Upon information and belief, Defendant Utopia Asset Management, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         984. Upon information and belief, Defendant Valdosta, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of North Carolina.

         985. Upon information and belief, Defendant VAM Holdings I, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.




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         986. Upon information and belief, Defendant Van Ru Credit Corporation is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Illinois.

         987. Upon information and belief, Defendant Van Ru International, Inc. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Delaware.

         988. Upon information and belief, Defendant Ventura Asset Management, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

         989. Upon information and belief, Defendant Violet One, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         990. Upon information and belief, Defendant VIP Hub Services, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         991. Upon information and belief, Defendant Vision Care Alliance, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Lindberg organized and

existing under the laws of the State of North Carolina.

         992. Upon information and belief, Defendant Vision Care Services Holdings, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.




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         993. Upon information and belief, Defendant Vision Care Services, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

         994. Upon information and belief, Defendant Vista Life & Casualty Reinsurance

Company is a necessary party and a company owned or controlled directly or indirectly by Greg

Evan Lindberg organized and existing under the laws of the State of Vermont.

         995. Upon information and belief, Defendant Voice & Data Network AG is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of Switzerland.

         996. Upon information and belief, Defendant VR Collections, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         997. Upon information and belief, Defendant VR Enterprises, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Arizona.

         998. Upon information and belief, Defendant VRC Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

         999. Upon information and belief, Defendant Waco Asset Management, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.




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        1000. Upon information and belief, Defendant WACO Holdings I, Inc. is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Delaware.

        1001. Upon information and belief, Defendant WC Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

        1002. Upon information and belief, Defendant WCS Resources, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Florida.

        1003. Upon information and belief, Defendant Weare, LLC is a necessary party and a

company owned or controlled directly or indirectly by Greg Evan Lindberg organized and existing

under the laws of the State of Delaware.

        1004. Upon information and belief, Defendant Web Courseworks, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

        1005. Upon information and belief, Defendant Western Bancorp, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

        1006. Upon information and belief, Defendant WesternB Holdings, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.




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        1007. Upon information and belief, Defendant WesternB Investments, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

        1008. Upon information and belief, Defendant Whitaker Mill, LLC f/k/a Trivial, LLC is

a necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

        1009. Upon information and belief, Defendant White Lily, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

        1010. Upon information and belief, Defendant William Street Asset Management Limited

is a necessary party and a company owned or controlled directly or indirectly by Greg Evan

Lindberg organized and existing under the laws of the United Kingdom.

        1011. Upon information and belief, Defendant Williamson, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

        1012. Upon information and belief, Defendant Wilmington Holdings Limited is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of Malta.

        1013. Upon information and belief, Defendant Winn Over Enterprises, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of Florida.




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        1014. Upon information and belief, Defendant Wolfeboro, LLC is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

        1015. Upon information and belief, Defendant WPP Capital, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

        1016. Upon information and belief, Defendant WPSC HoldCo, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Lindberg organized and existing

under the laws of the State of North Carolina.

        1017. Upon information and belief, Defendant WPSC Investments, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Lindberg organized and

existing under the laws of the State of North Carolina.

        1018. Upon information and belief, Defendant Wsam Holdings Limited is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the United Kingdom.

        1019. Upon information and belief, Defendant WW Staffing, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

        1020. Upon information and belief, Defendant WWS Holdings, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.




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        1021. Upon information and belief, Defendant WYO Tech Investments LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Wyoming.

        1022. Upon information and belief, Defendant Yaras Group, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Lindberg organized and existing

under the laws of the State of North Carolina.

        1023. Upon information and belief, Defendant Yarrow Three, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

        1024. Upon information and belief, Defendant Yellow Carnation, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

        1025. Upon information and belief, Defendant Yellow Lotus, LLC is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of North Carolina.

        1026. Upon information and belief, Defendant Yellow Magnolia, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.

        1027. Upon information and belief, Defendant Yellow Sunflower, LLC is a necessary

party and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized

and existing under the laws of the State of North Carolina.




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           1028. Upon information and belief, Defendant ZAM Holdings I, Inc. is a necessary party

and a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Delaware.

           1029. Upon information and belief, Defendant ZapIT Medical Physics, LLC is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of North Carolina.

           1030. Upon information and belief, Defendant Zen Services, Inc. is a necessary party and

a company owned or controlled directly or indirectly by Greg Evan Lindberg organized and

existing under the laws of the State of Indiana.

           1031. Upon information and belief, Defendant Zion Asset Management, Inc. is a

necessary party and a company owned or controlled directly or indirectly by Greg Evan Lindberg

organized and existing under the laws of the State of Delaware.

           1032. The Plaintiffs name John Doe # 1 through John Doe #50 each is an entity or a

person whose name or identify presently is unknown to Plaintiffs, but whose wrongful or otherwise

actionable acts and omissions as alleged herein was the actual or proximate cause of harm, loss, or

compensable damage to one or more Plaintiff. When discovered by a Plaintiff, the identity of the

corresponding DOE defendant will be stated, and that person named as an individual defendant to

this Amended Complaint consistent with applicable laws and rules of procedure before this Court.

           1033. The MOU Affected Parties are all defendants who were not parties to the MOU but

whose rights were affected thereunder, as identified in Schedule II, and therefore are necessary

parties.




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           1034. The IALA Affected Parties are all defendants who were not parties to the MOU but

whose rights were affected thereunder, as identified in Schedule III, and therefore are necessary

parties.

           1035. The Plaintiffs identify major non-party participants: (i) Mike Causey, the

Commissioner of the North Carolina Department of Insurance; (ii) Michael Dinius, of Noble

Consulting Services, Inc., the Special Deputy Rehabilitator for the NCIC; and (iii) Hutchison

PLLC (“Hutchison”).

                                    JURISDICTION & VENUE

           1036. This Court has jurisdiction pursuant to 28 U.S.C. §§ 157, 1331, and 1334, sections

109 and 1501 of the Bankruptcy Code and the Amended Standing Order of Reference from the

United States District Court for the Southern District of New York, dated as of January 31, 2012,

Reference M-431, In re Standing Order of Reference Re: Title 11, 12 Misc. 00032 (S.D.N.Y.

Feb. 2, 2012) (Preska, C.J.).

           1037. This Court has expressly retained jurisdiction over the subject matter of this

adversary proceeding pursuant to the Recognition Order.

           1038. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1410.

           1039. The statutory predicate for the Adversary Proceeding is 11 U.S.C. §§ 1520, 541,

542, 18 U.S.C. §§ 1961, et. seq., Bermuda law, and the North Carolina General Statutes as pled

specifically herein.

           1040. This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(H) and (b)(2)(P), and

the Court may enter a final order in respect of it under Article III of the United States Constitution.




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           FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

     I.      Lindberg and his Entrance into the Insurance Industry
          1041. Lindberg is a self-proclaimed entrepreneur and leadership coach, and according to

his website, https://www.greglindberg.com/bio/, “leads a character-driven life in which doing

good takes an equal role to doing well.”29

          1042. In 1993, Lindberg graduated from Yale University, earning a degree in Economics.

          1043. Lindberg’s first business was one he started in 1991, a “home care compliance

reimbursement newsletter” focused on “Medicare Part A for home health agencies.” The

newsletter is presently active.

          1044. In 1991, Lindberg created Eli Research f/k/a Eli Global. To fund Global Growth,

Lindberg borrowed money from various financial institutions and mezzanine funds. From the start,

Lindberg described Global Growth’s business strategy and philosophy as the “buy-and-hold

strategy,” because “success doesn’t happen overnight.” According to Lindberg, “we [Global

Growth] think buy-and-hold is the right philosophy for capitalism.”

          1045. In 2014, Lindberg caused Global Growth to enter the United States insurance

industry. Using approximately $25 million of money that he swept30 from other businesses he

owned, Lindberg acquired his first United States based insurance company – SNIC. Lindberg NC

MOU Action Trial Testimony [Volume 5] Tr., at 14:20-15:11.31


29
   Lindberg has written a tell all book about the “SINGLE most advantageous experience of [his] life” detailing his
time spent in an Alabama federal prison where he spent almost two years for, inter alia, attempting to bribe Mike
Causey. See Greg Lindberg, 633 Days Inside: Lessons on Life and Leadership, BOWKER IDENTIFIER SERVICES
(September 21, 2022).
30
   “Swept” or “sweep” was a term often used by Lindberg and other Senior Decision Makers. They would search for
available cash in various operating accounts of Lindberg Affiliates, then “sweep” the money to pay for something
else. White 2004 Examination Testimony, infra. The tactic was applied to take money and liquid assets held by the
Debtors, and apply it to the needs of Lindberg Affiliates and Lindberg, himself.
31
   “NC MOU Action” means Southland National Insurance Corporation in Rehabilitation, Bankers Life Insurance
Company, in Rehabilitation, Colorado Bankers Life Insurance Company, in Rehabilitation, and Southland National

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         1046. In late 2015, Lindberg acquired his second United States based insurance company

– CBL. Id., 15:14-16:1.

         1047. Lindberg re-domesticated both SNIC and CBL in North Carolina, and both remain

domiciled in North Carolina. Id.

         1048. After the acquisition of SNIC and CBL, Lindberg acquired his third United States

based insurance company – BLIC, in late 2016.

         1049. SNIC, CBL, and BLIC were originally engaged in the business of selling, including

but not limited to, Medicare supplement insurance, long-term care insurance, supplemental health

insurance (hospital indemnity insurance), annuities, life (term, whole, juvenile whole and

universal), accident and critical condition insurance policies to consumers in North Carolina and

other states.

         1050. Lindberg also acquired a United States based reinsurance company – SNRC. SNRC

was the reinsurer for CBL and SNIC.

         1051. As a generally accepted rule in the insurance industry, insurance companies invest

the cash premiums they receive from their policyholders in stable, liquid assets that will generate

investment income to pay claims, surrenders, or redemptions, and be available for sale in

circumstances requiring ready cash to satisfy claims and surrenders when due. For insurance

companies, those investments are most typically in relatively safe investments such as treasury

securities, investment-grade corporate bonds, and other high-quality instruments such as mortgage

notes secured by investment-rated commercial real estate.




Reinsurance Corporation, in Rehabilitation v. Greg Evan Lindberg, Academy Association, Inc., Edwards Mill Asset
Management, LLC, New England Capital, LLC and Private Bankers Life and Annuity Co., Ltd. a/k/a PB Life and
Annuity Company, Ltd., Gen. Court of Justice, Superior Court Division (Wake County), No. 19 CVS 013093
(discussed in further detail, infra).
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        1052. When policyholders choose insurance companies and reinsurance companies, they

do so with the understanding that their money – the premiums – will be invested in a reasonably

prudent manner.

        1053. In 2018, however, the NCIC held too many investments on their books with and

among affiliated parties, such as debt instruments and preferred equity in entities Lindberg also

owned or controlled.

        1054. Lindberg’s business model relied heavily on the acquisition of existing insurers,

and the investment of policyholder premiums in affiliated insurers and affiliated non-insurance

businesses owned by him.

        1055. Lindberg located his United States insurance businesses in North Carolina which,

until 2019, did not limit insurance company affiliated investments.

        1056. By some estimates, Lindberg’s affiliated investments through NCIC reached 80%,

well beyond the standard practice in North Carolina.

        1057. According to Lindberg, when he entered the insurance industry in 2012, he

approached the NCDOI, then led by commissioner Wayne Goodwin (“Goodwin”), and said “we

[Global Growth] wanted to replicate the Warren Buffett model. He created the most valuable

insurance company on the planet with the model and we figured it was good for policyholders and

good for everybody.” Lindberg NC MOU Action Trial Testimony [Volume 5] Tr., at 22:2-14.

        1058. Ultimately after those discussions, Lindberg testified that he was given “permission

to invest 40 percent in sub investment-grade variable-rate loans and we did that, noninsurance

investments in these companies that we owned that I had 100 percent ownership interest in [sic].”

Id.




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         1059. Lindberg took advantage of this and exploited this informal agreement to the fullest

extent possible, investing a significant amount of the NCIC cash into Lindberg’s other businesses.

At their peak, NCIC had more than sixty percent (60%) of their investments in affiliates, with

some approaching or exceeding eighty percent (80%).

         1060. In 2016, the NCDOI grew wary of Lindberg’s affiliated investments because of

how frequently a transaction occurred – “weekly basis” – and how poorly Global Growth tracked

and reported the transaction to the NCDOI. Brian Stewart NC MOU Action Trial Testimony

[Volume 2] Tr., at 36:13-37:22.

         1061. Loan and investment tracking into 2018 was on an Excel spreadsheet maintained

by an assistant to Herwig.

         1062. Brian Stewart (“Stewart”)—CFO of GBIG—testified that he, and the GBIG team,

became “concerned” about Lindberg’s affiliated investments. Id., at 37:23-38:21.

         1063. It became clear, after numerous questions from the NCDOI, that “a consolidated

financial statement for all of Lindberg’s companies, insurance and noninsurance…was such that

the total group was it [sic] a negative equity position,” which was a concern that the NCDOI

pointed out in their original assessment “as the end of 2017 [sic].” Id, at 38:3-12.

         1064. Stewart further testified that as they moved into 2018, what he “saw happening was

[the PPN structure]32 was being used to increase the volume of affiliated investments instead of

repackaging so the overall exposure was going up over time [sic].” Id., at 38:3-18.




32
   An instrument selected by Lindberg and his Senior Decision Makers, a “PPN” is a principal protected note
“where…a FinCo or other type of asset management investment” is packaged with “a bank-issued zero-coupon bond
that would pay off the full principle of both investments at maturity, typically 30 or so years later [sic].” Stewart NC
MOU Action Trial Testimony [Volume 2] Tr., at 21:1-6.

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         1065. In an attempt to change the optics of this affiliation issue, but not the fundamental

fact of affiliation, and in conjunction with his counsel at Hutchison,33 Lindberg created Edwards

Mill Asset Management (“EMAM”).

         1066. EMAM was used to “disaffiliate” the NCIC investments, whereby EMAM created

Limited Liability Company Special Purpose Vehicles (“SPVs”) to make “conduit loans” from one

of the NCIC to an operating company owned by Lindberg. EMAM was the Class A Member of

each SPV, holding one hundred percent (100%) voting interest in the SPV.

         1067. The SPVs were platforms for single asset pass-through lending to act as an added

layer between Lindberg and the loan. This created the appearance, for purposes of affiliation limits,

that Lindberg’s involvement with the SPVs was diluted because EMAM held a one hundred

percent (100%) voting interest in the same SPV. Therefore, it appeared to satisfy the “affiliated

investment” threshold limit imposed under North Carolina insurance law. Dinius NC MOU Action

Deposition Tr., at 287-288; 297-298 and Wofford NC MOU Action Deposition Tr., at 131:11-

132:7.

         1068. In practice, instead of the NCIC lending directly to an operating company owned

by Lindberg, the NCIC loaned money to an SPV, which then immediately made a loan to an

operating entity owned by Lindberg.

         1069. The SPVs were nothing more than vehicles used to make conduit loans from the

NCIC to other Lindberg Affiliates, adding a protective layer between Lindberg and the loan,

creating an artificial disaffiliation from Lindberg to comply with North Carolina law. As the

Lindberg Affiliates used them, they were shams.




33
  Lindberg has had an engagement with Hutchison since 1999. Hutchison represents Global Growth (then Eli
Research).
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        1070. Even with the SPV structure, the NCIC continued to accumulate affiliated

investments that exceeded even the informal agreement with Goodwin of forty percent (40%).

North Carolina voters elected a new insurance commissioner in November 2016.

        1071. In November 2016, Causey was elected as the North Carolina Commissioner of

Insurance. He took office in January 2017 as the first Republican Commissioner in state history.

Lindberg publicly supported Causey’s opponent in the election, including with the sponsorship of

advertising against Causey’s candidacy.

        1072. Causey was a less tolerant regulator for Lindberg than Goodwin. Causey learned

about Lindberg and his potentially troubled companies from the NCDOI’s financial-analysis

section, which had already been looking at Lindberg’s companies as part of routine financial

examination of regulated insurance companies. Beginning in spring 2015, NCDOI Chief Financial

Analyst Jacqueline Obusek (“Obusek”) and her team had grown concerned about Lindberg’s

companies and the security of their investments. Regulators from other states had also expressed

concerns to Obusek.

        1073. Shortly after taking office in January 2017, Causey replaced and reassigned several

employees in leadership positions within the NCDOI, including persons with responsibility for

oversight of Lindberg’s businesses. Causey promoted Obusek from Chief Financial Analyst to

Senior Deputy Commissioner of Insurance, replacing Ray Martinez, who many believed took a

more relaxed approach toward Lindberg’s companies than toward others. Martinez began working

for Lindberg a few weeks after his reassignment.

        1074. Additionally, in late 2018, an informal agreement was entered between Lindberg

and the NCDOI to reduce the percentage of affiliated investments to forty percent (40%), with an

ultimate goal of ten percent (10%). The NCDOI had significant concerns and reservations about


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the number of affiliated investments because according to Causey, the question then became

whether the NCIC had sufficient long-term liquidity to meet outstanding obligations to

policyholders as they came due. Causey NC MOU Action Deposition Tr., at 11:11-12:1.

         1075. Around this time, Lindberg retained John D. Gray (“Gray”) to assist him with

NCDOI relations. As early as March 2016, Gray had been advising Lindberg on his donation

strategy to political candidates and parties, and arranging meetings between Lindberg and

politicians. Lindberg paid Gray an annual retainer of $100,000 for these consulting services,

typically by check drawn on Dunhill’s North Carolina Wells Fargo Account [No.                     ].

         1076. Lindberg and Gray engaged in a campaign to convince Causey to maintain a

forgiving regulatory environment in North Carolina for Lindberg’s insurance companies.

Specifically, they sought to persuade Causey to allow Lindberg’s companies to invest heavily in

affiliated businesses, pressed Causey to give positive reports to out-of-state regulators, and lobbied

Causey to replace Senior Deputy Commissioner Obusek, whom Lindberg perceived as hostile to

his interests.

         1077. The strategy escalated quickly from $5,000 donations for Causey’s yet-to-begin re-

election campaign, to threats by Lindberg of lawsuits against the NCDOI, to attempted bribery. In

the fall of 2017, Causey attended a compliance seminar offered by the United States Attorney’s

Office for the Western District of North Carolina. At its end, Causey spoke with an Assistant

United States Attorney, expressing his concerns that the NCDOI’s difficulties in regulating

Lindberg’s businesses and Lindberg’s attempts to make contributions to Causey’s campaign were

connected. Causey met with Federal Bureau of Investigation (“FBI”) agents in January 2018, and

thereafter, agreed to cooperate with an investigation into Lindberg and his associates.




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            1078. There were almost thirty (30) recordings of interactions between Causey and

Lindberg or his associates in 2018. As examples from the interactions, the government contended

that Lindberg sought assignment of a compliant investigator to replace Senior Deputy

Commissioner Obusek, making and dangling before Causey upwards of a collective $2 million in

campaign contributions.

            1079. In August 2018, the FBI searched Global Growth’s Durham North Carolina

Headquarters. From that point forward, Lindberg’s businesses and reputation deteriorated quickly.

Because of the reputational risk, financial institutions refused to lend Lindberg Affiliates money

and provide capital; and Wells Fargo closed hundreds of the Lindberg Affiliates’ bank accounts,

giving Lindberg ninety (90) days’ notice to move hundreds of bank accounts to different banks –

which proved difficult.34

            1080. As the concern about affiliation levels grew, on October 18, 2018, Causey entered

a consent order placing the NCIC into Administrative Supervision in an effort to reconcile NCIC’s

impending financial distress.

            1081. On February 28, 2019 the Wall Street Journal published a lengthy investigative

feature concerning Lindberg and the Lindberg Affiliates. See Mark Maremont and Leslie Scism,

Financier Who Amassed Insurance Firms Diverted $2 Billion Into His Private Empire, WALL ST.

J. (February 28, 2019), available at https://www.wsj.com/articles/financier-who-amassed-

insurance-firms-diverted-2-billion-into-his-private-empire-11551367856?mod=article_inline (the

“First Wall Street Journal Article”). Its content portrayed Lindberg in a manner that raised

immediate reputational concerns.




34
     White 2004 Examination (defined below) Tr., at 49:12-50:14.
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        1082. On March 18, 2019, Lindberg and Gray were indicted by a federal grand jury

empaneled by the United States District Court for the Western District of North Carolina. The

charges included: (1) conspiracy to commit honest-services wire fraud (18 U.S.C. §§ 1343, 1346);

and (2) committing and aiding and abetting federal-funds bribery (18 U.S.C. §§ 666(a)(2)). The

indictment, in generalized terms, resulted from Lindberg’s interactions between November 2017

and August 2018 with Causey.

        1083. Lindberg was arrested on April 2, 2019, with the news rapidly spreading

worldwide.

        1084. Less than two weeks later, the BMA imposed conditions to be added to the

Certificates of Registration for PBLA, Omnia, and Northstar, including that the companies obtain

prior written approval from the BMA before establishing bank accounts or moving assets, and

restricting the companies from modifying the terms of their investments without prior written

approval. At the same time, the Debtors saw an increase and acceleration of redemptions and

surrenders by policyholders and stakeholders approaching a run on the bank. Each Debtor, now

exposed due to lack of reserves and liquidity, was irreversibly sentenced to eventual insolvency.

        1085. On June 27, 2019, the NCIC entered rehabilitation pursuant to Article 30 of Chapter

58 of the North Carolina General Statutes and Causey appointed Michael Dinius (“Dinius”) and

John Murphy (“Murphy”) of Noble Consulting Services, Inc. (“Noble”) as Special Deputy

Rehabilitators for the NCIC.

        1086. After Lindberg’s arrest and the amendment to the Certificates of Registration,

Lindberg’s criminal prosecution proceeded to trial and conviction in less than a year. The criminal

case was tried by a jury, the Honorable Max O. Cogburn Jr., presiding. On March 5, 2020, the jury




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convicted Lindberg and Gray on both counts. Lindberg was sentenced to an eighty-seven (87)

month prison term, and Gray to a thirty (30) month prison term.

         1087. On September 11, 2020, Lindberg appealed.

         1088. On June 29, 2022, the United States Court of Appeals for the Fourth Circuit in

United States v. Lindberg, 39 F.4th 151 (4th Cir. 2022), vacated Lindberg’s and Gray’s

convictions, and remanded the matter for a new trial.

   II.      Global Growth’s Organizational Structure
         1089. Global Growth’s corporate organizational structure was and remains a very

complicated and layered structure involving hundreds of corporate entities (e.g., operating

companies, financing companies, SPVs, etc.), ultimately owned by Lindberg. Miller 2004

Examination (defined below) Tr., at 16:13-20 (“It was…a very complicated org structure.”); Miller

NC MOU Action Trial [Volume 2] Tr., at 103:20-104:9 (“the structure was very complicated…”);

Miller NC MOU Action Deposition Tr., at 27:4-16 (over 130 operating companies).

         1090. Internal controls were scant. As one example, Senior Decision Makers and other

Global Growth employees reviewed the financial reports that the operating companies provided to

them because the operating companies did the accounting themselves. Miller testified that monthly

reports were not always completely accurate; rather there were many inconsistencies in the

financial reporting because a significant portion of the accounting was done in India, or elsewhere

internationally. Miller NC MOU Action Deposition Tr., at 30:5-35:15.

         1091. In or around October 2017, Global Growth began converting investments in notes

issued by SPVs into notes issued by finance or financing companies (“FinCos”), which were

purportedly managed by non-affiliate third parties and backed by a pool of Lindberg-affiliated

middle market loans.


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          1092. This was not true. Lindberg and his Senior Decision Makers controlled the FinCos,

including how the proceeds were distributed and used. In fact, many of the loans underlying the

FinCos were the same loans underlying the SPV structures.

          1093. The mechanics of the SPV-to-FinCo conversions were, by design, complex and

contrived to obscure their real purposes. Lindberg and Herwig concealed from the Debtors’

Bermuda based directors the details of the SPV-to-FinCo conversions.

          1094. In reality, these transactions served as a way to divert cash to Lindberg. Lindberg

used the misappropriated funds: (a) for his personal use and benefit; (b) to acquire other businesses

under the Global Growth umbrella; and (c) to support the cash needs of his affiliated businesses.

   III.      Lindberg and Other Senior Decision Makers Failed to Respect Corporate
             Separateness and Abide by Corporate Formalities
          1095. Lindberg, by and through Global Growth, formed, acquired, and directly and

indirectly controlled the Lindberg Affiliates as majority owner, as controlling shareholder, through

power of appointment of a majority of board seats, as managing partner or member pursuant to a

partnership or LLC management agreement, as managing member in a joint venture, or as an alter

ego.

          1096. Each Lindberg Affiliate commonly was controlled, managed, and/or operated by

Lindberg, or as he directed or authorized the Senior Decision Makers. Under Lindberg’s direction,

the Senior Decision Makers and other Global Growth employees were integral to the management

and operations, or lack thereof, of each Lindberg Affiliate and Global Growth overall.

          1097. Lindberg and the Senior Decision Makers used the Debtors as funders of risky or

otherwise non-conforming investments in the Debtor Investment Counterparties and other

Lindberg Affiliates, as a capital source to attempt to bail-out insolvent Lindberg Affiliates, and for

similar wrongful purposes. As a result, the Debtors’ assets were improperly directed to these and

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similar ends as a liquidity or capital source to make-good obligations of other Lindberg Affiliates

to policyholders and stakeholders having no policyholder or stakeholder relationship with a

Debtor.

          1098. Lindberg and the Senior Decision Makers caused the Debtors to invest over $500

million in hundreds of Lindberg Affiliates, which Lindberg represented as viable investment

vehicles for the Debtors, but in fact, were illiquid and opaque, closely held entities.

          1099. The investments consisted of: (i) collateralized and uncollateralized loans (the

“Loans”); (ii) Repo Agreements; and (iii) preferred equity instruments (the “Equity Interests”)

(collectively with the Loans and Repo Agreements, the “Investments,” or singularly the

“Investment”). The Debtor Investments reflect funds maintained for the benefit of approximately

2,500 holders of insurance policies, annuities, investment plans and other financial products held

by persons and families across the United States and overseas. The Debtors’ products were offered

through various distributors, which included but were not limited to broker dealers and banks’

wealth management units.

          1100. Lindberg and the Senior Decision Makers caused the Debtors to make one hundred

percent (100%) of investments in only Lindberg Affiliates, resulting in: (i) PBLA investing in over

ten (10) Lindberg Affiliates; (ii) Northstar investing in over fifty (50) Lindberg Affiliates; (iii)

Omnia investing in five (5) Lindberg Affiliates; and (iv) PBIHL investing in three (3) Lindberg

Affiliates.

          1101. These transactions were represented by Lindberg and the Senior Decision Makers

to the Debtors and their regulators and stakeholders as viable investment vehicles to best secure

the Debtors’ promises and commitments to their policyholders and clients but were nothing of the

sort.


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        1102. Lindberg and the other Senior Decision Makers intentionally and purposely kept

the Debtors’ Bermuda-based employees in the dark as to how the Debtors’ revenues and reserves

were diverted to other purposes.

        1103. Typically, these transactions resulted from the need for cash or liquidity in other

parts of the organization, or because Lindberg needed cash for himself, and were initiated through

an email from one or some of Herwig, Bostic, and Solow setting forth the basic terms of the

transaction and directing North Carolina Global Growth employees, to consent and execute the

necessary steps.

        1104. Thereafter, written trade confirmations, or Commitment Transaction Advice

(“CTA”) documents were drafted and signed utilizing electronic signatures, then executed through

Debtors’ respective banks and financial institutions in the United States and internationally.

Conforming papers were drawn and signed before and sometimes after the fact. This process, from

inception to wire confirmation, generally took as little as one to two days, and as the JPLs learned

through their review of the limited books and records available to them, appears entirely deficient

with regards to minimum due diligence, both financial and operational, and lacked corporate

formalities such as the Debtors’ Board minutes and resolutions approving said transactions.

        1105. Notwithstanding the absence of documentary evidence, Lindberg testified at the

NC MOU Action trial that there existed a “very robust investment committee,” which included a

team made up of the “CEOs of the operating companies” and those who performed the due

diligence, which included “the accounting team, the due diligence team and the M&A team.”

Lindberg NC MOU Action Testimony, Tr., at 393:6-13. According to Lindberg, the same process

was done when it came to the insurance companies’ decision to underwrite a loan or pursue other

investments. Id., at 395:3-15. In response to Herwig’s guilty plea on December 22, 2022, Lindberg


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said the same things through a spokeswoman in an effort to distract and deflect blame from

himself. He since has repeated that theme, including in response to his new indictment on February

23, 2023. The Debtors’ books and records and the Rule 2004 document productions from

Lindberg, Global Growth and other Lindberg Affiliates, to be charitable, are lacking evidence that

any due diligence was performed before “investments” were made by the Debtors.

        1106. The officers of the operating companies were often one or more of the Senior

Decision Makers. This was also the case for the financing companies. With respect to each Debtor,

Herwig served as a director at all material times. Lindberg initially served as a director.

        1107. Lindberg further testified that each transaction had a “huge” due diligence file,

which included the basic memo for the transaction and all the underlying due diligence materials.

Id., at 393:17-23; 394:1-10. The JPLs, however, have been unable to locate any such files, or any

single file inclusive of all the underlying due diligence and underwriting materials for Debtor

transactions. Rather, in some instances, the JPLs have only located the standard originating

transactional document(s), the basic transaction memo, usually ranging from 5–10 pages, as well

as the third-party “arm’s length” opinion or rating agency memos conformed to a particular

transaction’s facts, usually from HR Ratings—a ratings agency based in Mexico, with U.C.C.

filings and similar transaction documents usually generated by Hutchison.

        1108. Lindberg’s statements were lies, including as part of his and his involved Senior

Decision Makers’ continuous and unabated advancement of their scheme to conceal and perpetuate

their wrongful acts and to defraud creditors such as the Debtors and their policyholders and

stakeholders.




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        1109. The lack of due diligence is not the only instance of Lindberg and the Senior

Decision Makers failing to adhere to the most basic internal controls and duties of care. They also

failed to comply with applicable law and prudent investment standards.

        1110. In addition to the fact that there was rarely ever comprehensive due diligence

performed in connection with the Debtor Investments, there also were little to no internal policies

or procedures put in place as it relates to the record keeping and bookkeeping practices of Global

Growth.

        1111. On December 8, 2022, White appeared for oral examination pursuant to a Rule

2004 subpoena issued by the Court (the “White 2004 Examination”). As it relates to the internal

processes and procedures of Global Growth, White while under oath had the following to say:

                Q:            To your understanding, was there a policy or procedure followed
                              internally by the Lindberg entities [Lindberg Affiliates] with respect
                              to intercompany transfers, what was appropriate, what wasn’t?

                A:            I don’t believe we had any written policies regarding that.

                Q:            Did you have any written policies with respect to how intercompany
                              transfers were justified?

                A:            No.

                Q:            Did you have any policies with respect to how intercompany
                              transfers were supported or explained?

                A:            No.

                Q:            Were there any policies or even guidelines with respect to how
                              intercompany transfers were to be evaluated or processed?

                A:            No.
White 2004 Examination Tr., at 196:6-197:16.




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        1112. Herwig often departed from even the barest of corporate procedures and often

evaded obtaining requisite consents before completing transactions. As one example, Herwig and

Solow executed a sale of AAPC Holdings, Inc. (“AAPC”) (a Lindberg Affiliate that the Debtors

invested in) preferred stock owned by Northstar without Miller’s consent – Miller was the manager

of AAPC at the time of the sale. In that instance, manager consent was required to execute such a

transaction; Herwig ignored this and improperly executed the sale on his own. Herwig

consummated this transaction after the BMA amended the Debtors’ Certificates of Registration,

and it required BMA prior written approval. Herwig did not obtain such approval.

        1113. The Senior Decision Makers were often the only signatories for all parties to a

transaction. For example, the Chatsworth Asset Management, LLC (“CAM”) loan (which later

became a Northstar asset) dated November 10, 2017, lists Lindberg as the signatory for each of

the Borrower (CAM), the Lenders (CBL and SNIC) and the Agent (CBL).

        1114. After certain transactions closed, namely after the acquisition of an external

portfolio (e.g., the Damovo portfolio), Lindberg and the Senior Decision Makers then initiated a

transfer of a substantial “origination fee” from Debtor accounts to other Lindberg Affiliates, of

which Lindberg was the ultimate beneficial owner. Bostic NC MOU Action Deposition Tr., at

18:16-25.

        1115. Lindberg and the other Senior Decision Makers searched all the operating accounts

under the Global Growth umbrella to pay the debts of other Lindberg Affiliates – treating the entire

conglomerate as one entity.

        1116. This is further evidenced by White’s 2004 Examination testimony. When a

Lindberg Affiliate did not have enough money to pay a vendor or a debt, Global Growth paid for

it after finding available cash through a sweep and according to White, at Lindberg’s direction, it


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was accounted for in the following way, “We [Global Growth] transferred the money into that

company’s bank account so they could pay it out of their accounts, and it was recorded usually as

an intercompany between Academy [Global Growth] and that entity.” White’s 2004 Examination

Tr., at 72:17-73:16.

        1117. On December 29, 2022 Lindberg appeared for oral examination pursuant to a Rule

2004 subpoena issued by the Court after he and an attorney appearing for him contested its issuance

(the “Lindberg 2004 Examination”). Lindberg was represented by an attorney of his choosing

throughout the oral examination. When asked, “Isn’t it true that you commingled assets and

shuttled money back and forth between these entities freely whenever the need for funds arose

without regard to the interest of the company providing the funding,” he invoked his privilege

against self-incrimination provided in the Fifth Amendment to the United States Constitution.

Lindberg 2004 Examination Tr., at 141:7-13.

        1118. Moreover, when asked “Isn’t it true that you and your management team simply

raided whatever company had available cash at the time,” Lindberg invoked his privilege against

self-incrimination provided in the Fifth Amendment to the United States Constitution. Lindberg

2004 Examination Tr., at 51:12-15.

        1119. The Lindberg Affiliates’ questionable business practices are further borne out by

the interchangeability of the Lindberg Affiliates. It was often the case that if one Lindberg Affiliate

ran out of cash to pay its obligations in a timely manner, Lindberg or other Senior Decision Makers

routinely transferred money from one Lindberg Affiliate’s operating account to another Lindberg

Affiliate’s operating account to fund the obligation.

        1120. In one instance, in an email dated October 1, 2018, Lio Drian (“Drian”)—who

worked with White in Global Growth’s Corporate Treasury department—notified Miller that


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Academy Financial Assets, LLC (“AFA”) and Netherland Insurance Holdings (“NIH”) did “not

have enough cash to pay [AFA and NIH] P&I [principal and interest] today.” To correct the

problem, she forwarded this email to Lindberg and proposed “to move funds from [Southland

National Holdings] to AAI [Academy Association, Inc. n/k/a Global Growth] to fund these P&I

payments that are due today,” and that White would be “going to go through all of the operating

cash accounts and try to find any pockets of cash that we can take.” This is just one instance of the

“sweeping” that White referred to in her 2004 Examination and another instance where the

separateness of Lindberg Affiliates was ignored.

        1121. On October 17, 2022, Miller appeared for oral examination pursuant to a Rule 2004

subpoena issued by the Court after she and an attorney appearing for her contested its issuance.

Miller was represented by an attorney of her choosing throughout her oral examination (“Miller

2004 Examination”). Miller testified that Northstar’s funds were used to capitalize GBIG Holdings

Inc. f/k/a Southland National Holdings, Inc. (“GBIG Holdings”) in an effort to satisfy regulators

with CBL’s capitalization, instead of having that cash available to fund redemptions and surrenders

from Northstar policyholders. Miller 2004 Examination Tr., at 187:2-190:12. Miller’s actions,

taken in North Carolina and utilizing Northstar’s U.S.-based assets, were part of Lindberg’s and

his Senior Decision Makers’ ongoing scheme and artifice to defraud the Debtors, including their

policyholders and similar stakeholders for the benefit of whom the involved cash was maintained

by Northstar.

        1122. During the Lindberg 2004 Examination, when asked whether he instructed Miller

to divert millions of dollars from Northstar for the benefit of the NCIC in 2018, Lindberg invoked

his privilege against self-incrimination provided in the Fifth Amendment to the United States

Constitution. Lindberg 2004 Examination Tr., at 98:5-9.


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        1123. On October 11, 2018, Miller, Stewart, Bostic, and Solow discussed an urgent need

to get money to GBIG Holdings to fund CBL, in response to which Miller requested that someone

“devise a plan for how it [cash] moves from” Northstar as a capital contribution. Bostic ultimately

lined up two separate transfers, each disguised as an investment, totaling over $35,000,000, from

Northstar to AFA ($18,552,987.48) and CAF IV Holdings, LLC ($16,576,910.79). On October

16, 2018, Lindberg authorized the wires from Northstar’s HSBC Bermuda Operational Account

[No.                   ] to AFA’s North Carolina Wells Fargo Account [No.                ] and CAF

IV’s North Carolina Wells Fargo Account [No.                   ], respectively. Those entities were

then directed to transfer the funds to SNH [GBIG Holdings] to satisfy the regulators’ capitalization

requirements for CBL.

        1124. Miller testified that the purpose of these transfers from Northstar to AFA and CAF

IV—was to simply provide SNH [GBIG Holdings] the required capital so it [SNH] did not have

regulatory issues. Miller 2004 Examination Tr., at 189:1-8. There is no evidence available to the

JPLs that anyone involved with these events considered Northstar’s obligations to its policyholders

and owners of similar financial products.

        1125. The actions of Miller, Stewart, Bostic, and Solow to obscure and hide the purpose

and parties involved in the transfer of Northstar’s funds – approved or assented to by Lindberg –

never involved a benefit to Northstar or its policyholders or similar stakeholders, and in addition

to the resulting losses to Northstar and its policyholders and stakeholders from the stripping of

$35,000,000 in reserves, were part of Lindberg and his Senior Decision Makers’ ongoing scheme

and artifice to defraud the Debtors, including their policyholders and similar stakeholders.

        1126. According to the current Debtor books and records available to the JPLs, there is

no indication that GBIG Holdings or CBL ever repaid Northstar.


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         1127. In an email exchange dated November 27, 2018 between Bostic, Solow and Miller,

Solow said, after identifying affiliates from where to pillage to temporarily stop the financial

hemorrhaging, “it ultimately is all the same cash.”

         1128. In February 2019, Miller and White exchanged emails whereby Miller instructed

White: “We need to fund $900K to Dunhill by end of week. We have $4m coming in from PBLA

tomorrow. Just a heads up. Once the funds hit from PBLA, I will send instructions on that. We

also need to fund yacht expenses by end of week –app. $400K.”35

         1129. Also, Lindberg emailed Miller on February 19, 2019 with the subject line, “

                                                                                ” Miller responded, “



                                                               ” This suggests that there was a plan that

Miller created, along with the other Senior Decision Makers, and to be executed within the United

States, to liquidate the last of Northstar’s governmental bonds to fund Lindberg’s personal

expenses. Moreover, during the Lindberg 2004 Examination, when asked whether this was a

misuse of Northstar’s funds, Lindberg invoked his privilege against self-incrimination provided in

the Fifth Amendment to the United States Constitution. Lindberg 2004 Examination Tr., at 136:17-

138:7.

         1130. Lindberg used the Debtors (and other Lindberg Affiliates) as his personal bank

account, improperly diverting the Debtors’ cash whenever he needed to pay personal expenses or

fund his business interests which were wholly unrelated to the Debtors.

         1131. During his 2004 Examination, when asked whether it was true that he did not

respect the separateness of the Debtors, Global Growth or the [Lindberg] Affiliates, Lindberg


35
  Dunhill was one of the Personal Expense Companies, and was the principal entity used by Lindberg during 2017-
2018.
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invoked his privilege against self-incrimination provided in the Fifth Amendment to the United

States Constitution. Lindberg 2004 Examination Tr., at 103:2-6.

         1132. This was a reflection of the corrupt culture, including one where all the money was

Lindberg’s. Lindberg and the Senior Decision Makers routinely shuttled money back and forth

among Lindberg Affiliates including the Debtors based on the needs of the company receiving the

cash, rather than the obligations of the company transferring the cash. These transfers were then

dressed up as investments, although there was no thought given to whether there was any legitimate

purpose for such an “investment” to be made.

         1133. The knowledge of Lindberg and the Senior Decision Makers is attributable to each

of the Lindberg Affiliates. Moreover, for the same reasons, and for the reasons pled in Count XIV,

infra, Lindberg and the other Senior Decision Makers owed at all material times fiduciary duties

to the Debtors and subsequently breached the same, egregiously.

   IV.      Lindberg, Personal Expense Companies, and the Diversion of Debtors’ Assets for
            Non-Debtor Personal Purposes
         1134. Lindberg from 2017 and into at least 2020 directed, caused, allowed, and himself

diverted the Debtors’ assets for personal purposes having no rational connection to the Debtors’

business and obligations to their insurance policyholders and owners of the financial products sold

by the Debtors.

         1135. The Personal Expense Companies were funded with cash directed, transferred,

swept, or taken from the Debtors and other Lindberg Affiliates.

         1136. The Personal Expense Companies used that cash to pay operating expenses, the

salary or wages and benefits of their employees, taxes and similar assessments and fees, rents, and

transportation costs throughout the United States and around the world. Payments were also made

to at least one ghost writer for a book attributed to Lindberg’s authorship, and lavish entertainment

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and personal expenses for Lindberg, members of his family, his friends, and a significant number

of paramours – including for his personal reproductive purposes.

         1137. Lindberg through the Personal Expense Companies often charged more than a half-

million dollars per month to one or more American Express cards, and the Personal Expense

Companies paid all charges without questioning their propriety or nature. A significant percentage

of Lindberg’s personal expenses were paid through Dunhill, South Hill, First International, AYC

Holdings, and Acquired Development.36, 37 Dunhill was the most involved Personal Expense

Company in this regard, until reputational risk associated with Lindberg caused Wells Fargo to tell

Dunhill and other Lindberg Affiliates to bank elsewhere and close its accounts.38 Lindberg

similarly caused the Personal Expense Companies to pay or reimburse the acquisition and

financing costs, pilot and crew fees, fuel and other operational and maintenance fees, associated

airport and harbor fees, and decorating and comparable expenses for his planes and yacht (the

“Double Down”).

         1138. Examples of the lavish entertainment and personal expenses that Lindberg caused

the Personal Expense Companies to pay for him included nearly                               on some nights in Las

Vegas nightclubs for himself and his guests; and parties in Miami, Los Angeles, and on-board his




36
   Miller’s 2004 Examination Tr. at 138:5-14, 141:3-144:16, 145:6-15. (“[Dunhill was] one of the entities that Greg
used...for personal stuff,” “the funds moved from Eli to South Hill to Dunhill,” “[New Hill] was similar to South Hill,”
“[American Yacht] was the company that owned the yacht,” “[Acquired Development] was an alternative to
Dunhill.”); White 2004 Examination Tr., at 39:24-40:6. (“Apex…is Greg [Lindberg]’s security team.”).
37
   In Lindberg’s North Carolina divorce case, the Court quoted Mrs. Lindberg’s Answer and her characterization of
Dunhill and her putative role in the business as follows: “while [Mr.]Lindberg purported to call [her] the CEO of
[Dunhill] on occasion, [Dunhill] never employed her in any capacity and Dunhill was merely a vehicle through which
[Greg] Lindberg funded the personal lifestyle of the parties and their family…” Dunhill Holdings v. Tisha Lindberg
et. al., No. COA18-1112, 17 CVS 3710, page 2 (N.C. App. Ct. 2019).
38
   Prior to the FBI search of headquarters in 2018 and the First Wall Street Journal Article, Global Growth had
approximately “340 operating accounts” at Wells Fargo. Lindberg “had access to all of [the Wells Fargo accounts],”
and personally and routinely accessed and “moved the money from various entities.” White 2004 Examination Tr., at
45:5-14.
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yacht with models for Rock Star Energy drinks as hostesses, chocolate fountains, and similar

indulgences.

         1139. Between 2017 and 2020, Lindberg caused the Personal Expense Companies to

expend

                                                                                                     , and similar

payments to more than two dozen women with whom he had purported relationships and/or

children, and/or who were egg donors. Also, Lindberg caused the Personal Expense Companies

and other Lindberg Affiliates to pay the salaries and other expenses for Apex 39– the security

service maintained by him for himself, his family, and occasionally Senior Decision Makers – who

also kept surveillance of these women and reported their findings to Lindberg.40

         1140. Lindberg looked for available cash sitting in Lindberg Affiliates’ operating

accounts and “swept” it up to fund whatever aforementioned expense he needed to pay at that time,

according to White.

                 A:                A lot of it was swept up from the operating companies.

                 Q:                “Swept up” meaning what?

                 A:                Greg [Lindberg] didn’t like to leave a lot of cash in the operating
                                   company account, so we would routinely sweep it up to Academy
                                   [Global Growth].
White 2004 Examination Tr., at 71:22-72:11.



39
   Apex is a business Lindberg uses to run his personal security team. Lindberg also employed, through Apex, private
investigators to investigate potential paramours. See Mark Maremont and Leslie Scism, ‘Active Interest’: Insurance
Tycoon Spied on Women Who Caught His Eye, Wall St. J. (Oct. 3, 2019), available at
https://www.wsj.com/articles/active-interest-insurance-tycoon-spied-on-women-who-caught-his-eye-11570117310
(“[Lindberg] paid for dozens of surveillance operatives to tail the women up to 24 hours a day, taking surreptitious
photos and sometimes putting GPS trackers on their vehicles…”).
40
   According to Lindberg’s                                 tax returns, Lindberg gifted



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        1141. After the sweep up to Global Growth, Lindberg then personally transferred the

money directly to Dunhill or another Personal Expense Company when he needed money. Id., at

44:10-15. After Wells Fargo closed all the accounts, when Lindberg asked White to move money

from a bank account, e.g., an operating company, to another bank account, e.g., another operating

company, no questions were asked, and the transfers were simply done at Lindberg’s or another

Senior Decision Makers’ direction. White 2004 Examination Tr., at 45:19-23. (“If I [White] was

asked to move from A to B, since it was all within the Greg [Lindberg] world, I just did it because

it was all his money. If it went from anywhere to Dunhill, Greg [Lindberg] did it.”).

        1142. When asked whether he ever instructed Herwig, Solow, Bostic, Miller or White to

use the Debtors’ cash to fund Personal Expense Companies, such as Dunhill or Acquired

Development, Lindberg invoked his privilege against self-incrimination provided in the Fifth

Amendment to the United States Constitution. Lindberg 2004 Examination Tr., at 97:16-99:17.

        1143. Moreover, when asked if he caused the Debtors to make investments in Lindberg

Affiliates in order to get cash to Dunhill and other Personal Expense Companies, Lindberg invoked

his privilege against self-incrimination provided in the Fifth Amendment to the United States

Constitution. Lindberg 2004 Examination Tr., at 52:12-17.

        1144. Further, when asked whether he or the Global Growth management team raided the

Debtors’ coffers to pay his personal expenses, Lindberg invoked his privilege against self-

incrimination provided in the Fifth Amendment to the United States Constitution. Lindberg 2004

Examination Tr., at 52:7-10.

        1145. The incomplete books and records obtained by the JPLs for the Debtors’ business

from 2017 through in or about 2020 and the documents produced by Lindberg and the Lindberg

Affiliates pursuant to Rule 2004 subpoenas authorized by this Court and served on them do not tie


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a dollar of new business generated, or existing business maintained or saved, from the Personal

Expense Companies’ expenditures.

        1146. Books and records and other evidence made available to the JPLs and identified by

them to date, including as alleged elsewhere in this Amended Complaint, show that each Debtor’s

cash and/or liquid assets, usually through transactions originating and directed by Lindberg and

the Senior Decision Makers in North Carolina, was directed, transferred, or otherwise diverted and

made available to the Personal Expense Companies for the personal purposes alleged herein.

        1147. The Plaintiffs are without evidence in the books, records, and other evidence

available to them that the Debtors’ cash and/or liquid assets directed, transferred, or otherwise

diverted and made available to the Personal Expense Companies was segregated or otherwise kept

separate from the funds used by them to pay Lindberg’s personal expenses as alleged in this

Amended Complaint.

        1148. The funds from the Debtors and other Lindberg Affiliates that were directed,

transferred, or otherwise diverted and made available to the Personal Expense Companies for

Lindberg’s personal purposes alleged herein often were recorded after their aggregation at

headquarters within a single Lindberg Affiliate, transferred, then booked as an LTS.

        1149. The Plaintiffs are without evidence in the books, records, and other evidence

available to them that those LTSs were repaid, nor have the Plaintiffs been able to identify from

them any evidence that any Debtor’s cash originally directed to a Personal Expenses Company has

been repaid to the Debtor.




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   V.        Lindberg’s and Senior Decision Makers’ Visits to Bermuda
          1150. Lindberg, Herwig, and at least Miller from among the Senior Decision Makers

traveled to Bermuda from 2017 through in or about 2020. However, the Senior Decision Makers

were headquartered in North Carolina and executed hundreds of transactions from scores of bank

accounts in the United States whereby the Debtors’ money flowed through to pay for Lindberg’s

personal expenses and other Lindberg Affiliate’s operating expenses and similar expenses as part

of Lindberg’s ongoing scheme and artifice to defraud policyholders and other financial product

owners.

          1151. The presence of each of them in Bermuda included as a principal purpose the

conduct of business with and on behalf of the Lindberg Affiliates and the Debtors. Activities in

which each engaged during a visit included meetings with directors and officers of the Debtors,

meetings with employees of the Debtors, and meetings with others involved or connected with the

business of the Debtors such as regulators, auditors and accountants, and lawyers.

          1152. Lindberg, Herwig, and all of the Senior Decision Makers, together with other senior

executives, acting from North Carolina offices or outside Bermuda, regularly and on a daily or

multiple days per-week basis conducted business in the United States and internationally with

directors, officers, employees of the Debtors and banks in Bermuda with which the Debtors

maintained accounts from 2017 through in or about 2020 (the “Regular Business”). They less

frequently, and regularly, when necessary, did so from outside Bermuda with regulators, auditors

and accountants, and lawyers in Bermuda. They similarly did so for and on behalf of the Debtors

with counterparties and others, including acting in interstate commerce within the United States.

          1153. Lindberg, Herwig, and all of the Senior Decision Makers when conducting the

Regular Business used landline telephones, cellular telephones, electronic mail, text and direct

messages, the internet, and other wired, cellular, and satellite communications networks and
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services to communicate and conduct that business throughout the United States, to and within

Bermuda, and elsewhere around the world.

        1154. Lindberg, Herwig, and all the Senior Decision Makers when conducting the

Regular Business knew, understood, and intended that their acts would affect the Debtors, their

policyholders, financial product owners, directors, officers, employees, banking relationships, and

business with regulators, auditors and accountants, and lawyers. White 2004 Examination Tr., at

237:17-238:11, 240:2-7.

        1155. Lindberg, Herwig, and all of the Senior Decision Makers when conducting the

Regular Business and when acting otherwise for and on behalf of themselves, the Lindberg

Affiliates, and the Debtors from outside Bermuda knowingly, intentionally, and purposefully

availed themselves and the entities for which they acted of the benefits, privileges, and obligations

of the laws of Bermuda in addition to those of the places outside Bermuda from and with which

they acted in a particular circumstance.

        1156. Ultimately, Lindberg and the other Senior Decision Makers made all strategic,

tactical and material financial and business decisions concerning the Debtors’ Investments outside

of the purview of the Debtors’ Bermuda executives (e.g., Scott Boug (“Boug”), Lynn Superina

(“Superina”)—Northstar’s Senior Vice President, Financial Controller and Compliance Officer,

Julia Hawkins (“Hawkins”)—a financial controller for Northstar, as part of their Regular Business.

Moreover, the Bermuda executives and employees had virtually no control over the Debtors’

Investments or the Debtors’ investment and bank accounts, which is discussed more thoroughly in

the next Section of the Amended Complaint. As one example, Superina was promptly divested of

authority as secretary of Northstar in 2018 after she resisted the Senior Decision Makers’ divesture

of local control over Debtors’ Bermuda bank accounts.


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    VI.        Representative Transactions Causing Harm to Northstar
          1157. Northstar was acquired by Lindberg on July 3, 2018. It is a wholly-owned

subsidiary of BMX Bermuda Holdings, Ltd., which in turn is wholly-owned by BMX Holdings,

LLC (“BMX Holdings”). Lindberg holds 100% ownership in BMX Holdings, and thus, these

entities, each of which was formed and existed under Bermuda law during their ordinary

operations.

          1158. Prior to Lindberg’s acquisition of Northstar, it was invested with, held and managed

for the benefit of its policyholders – inclusive of owners of annuities and similar financial products

– the Northstar Financial Services Segregated Accounts Portfolio (“NFS-SAP”), which consisted

of over $200 million in liquid securities issued by counterparties, all of which were unaffiliated

with Northstar. As the Debtors now know, fixed policyholders’ assets held in the NFS-SAP were

not, in fact, segregated.

          1159. BlackRock International Limited (“BlackRock”) served as manager of NFS-SAP,

which included mortgage-backed securities (MBS) in Fannie Mae, Freddie Mac, and Core

Industrial Trust, as well as corporate securities, largely corporate bonds, in established, profitable

and well-recognized companies including, but not limited to:

 Aetna, Inc.                                        JPMorgan Chase & Co.

 Altria Group, Inc.                                 Manufacturers & Traders Trust Co.

 Amazon.com, Inc.                                   March & McLennan Companies, Inc.

 American Express Credit Corporation                MasterCard, Inc.

 American Water Capital Corp.                       Merck & Co, Inc.

 Ameriprise Financial, Inc.                         MetLife, Inc.

 Anheuser-Busch Inbev Finance Inc. Company          MidAmerican Energy Holdings Co.

 AON Corporation                                    Mitsubishi UFJ Financial Group, Inc.

 Appalachian Power Co.                              NBCUniversal Enterprise, Inc.

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 Apple, Inc.                                       NBCUniversal Media, LLC

 Baltimore Gas and Electric Company                Northern States Power Company (Minnesota)

 Bank of America Corp.                             Northern Trust Corp.

 BB&T Corp.                                        OHA Loan Funding 2013-2 Ltd

 BMW US Capital, LLC                               Oncor Electric Delivery Co.

 Boeing Co.                                        Oracle Corp.

 Boston Properties LP                              Parker Hannifin Corp.

 Burlington Northern Santa Fe, LLC                 PECO Energy Co.

 Burlington Northern Santa Fe, LLC                 PNC Bank, National Association

 Charles Schwab Corporation                        Praxair, Inc.

 Cisco Systems, Inc.                               Principal Financial Group, Inc.

 Citizens Bank N.A. of Providence, RI              Qualcomm Inc.

 Coca-Cola Refreshments USA, Inc.                  Simon Property Group LP

 Comcast Corp.                                     Stryker Corporation

 Costco Wholesale Corporation                      Sumitomo Mitsui Financial Group, Inc.

 Coventry Health Care, Inc.                        Target Corp.

 Credit Suisse New York, NY                        TTX Company

 Daimler Finance North America LLC                 Tyco Electronics Group SA

 Eaton Corporation                                 Tyco Electronics Group SA

 Ecolab Inc.                                       U.S. Bancorp

 EOG Resources, Inc.                               UBS Group Funding (Switzerland) AG

 Estee Lauder Co., Inc.                            Union Pacific Corporation

 Georgia-Pacific, LLC                              United Technologies Corp.

 Gilead Sciences, Inc.                             UnitedHealth Group, Inc.

 Home Depot, Inc.                                  Wal-Mart Stores, Inc.

 HSBC Bank USA, Inc.                               Wells Fargo & Company

 Hyundai Capital Services, Inc.




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        1160. As made clear by the International Securities Identification Numbers (“ISINs”),

these corporate bonds were all issued in the United States. Moreover, these liquid, blue-chip

investments were widely considered by insurers and their regulators as stable, liquid investments

intended to maintain their basis and produce reasonable income at modest risk so that

policyholders’ claims and surrenders could be paid in the ordinary course, and even in

extraordinary circumstances.

        1161. Within one year of acquiring Northstar, Lindberg and his US-based Global Growth

investment team at GB Capital, LLC (“GB Capital”), which included Herwig, Bostic, Solow, and

Greg Johnson (“Johnson”) (an investment analyst at Global Growth), depleted NFS-SAP’s $200

million liquid reserve. At Lindberg’s direction, employees of Global Growth sold off all or almost

all of Northstar’s fixed asset investments that conformed with insurance business investment

standards and replaced them with non-conforming assets. In one day alone—August 9, 2018—

Lindberg and his associates liquidated over $60 million in AA- and A-rated securities.

        1162. Once liquidated, the funds—all in United States currency—were placed first into

Northstar’s HSBC Bermuda Non-Trust Segregated Custody Account [No.                           ]. By

close of business on August 10, 2018, the ledger balance of Northstar’s HSBC Bermuda Non-

Trust Segregated Custody Account [No.                      ] had increased by over $150 million.

By August 14, 2018, Superina advised, “the current amount of cash available in the Non-Trust

Custody Account as a result of the $200million Blackrock liquidation is now: $189,585,894.50.”




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        1163. From there, the funds were transferred to Northstar’s HSBC Bermuda Operational

Account [No.                        ] as follows:

          Date                 Amount                                 Account

       8/15/2018             $5,000,000.00          Northstar’s HSBC Bermuda Operational Account
                                                                 [No.              ]
                                                                   Ref #227457692


       8/16/2018         $20,500,698.00             Northstar’s HSBC Bermuda Operational Account
                                                                 [No.              ]
                                                                   Ref #228459505


       8/17/2018         $14,242,987.20             Northstar’s HSBC Bermuda Operational Account
                                                                 [No.              ]
                                                                   Ref #229443883


       8/22/2018         $53,084,116.15             Northstar’s HSBC Bermuda Operational Account
                                                                 [No.              ]
                                                                   Ref #234334321


       8/29/2018         $100,000,000.00            Northstar’s HSBC Bermuda Operational Account
                                                                 [No.              ]
                                                                   Ref #241475809

        1164. Thereafter, Lindberg and his North Carolina Global Growth executives, almost

exclusively acting from North Carolina, caused Northstar to use its $200 million liquid reserve to

purchase illiquid investments in Lindberg Affiliates – senior and junior loans and/or preferred

equity, largely unsecured by real collateral, readily susceptible to manipulative amendments for

the benefit of the Lindberg Affiliates and eventually Lindberg. Lindberg caused Northstar to wire

$198,414,013.59 of funds out of its HSBC Bermuda Operational Account [No.                           ]

through thirteen separate wire transactions, each through United States banks, occurring between

August 28, 2018 through December 4, 2018. This included a wire of $5,728,850 in connection

with the Triton Transactions, a wire of $18,552,987.48 in connection with the UKAT Transactions,


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three wires totaling $54,284,116.10 in connection with the ATL Transactions, two wires totaling

$24,032,178.25 in connection with the Beaufort Transactions, and six additional wires totaling

$95,815.881.10.

        1165. On August 21, 2018, Bostic emailed to Northstar’s management team that there

were plans to completely “invest” the “majority of the remaining available cash” in “private

placement debt offerings” — principally, if not exclusively, loan transactions with Lindberg

Affiliates. The improper allocation of assets was not lost on employees of Global Growth because

Northstar’s management team put Bostic on notice when, on August 21, 2018 Superina responded

to his email, acknowledging a “significant change in [our] investment portfolio will certainly be a

focus for the auditors.”

        1166. The proceeds from these transactions substantially were used to stanch the cash and

liquidity failures of: (i) CBL, including in one instance, of many, on December 6, 2018, when

Miller stated to Herwig that, “[we] need $31mm from Northstar just to meet December obligations

and make the CBL equity infusion.”; and (ii) other Lindberg Affiliates, or to fund Lindberg’s

personal expenses.

        1167. Northstar, in turn, was left to fund its operations and policyholder redemptions with

ordinary income, itself dwindling, and illiquid capital of uncertain value.

        1168. Within seven months after acquiring Northstar, Lindberg and Global Growth

quickly depleted Northstar’s $200 million liquid reserve, causing the majority of these fixed

income securities managed by BlackRock to be converted to illiquid often sham shares in Lindberg

Affiliates that Lindberg and the Senior Decision Makers readily used as puppets. By February

2019, Northstar’s liquid reserves with BlackRock were gone. During Lindberg’s 2004

Examination he invoked his Fifth Amendment privilege against self-incrimination when asked


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whether it was true that he diverted over $200 million of Northstar’s liquid assets for his personal

purposes or to ensure the liquidity or capital of other Lindberg affiliates. Lindberg 2004

Examination Tr., at 109:11-15.

        1169. Northstar’s cash and liquid assets, all of which should have been held and made

readily available to it to pay Northstar’s policyholders and similar financial products owners when

the corresponding obligations became due, were instead ransacked to stop the hemorrhaging of the

other Lindberg Affiliates; to permit Lindberg Affiliates to skim transaction fees wrongly applied

to these value-free deals for non-existent advisory services; to inflate asset values to create an

illusion that the asset values with a Lindberg Affiliate that needed liquidity were determined at

arms-length, when the transactions in reality were between related parties; to inflate the company’s

balance sheet in an effort to mislead investors and regulators; to fund Lindberg’s lavish lifestyle;

to pay “advisory” fees to SASL and other Lindberg Affiliates; and to pay post-transaction bonuses

to the Global Growth executives who answered to Lindberg.

        1170. Global Growth executives acted without acknowledgment or attention to the

adverse consequences to Northstar’s reserves or the repeated concerns expressed by Northstar’s

executive finance team, including what, at a minimum, was the diminution of the quality of those

reserves for the benefit of non-Northstar insurers that had no obligation to Northstar or its

policyholders and owners of similar financial products.

        1171. The funds transferred from Northstar to other affiliates of Lindberg alleged herein,

together with the specific representative transactions alleged, infra, exemplify and substantiate the

allegations in this Amended Complaint, including as they concern claims asserted by and on behalf

of Northstar.




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         Triton Transactions

         1172. On December 4, 2018, Bostic directed Northstar to transfer $5,728,850 from its

HSBC Bermuda Operational Account [No.                                   ] to Global Growth’s North Carolina

Wells Fargo Account [No.                            ] in order for Northstar to purchase preferred equity in

Triton Financial Limited (“Triton”)41 – a Lindberg Affiliate that acts as the holding company for

all Global Health Technology Group foreign entities, comprised of various portfolios and

companies that operate in the healthcare, finance, and technology industries (“Triton Preferred

Equity”). This transaction was a loan papered as a preferred equity investment, and a way to move

cash around among the Lindberg Affiliates, as Global Growth executives often did.

         1173. Although on paper Northstar invested in Triton Preferred Equity, Global Growth’s

North Carolina Treasury team immediately directed the cash to Global Growth.

         1174. Immediately thereafter, also on December 4, 2018, Global Growth transferred the

$5,728,850 from its North Carolina Wells Fargo Account [No.                                            ] to GBIG

Holdings’ North Carolina Wells Fargo Account [No.                              ]42, 43 to repay an intercompany

loan it owed to GBIG Holdings, another Lindberg Affiliate, and the ultimate holding entity for the

NCIC.

         1175. Over the course of seven days—from and on December 6, 10, 11, and through

December 13, 2018—Johnson and a team at GBIG Holdings acting from North Carolina papered

four separate transactions—$4,000,000, $1,000,000, $400,000, and $400,000, respectively—back

to Global Growth’s North Carolina Wells Fargo Account [No.                                   ].44 The $4,000,000


41
   Federal Wire Transfer No. 01568; Bermu Srf# 338470823; Trn# 181204045932; Rfb# TT Frtk80650Mnyn.
42
   Ref# Bb05Hcvp36.
43
   At the time of this transaction, the Wells Fargo Account was in the name of Southland National Holdings, Inc., now
known as GBIG Holdings, Inc. For ease of reference in this Amended Complaint, all accounts previously held in the
name of Southland National Holdings, Inc. are referred to as GBIG Holdings’ accounts.
44
    Ref# Bb05Hlvq37 ($4,000,000); Bb05J4V5Kb ($1,000,000); Ref# Bb05J7Vrnx ($400,000); Bb05Jgs3Z7
($400,000).
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transfer on December 6, 2018 was recorded as a LTS. This LTS was problematic because (i) Global

Growth does not and did not own GBIG Holdings at the material time, so recording a transaction

as a LTS is incorrect; and (ii) a LTS from GBIG Holdings to Global Growth was a self-interested

transaction that ultimately went for the benefit of Lindberg, and was never repaid to the loaning

entity.

          1176. After Global Growth received the $5,800,000 from GBIG Holdings, Bostic then

orchestrated transfers to plug holes in other Lindberg Affiliates and pay bonus compensation for

executives that had no connection to Northstar.

          1177. First, among other things, the Senior Decision Makers, namely Lindberg and

Miller, extended a short-term loan dated December 6, 2018 valued at $2,500,000 to CV Global

LLC a/k/a Century Vision Global (“CV Global”)45—a Lindberg Affiliate formed and existing in

North Carolina—to fund an executive bonus, for the same amount, to Michael Gallup (“Gallup”).46

There was no legitimate transactional or other business nexus between Northstar and CV Global.

Instead, Northstar, as an available cash cow, had its cash misappropriated. The JPLs’ available

books and records provide no record of the repayment or other disposition of this first transaction.

          1178. Second, Miller directed Global Growth to settle an intercompany payment of

$1,200,000, dated December 6, 2018, to SFL’s North Carolina Wells Fargo Account [No.

              ]47—another Lindberg Affiliate formed and existing in Malta—used to fund payroll

and other operational expenses of Lindberg’s other affiliated corporate service entities, such as Eli

Research India Private Limited (“ERP Ltd.”). Again, there was no legitimate transactional or other

business nexus between Northstar and SFL, nor between Northstar and ERP Ltd. The JPLs’



45
   Ref# Bb05Hlwbhr.
46
   Gallup was the Portfolio Manager and CEO of the CV Global Portfolio.
47
   Ref# Bb05Hlwgnm.
                                                     201

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available books and records provide no record of the repayment or other disposition of this second

transaction.

           1179. Third, Lindberg extended three different LTSs dated December 7, 2018, December

11, 2018 and December 13, 2018, valued at $400,000, $450,000 and $410,000, respectively to

Dunhill’s North Carolina Wells Fargo Account [No.                        ],48 formed and existing in North

Carolina – one of Lindberg’s most used Personal Expense Companies. Its revenues in substantial

part were used to pay Lindberg’s personal expenses. There was no purpose consistent with

Northstar’s business – particularly its obligations to policyholders and owners of similar financial

products – for its cash and liquid assets to be used to fund Dunhill. The only apparent reason for it

was that there was a need for cash, and Northstar was an available source of liquidity perceived at

headquarters in North Carolina to be ripe for raiding.

           1180. Lastly, on December 10, 2018, the Senior Decision Makers transferred cash to

IMW EMR, LLC’s (“IMW EMR”) North Carolina Wells Fargo Account [No.                                  ]49—

another Lindberg Affiliate, formed and existing in North Carolina—to make a payment of

$895,507 to provide IMW EMR with the requisite funds to settle the principal and interest

payments owed to CBL on two unrelated loans.

           1181. Without the $5.8 million paid to Global Growth by GBIG Holdings, there would

not have been sufficient funds to make the four payments detailed above.




48
     Ref# Bb05Hsyfj6 ($400,000); Bb05J7Vsbb ($450,000); Bb05Jgs4Lj ($410,000).
49
     Ref# Bb05J4V87V.
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           1182. The first Triton Preferred Equity transaction described, in summary economic

terms, involved the following:

                                          NORTHSTAR

                      $5.728M                                      Triton Preferred Equity

                                  GLOBAL GROWTH HOLDINGS

                                      $5.728M

                                        GBIG HOLDINGS

                                                 $5.8M

                                  GLOBAL GROWTH HOLDINGS

                                 $1.26M                 $895,507
                 $1.2M                                                      $2.5M

                  SFL                                                   CV GLOBAL
                                   DUNHILL          IMW EMR

           1183. Not satisfied with one sham preferred equity investment in Triton, at Bostic’s

direction, on January 15, 2019, Lindberg and the Senior Decision Makers caused Northstar to

transfer $17,000,000 from its HSBC Bermuda Operational Account [No.                            ] to

Triton’s North Carolina Wells Fargo Account [No.                   ]50 to acquire $17,000,000 worth

of Triton Preferred Equity.

           1184. On the same day that “deal” closed, Triton transferred $17,000,000 from its North

Carolina Wells Fargo Account [No.                      ] to CAF V’s North Carolina Wells Fargo

Account [No.                  ],51 a Lindberg Affiliate, formed and existing in North Carolina. CAF

V then transferred on January 15, 2019 the same $17,000,000 amount to AFA’s North Carolina




50
     Ref# TT Frtl11837Mnyn.
51
     Ref# Bb05Nrnls6.

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Wells Fargo Account [No.               ],52 still another Lindberg Affiliate, formed and existing in

North Carolina. On January 15, 2019, AFA then transferred $11,300,000 to GBIG Holdings’ North

Carolina Wells Fargo Account [No.                ].53 AFA held the remaining $5,700,000 of that

amount to pay its outstanding operating expenses, or fund one of Lindberg’s AFA sweeps and

divert the funds to him.

        1185. GBIG Holdings was just another shell, however, in the progression of Lindberg

Affiliates scheme through which Northstar’s $17,000,000 passed as an “IC” (intercompany loan)

on January 15, 2019 as part of the Triton “deal.” Of the $11,300,000 paid to GBIG Holdings,

$10,825,000 then was transferred to Global Growth’s North Carolina Wells Fargo Account [No.

                 ],54 and then subsequently allocated to Lindberg’s Personal Expense Companies

and other Lindberg Affiliates to fund payroll and various otherwise unspecified “funding needs.”

Notably, at Lindberg’s direction, over $1,700,000 was transferred to Dunhill’s North Carolina

Wells Fargo Account [No.              ],55 and $100,000 was transferred to Apex’s North Carolina

Wells Fargo Account [No.                  ].56 Dunhill then transferred: (i) $106,000 to First

International’s North Carolina Wells Fargo Account [No.                ]57 by way of two transfers

on January 22, 2019 and January 28, 2019; (ii) $100,000 to South Hill’s North Carolina Wells

Fargo Account [No.               ]58 by way of two transfers on January 22, 2019 and January 25,

2019; (iii) $247,904 to American Yacht Charters’ Rhode Island Citizens Bank Account [No.



52
   Ref# Bb05Nrnsxx.
53
   Ref# Bb05Nrnvxs.
54
    Ref# Bb05Nsv29B ($5,000,000); Bb05Nx3S4Y ($1,000,000); Bb05NY5Pdb ($300,000); Bb05P2W4Ht
($1,500,000); Bb05P2Hxj3 ($871,000); Bb05P8Mwjw ($200,000); Bb05PM4Xvm ($1,500,000); Bb05Ptk2Vl
($800,000); Bb05Q3Bl8F ($225,000); Bb05Q9Pbp7 ($872,602.74); Bb05Qg2P9H ($300,000).
55
   Ref## Bb05NY5Pz5 ($950,000,000); Bb05P8Mxdp ($340,000,000); Bb05Pmc29P ($500,000).
56
   Ref# Bb05Nsvtnw.
57
   Ref# Bb05Q9Ps9J ($50,000); Bb05Phhwcv ($56,000)
58
   Ref# Bb05PC7Jtm ($50,000); Bb05Q3Bnqn ($50,000).

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           ]59 by way of two transfers on January 22, 2019 to pay for Lindberg’s yacht, the Double

Down; (iv) $525,000 to JP Morgan Chase60 by way of three transfers to pay for Lindberg’s

American Express bills; and (v) $116,139 to Bank of America61 to pay for Lindberg’s private jet

leases.

          1186. The remainder of the $10,825,000 went to fund other Lindberg Affiliates that

needed capital but could not raise it themselves. By way of comprehensive example:

                (i) $2,578,000 was transferred to GB Capital’s North Carolina Wells Fargo Account

                [No.                ],62 a Lindberg Affiliate, formed and existing in North Carolina,

                for payroll expenses and bonuses including to Herwig, Solow, and Bostic in

                January 2019;

                (ii) $1,100,000 was transferred to Eli Research, LLC’s (“Eli Research”) North

                Carolina Wells Fargo Account [No.                     ]63—a Lindberg Affiliate, formed

                and existing in North Carolina—for unspecified “funding needs” in January 2019;

                (iii) $675,000 was transferred to Metronome Financial, LLC’s (“Metronome

                Financial”) North Carolina Wells Fargo Account [No.                       ]64—a Lindberg

                Affiliate, formed and existing in North Carolina—for payroll expenses in January

                2019;




59
   Federal Wire Transfer No. 00896; Srf# Double Down; Trn# 190122019457 Rfb# McM/Northn Trust ($231,834.54);
Federal Wire Transfer No. 01183; Srf# Double Down; Trn# 190122019478; Rfb# McM/Northn Trust ($16,068.63).
60
   Federal Wire Transfer No. 05828; Srf# Gw00000022059655; Trn# 190122221773; Rfb# 13880 ($200,000); Federal
Wire Transfer No. 00421; Srf# Gw00000022166983; Trn# 190128008353; Rfb# 13934 ($175,000); Federal Wire
Transfer No. 04621; Srf# Gw00000022220859; Trn# 190129128105; Rfb# 13959 ($150,000).
61
   Federal Wire Transfer No. 05849; Srf# Gw00000022059674; Trn# 190122221953; Rfb# 13881.
62
   Ref# Bb05Nsvfrp ($1,050,000); Bb05P2Xbnm ($170,000); Bb05PM53RI ($853,000); Bb05Ptkjck ($505,000).
63
   Ref# Bb05Nswcx9 ($900,000); Bb05Nx42M2 ($200,000).
64
   Ref# Bb05Nsv7JJ ($525,000); Bb05P2xgy6 ($150,000).

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                (iv) $500,000 was transferred to BCC Research, LLC’s (“BCC Research”) North

                Carolina Wells Fargo Account [No.              ]65—a Lindberg Affiliate, formed

                and existing in North Carolina—to repay a short-term loan on January 15, 2019;

                (iv) $645,000 was transferred to Carolina Longevity Institute, LLC’s (“Carolina

                Longevity”) North Carolina Wells Fargo Account [No.                          ]66—a

                Lindberg Affiliate, formed and existing in North Carolina—for unspecified

                “funding needs” in January 2019;

                (v) $400,000 was transferred to CAPLOC, LLC’s (“CAPLOC”) North Carolina

                Wells Fargo Account [No.                 ]67—a Lindberg Affiliate, formed and

                existing in North Carolina—to repay a short-term loan on January 15, 2019;

                (vi) $175,000 was transferred to Global Mortgage Capital Holdings, LLC’s

                (“Global Mortgage Capital”) North Carolina Wells Fargo Account [No.

                             ]68—a Lindberg Affiliate, formed and existing in North Carolina—for

                unspecified “funding needs” on January 15, 2019;

                (vii) $200,000 was transferred to an unknown Eli Global entity69 for unspecified

                “funding needs” on January 15, 2019;

                (vii) $105,000 was transferred to Paradigm Park Holdings, LLC’s (“Paradigm

                Park”) North Carolina Wells Fargo Account [No.                  ]70—a Lindberg




65
   Ref# Bb05Nsv46c.
66
   Ref# Bb05Nsvcp8 ($500,000); Bb05P2x8Yz ($145,000).
67
   Ref# Bb05Nsv5F7.
68
   Ref# Bb05Nsvn9J.
69
   Ref# Bb05Nswfzl.
70
   Ref# Bb05Nsvpw6.

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                Affiliate, formed and existing in North Carolina—for unspecified “funding needs”

                on January 15, 2019;

                (viii) $70,000 was transferred to Talent Acquisition Innovation, LLC’s (“Talent

                Acquisition”) North Carolina Wells Fargo Account [No.                     ]71—a

                Lindberg Affiliate, formed and existing in North Carolina—for unspecified

                “funding needs” on January 15, 2019;

                (ix) $100,000 was transferred to Pelton Group, LLC (“Pelton Group”)72—a

                Lindberg Affiliate, formed and existing in North Carolina—for unspecified

                “funding needs” on January 15, 2019;

                (x) $100,000 was transferred to Apex’s North Carolina Wells Fargo Account [No.

                             ]73—a Lindberg Affiliate, formed and existing in North Carolina—for

                unspecified “funding needs” on January 15, 2019;

                (xi) $140,000 was transferred to Alpine Capital, LLC’s (“Alpine”) North Carolina

                Wells Fargo Account [No.                 ]74—a Lindberg Affiliate, formed and

                existing in North Carolina—for unspecified “funding needs” on January 16, 2019;

                (xii) $725,000 was transferred to CV Global—a Lindberg Affiliate, formed and

                existing in North Carolina—for payroll expenses and bonuses on January 17, 2019;

                and

                (xiii) $370,000 was transferred to Global Health Technology Group, LLC’s

                (“Global Health Technology”) North Carolina Wells Fargo Account [No.



71
   Ref# Bb05Nsvk8L.
72
   Ref# Bb05Nsvj2W.
73
   Ref# Bb05Nsvtnw.
74
   Ref# Bb05Nx3x9Q.

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                              ]75—a Lindberg Affiliate, formed and existing in North Carolina—for

                 unspecified “funding needs” on January 15, 2019.

           1187. None of the transactions that Northstar funded with its $17,000,000 of reserves, on

information and belief and after examination of Northstar’s available books and records, were for

the benefit of Northstar and its obligations to its policyholders or owners of similar financial

products. No interest, consideration, dividend or fixed rate fee was paid to Northstar for advancing

funds to the Lindberg Affiliates, or after the funds were sent to them.




75
     Ref# Bb05Nsvwvk.
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        1188. The second Triton Preferred Equity transaction described, in summary economic

terms, involved the following:

                                            NORTHSTAR

                                 $17M                                   Triton Preferred Equity

                                              TRITON

                                             $17M
     GLOBAL HEALTH
      TECHNOLOGY
                                                CAF V
                      $370K
                                                      $17M

   GLOBAL MORTGAGE
       CAPITAL                                   AFA
                                                                        TALENT ACQUISITION
            $175K                          $11.3M
                                                                 $70K
          CAPLOC                            GBIG HOLDINGS                       UNKNOWN
                       $400K                                            $200K
                                                      $10.825M
                      $500K                                                 PARADIGM PARK
 BCC RESEARCH                      GLOBAL GROWTH HOLDINGS                       $105K

              $650K                                   $600K                     $700K

 METRONOME FINANCIAL             CAROLINA LONGEVITY INSTITUTE                   CV GLOBAL

                    $1.1M        $1.7M                        $2.5M              $100K

 ELI RESEARCH                    DUNHILL               GB CAPITAL                 APEX
                                                                        $140K
                                                                                 ALPINE
                                   -     $106,000 to FIRST INTERNATIONAL
                                   -     $100,000 to SOUTH HILL HOLDINGS
                                   -     $247,904 to AMERICAN YACHT CHARTERS
                                   -     $525,000 to JPM MORGAN
                                   -     $116,139 to BANK OF AMERICA

        1189. Northstar’s liquid assets, in this circumstance $17,000,000, existed because

policyholders paid premiums and the reasonable equivalent for other financial products sold by
                                                209

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Northstar, and trusted Northstar to use that money to remain in a position to honor its

corresponding obligations. These obligations were violated by Lindberg and the executives in

North Carolina directly answering to him. Both Triton transactions were proximate causes of

Northstar’s damages.

           UKAT Transactions

           1190. The following representative transaction was contemplated in connection with the

Senior Decision Makers’ efforts to capitalize CBL with Northstar’s funds described supra.

           Fraudulent Transactions

           1191. On October 16, 2018, Bostic and Solow caused Northstar to wire $18,552,987.00

from Northstar’s HSBC Bermuda Operational Account [No.                                  ] to AFA’s North

Carolina Wells Fargo Account [No.                       ]—a Lindberg Affiliate—for the purchase of its

preferred equity interest in UKAT Interco Limited (“UKAT”), another Lindberg Affiliate (“UKAT

Preferred Equity”).76 Northstar was compelled to purchase the preferred equity interest at an

inflated price, in a deal that was anything but the arms-length transaction as presented.

           1192. Lindberg, Herwig, Solow, Miller, Bostic and Stewart (Chief Financial Officer of

GBIG) all acting from North Carolina or elsewhere in the United States, all materially participated

in the structuring, negotiation and ultimate authorization of this transaction, despite the numerous

concerns raised as to its propriety.

           1193. In a September 6, 2018 email, Stewart advised Bostic, Herwig, Solow, and Paul

Brown, “[w]e have stopped all affiliate investments from the insurance companies at this time so

we should not execute this [UKAT] transaction.”




76
     Federal Wire Transfer No. 01526; Srf# 2894473459; Trn# 181016056628; Rfb# TT Frtk44837Mnyn.
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           1194. On September 10, 2018, Stewart expressed further concerns, of which Edwards

echoed, about Northstar’s liquidity, the use of a PIK [i.e., payment in kind] structure, and

Northstar’s ability to pay the same. Specifically, Stewart advised: (a) “[Northstar’s] liquid assets

have dropped significantly and if all the proposed investments are completed then we would be

below 10% in liquid assets”; (b) “[t]he majority of the new investments are PIK (or have a PIK

option) so this will further pressure liquidity”; and (c) “[t]he Beaufort investment is preferred stock

into the holding company for GB Life77 so it will have no ability to pay interest for the foreseeable

future.”

           1195. Edwards, GBIG’s Chief Legal Officer acting in North Carolina, echoed Stewart’s

concerns, and advised in a September 10, 2018 email, “[b]ased on these concerns,” about “the

significant drop in Northstar’s liquid assets…and ability to pay,” that they should not execute these

transactions. Edwards reiterated his position in an October 5, 2018 email that it was “not Ok to

proceed” with the UKAT transaction.

           1196. Despite the contrary advice and misgivings, Lindberg intervened and approved the

proposed UKAT transaction, which Bostic conveyed in an October 15, 2018 email, “Upon Greg’s

approval, please send the below wires. . . . Wiring to [AFA’s North Carolina Wells Fargo Account

(No.                 )] for purchase of [UKAT] preferred equity: $18,552,987.48.”78

           Subsequent Transferee(s)

           1197. In an October 12, 2018 email to Miller, Bostic, and other Global Growth employees

Clint Dobson (“Dobson”) and Carson McGuffin (“McGuffin”), all in the United States, Solow

explained the intent behind Northstar’s purchase of UKAT preferred equity, which was to transfer

funds to GBIG Holdings to close out intercompany debts of non-Debtor Lindberg Affiliates.


77
     “GB Life” refers to GB Life Luxembourg, S.A.
78
     Federal Wire Transfer No. 01526; Bermu Srf# 289473459; Tm# 181016056628; Rfb# TT Frtk44837Mnyn.
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         1198. In a follow up email to the same parties, Solow wrote “IF [sic] we can get cash in

either AFA or GIC,79 then we can dividend up to [Global Growth] and partially close out the

[Global Growth] to [GBIG Holdings] I/C.” On information and belief, the principal purpose of

doing so was to make the United States insurance companies’ Lindberg Affiliates appear more

solvent using Northstar as a piggy bank when it had no obligation to any United States entity.

         1199. On October 17, 2018, Miller directed the transfer of the “$18M received from AFA

. . . to SNH [GBIG Holdings] as repayment of outstanding IC.” That day, AFA transferred

$18,000,000 from its North Carolina Wells Fargo Account [No.                          ] to GBIG Holdings’

North Carolina Wells Fargo Account [No.                       ].80

         1200. On October 18, 2018, the remaining $525,981 became part of a $1,500,000

transfer—at the direction of Lindberg, upon information and belief—from AFA’s North Carolina

Wells Fargo Account [No.                    ] to New Hill’s North Carolina Wells Fargo Account [No.

              ],81 a Personal Expense Company, and pass-through entity Lindberg used to move

funds from Global Growth to other Personal Expense Companies such as Dunhill or South Hill.

In this instance, New Hill wired $1,505,000 that same day from its North Carolina Wells Fargo

Account [No.                     ] to Dunhill’s North Carolina Wells Fargo Account [No.

              ].82

         1201. Between October 23, 2018 and October 29, 2018, GBIG Holdings redistributed

portions of the $18 million received from AFA as part of the following transactions:




79
   Global Insurance Capital, LLC (“GIC”) was a company owned and controlled directly or indirectly by Lindberg
organized and existing under the laws of North Carolina. On December 31, 2018, GIC merged with and into AFA.
80
   Ref# Bb0593Njvc.
81
   Ref# Bb0598Tpsz.
82
   Ref# Bb0598Trpr.

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               $13,400,000 to AFA’s North Carolina Wells Fargo Account [No.                         ]83

                for AFA to wire the $13,400,000 to Agera Energy, LLC’s (“Agera Eneregy”) Texas

                First National Bank of Central Texas Account [No.                    ]84 the purchase of

                preferred equity in AGH Parent, LLC (“AGH”);

               On October 26, 2018, $4,000,000 was transferred, as a loan, to Global Growth’s

                North Carolina Wells Fargo Account [No.                             ],85 for unspecified

                funding needs to which it immediately transferred;

                    o $1,500,000 to SFL’s North Carolina Wells Fargo Account [No.

                                     ]86 on October 26, 2018;

                    o $953,000 to GB Capital’s North Carolina Wells Fargo Account [No.

                                     ]87 on October 26, 2018;

                    o $370,000 to GB Capital’s North Carolina Wells Fargo Account [No.

                                     ]88 on October 26, 2018 to fund UK payroll;

                    o $104,000 to Global Mortgage Capital’s North Carolina Wells Fargo

                        Account [No.                 ]89 on October 26, 2018;

                    o $78,000 to Englert Holdings, LLC’s (“Englert Holdings”) North Carolina

                        Wells Fargo Account [No.                   ]90 on October 26, 2018;




83
   Ref# Bb059Tm98C.
84
   Federal Wire Transfer No. 05310; Srf# Gw00000019926918; Trn# 181023136053; Rfb# 12946.
85
   Ref# Bb05B77Smg.
86
   Ref# Bb05B866Yf.
87
   Ref# Bb05B7Nn4m.
88
   Ref# Bb05B7Bxsy.
89
   Ref# Bb05B7H2L6.
90
   Ref# Bb05B7Hr9H.

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                    o $700,000 to Dunhill’s North Carolina Wells Fargo Account [No.

                                   ]91 on October 26, 2018;

                    o $76,000 to Yaras Group, LLC (“Yaras Group”)92 on October 26, 2018;

                    o $46,000 to Apex’s North Carolina Wells Fargo Account [No.

                                   ]93 on October 26, 2018 to fund payroll;

                    o $69,000 to CAPLOC’s North Carolina Wells Fargo Account [No.

                                   ]94 on October 26, 2018;

                    o $36,000 to Eli Research’s North Carolina Wells Fargo Account [No.

                                   ]95 on October 26, 2018;

                    o $22,000 to Paradigm Park’s North Carolina Wells Fargo Account [No.

                                   ]96 on October 26, 2018;

                    o $14,000 to GHTG, LLC’s (“GHTG”) North Carolina Wells Fargo Account

                        [No.            ]97 on October 26, 2018;

                    o $13,000 to Standard Life Holdings Limited’s (“SLHL”) North Carolina

                        Wells Fargo Account [No.              ]98 on October 26, 2018; and

                    o $1,000 to Metronome Financial’s North Carolina Wells Fargo Account [No.

                                   ]99 on October 26, 2018.




91
   Ref# Bb05B8G6Yw.
92
   Ref# Bb05B7Slb7.
93
   Ref# Bb05B7Cg47.
94
   Ref# Bb05B7N4Sb.
95
   Ref# Bb05B7Jf3W.
96
   Ref# Bb05B7Gplj.
97
   Ref# Bb05B7H9TX.
98
   Ref# Bb05B7Dgp2.
99
   Ref# Bb05B67Vxk.

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               On October 29, 2018, $3,000,000 was transferred from GBIG Holding’s North

                Carolina’s Wells Fargo Account [No.                    ] to Global Growth’s North

                Carolina Wells Fargo Account [No.                      ]100 for additional unspecified

                funding needs to which it immediately transferred:

                    o $184,000 to Eli Research’s North Carolina Wells Fargo Account [No.

                                   ]101 on October 29, 2018; and

                    o $868,089 to Standard Malta Holdings Limited’s (“SMHL”) North Carolina

                        Wells Fargo Account [No.              ]102 on October 29, 2018.

            
                                           103
                                                                   .




100
    Ref# Bb05Bhwv3G.
101
    Ref# Bb05Bj62Wp.
102
    Ref# Bb05Bhxp3G.
103
                   .
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            1202. The UKAT Preferred Equity transaction described, in summary economic terms,

    involved the following:

                                                               NORTHSTAR

                                          $18,525,981                               UKAT Preferred Equity

                                                                   AFA
                                               $18M                                     $1.5M

                                    GBIG HOLDINGS                                           NEW HILL

               $7M                                               $13.4M                         $1,505M

GLOBAL GROWTH HOLDINGS                                             AFA                      DUNHILL


October 26, 2018                        October 29, 2018
                                                             AGERA ENERGY



- $1,500,000 to SFL                                        - $868,089 to SMHL
- $953,000 to GB CAPITAL                                   - $184,000 to ELI RESEARCH
- $370,000 to GB CAPITAL
- $104,000 to GLOBAL MORTGAGE CAPITAL
- $79,000 to ENGLERT HOLDINGS
- $700,000 to DUNHILL
- $76,000 to YARAS GROUP
- $46,000 to APEX
- $69,000 to CAPLOC
- $36,000 to ELI RESEARCH
- $22,000 to PARADIGM PARK
- $14,000 to GHTG, LLC
- $13,000 to SLHL
- $1,000 to METRONOME FINANCIAL

            1203. Given the elaborate corporate structure whereby UKAT was positioned three (3)

    companies away from the operating (and therefore cash generating) companies, any potential

    dividends were dissipated well before they were able to be paid to Northstar.




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                                    Organizational Chart

                                    UKAT Interco Limited



                                  UKAT Investments Limited



                             UK Addiction Treatment Group Limited



                                           OpCos

        1204. Lindberg and the Senior Decision Makers collected and directed to themselves in

the United States inflated management charges and fees at entities below UKAT, thus removing

returns to Northstar. There was little or no economic value to Northstar from the transaction.

Lindberg and the Senior Decision Makers instead charged and paid themselves these fees for

wrongfully taking reserves possessed by Northstar for its obligations to its policyholders and

similar stakeholders.

        1205. On July 5, 2019, on the direction of Lindberg, UK Addiction Treatment Group

Limited (“UKAT Group”)—a company beneath UKAT, and therefore closer to the operating

companies—wired the sum of £484,026 (GBP) to Acquired Development, LLC—a Personal

Expense Company. A further £4,200,000 (GBP) was wired by UKAT Group to Acquired

Development and AYC Holdings—also a Personal Expense Company—between August 2019 and

June 2020.

        1206. Payments to Acquired Development and AYC Holdings were transferred through

an intermediary, Monex Europe Ltd (“Monex”). The GBP amount was transferred out of the

UKAT Group’s NatWest Account [No.              ] to Monex, through a series of smaller payments
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of £250,000 (GBP) or less which took place on the same day. These sums were then exchanged

through Monex and an USD amount was wired to Acquired Development or AYC Holdings’ bank

accounts.

        1207. On July 5, 2019, two wire transfers of £234,026 and £250,000 were transferred

from UKAT Group’s NatWest Account [No.                  ] through Monex and on July 9, 2019,

$606,000 was received in Acquired Development’s Wyoming City National Bank Account [No.

             ].

        1208. On August 13, 2019, two wire transfers of £250,000 each and one wire transfer of

£50,000 were transferred from UKAT Group’s NatWest Account [No.               ] through Monex

and on the same date $662,860 was received in Acquired Development’s Wyoming City National

Bank Account [No.              ].

        1209. On October 4, 2019, two wire transfers of £250,000 each and one wire transfer of

£50,000 were transferred from UKAT Group’s NatWest Account [No.               ] through Monex

and on October 8, 2019, $667,325 was received in AYC Holdings’ Florida Northern Trust

Company Account [No.                ].

        1210. On December 9, 2019, two wire transfers of £250,000 each and one wire transfer

of £50,000 were transferred from UKAT Group’s NatWest Account [No.                   ] through

Monex and on the same date $723,250 was received in AYC Holdings’ Florida Northern Trust

Company Account [No.                ].

        1211. On February 6, 2020, two wire transfers of £250,000 each and one wire transfer of

£50,000 were transferred from UKAT Group’s NatWest Account [No.               ] through Monex

and on February 7, 2020, $709,555 was received in AYC Holdings’ Florida Northern Trust

Company Account [No.                ].


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        1212. On March 19, 2020, three wire transfers of £250,000 each and one wire transfer

of£150,000 were transferred from UKAT Group’s NatWest Account [No.                         ]. As per

supporting intercompany payment schedule created by Solow these payments were made to

Acquired Development. Based on upon belief and available information, this payment went to

Acquired Development’s Virginia MainStreet Bank Account [No.                   ].

        1213. On June 16, 2020, four wire transfers of £250,000 each and one wire transfer of

£100,000 were transferred from UKAT Group’s NatWest Account [No.                    ]. As per a letter

received from Avonhurst Legal Services LLP – legal counsel of UKAT – on December 21, 2022,

these sums were payments made to Acquired Development. Based on upon belief and available

information, this payment went to Acquired Development’s Virginia MainStreet Bank Account

[No.               ].

        1214. These additional wires were expressly authorized by Lindberg as per UKAT Group

Board Resolutions which he signed. To date, no dividends have been paid to Northstar, nor is there

evidence of repayments from Lindberg’s Personal Expense Companies or any of the UKAT group

of companies.

        1215. Effective December 13, 2021, the corporate structure of the UKAT group was

amended to the detriment of Northstar’s preferred equity. Prior to the restructure, UKAT was

positioned three (3) companies away from the operating companies. Following the restructuring

UKAT is positioned five (5) companies and one (1) trust away from the operating companies. This

restructure further separated UKAT from the cash generating entities and has added layers in which

cash and dividends can be dissipated, similar to the $606,000 transferred to Acquired

Development, prior to any transfer to UKAT.




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                                     Organizational Chart
                                 (Effective December 13, 2021)

                                     UKAT Interco Limited



                                       UKAT Parent, LLC



                                    English Governed Trust
                                   (US Trustee Steve Wilson)



                                     UKAT Holdings, LLC



                                   UKAT Investments Limited



                             UK Addiction Treatment Group Limited



                                             OpCos

        1216. Lindberg and the other Senior Decision Makers carefully crafted the organizational

structure to further divert funds from Northstar to other Lindberg Affiliates. The UKAT transaction

was a proximate cause of Northstar’s damages.

       ATL Transactions

        1217. Atlanta TopCo Limited (UK) (“ATL”) was incorporated under the U.K. Companies

Act 2006, on June 4, 2018, by Inhoco Formations Ltd., a commercial support services company.

Thereafter, on June 26, 2018, Ashley K. Pittman, an attorney at Hutchison’s Raleigh, North

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Carolina office, filed articles of organization with the North Carolina Secretary of State on behalf

of UK Atlanta Holdings, LLC (“UKAH”). UKAH is a wholly-owned subsidiary of Global Growth,

which in turn is wholly-owned by Lindberg. On or about July 9, 2018, UKAH acquired 100% of

the ordinary shares in ATL. Thus, Lindberg was the ultimate beneficial owner of ATL. The Notice

of Individual Person with Significant Control filed with the U.K. Companies House confirms this

point.

         1218. The purpose of ATL’s formation was to be a vehicle to purchase shares in Damoco

Holdco Limited’s U.K. and European subsidiaries, as well as all European intellectual property

relating to the Damovo name and branding. The acquisition was completed on August 23, 2018,

at which point ATL became the ultimate parent company of the group of subsidiaries commonly

referred to as the Damovo Group. To facilitate these transactions, Solow and Lindberg caused

Northstar to purchase 5,308,411,615 preferred shares of ATL, for a subscription price of $0.01 per

share, each with a nominal value of $0.01 for a total subscription price of $53,084,116.15 (the

“ATL Purchase”).

         1219. Although Northstar received “preferred equity” in ATL, presented as a well-

reasoned investment for Northstar, the evidence available to the JPLs shows that this transaction

was engineered to provide liquidity which enabled Lindberg to acquire and achieve control of the

Damovo group of companies, not for the benefit of Northstar or its policyholders and similar

stakeholders. Indeed, insurers such as Northstar must maintain a portfolio of liquid assets to satisfy

obligations owed to their policyholders and similar stakeholders – a fundamental element for an

asset held by an insurer in respect of obligations to its policyholders and holders of similar financial

products – not “equity” in a company with no ready market.




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        1220. The following exchange on or about August 13, 2018, among Herwig, Solow and

Harihara, an employee at GB Capital, underscores the point:

       Herwig:                 Devin, how much do we need for Damovo and First Scottish.

       Solow:                  About 70mm total, so we should be good. It might be nice to throw
                               something else in there such as Greenfield.

       Harihara:               When do you want this done by?

       Herwig:                 We could buy it and just bank on the DOI [NCDOI] allowing us to
                               do another PPN [i.e., Preferred Principal Note]. Could we close it
                               by Friday if we pull the trigger Wednesday?
       Harihara:               You mean the rated PPN? No way. . . .


       Herwig:                 Devin, is the 20th a hard date? Can live without the structure being
                               rated but need the structure in place.

       Solow:                  We have to fund the UK deals on the 17th. Maybe we can convince
                               Greg [Lindberg] to let us warehouse the loans at Northstar?


        1221. Thereafter, Johnson prepared closing instructions and a “playbook” for the

transaction. The closing instructions provided:

                (1) Treasury to do a test wire to Addleshaw Goddard LLP [a law firm] Euro Client
                    Acc ending             .

                (2) Eric [Bostic] to send signed SPA for Northstar to purchase Damovo Preferred
                    shares.

                (3) Steps 4-8 are on behalf of [UKAH].

                (4) Upon Greg [Lindberg]’s approval, Lynn to wire $45,854,004.41 from Northstar
                    to 53rd FX [foreign exchange] account ending          .

                (5) Devin to confirm FX at 53RD [financial institution].

                (6) 53rd FX to wire EUR 39,873,047.31 to Addleshaw Goddard LLP Euro Client
                    Acc ending          .

                (7) Lynn to wire $7,230,111.74 from Northstar to SICL Wells [Wells Fargo]
                    account ending        .
                                                  222

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                (8) Treasury to send $1,150.00 from [Global Growth] Wells to SICL Wells account
                    ending           . This is LTS and APIC to [UKAH] in order to pay fees.

        1222. On August 21, 2018, Northstar transferred $45,854,004.41 from its HSBC

Bermuda Operational Account [No.                         ] to a Fifth Third Foreign Exchange Account

[No.         ].104

        1223. No more than two (2) months after the transaction closed, Burkhart Böttcher, CFO

of Damovo Group, contacted Miller, indicating that its “current funds and cash flow plan” did not

allow for a €950,000 payment that was then due to Ares (lender of Damovo), and requesting that

funding “be provided from a different source, e.g., our shareholder [Northstar].” At that time,

Damovo was seeking a €5 million Revolving Credit Facility (“RCF”), and had asked that Global

Growth provide a letter of support. Mr. Böttcher explained:

                The letter would have to be issue [sic] by one of the ELI companies where
                the creditworthiness can be checked by a bank (or we are able to deliver the
                evidence of such easily). We are assuming that – If the letter was issued by
                one of the ATLANTA or DAMOCO entities in UK (see attached corp org
                chart) – it will not be accepted by the bank as these companies have
                basically no substance.
        1224. Miller, working from North Carolina, separately forwarded Mr. Böttcher’s

correspondence to Solow, commenting: “They just keep coming. Another company that cannot

make their debt payments. Looks like we need to add this to our list of urgent cash needs,” to

which Solow responded, “[c]an we get 1mm euro worth of pref out of NS [Northstar]?” Miller

confirmed, it “[s]hould not be a problem.”

        1225. Reasonable diligence performed before the acquisition of $53 million in ATL

preferred shares would have disclosed the acquired company’s inability—only two months later—



104
  Ref# TT Frtk03579Mnyn; FCC No. 607559H01TB3. Interestingly, additional narrative for this transaction on
Northstar’s HSBC account statement provides: “Settlement by Order of Colorado Bankers Life.”
                                                  223

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to satisfy a payment representing a fraction of Northstar’s investment. That especially is true, and

nearly self-evident, because ATL, UKAH, Global Growth and Northstar all were Lindberg

Affiliates.

        1226. Additionally, as part of the ATL closing and per the closing instructions sent down

form North Carolina, on August 22, 2018, Northstar transferred $7,230,111.74 from its HSBC

Bermuda Operational Account [No.                           ] to SICL’s North Carolina Wells Fargo

Account [No.                 ]105—a Lindberg Affiliate—for M&A Advisor Fees.106 The JPLs have

not identified any agreements between Northstar and SICL identifying what services, if any, were

actually rendered to Northstar to warrant payment of these fees, which represent nearly fourteen

percent (14%) of the purchase price.

        1227. Nevertheless, on November 20, 2018, Lindberg caused Northstar to execute an

Intra Group Loan Agreement with Damovo Deutschland GMBH & Co. KG (“Damovo

Deutschland”). That same day, Bostic—from North Carolina—directed Superina and Anthony

Donaghy—Northstar’s Deputy Anti-Money Laundering Officer—to wire $1,200,000 from

Northstar’s HSBC Bermuda Operational Account [No.                             ] to Damovo Deutschland

through a Wells Fargo Foreign Exchange Account [No.                           ].107 Northstar’s cash and

liquid assets were entrusted to it by policyholders via premium payments and the equivalent for

financial products to pay Northstar’s policyholders when needed, not to satisfy the debts or fund

the expenses of these Lindberg Affiliates.

        1228. The following Global Growth employees also received bonuses in connection with

the ATL Purchase: (a) Solow                   ; (b) Grant Powley                ; (c) Bostic            ;



105
    Federal Wire Transfer No. 01638; Bermu Srf # 234427423; Trn# 180822054477; Rfb# TT Frtk04094Mnyn.
106
    Miller was a director and authorized signatory of SICL.
107
    Ref# TT TT Frtk70129Mnyn.
                                                   224

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(d) Dónal O’Sullivan                     ; (e) Joseph Bennett                       and (f) Herwig

               . Any additional bonuses paid to Solow, Bostic, or the others by SASL presently are

unknown to the JPLs. The JPLs have not identified from the books and records made available to

them or from extensive pre-Amended Complaint Rule 2004 examinations and document

productions from the Lindberg Affiliates any objective rationale for the payment of these bonuses,

other than to pay the complicit executives involved for their contributions to this scheme. The

following email exchange between Solow and Powley is illustrative of this point:

       Solow:                  You have to tone these down. They are too high. Can you also clarify
                               what you were doing on some of these vs Henry [Komansky]?

       Powley:                 Does this work? Can you make sure this on 9/7?

                                        - I took out Damavo and First Scottish because I mainly just
                                        reviewed Greg [Lindberg]’s final package

                                        - Trimmed down USAP by $1.25k

       Solow:                  This is still too high. Can you clarify what you did on UKAT and
                               NPC vs Greg [Lindberg]? USAP bonus should be less. The final
                               memos were not ready in time for the call with the regulators.
                               Probably not going to make it on 9/7 at this point.
        1229. There is no reason to believe that Northstar, acting in the best interests of its

policyholders and stakeholders, would have participated in this transaction on its irrational pricing,

fees, and other economic terms in the absence of Lindberg’s and his Senior Decision Makers’

perpetuation and advancement of their ongoing scheme to defraud the Debtors, their policyholders,

and their stakeholders.

        1230. When questioned under oath about the nature and propriety of the bonus paid to

him in this or a similar circumstance, Solow answered with an invocation of his Fifth Amendment

privilege against self-incrimination.


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          1231. The decisions, structuring, and execution of the fee payment and bonuses occurred

from and between Global Growth’s and the Lindberg Affiliates’ principal headquarters in North

Carolina, using the bank accounts, emails, telephones, wire transfer facilities, and similar data

transmission facilities within and between states and territories of the United States.

          1232. In or about January 2019, Stewart, Herwig, Bostic, Solow and Johnson, among

others acting in North Carolina, developed an “investment restructuring plan,” whereby GBIG

took Northstar’s investment-grade holdings and replaced them with “lower rated US loans” held

by the FinCos, to achieve better year-end ratings for the Lindberg-owned NCIC.

          1233. On February 6, 2019, Johnson advised Solow and Dobson:

                  “We are doing 60+ cashless trades today to diversify the fincos and raise
                  their ratings. As part of this plan, Northstar will be trading $12.8M of
                  SMHL [Standard Malta Holdings Limited]108 debt (Malta) and the
                  equivalent of $50.5M of Damovo pref (UK). NS [Northstar] will receive
                  US debt in exchange for these assets.”
          1234. On February 7, 2019, Herwig and Miller caused Northstar to execute four (4)

Assignment and Assumption Agreements with Jackson Asset Management, LLC (“JAM”), Lilly

Asset Management, LLC (“LAM”), Marshall Asset Management, LLC (“MAM”) and Tybee

Island Asset Management, LLC (“TIAM”), assigning its Preferred Interest in ATL.109

          1235. As explained by Stewart:

                  “Damovo would keep 3 more fincos from being non-IG [investment grade].
                  Damovo is BBB in this methodology and is being swapped in for ~50mm

108
    SMHL is a wholly-owned subsidiary of Malta Insurance Holdings, LLC (“MIH”), which in turn, is wholly-owned
by Lindberg. SASL is a wholly-owned subsidiary of SMHL.
109
    NFIS, a wholly-owned subsidiary of Northstar, was incorrectly listed as the assignor on the Assignment and
Assumption Agreements. The Global Growth team ultimately discovered the error (“These are documents to correct
two transfers that were incorrectly documented in 2019. We did a large number of trades in Feb. 2019 and these got
lost in the shuffle so we, with the help of Grace [Edy] and her team, have identified the errors and are now correcting.”)
but failed to correct the error on paper due to legal costs (“See attached subscription letter for Atlanta Topco shares.
Is this sufficient for that one? If not, we need the auditors to tell us exactly which document needs to be amended for
each of these. I don’t want to rack up a bunch of foreign counsel bills amending docs that aren’t necessary.”). The
error, however, was ultimately acknowledged and resolved internally without amending the actual relevant documents.
This means the assignor was in fact and should have been listed as Northstar, not NFIS.
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                of B rated assets. B rated assets have ~10x the negative impact on the
                portfolio when compared to BBB.”
        1236. Johnson similarly explained:

                “[A]nything that moved out of CAFs/NS went to the fincos in exchange for
                the B rated assets. Northstar has more diversity in their BS [balance sheet]
                after but, they are lower rated US credits being swapped in.
        1237. The ATL transaction described, in summary economic terms, involved the

following:

                                                  LINDBERG



 GLOBAL GROWTH HOLDINGS                           NORTHSTAR                     ACADEMY ASSOCIATION INC.

                                                                                 SIC US HOLDINGS, LLC
             UKAH
                                                                           STANDARD INVESTMENT HOLDINGS, LTD.
                         5,308,411,615
             ATL                                                       $7.23M            SICL
                         preferred shares
                                                                   $295K
                       $1.2M                 ATL (BBB)
                                         EXCHANGED FOR

          DAMOVO                            B-RATED ASSETS                         SOLOW
                                                                                   POWLEY
                                                                                    BOSTIC
                                                                                 O’SULLIVAN
                                                     JAM                          BENNETT
                                                     LAM                          HERWIG
                                                     MAM
                                                     TIAM

        1238. Later that year, Grace Edy (“Edy”), a Northstar financial consultant, emailed

Hawkins and Bostic, identifying a $1,415,834.11 difference between the $53,084,116.15 opening

balance of the ATL Purchase, and the $51,668,282.04 exchange of assets in February 2019. Edy

advised, “[w]e have a missing trade (sale of assets) of $1,415,834.11 in addition to one trade (with

TIAM) having a differing value than the $15,935,532.74 noted in the workbook (signed contract

has $17,100,907.51).”


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        1239. In July 2020, Bostic responded, in part, to Edy’s concern by writing to Solow:

                “What do you think here? The finco rerate trades apparently traded away
                from Northstar amounts that didn’t equate to the assets they got back.
                Specifically there were multiple AGH Parent/Agera assets that should have
                been assigned into Northstar that the legal docs don’t show. Should
                Northstar book a receivable for this amount?”
        1240. Bostic provided additional information to Solow later, enclosing an email from

Surinder Jain (“Jain”), an accountant at Global Growth, that “no receivable [was] required.”

        1241. The ATL transaction was a proximate cause of Northstar’s damages.

       Beaufort Transactions

        1242. In 2018, Lindberg and his Senior Decision Makers caused Northstar to expend $24

million in cash and cash equivalents to acquire preferred equity in Beaufort Holding S.A.

(“Beaufort”)—a Luxembourg entity owned by and affiliated with Lindberg, and which serves as

a holding company for GB Life, another insurance company owned by Lindberg. There was no

legitimate economic purpose in the context of Northstar’s business and its obligations to its

policyholders and similar stakeholders to execute such a transaction.

        1243. The preferred equity in Beaufort was illiquid and incapable of a prompt and reliable

valuation. It lacked any sort of meaningful exchange or market in which to trade, either to

understand or to realize its actual value. That included the absence of a market to test the value

ascribed to it by Lindberg himself, businesses affiliated with him, or executives dependent upon

him.

        1244. None of those failings caused anyone involved with the transaction to question its

legitimacy, challenge it, or put a stop to it. Those persons specifically included Lindberg, Solow,

Bostic, Miller and Herwig, and those who worked for them and with them, together with the

entities that permitted them to hold offices and employed them.


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           1245. On October 23 2017, Lindberg, through SFL, a Lindberg Affiliate, extended a loan

in an aggregate principal amount of EUR 14,231,000 to Beaufort. As per the terms of the Loan

Agreement dated October 23 2017, the accumulated interest was capitalized on an annual basis

and payable on December 31st of each year until the maturity date of October 23, 2027.

           1246. Shortly after, Lindberg caused CBL, a North Carolina domiciled insurance

company owned by Lindberg, to assume the loan to Beaufort from SFL. This affiliated investment,

among others, caused the NCDOI to ultimately subject CBL to administrative supervision in

October 2018. The administrative supervision itself was enhanced oversight and scrutiny from the

NCDOI and Dinius (then acting as an appointed Supervisor) due to its poor financial condition.

           1247. Lindberg, Bostic, and Solow developed a plan in October 2018 whereby Northstar’s

liquid policyholder reserves were raided to purchase a portion of this illiquid loan agreement from

CBL for $6,000,000. This $6,000,000 transfer from Northstar turned Northstar liquid reserves

maintained for the benefit of its policyholders and stakeholders into an illiquid loan participation

interest in a Lindberg Affiliate, i.e., Beaufort. In addition to this, the Senior Decision Makers

caused Northstar to transfer $18,032,178.25 from its HSBC Bermuda Operational Account [No.

                     ] to SFL’s Savings Account, North Carolina Wells Fargo Account [No.

                ]110 to effectuate a purchase of 14,519 shares of preferred equity issued by Beaufort,

then owned by SFL, on December 4, 2018. SFL transferred the $18,032,178.25 from its Savings

Account, North Carolina Wells Fargo Account [No.                        ], to its Operating Account, North

Carolina Wells Fargo Account [No.                          ]111 on December 18, 2018, enabling SFL to




110
      Federal Wire Transfer No. 01712; Bermu Srf# 338480032; Trn# 181204053521; Rfb# TT Frtk80648Mnyn.
111
      Ref# Bb05K6F7Tz.

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transfer a $16,000,000 dividend to Global Growth’s North Carolina Wells Fargo Account [No.

                   ]112 on December 31, 2018.

           1248. On December 18, 2018, Global Growth used this dividend to settle an intercompany

debt owed to GBIG Holdings, transferring $16,000,000 from its North Carolina Wells Fargo

Account [No.                      ] to GBIG Holdings’ North Carolina Wells Fargo Account [No.

               ].113

           1249. GBIG Holdings ultimately used the $16,000,000 to make a capital infusion to CBL

on December 31, 2018.

           1250. As a consequence of this “transaction” in 2018, Northstar was burdened with CBL’s

illiquid Beaufort preferred equity and drained of $18.032 million in liquid assets. It eventually (as

explained more fully below) suffered a loss of more than $10 million, with the loss allocable to

the Beaufort preferred equity one that should have been CBL’s to bear.

                                                SFL

                   14,519 Preferred Equity                  $18,032,178.25 [11-14-2018]
                        Shares in Beaufort


                                             NORTHSTAR

           1251. The proceeds received from Northstar as a result of these transactions were

substantially used to ameliorate the cash flow and liquidity concerns of CBL. In one instance of

many, on December 6, 2018, Miller confirmed to Herwig that: (i) “[we] need $31mm from

Northstar just to meet December obligations and make the CBL equity infusion.”; and (ii) other

Lindberg Affiliates that were suffering from liquidity issues, including in one instance, of many,

when Miller discussed with Lindberg moving money from Northstar to other Lindberg Affiliates


112
      Ref# Bb05Lq94K5.
113
      Ref# Bb05Lq98M3.
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in need of capital as an asset appropriate to secure CBL’s obligations to its policyholders. Such

transfers were ultimately done to stop the further hemorrhaging of the NCIC that were quickly

entering distress.

        1252. Regarding “the cash needed for CBL equity infusion,” Miller advised, “the

additional Northstar sources that I show in the yellow highlighted area will come from Northstar

investments purchased using proceeds from sale of their current bond investments.” Superina

consequently expressed liquidity concerns to Global Growth executives directly answerable to

Lindberg, including Miller and Bostic:

                Given we have just invested the last of the bond portfolio amounting
                to $ 17 million of the Non- Trust Account I would like to have a call
                to discuss cash requirements of Northstar. Without these funds we
                currently have less to $ 2 [million] available to us for any fixed
                surrenders/withdrawals and opex [i.e. operating expenses]. Given
                the slow start to the year, the additional opex incurred and
                intercompany payments I am certain that we will need cash next
                week to make surrenders, withdrawal and opex requirements (in
                particular payroll which need[s] [to] go out next week). Considering
                we now have no bond portfolio to draw down on I would like to
                understand what the process is to obtain funds for the operations of
                Northstar.

        1253. Solow appeared for oral examination pursuant to a Rule 2004 subpoena issued by

the Court after he and an attorney appearing for him contested its issuance. Solow was represented

by an attorney of his choosing throughout the oral examination. In response to multiple questions

concerning the Beaufort-CBL-Northstar transaction and his involvement with it and knowledge

about it, his answer to each question was an invocation by him of the privilege against self-

incrimination provided in the Fifth Amendment to the United States Constitution. Solow 2004

Examination Tr., at 87:24-90:3.

        1254. On November 21, 2022, Herwig appeared for oral examination pursuant to a Rule

2004 subpoena issued by the Court after he and an attorney appearing for him contested its

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issuance. Herwig was represented by an attorney of his choosing throughout his oral examination

(“Herwig 2004 Examination”). In response to multiple questions concerning the Beaufort-CBL-

Northstar transaction, his involvement with it and knowledge about it, his answer to each question

was to deny specific involvement or knowledge. Herwig was a director of Northstar, and a $24

million transaction was a material event for it, for its policyholders, and for its financial products

owners because it was ultimately diverted in a way that deprived Northstar, its policyholders, and

its financial products owners from liquid assets to pay out claims, redemptions and surrenders.

        1255. How the Beaufort-CBL-Northstar transaction worked in 2018 when executed is

illustrated in succeeding paragraphs. This includes, for summary purposes, the resulting

investigation initiated by the Luxembourg regulatory authority after it learned about one aspect of

it; and how Lindberg and those involved or aware of the original Beaufort-CBL-Northstar

transaction compounded its wrongfulness in 2019 after the opportunity to sell a Portuguese affiliate

at a substantial profit to Lindberg presented itself, and the Luxembourg affiliate including Beaufort

was sold at a loss to reduce Lindberg’s tax liability from the Portugal profit. In addition to the over

$13 million loss imposed on Northstar in 2019, pretextual explanations were proffered by Global

Growth employees to the Luxembourg and Bermuda regulatory authorities.

         a. On November 13, 2018, Lindberg caused CBL and Northstar to execute an

              assignment agreement. In it, CBL assigned its loan agreement with Beaufort to

              Northstar.

         b. On November 14, 2018, Northstar transferred $6,000,000 to CBL.




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          c. On November 30, 2018, SFL sold to Northstar 14,519 shares of Beaufort preferred

              equity with a value stated to Northstar of EUR 15,845,499.34.114

          d. The $6,000,000 loss (damages), among other wrongs, was caused by Lindberg and

              the Senior Decision Makers in North Carolina.

                                                     2018

                                                     CBL

             Assignment and Assumption                           $6,000,000 [11-14-2018]
                   Agreement (Beaufort)


                                                NORTHSTAR

         1256. For Northstar and its policyholders, there was no legitimate economic purpose for

the Beaufort transaction. There is no material contrary indication from the books and records

available to the Plaintiffs or the documents produced by the Lindberg Affiliates in response to a

subpoena served in 2022, nor is there any contemporaneous objective, reasonably thorough,

meaningful analysis that assessed and attempted to justify the transaction.

         1257. As a consequence of the Beaufort transaction in 2018, Lindberg, Solow, Bostic,

and the others involved, while the NCDOI and Dinius administratively supervised CBL, harmed

Northstar and its policyholders for the benefit of CBL and its policyholders. They did so, among

other reasons, to reduce and relieve the adverse regulatory oversight applied to CBL in 2018 by its

regulators in North Carolina.

         1258. Beaufort’s involvement in the Beaufort-CBL-Northstar transaction in 2018 also

raised a flag with the regulator of its parent or holding company in Luxembourg in 2019. One



114
   The Luxembourg insurance regulator, Commissariat aux Assurances, was “very displeased that they [CAA] did
not give the proper approval,” with regards to the transfer of shares from SFL to Northstar. See more detailed
discussion infra.
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reason that the Luxembourg regulator raised a flag, on information and belief, is that it understood

that Lindberg Affiliates such as CBL were already subject to heightened scrutiny from the NCDOI.

Stewart testified that news such as this traveled immediately though these sources throughout the

marketplace. Stewart NC MOU Action Deposition Tr., at 50:19-21.

        1259. In an email dated January 15, 2019, Casey Smith, compliance counsel at GBIG,

advised Herwig that Lindberg and GBIG were contacted by the Luxembourg regulators for failing

to request or obtain prior approval for the transfer of Beaufort shares to Northstar:

                We have been contacted by the CAA [Luxembourg insurance
                regulator] in regards to a transfer of shares of Beaufort from SFL to
                NFSB. Unbeknownst to us, we were required to obtain their prior
                approval before the transfer could occur due to their status as parent
                company of GB Life Luxembourg [S.A.]. Once they learned that
                the transfer had already occurred they requested, among other
                things, the CVs [curriculum vitae] and their equivalent of a
                criminal background check for each director of Northstar
                Financial Services (Bermuda) Ltd. This request is time sensitive
                as they are very displeased that they did not give the proper
                approval. The Bermuda resident directors will be providing a police
                report from their end but we need to do a criminal background check
                for you and Krishnan Harihara to provide alongside your CVs.
        1260. By letter dated, March 7, 2019, Pieter Coopmans of GB Life proffered a response

that the motivation to change the shareholding structure of GB Life was to “streamline the

ownership structure of the insurance group by moving ownership from a servicing company to an

insurance company, and reducing their footprint in Malta.”

        1261. The response was a post-hoc pretext, one lacking any factual basis within the

Northstar books and records available to the JPLs, or within the documents produced in 2022 by

the Lindberg Affiliates in response to Fed. R. Bankr. P. 2004 subpoenas authorized by the Court.

        1262. Lindberg, the other Senior Decision Makers, and other Global Growth employees

were not content to let rest the initial liquidity reduction and immediate economic loss imposed on

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Northstar from the 2018 Beaufort-CBL-Northstar transaction. In 2019, an opportunity was

presented to Lindberg to sell Global Bankers Insurance Group Portugal (“GB Portugal”) at a

substantial gain to him personally. Lindberg and the Global Growth investment team

contemporaneously identified GB Life Luxembourg S.A. (“GB Luxembourg”), Beaufort’s parent,

as a group to sell at a loss to offset income tax liability to Lindberg that arose from the GB Portugal

gain.

        1263. Lindberg and the Global Growth investment team, seeing the personal gains

involved from the GB Portugal sale, seized on the GB Portugal and GB Luxembourg sales to

benefit themselves, without regard to the additional losses that were imposed on Northstar and the

reserves it held and was obligated to maintain for the benefit of its policyholders and similar

stakeholders.

        1264. By email on April 2019, Lindberg and Matteo Castelvetri, CEO of GBIG, were

engaged in a sale of GB Life and GB Portugal.

        Castelvetri:           We are likely to receive offers on Lux + Portugal in 10 days, ie sell
                               our Lux holdco with GBLife and the PT contract in it. . . . The capital
                               structure of Lux is 8m of equity from you, 14m prefs from Northstar
                               and 14 m of senior debt in between Northstar, CBL and a FinCo.

        Lindberg:              [Y]es suggest we find another buyer ASAP for Portugal. . . and if
                               they want Lux too, then great.
        1265. In an email dated April 27, 2019, Miller wrote to Lindberg, Herwig, and Peter

Nordberg (“Nordberg”) noting that the GBIG Portugal sale would “generate significant tax

liability” that would be “offset” “if they sell GB Life at a loss.”

        1266. Following these exchanges, Lindberg wrote, unsurprisingly, to those in charge of

what had become the rehabilitation of his NCIC that it had become “necessary” for Northstar to

sell its preferred equity in Beaufort at a loss. The pretext proffered was Northstar’s “liquidity


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needs[.]” Lindberg then explained that “[Northstar] sell its interest in GB Life to CBL and then

CBL will receive the cash proceeds. . . [Northstar] would receive approximately $12M in cash for

its interest.”

            1267. On August 15, 2019, the loss on the proposed transaction was questioned by James

McLaren from the BMA, including because Northstar at the time was required to obtain advance

written approval from the BMA for asset transactions such as the one contemplated involving

Beaufort:

           McLaren:                  Is this a resulting approximate $10m loss on sale or has some other
                                     restructuring occurred since the April 2019 asset valuation listing?


           Herwig:                   The loss is from the sale. Given the cash restraint at Northstar we
                                     think it makes sense to take the loss in exchange for the cash.
            1268. Despite knowing that such a loss further burdened Northstar, knowing his own

personal involvement with the Beaufort-CBL-Northstar transaction in 2018, and knowing that the

true motivation for the 2019 GB Life sale including Beaufort was to generate a loss to offset his

GB Portugal gain, Lindberg sat silent, accepted approval from the North Carolina rehabilitators,

again sacrificed Northstar’s interest, and took a tax benefit for himself. Northstar’s losing sale of

its preferred shares in Beaufort closed in December 2019. That cemented Northstar’s more than

$13 million loss.115

            1269. On information and belief, Herwig was compensated directly by SASL with

bonuses, or indirectly with an aggregate bonus, for his participation in this deal. Stewart NC MOU

Action Trial Testimony [Volume 2] Tr., at 28:11-29:20 (Herwig and Solow both had salary




115
      Beaufort/GB Life had a book value of $24,761,692, but Northstar only received $11,294,365.

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arrangements with SASL). Herwig was a Northstar director at the time of the Beaufort-CBL-

Northstar transaction.

        1270. Lindberg engineered the Beaufort-CBL-Northstar transaction in 2018, a

transaction, inter alia, that lacked an economic purpose beneficial to Northstar. It was an apparent

scheme to reduce and relieve scrutiny on CBL from its regulators in North Carolina, and to create

a tax loss to offset the tax gain from a separate deal around the same period from which he was to

gain personally. Northstar’s liquidity crisis in 2019 was created by Lindberg raiding its reserves to

fund transactions such as Beaufort-CBL-Northstar or the fact that he caused Northstar to sell

Beaufort at a substantial loss within less than a year.

        1271. There is no reason to believe that Northstar, acting in the best interests of its

policyholders and stakeholders, would have participated in this transaction on its irrational pricing,

fees, and other economic terms in the absence of Lindberg’s and his Senior Decision Makers’

perpetuation and advancement of their ongoing scheme to defraud the Debtors, their policyholders,

and their stakeholders.

        1272. The Beaufort transaction was a proximate cause of Northstar’s damages.

       Northstar’s Insolvency

        1273. After Lindberg’s 2018 acquisition of Northstar, Lindberg and the Senior Decision

Makers used Northstar as Global Growth’s personal bank account. By the first quarter of 2019,

not more than seven months after acquisition, Northstar was insolvent at least on a cash flow basis

as a result of the improper investments in Lindberg Affiliates discussed herein, plus numerous

other examples.

        1274. On February 20, 2019, Superina stated several issues to the Senior Decision Makers

in North Carolina about Northstar’s liquidity and investment strategy. She told Miller, “we have


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policyholder obligations and operational invoices to pay. From a reputational perspective if there

is any concern about the liquidity of Northstar and its ability to meet operational and policyholder

obligations we have a huge issue with the distribution firms, our staff and clients.”

        1275. Superina also expressed concerns about the investment strategy after the

BlackRock liquidation and asked to invest Northstar’s money into more liquid investments as

opposed to the Lindberg Affiliates. “In the past when we had cash requirements we were able to

redeem bonds in the Blackrock portfolio and make any necessary operational and policyholder

payments as and when they were due. It would appear that the nature of our business may not be

suitable with the investments that we currently hold. Would it be possible to reinvest some of the

Northstar assets into more liquid investments to illuminate and cash flow concerns? [sic]”

        1276. Superina told Miller that Northstar was not writing enough business to fund the

outflow of the business [Northstar] – paying operational expenses, etc. She even went as far as to

put Miller on notice of the potential regulatory issues, “should the BMA be made aware of any

liquidity concerns[?]”

        1277. These concerns were left unanswered and ignored by the Senior Decision Makers

and Lindberg.

        1278. On February 22, 2019, after being ignored, Superina expressed her concerns to

White, copying Miller, about Northstar’s liquidity: “Northstar has been settling the operational

expenses of the other Bermuda entities (BMX, Omnia, PBLA and PHIHL) [sic] for the last few

months and as a result this is significantly impacting Northstar’s cashflow and ability to meet our

own cashflow requirements. [sic]”

        1279. Superina further expressed concern about Global Growth’s failure to timely

reimburse Northstar’s expenses, suggesting Lindberg and the Senior Decision Makers in North


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Carolina, and her team in Bermuda, “develop a process that works for all entities as the current

process can no longer be sustained by Northstar as [Northstar does] not have the funds to make

these payments.”

        1280. This never happened.

        1281. Miller then forwarded this email exchange among White and Superina to Scott

Boug (“Boug”) on February 25, 2019, with the transmittal email reading, “This is getting a bit

tense,” to which Boug responded, “Northstar has simply run out of cash and we now face not

paying vendors or clients.”

        1282. Paying surrenders and operating expenses out of its own funds became next to

impossible in 2019 because its formerly liquid assets had been drained by Lindberg and the other

Senior Decision Makers in 2018, and Northstar was forced to rely on Global Growth for its

liquidity, which was noted by the BMA during its investigation in April of 2019 (infra).

        1283. On June 25, 2019, Boug told Bostic, Miller and Herwig that “Northstar has barely

enough cash to get through August.”

        1284. Northstar was also likely balance sheet insolvent by the first quarter of 2019,

considering the illiquid sham affiliated investments which the Senior Decision Makers caused

Northstar to enter into between July 2018 and March 2019.

        1285. The representative transactions concerning Northstar alleged herein all were

conceived, structured, and executed from the United States, principally if not exclusively from

headquarters offices maintained by Lindberg and used by the Senior Decision Makers in North

Carolina. Northstar cash was transferred at the direction or consent of Lindberg and the Senior

Decision Makers into bank accounts maintained by the involved Lindberg Affiliates in banks and

similar financial institutions in the United States. These included, inter alia, scores of wire


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transfers, thousands of emails, countless telephone calls, and similar repeated uses of the wires and

radio frequencies within the United States to advance and perpetuate an ongoing scheme to defraud

by means of false or fraudulent pretenses. The damage to Northstar and its policyholders and

similar stakeholders from the wrongs alleged manifested substantially in North Carolina, inter alia,

the place where the substantial majority of the liquid assets maintained by Northstar for itself and

the benefit of its policyholders and stakeholders was diluted, devalued, or disappeared, including

wrongfully into the Personal Expense Companies and the pockets of Lindberg and his Senior

Decision Makers.

   VII.     Representative Transactions Causing Harm to PBLA
        1286. PBLA was incorporated in 2017. PBLA is a wholly-owned subsidiary of PBX

Bermuda Holdings, LLC. PBX Bermuda Holdings, LLC (“PBX Bermuda”) is wholly-owned by

PBX Holdings, LLC (“PBX Holdings”). Lindberg holds 100% ownership in PBX Holdings and is

the sole beneficial owner of these entities, each of which was formed and existed under Bermuda

law during their ordinary operations.

       Repurchase Agreements

        1287. In one scheme, Lindberg and Herwig caused PBLA to purchase $96 million in

illiquid, sham Repo Agreements. Lindberg Affiliates issued the Repo Agreements (collectively,

the “Repo Counterparties”).

        1288. A Repo Agreement is a short-term arrangement wherein one party transfers

securities to another firm for a specified price, along with an agreement to repurchase the securities

at a slightly higher price after a short period of time, sometimes the next day. The economic

substance of the transaction essentially functions like a short-term interest-bearing loan with

collateral-backing. The cash received for the securities is less than the fair value of the asset and

represents the principal of the loan. The difference between the fair value of the asset transferred
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and the cash received is referred to as the “haircut.” The securities transferred are the collateral,

and the amount paid to repurchase the securities represents payment of the principal plus interest

at the agreed-upon rate. If the transferor defaults and does not repurchase the securities, the

transferee can sell them to satisfy the obligation.

        1289. There are, however, several important distinctions between Repo Agreements and

traditional secured loans. Most notably here, although the business purpose of most Repo

Agreements is to provide a short-term loan between parties, accounting standards have permitted

these transactions to be recorded as either a financing transaction or a sale of securities, depending

on whether the transferor retained effective control over the collateralized assets. If the Repo

Agreement was considered a financing transaction, the pledged securities would remain on the

transferor’s balance sheet and a liability for the cash received was recognized. If, however, the

Repo Agreement was considered a sale, the assets pledged as collateral were removed from the

balance sheet until the repurchase took place and no liability for repayment of the loan was

recognized.

        1290. During the 2007-2008 financial crisis, now-defunct Lehman Brothers knowingly

exploited this principle by structuring its Repo Agreements as sales, rather than financing

transactions. Guidance at the time indicated, generally, that a Repo Agreement could be recorded

as a financing transaction where the value of the assets transferred was between 98% and 102% of

the borrowed amount. Stated differently, Repo Agreement collateralization between 98% and

102% of borrowed amount allowed the bank to buy back the collateral, meaning it retained control

over the assets. From this, Lehman Brothers arbitrarily decided that collateralization at 105% or

108% could be deemed a sale, rather than a financing transaction.




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         1291. In what are now referred to as “Repo 105” and “Repo 108” transactions, Lehman

Brothers transferred the ownership of high-grade securities at either 105% or 108% of the amount

received, claiming as a result, that it had given up effective control over the securities and was free

to record the Repo Agreements as sale transactions. In doing so, the accompanying cash transfer—

which Lehman Brothers would then use to reduce its liabilities and improve its leverage ratios—

was never recorded as a liability on Lehman Brothers’ balance sheet. After the start of a new

quarter, Lehman Brothers would borrow funds to repay the previous cash borrowing plus interest,

repurchase the securities, and restore the assets to its balance sheet. By knowingly exploiting these

accounting principles and specifically structuring its Repo Agreements to fail the requisite

treatment as a financing transaction, Lehman Brothers was able to remove debt from its balance

sheet, concealing its financial distress.

         1292. Following the collapse of Lehman Brothers, the Financial Accounting Standards

Board (“FASB”) issued Statement of Financial Accounting Standards (SFAS) 166, Accounting

for Transfers of Financial Assets, codified as Accounting Standards Codification (ASC) Topic

860, Transfers and Servicing, which was designed to make it more difficult for companies to

construct transactions as sales when effective control had not really been transferred to the other

party.

         1293. Under the December 2017 Repo Agreements (defined herein), PBLA directly sent

or caused to be transferred $96 million to five (5) different affiliated companies as Repo

Agreements on each day from December 27 to 29, 2017. In exchange, PBLA purportedly received

an interest in identifiable underlying assets owned or controlled by each of the Repo Counterparties

and the collateral for each Repo Agreement was often a loan to New Hill, which, as described




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throughout this Amended Complaint, is a Personal Expense Company that rarely, if ever, repaid

loans.

         1294. The Repo Counterparties on the other side of PBLA uniformly agreed to repurchase

the underlying assets from PBLA at a higher price within a short term after the involved Repo

Agreement was issued to PBLA in exchange for PBLA’s liquid capital. The promises were false.

Lindberg and Herwig fully understood that fact when the promises were made or allowed to be

made, and nonetheless caused, authorized, and permitted the transactions to be performed and

remain on the books of PBLA for years, ultimately contributing materially to PBLA becoming

insolvent.

         1295. Lindberg and Herwig knew when they directed authorization of the Repo

Agreements that the underlying assets held by each of the Repo Counterparties were not liquid,

low risk, or short-term investments. Lindberg and Herwig in fact knew, or had every ability and

reason to know, that the Repo Counterparties had no intention or ability to satisfy their repurchase

obligations to PBLA. After all, each often was an owner (in the case of Lindberg), officer, or

director on every side of the deal, i.e., PBLA’s side; the Repo Counterparty’s side; and SASL’s

side.

         1296. When the Repo Agreements approached their maturity date, Lindberg and Herwig

merely “rolled forward” the maturity date. In the end, PBLA was left holding $96 million in

illiquid, sham Repo Agreements while Lindberg, Herwig and the Lindberg Affiliates received cash

or the reasonable equivalent. SASL, in addition, collected millions of dollars in investment

advisory fees from its defrauded advisory clients.

         1297. Solow and Bostic were generally responsible for sending CTAs, wiring

instructions, underlying assets, and Repo Agreements to Wilmington Trust with instructions to


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wire PBLA’s funds to the Repo Counterparties. Herwig and White typically arranged the bank

transfers from the Repo Counterparties back to Global Growth, in what, from the records made

available to the JPLs from the Lindberg Affiliates, appear to have been elaborate round-trip

transactions.

        1298. Despite the regulatory changes resulting from Lehman Brothers’ collapse, the Repo

Agreements were nevertheless characterized as cash or cash equivalents on PBLA’s balance sheets

to falsely paint the picture of a healthy balance sheet to regulators and ULICO. This, like other

falsities, came to light following Lindberg’s arrest on April 2, 2019. Shortly after, the BMA

imposed conditions to be added to the Certificates of Registration for PBLA, Omnia, and

Northstar, including that the companies obtain prior written approval from the BMA before

establishing bank accounts or moving assets, and restricting the companies from modifying the

terms of their investments without prior written approval.

        1299. In an April 12, 2019 email, Henry Komansky (“Komansky”), Northstar’s Money

Laundering Reporting Officer, advised Miller, Boug and Nordberg that “the BMA twice said today

that it is a criminal offence to misstate matters to the Authority, as they believe was done in some

of the information given to them, especially in stating Repos as Cash. And they just wanted to

make us aware and made it clear they were not going to refer the matter to the police at this time.”

Nordberg inquired in response, “What are the merits of the repo-as-cash misstatement? Repos can

be viewed as cash equivalents, can’t they? Or is it clear that that is not the case?”

        1300. As a December 31, 2018 memo shows, however, Senior Decision Makers including

Stewart and Boug had known for some time that the Repo Agreements did not meet the criteria

necessary to qualify as a sale. As the memo plainly advised:

                When PBLA enters into a new repurchase agreement, the terms will
                be reviewed to determine classification as a sale (ASC 860-10-40)

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                or a secured borrowing (ASC 860-30-25). If the agreement does not
                meet the criteria of ASC 860-10-40-5, it is considered to be a
                secured borrowing. . . .

                All current repurchase agreements do not meet the sale criteria
                listed above, and therefore are accounted for as a secured
                borrowing. As the transferee or buyer to these agreements, PBLA
                recognizes these transactions with the creation of a receivable under
                the repurchase agreement as an offset to the outflow of cash. The
                interest earned on the secured borrowing is recognized in the income
                statement and balance sheet on an accrual basis. At the time of
                settlement, the receivable is released and interest not previously
                recognized in income is recognized in exchange for cash. Some of
                the current agreements are between related parties. However, the
                transferee’s assets and liabilities are not consolidated into the
                separate-entity financial statements of the transferor. (emphasis
                supplied).

        1301. Vipin Kumra (“Kumra”)—part of Global Growth India’s financial operations—

further similarly advised Miller and Solow in a May 9, 2019 email:

                As per accounting rules for Repurchase Agreement, the encumbered
                securities are supposed to remain on the balance sheet of the
                borrower and can’t be accounted for as outright sale. As a result of
                this even though AFA will show investment in Flagship Pref. it will
                not be in sync. With the revised operating agreement. To my
                understanding we should have shown AFA as the member and may
                be [sic] mention separately the portion of its holding that is
                Encumbered with PBLA as a result of the repurchase agreement.
                Also AFA should show on its balance sheet [on the asset side] a
                separate line for Repo Encumbered Securities [separate from its
                other investment securities].

        1302. By June 27, 2019—the date the MOU and IALA were executed—Kumra had not

received an answer from either Miller or Solow on how these Repo Agreements should be treated.

       December 2017 Repo Agreements

        1303. As another example of the Repo Agreements and how the transactions worked, on

December 27, 2017, PBX, as borrower, and SFL and SASL, as lenders, executed a Junior Loan

Agreement. SFL and SASL collectively agreed to loan $95,794,077 to PBX. Specifically, SFL


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loaned $83,974,077 to PBX in three (3) installments of $26,637,430, $28,743,620, and

$28,413,027, and SASL loaned $12,000,000 to PBX in one installment.

        1304. On the transaction, Solow advised the attorneys at Hutchison, counsel for Lindberg

and Global Growth:

                We are looking to capitalize PBLA’s Main custody account [non-
                Trust assets] with subordinated debt to PBLA’s immediate parent in
                Bermuda. This will happen through 3 series of transactions, which
                are described in the attached excel file. The sub debt described in
                the file should be pari passu and have similar terms to the already
                existing sub debt at PBLA’s parent. The assets described in the
                various tabs have back up data in the zip file. Peter [Nordberg]’s
                team will provide documentation on the underlying assets that are
                being repurchased. The CAM assets still need some clarity, but
                Surinder’s team is working on this. If there are any questions about
                the assets, please direct them to Surinder [Jain] and me.

                The basic flow of funds are SFL to [PBX] as debt, [PBX] to PBLA
                Main as APIC [additional paid in capital], PBLA Main to asset
                management companies as repos, asset management companies to
                AAI [Global Growth] as repos and then AAI [Global Growth] to
                SFL to settle IC [intercompany].
        1305. Jeremy Freifeld (“Freifeld”), an attorney at Hutchison’s Raleigh, North Carolina

office from September 2014 to April 2022, relatedly advised the attorneys at Appleby (Bermuda)

Ltd.:

                Capitalization of Private Bankers Life & Annuity Co Ltd (“PBLA”).
                In this transaction, [SFL] (an Eli Global Malta company) will make
                a $27M loan to [PBX]. [PBX] will then make an additional paid in
                capital contribution to its subsidiary, PBLA. PBLA will then use
                these funds to purchase assets (a mix of loans and equity) from
                certain Eli Global companies, pursuant to repurchase agreements.
        1306. On December 27, 28 and 29, 2017, SFL made each respective installment payment

by transferring the funds from its Wells Fargo Bank Account to PBLA’s Wilmington Trust Bank

Account. On December 27, 2017, SFL wired $26,637,430 from its North Carolina Wells Fargo


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Account [No.                  to PBLA’s Delaware Wilmington Trust Account [No.                 ].116

Then, on December 28, 2017, SFL wired $28,743,620 from its North Carolina Wells Fargo

Account [No.                  to PBLA’s Delaware Wilmington Trust Account [No.                 ].117

Finally, on December 29, 2017, SFL wired $28,413,027 from its North Carolina Wells Fargo

Account [No.                 ] to PBLA’s Delaware Wilmington Trust Account [No.                ].118

        1307. SASL made its payment on December 28, 2017, wiring $12,000,000 from its North

Carolina Wells Fargo Account [No.                   ] to PBLA’s Delaware Wilmington Trust Account

[No.              ].119

        1308. Although the funds were recorded as subordinated debt to PBX, subsequently paid

to PBLA as additional paid in capital, the funds were never transferred to PBX, and instead, went

directly to PBLA.

        1309. The original source of the SFL funds were two payments of $26,637,429.00 and

$40,743,620.00, respectively, received from Global Growth to SFL for “payment of services.” On

December 27, 2017, Global Growth wired $26,637,429 from its North Carolina Wells Fargo

Account [No.                         ] to SFL’s North Carolina Wells Fargo Account [No.

             ],120 and on December 29, 2017, Global Growth wired $40,743,620 from its North

Carolina Wells Fargo Account [No.                          ] to SFL’s North Carolina Wells Fargo

Account [No.                 ].121

        1310. Promptly thereafter, Lindberg and Herwig drained PBLA’s balance sheet of liquid

assets, filling it with sham Repo Agreements. On December 27, 28, and 29, 2017, PBLA executed


116
    Federal Wire Transfer No. 02683; Srf# Gw00000009408473; Trn#171227093868; Rfb# 9268.
117
    Federal Wire Transfer No. 00265; Srf# Gw00000009452979; Trn#171228108728; Rfb# 9286.
118
    Federal Wire Transfer No. 04328; Srf# Gw00000009491528; Trn#171229074264; Rfb# 9300.
119
    Federal Wire Transfer No. 00521; Srf# Gw00000009471293; Trn#171228176041; Rfb# 9293.
120
    Ref# Bb0443Pzmm.
121
    Ref# Bb0449F8PY.
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fifteen (15) Repo Agreements with the following Repo Counterparties: (a) AFA; (b) GIC; (c) Atlas

Financial Investments, LLC (“AFI”); (d) Capital Asset Management II, LLC (“CAM II”); and (e)

Capital Asset Fund I, LLC (“CAF I”, collectively, the “December 2017 Repo Agreements”).122

Lindberg typically signed for both PBLA and the Repo Counterparty.

            1311. Under the December 2017 Repo Agreements, PBLA agreed to send the millions of

dollars of liquid capital it had just received for purposes of capitalization to the Repo

Counterparties—which were Lindberg Affiliates—and, in exchange, purportedly received an

interest in certain underlying assets held by each of the Repo Counterparties, on the condition that

the involved Repo Counterparty repurchase the underlying assets from PBLA, no more than 364

days from the effective date of the agreement, for a price equal to 104.5% of the purchase price.

            1312. Lindberg and Herwig each knew that the Repo Counterparties had no intention or

ability to repurchase these assets. Thus, to continue the cycle of fraud, they directed and caused

the Repo Counterparties to transfer PBLA’s liquid capital to another Lindberg Affiliate structured

as another Repo Agreement.

            1313. Shortly after the December 2017 Repo Agreements were initially executed, each of

the above-listed Repo Counterparties executed their own Repo Agreements with Global Growth

(the “Global Growth Repo Agreements”), whereby the Repo Counterparties exchanged cash for

underlying assets held by Global Growth, on the condition that Global Growth repurchase the

underlying assets from the Repo Counterparties, once again no more than 364 days from the

effective date of the agreement, for a price equal to 104.5% of the purchase price. Again, Lindberg

typically signed for both parties.




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      PBLA executed five (5) Repo Agreements each on December 27, 28 and 29, 2017, respectively.
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           1314. On December 27, 2017, PBLA executed the first five (5) Repo Agreements with

the Repo Counterparties, agreeing to purchase the following underlying assets:

  Seller          Underlying Asset           Purchase Price                 Wire Transfer

                                                               AFA’s North Carolina Wells Fargo Account
                                                                          [No.             ]
              Loan to SNA Capital, LLC
  AFA                                          $2,700,000          Federal Wire Transfer No. 01784
                  (“SNA Capital”)
                                                                       Srf# 171227005571000
                                                                         Trn# 171227123584


                                                               GIC’s North Carolina Wells Fargo Account
                                                                          [No.             ]
  GIC             Loan to New Hill             $2,700,000          Federal Wire Transfer No. 01819
                                                                       Srf# 171227005575000
                                                                         Trn# 171227124684


                                                               AFI’s North Carolina Wells Fargo Account
                                                                          [No.             ]
             50 Class B Units in Certitrek
   AFI                                         $2,329,760          Federal Wire Transfer No. 01787
                     Group, LLC
                                                                        Srf# 171227005578000
                                                                         Trn# 171227123608


                                                              CAM II’s North Carolina Wells Fargo Account
                                                                          [No.             ]
 CAM II          Loan to Eli Research          $9,297,670          Federal Wire Transfer No. 01810
                                                                        Srf# 171227005573000
                                                                         Trn# 171227124596


                  Loan to SN Group             $5,250,000
                  Development, LLC

                                                              CAF I’s North Carolina Wells Fargo Account
              Loan to Health Care Cloud        $129,000                   [No.             ]
                    Services, LLC                                  Federal Wire Transfer No. 01785
  CAF I                                                                Srf# 171227005574000
                                                                         Trn# 171227123585
               Loan to Lens on Demand,          $76,000
                         LLC


             Loan to New England Capital,      $4,155,000
                     LLC (“NEC”)



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           1315. Thereafter, each of the above listed sellers executed the first five (5) Global Growth

Repo Agreements, whereby the Repo Counterparties agreed to purchase assets from Global

Growth as follows:

  Buyer          Underlying Asset        Purchase Price                        Wire Transfer


               Preferred Equity in GIX                        Global Growth’s North Carolina Wells Fargo Account
   AFA          Holdings, LLC (“GIX        $2,700,000                       [No.                ]
                      Holdings”)                                              Ref# Bb0443Pp9B


                                                              Global Growth’s North Carolina Wells Fargo Account
                 Preferred Equity in
   GIC                                     $2,700,000                       [No.                ]
                 ERX Holdings LLC
                                                                              Ref# Bb0443Pnlx


                                                              Global Growth’s North Carolina Wells Fargo Account
               Preferred Equity in GIX
   AFI                                     $2,329,760                       [No.                ]
                       Holdings
                                                                              Ref# Bb0443Ptdp


                                                              Global Growth’s North Carolina Wells Fargo Account
               Preferred Equity in GIX
  CAM II                                   9,297,670                        [No.                ]
                       Holdings
                                                                              Ref# Bb0443Pvjn


                                                              Global Growth’s North Carolina Wells Fargo Account
               Preferred Equity in GIX
  CAF I                                    $9,610,000                       [No.                ]
                       Holdings
                                                                              Ref# Bb0443Pqw8




           1316. Next, on December 28, 2017, PBLA executed five (5) more Repo Agreements with

the Repo Counterparties, agreeing to purchase the following underlying assets:

  Seller         Underlying Asset        Purchase Price                        Wire Transfer


                                                                  AFA’s North Carolina Wells Fargo Account
                                                                             [No.             ]
   AFA          Loan to SNA Capital        $4,000,000                 Federal Wire Transfer No. 03848
                                                                          Srf# 171228009941000
                                                                            Trn# 171228197532


   GIC
                 Loan to New Hill          $4,000,000             GIC’s North Carolina Wells Fargo Account

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                                                                            [No.            ]
                                                                     Federal Wire Transfer No. 03880
                                                                         Srf# 171228009943000
                                                                           Trn# 171228197788


                                                                 AFI’s North Carolina Wells Fargo Account
                                                                            [No.             ]
               50 Class B Units in
   AFI                                   $4,340,801                  Federal Wire Transfer No. 03849
              Atlas Global Holdings,
                                                                          Srf# 171228009945000
              LLC (“Atlas Global”)
                                                                           Trn# 171228197533


                                                               CAM II’s North Carolina Wells Fargo Account
                                                                           [No.             ]
 CAM II        Loan to Eli Research     $14,413,819                 Federal Wire Transfer No. 03881
                                                                         Srf# 171228009946000
                                                                          Trn# 171228197792


             Loan to BCC Holdings,       $190,000
             LLC (“BCC Holdings”)                               CAF I’s North Carolina Wells Fargo Account
                                                                            [No.             ]
  CAF I                                                              Federal Wire Transfer No. 03847
                Loan to Standard         $339,000                        Srf# 171228009949000
                Holdings Limited                                           Trn# 171228197530


                Loan to New Hill        $13,460,000




          1317. Thereafter, each of the above listed sellers executed five (5) more Global Growth

Repo Agreements, whereby the Repo Counterparties agreed to purchase assets from Global

Growth as follows:

  Buyer         Underlying Asset       Purchase Price                        Wire Transfer

                                                            Global Growth’s North Carolina Wells Fargo Account
             Preferred Equity in GIX
  AFA                                                                     [No.                ]
                     Holdings            $4,000,000
                                                                            Ref# Bb0449Dtf4


             Preferred Equity in CAF
                                                            Global Growth’s North Carolina Wells Fargo Account
   GIC        Holdings LLC (“CAF         $4,000,000
                                                                          [No.                ]
                    Holdings”)
                                                                            Ref# Bb0449Dk78
                                         $4,340,801
   AFI                                                      Global Growth’s North Carolina Wells Fargo Account

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              Preferred Equity in GIX                                      [No.             ]
                      Holdings                                              Ref# Bb0449F27C


                                                             Global Growth’s North Carolina Wells Fargo Account
              Preferred Equity in GIX
 CAM II                                  $14,413,819                       [No.                ]
                      Holdings
                                                                             Ref# Bb0449F466


                                                             Global Growth’s North Carolina Wells Fargo Account
              Preferred Equity in GIX
  CAF I                                  $13,989,000                       [No.                ]
                      Holdings
                                                                             Ref# Bb0449Dwyf




           1318. Finally, on December 29, 2017, PBLA executed five (5) Repo Agreements with the

Repo Counterparties, agreeing to purchase the following underlying assets:

  Seller        Underlying Asset        Purchase Price                        Wire Transfer

                                                                 AFA’s North Carolina Wells Fargo Account
                                                                            [No.             ]
   AFA         Loan to SNA Capital        $6,500,000                 Federal Wire Transfer No. 06121
                                                                         Srf# 171229012052000
                                                                           Trn# 171229175474


                 Loan to New Hill         $750,000
                                                                 GIC’s North Carolina Wells Fargo Account
                                                                            [No.             ]
   GIC         Loan to Eli Research       $2,550,000                 Federal Wire Transfer No. 06130
                                                                         Srf# 171229012049000
                                                                           Trn# 171229175645
                       Loan               $2,200,000


                                                                  AFI’s North Carolina Wells Fargo Account
                                                                             [No.             ]
                50 Class B Units in
   AFI                                    $5,170,027                  Federal Wire Transfer No. 06119
                   Atlas Global
                                                                           Srf# 171229012047000
                                                                            Trn# 171229175473


                                                                CAM II’s North Carolina Wells Fargo Account
                                                                            [No.             ]
               Loan to Eli Research       $6,251,000                 Federal Wire Transfer No. 06129
 CAM II
                                                                          Srf# 171229012048000
                                                                           Trn# 171229175647


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             Loan to VR Collections     $3,500,000
                      LLC

                                                               CAF I’s North Carolina Wells Fargo Account
               Loan to GB Capital       $500,000                           [No.             ]
                                                                    Federal Wire Transfer No. 06122
                                                                        Srf# 171229012051000
  CAF I           Loan to MIH           $260,000                          Trn# 171229175418


                Loan to CapLOC          $435,000
                 Holdings LLC


               Loan to Eye Reach        $297,000
                 Patients LLC



          1319. Thereafter, each of the above listed sellers executed five (5) Global Growth Repo

Agreements, whereby the Repo Counterparties agreed to purchase assets from Global Growth as

follows:

   Seller       Underlying Asset      Purchase Price                        Wire Transfer

                                                           Global Growth’s North Carolina Wells Fargo Account
                Preferred Equity in
   AFA                                  $6,500,000                       [No.                ]
                  GIX Holdings
                                                                           Ref# Bb044Bn73S


                                                           Global Growth’s North Carolina Wells Fargo Account
                Preferred Equity in
    GIC                                 $5,500,000                       [No.                ]
                  CAF Holdings
                                                                           Ref# Bb044Bn5Y5


                                                           Global Growth’s North Carolina Wells Fargo Account
                Preferred Equity in
    AFI                                 $5,170,027                       [No.                ]
                  GIX Holdings
                                                                           Ref# Bb044Bnbj5


                                                           Global Growth’s North Carolina Wells Fargo Account
                                                                         [No.                ]
                Preferred Equity in
  CAM II                                $6,251,000                         Ref# Bb044Bnczk
                  GIX Holdings




   CAF I                                $4,992,000
                                                           Global Growth’s North Carolina Wells Fargo Account
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                     Preferred Equity in                                    [No.             ]
                       GIX Holdings                                          Ref# Bb044Bn8F6


            1320. Lindberg further directed Solow to document a $7,000,000 “fee” from Global

Growth’s North Carolina Wells Fargo Account [No.                                 ] to Dunhill’s North Carolina

Wells Fargo Account [No.                      ] for “business expense reimbursement,” which Lindberg

processed.123 Dunhill then promptly transferred $6,800,000 from its North Carolina Wells Fargo

Account [No.                       ] back to Global Growth’s North Carolina Wells Fargo Account [No.

                      ] to be recorded as repayment of LTS.124 Global Growth, a frequent intermediary

in Lindberg’s diversions of funds via Dunhill for his personal use, then made transfers of over

$6,200,000 from its North Carolina Wells Fargo Account [No.                                        ], to pay the

expenses of various Lindberg Affiliates which needed cash. These included the following:

         Transferee               Date       Amount                            Wire Transfer


                                                              3BL Media’s North Carolina Wells Fargo Account
      3BL Media, LLC
                               12/29/2017    $200,000                      [No.             ]
       (“3BL Media”)
                                                                           Ref# Bb044B85B6


                                                              Alta Billing’s North Carolina Wells Fargo Account
      Alta Billing, LLC
                               12/29/2017   $45,620.46                        [No.             ]
       (“Alta Billing”)
                                                                              Ref# Bb044Bz2Ff


        A/R Allegiance                                    A/R Allegiance’s North Carolina Wells Fargo Account
         Group, LLC            12/29/2017     $34,292                      [No.            ]
      (“A/R Allegiance”)                                                   Ref# Bb0449Hydn


                                                               Arrevio’s North Carolina Wells Fargo Account
        Arrevio, LLC
                               12/28/2017    $881,000                       [No.              ]
         (“Arrevio”)
                                                                            Ref# Bb0446966Q


                                                               Arrevio’s North Carolina Wells Fargo Account
           Arrevio             12/28/2017    $298,000
                                                                            [No.              ]
                                                                            Ref# Bb0446B766


123
      Ref# Bb0443Lbtp.
124
      Ref# Bb0443Lfv6.
                                                        254

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                                                             Arrevio’s North Carolina Wells Fargo Account
       Arrevio               12/28/2017   $146,000                        [No.              ]
                                                                          Ref# Bb0446Bf4K




       Arrevio
                                                             Arrevio’s North Carolina Wells Fargo Account
                             12/28/2017   $85,000                         [No.              ]
                                                                          Ref# Bb04468Wvz




                                                             Arrevio’s North Carolina Wells Fargo Account
       Arrevio               12/29/2017   $90,000                         [No.              ]
                                                                          Ref# Bb0449Gyyk


                                                            ASIM CE’s North Carolina Wells Fargo Account
    ASIM CE LLC
                             12/28/2017   $140,000                      [No.             ]
    (“ASIM CE”)
                                                                        Ref# Bb04469R5L


                                                            ASIM CE’s North Carolina Wells Fargo Account
      ASIM CE                12/28/2017   $40,000                       [No.             ]
                                                                        Ref# Bb04469Wrg


                                                            ASIM CE’s North Carolina Wells Fargo Account
      ASIM CE                12/28/2017   $31,000                       [No.             ]
                                                                        Ref# Bb04469N75


                                                           Eli Research’s North Carolina Wells Fargo Account
     Eli Research            12/29/2017   $200,000                         [No.            ]
                                                                           Ref# Bb044Bh3NY


  Harvard Collection                                       Harvard Collection Services’ North Carolina Wells
    Services, Inc.                                                 Fargo Account [No.              ]
                             12/29/2017   $145,618
 (“Harvard Collection                                                     Ref# Bb0449J3Gv
      Services”)


                                                       Integrity EMR’s North Carolina Wells Fargo Account
 Integrity EMR, LLC
                             12/28/2017   $205,000                     [No.            ]
  (“Integrity EMR”)
                                                                        Ref# Bb04467Llj

   Medflow Holdings,
         LLC                 12/28/2017   $318,000          Medflow Holdings’ North Carolina Wells Fargo
 (“Medflow Holdings”)                                               Account [No.             ]

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                                                                           Ref# Bb04468H7x


     Parallel South                                        Parallel South’s North Carolina Wells Fargo Account
     Holdings, Inc.          12/28/2017   $543,000                           [No.            ]
   (“Parallel South”)                                                       Ref# Bb04469Ry3


                                                           Parallel South’s North Carolina Wells Fargo Account
    Parallel South           12/28/2017   $270,000                           [No.            ]
                                                                            Ref# Bb0446D2Y8


                                                           Parallel South’s North Carolina Wells Fargo Account
    Parallel South           12/28/2017   $268,000                           [No.            ]
                                                                             Ref# Bb0446Dhtl


                                                           Parallel South’s North Carolina Wells Fargo Account
    Parallel South           12/28/2017   $223,000                           [No.            ]
                                                                            Ref# Bb0446Bdyk


                                                           Parallel South’s North Carolina Wells Fargo Account
    Parallel South           12/28/2017   $172,000                           [No.            ]
                                                                             Ref# Bb0446Jn9Q


                                                           Parallel South’s North Carolina Wells Fargo Account
    Parallel South           12/28/2017   $83,000                            [No.            ]
                                                                            Ref# Bb0446FG7L


                                                           Parallel South’s North Carolina Wells Fargo Account
    Parallel South           12/28/2017   $72,000                            [No.            ]
                                                                            Ref# Bb04469Dx3


                                                           Parallel South’s North Carolina Wells Fargo Account
    Parallel South           12/28/2017   $69,000                            [No.            ]
                                                                             Ref# Bb0446Dzty


                                                           Parallel South’s North Carolina Wells Fargo Account
    Parallel South           12/28/2017   $54,000                            [No.            ]
                                                                            Ref# Bb0446Fvhm


                                                           Parallel South’s North Carolina Wells Fargo Account
    Parallel South           12/28/2017   $41,000                            [No.            ]
                                                                            Ref# Bb0446Bd5H


    Parallel South           12/28/2017   $37,000          Parallel South’s North Carolina Wells Fargo Account
                                                                             [No.            ]

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                                                                             Ref# Bb0446BG4Z


                                                             Parallel South’s North Carolina Wells Fargo Account
        Parallel South        12/28/2017                                       [No.            ]
                                            $26,000
                                                                              Ref# Bb0446F6PC


                                                             Parallel South’s North Carolina Wells Fargo Account
        Parallel South        12/28/2017
                                            $12,000                            [No.            ]
                                                                               Ref# Bb04469T58

                                                                SMHL’s North Carolina Wells Fargo Account
           SMHL               12/28/2017                                   [No.             ]
                                            $34,000
                                                                           Ref# Bb04468Ccd


      Fiasco Fine Wine,                                                      Ref# Bb0446Jm4T
            LLC               12/28/2017    $191,358


        Sedwick, LLC          12/28/2017                                     Ref# Bb0446Bs73
                                            $59,000

       Proedtech, LLC         12/28/2017                                     Ref# Bb04468Prx
                                            $131,000

        CMC Holding                                                          Ref# Bb044679Sy
       Company, LLC
                              12/28/2017    $28,000
      (“CMC Holding”)


                                                             SEI Private Trust Company ACF Its Clients (Multi-
                                                             Tier Fiduciary Account) Wells Fargo Account [No.
                                                                                            ]125
      Yellow Lotus, LLC       12/29/2017   $526,943.17                Federal Wire Transfer No. 54288
                                                                          Srf# Gw00000009487026
                                                                             Trn# 171229054288
                                                                                 Rfb# 9299


      Begonia Eight, LLC      12/29/2017    $229,625                      SEI Wells Fargo Account
                                                                            [No.               ]
                                                                               WT Seq# 50333
                                                                          Srf# Gw00000009487222
                                                                             Trn# 171229050333
                                                                                 Rfb# 9298


          Unknown             12/29/2017    $280,080                         Ref# Bb0449Hsbj


125
  This Wells Fargo Account is a multi-tiered (pooled or commingled money) fiduciary account of SEI Private Trust
Company for the benefit of numerous companies owned by or affiliated with Lindberg (the “SEI Wells Fargo
Account”)
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      Unknown                12/29/2017     $53,226                   Ref# Bb044Bqwvq


        1321. When the Repo Agreements approached their maturity date, Lindberg and

Herwig—knowing that the Repo Counterparties did not have sufficient capital to satisfy their

repurchase obligations—merely “rolled forward” the maturity date. In December 2018, PBLA was

compelled to amend the December 2017 Repo Agreements, extending the repurchase deadline an

additional 364 days (i.e., 728 days in total), in exchange for a “fully-earned and non-refundable

amendment fee equal to one percent (1%) of the Purchase Price.” This fee was never paid to PBLA.

        1322. Then, in February 2019, PBLA was compelled to replace certain original assets

underlying the December 2017 Repo Agreements with new underlying assets, as the original assets

had “lost value, [were] eliminated, or otherwise became unrecoverable.” Bostic asked the attorneys

from Hutchison’s Raleigh, North Carolina office—including Freifeld and Jennifer Westerlund

(“Westerlund”), an attorney at Hutchison’s Raleigh, North Carolina office from 2015 through

2019—to prepare the agreements. The resulting exchanges and scrutiny, inter alia, is probative of

Lindberg’s and his involved Senior Decision Makers’ intent as to PBLA:

       Westerlund:                 One of the key questions I need to understand so we can document
                                   is what is happening with respect to interest that would have accrued
                                   on the asset during the time it was not held as per the repo
                                   agreement? Meaning, are you making up that amount in cash? Are
                                   you asking the counterparty to forego accrued interest during that
                                   period of time? Other?

                                   While I understand that given the rollover no payment may have
                                   been due on the date of rollover, in order to make the other party
                                   whole we are swapping in different collateral, but what is the
                                   backstop on the interest that would have accrued during the time the
                                   asset was moved and should not have been moved?

       Bostic:                     Can you just focus on the principal amounts being replaced? Maybe
                                   put in some language agreeing to waive any accrued interest that
                                   would have been owed? The issue with these questions is that some
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                             of the assets were redeemed and weren’t in existence for the past
                             couple of months, so there would be no accruing to speak of.

       Westerlund:           Thanks Eric. We can focus on the principal replacement but we have
                             to have consideration for the party waiving the breach. Why would
                             the party who has lost out on the accrued interest waive the breach
                             in favor of the party who was supposed to hold the assets (including
                             interest accrual) during the term of the agreement waive? We cannot
                             draft documents that are not enforceable because of lack of
                             consideration. We are trying to explain the issues with questions and
                             come up with solutions so we can prepare documents.

       Bostic:               So PBLA is waiving the breach?

       Freifeld:             PBLA agreed in the repurchase agreement to “hold any interest,
                             dividends, or other distributions received with respect to the Assets
                             in trust” for the repo party (AFA/CAM/etc). On the repurchase date,
                             the repo party was supposed to pay PBLA for the Asset (including
                             any interest/dividends that had accrued or been received in trust by
                             PBLA). So if PBLA hold such proceeds in trust, then it would have
                             breached this obligation that it owed the repo party. As a result, it
                             would be the repo party potentially waiving this breach.

                             When you say the Assets were “redeemed”, how were they
                             redeemed exactly? For example, did the underlying borrower fully
                             pay off its loan but instead of sending the proceeds to PBLA to hold
                             in trust, the underlying borrower sent the money to the repo party?
                             Or are you using the term “redeemed” more broadly? Please be
                             specific.

       Bostic:               The repo counterparties (not PBLA) are getting consideration with
                             respect to PBLA agreeing to renew these repos and not call them in.
                             That would be adequate business reason to waive.

       Westerlund:           Aren’t the repo parties getting the consideration set out in the
                             agreement?

                             ....

                             I understand the asset itself may be fungible and is being swapped
                             out but we are trying to solve the interest accrual owed.



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                             If you can clarify one transaction for us both in terms of what’s
                             happened and what you are proposing to do about it we can
                             document and solve the legal technicalities by suggesting solutions.

       Bostic:               Is it set out specifically in the agreements that PBLA pays back the
                             interest collected? I wasn’t sure on that point in our review.

       Westerlund:           Yes.

       Bostic:               When the repo is renewed, repo counterparties paid PBLA 4% of
                             the face amount and the cycle starts over. If you’re saying that PBLA
                             needs to net this out against the accrued interest on the underlying
                             assets, then that is fine – we can make that change from a cash flow
                             standpoint.

       Freifeld:             Eric – Thanks. I think I see where you’re going. Jennifer and I
                             discussed and we need further details of exactly what transpired.
                             Using one transaction as a representative example, I’ve gone ahead
                             and described what I think may have occurred. Please confirm the
                             following details of what transpired and respond to the inline
                             comments. . . .

       Bostic:               The assets underlying these repos weren’t all paid off. Most were
                             eliminated by way of mergers or otherwise lost value due to
                             mergers/shifts in business strategy. So we need to put in assets that
                             have equal value to the initial transactions. Can we not just put in
                             simple waiver language and get these drafted?

       Freifeld:             We need to understand in detail what happened and it’s still not
                             clear. So if there were several different reasons why the assets were
                             eliminated, we need to understand each of those reasons, step by
                             step.

       Bostic:               For all of the assets, they were deemed as no longer recoverable.
                             This is not the case only with SMHL [Standard Malta Holdings
                             Limited] preferred equity - this ran into a regulatory issue on the
                             transfer of shares. Please let me know what else is needed.

       Freifeld:             How about this – we’ll take a pass at preparing amendments to each
                             of repurchase agreements. We’ll have some comments for you in
                             connection with sharing our drafts (to fill in a few points in the
                             drafting), but at least this approach gest [sic] the documentation
                             drafting process going.
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        1323. Bostic understood that his pretexts did not pass the smell test. Dispensing with the

pretense of attempting to explain himself to his internal peers, Bostic emailed Solow and Nordberg

and candidly disclosed his frustration, in this case with outside counsel that was so comfortable

with Lindberg that a decades-old engagement agreement governed their ordinarily accommodating

relationship with the Lindberg Affiliates:

                Is there any way we can get comfortable doing these internally? It’s literally
                just amending these repos to change the exhibits showing which assets are
                being repoed. Kristi [Gilbaugh] had previously said you wanted Hutch to
                do it since they drafted initially but I’m banging my head against a wall here
                with them…
        1324. Ultimately, Hutchison agreed to draft the transaction documents, and PBLA was

harmed as a result.

        1325. Separately, on March 20, 2019, Bostic emailed Solow asking, “Can you confirm

what happened with [New Hill], Eli R[esearch], and Global Growth which has caused us to have

to remove those as repo collateral?” Solow responded, “They were viewed as no longer

recoverable or we didn’t want to have to recover the loan to parent, in the case of Global Growth

Holdings/[Malta Insurance Holdings].”

        1326. In reality, the Repo Counterparties simply forgave the debt owed, either by email

or in a written agreement, by continuing to carry the obligation on the books without action, by

rolling it over, or with a later repetition or variation on the same scheme until regulators,

insolvency, indictments and convictions, or similar developments intervened.

        1327. As one example, New Hill and CAF I executed a Loan Forgiveness Agreement,

whereby CAF I forgave $23,006,363.07 in outstanding indebtedness owed by New Hill. New Hill

was an affiliated pass-through entity which Lindberg used to move funds from CAF I to Dunhill




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or other Personal Expense Companies. Notably, $13,460,000 of this loan served as the underlying

asset for the Repo Agreement between CAF I and PBLA.

        1328. The Repo Agreements were proximate causes of PBLA’s damages.

        1329. The December 2017 Repo Agreements concerning PBLA alleged herein all were

conceived, structured, and executed from the United States, principally if not exclusively from

headquarters offices maintained by Lindberg and used by the Senior Decision Makers in North

Carolina. PBLA cash was transferred at the direction or consent of Lindberg and the Senior

Decision Makers into bank accounts maintained by the involved Lindberg Affiliates in banks and

similar financial institutions in the United States. These included, inter alia, scores of wire

transfers, thousands of emails, countless telephone calls, and similar repeated uses of the wires and

radio frequencies within the United States to advance and perpetuate an ongoing scheme to defraud

by means of false or fraudulent pretenses. The damage to PBLA and its policyholders and similar

stakeholders from the wrongs alleged manifested substantially in North Carolina, inter alia, the

place where the substantial majority of the liquid assets maintained by PBLA for itself and the

benefit of its policyholders and stakeholders was diluted, devalued, or disappeared, including

wrongfully into the Personal Expense Companies and the pockets of Lindberg and his Senior

Decision Makers.

       SNA Capital Promissory Note

        1330. On or about January 25, 2018, Lindberg and his involved Senior Decision

Makers—including Herwig, Solow, and Bostic—caused PBLA’s parent, PBX Bermuda to borrow

$99 million from BRCB (Barbados) Capital, Ltd. (“BRCB”), yet another Lindberg Affiliate. The

$99 million loaned to PBX Bermuda was, on paper, acquired for purposes of capitalizing PBLA,

and recorded as additional paid in capital (“APIC”).


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           1331. In reality, this $99 million loan was part of a more elaborate ruse intended to

convince the Nebraska Department of Insurance that GBIG Holdings—a Lindberg affiliate—was

adequately capitalized such that it should approve GBIG Holdings’ acquisition of Lincoln Benefit

Life Company (“LBL”), a Nebraska insurance company.

           1332. Several months earlier, on October 1, 2017, GBIG Holdings executed a Stock

Purchase Agreement (the “SPA”) with Resolution Life L.P., Resolution Life (Parallel) Partnership,

and SNH Acquisition, LLC (collectively the “Sellers”). GBIG Holdings agreed to pay $585 million

for all of the outstanding capital stock that the Sellers held in LBL HoldCo, Inc. (“LBL

HoldCo”)—the owner through an affiliate of all the issued and outstanding capital stock of LBL.

           1333. To fund this acquisition as they pursued it, Lindberg and his involved Senior

Decision Makers intended to pillage the Debtors, specifically PBLA in this circumstance.

           1334. On January 24, 2018, Lindberg directed Solow, Nordberg and White to “document

and move” $325 million in cash to “show [the Nebraska Department of Insurance] the bank

balance on Friday for closing the LBL [transaction].”

           1335. Solow summarized more of the details:

                   Plan is to loan [$]99 [million] from BRC Barbados to PBX
                   Bermuda. PBX Bermuda is doing [$]99 [million] of APIC
                   [additional paid in capital] to PBLA. PLBA [sic] is loaning [$]99
                   [million] to SNA Capital. Terms will be 8%, 20 year PIK [payment-
                   in-kind] unsecured. Actual wire will go straight from BRC Barbados
                   to PBLA since PBX Bermuda doesn’t have an account.126

           1336. The closing instructions signed by Solow and Lindberg on January 25, 2018

confirm this plan:

                   For Capitalizing SNH [GBIG Holdings] on January 25, 2018.

                   1. Eric [Bostic] will circulate final TCD [teller cash dispenser]

126
      PBLA’s Delaware Wilmington Trust Account [No.          ] received $99,000,000; CUSIP# 997808UDO.
                                                      263

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                   2. Peter [Nordberg] will circulate final loan docs.

                   3. Grant [Powley] will send CTA [commitment transaction advice], wiring
                   letter and PBL[A] to SNA Loan Agreement to Wilmington Trust with
                   instructions to wire money to the SNA Wells account from PBLA.

                   4. Sandi [White] will wire $99,000,000 from BRC (Barbados) Holdings
                   Limited to PBLA Main Custody account. This should be documented as a
                   loan to PBX Bermuda Holdings and additional paid in capital into [PBLA].

                   5. Greg [Lindberg] to approve wires sent from PBLA Main Custody
                   account for $99,000,000 to the SNA Wells account.

                   6. Sandi [White] will transfer $312,000,000 from SNA Capital Wells to
                   Southland National Holdings Wells as additional paid in capital.

            1337. On January 25, 2018, BRCB wired $99 million to PBLA’s Delaware Wilmington

Trust Account [No.                    ] as APIC. That same day, the Senior Decision Makers caused

PBLA to wire the entire sum received from its Delaware Wilmington Trust Account [No.

       ] to SNA Capital’s North Carolina Wells Fargo Account [No.                   ].127 Immediately

thereafter, also on January 25, 2018, SNA Capital wired the $99 million balance from its North

Carolina Wells Fargo Account [No.                      ] to GBIG Holdings’ North Carolina Wells Fargo

Account [No.                    ] as APIC.128 This allowed Lindberg and the involved Senior Decision

Makers to show a boosted balance to the Nebraska regulators for purposes of advancing SNH’s

[GBIG Holdings’] attempted acquisition of LBL.

            1338. On January 25, 2018, Lindberg and his involved Senior Decision Makers caused

PBLA to execute a promissory note (the “Promissory Note”) with SNA Capital. Under the

Promissory Note, PBLA provided $99 million in “credit advances” to SNA Capital (the “Credit




127
      Federal Wire Transfer No. 02874; Srf# 180125007748000; Trn# 180125157172.
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      Ref# Bb046Tb3Rx.
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Extension”). In return, PBLA took back a payment-in-kind (“PIK”) promissory note, usually

issued by companies at a higher rate of return as they lack the cash to pay interest in the short term.

          1339. On its face, the Promissory Note promised to pay eight percent (8%) interest

compounded annually on the principal—although, twenty (20) years after issuance, or in 2038

when the principal and interest all came due at once. The Promissory Note was subordinated to

conventional debt and mezzanine debt, and not backed by a pledge of assets. Further, the

compounding of interest annually artificially inflated PBLA’s balance sheet every year even

though no loan proceeds would be received by PBLA for twenty (20) years, if ever.

          1340. Lindberg described the transaction and told Herwig, Stewart, Bostic and Solow,

among others: “We just put $ 99 [million] into PBLA as APIC [additional paid in capital] as excess

surplus. This is now a loan from PBLA to SNA for LBL purchase price. Need to move the cash

today.”

          1341. Despite Lindberg’s pleas to have Causey intercede with his counterparts in

Nebraska in support of the acquisition—which was evidence introduced at trial that led to

Lindberg’s federal criminal conviction in March 2020—the LBL deal went bust in Fall 2018.

GBIG wrote to LBL’s Nebraska regulator, advising that the deal “was terminated, effective Oct.

1, 2018, without explaining why.” See Ted Bunker, Global Bankers dropped 2 deals as word

emerged of federal criminal investigation, S&P GLOBAL (January 30, 2019), available at

https://www.spglobal.com/marketintelligence/en/news-insights/latest-news-headlines/global-

bankers-dropped-2-deals-as-word-emerged-of-federal-criminal-investigation-49420976 (“[O]ne

state official familiar with the case told S&P Global Market Intelligence via email that news

accounts concerning a grand jury probe into Lindberg and Global Bankers ‘may shed light on the




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decision.’”). In subsequent litigation, Lindberg blamed Causey. See, e.g., Global Growth, LLC, et

al. v. Causey, 1:20-cv-00248 (M.D.N.C.).

        1342. The $99 million loaned by PBLA never was returned to it—Lindberg and his

involved Senior Decision Makers kept it in North Carolina to pay pending expenses of other

Lindberg Affiliates, with at least a portion of it, according to Solow, “swept away” by Lindberg

for his personal enrichment, consistent with his usual practice in that regard.

        1343. In April 2019, following Lindberg’s indictment, Global Growth engaged Duff &

Phelps, LLC (“Duff & Phelps”) to prepare an Estimation of the Fair Value of Certain Investments

as of December 31, 2018.

        1344. On May 31, 2019, Taft Husley—a Duff & Phelps employee—asked Bostic and

Henry Capants (a Global Growth employee and direct report to Bostic), “What is the liquidity

position of [SNA Capital]? . . . is this security performing? . . . is [SNA Capital] current on all debt

payments to date?”

        1345. Capants answered falsely—whether by ignorance or intentionally—that: “[SNA

Capital is] the holdco to our US insurance companies which all have large cash reserves. . . . The

security held by PBLA is performing, [it] will be [payment-in-kind] until maturity. . . . [and] [SNA

Capital] is current on all debt payments to date.”

        1346. This scheme benefitted Lindberg and the Lindberg Affiliates to the detriment of

PBLA. The Senior Decision Makers caused PBX Bermuda to borrow $99 million for purposes of

capitalizing PBLA, yet in less than twenty-four (24) hours, that $99 million was sent at the behest

of Lindberg and his involved Senior Decision Makers to SNA Capital for the stated purpose of

purchasing LBL. When that acquisition failed to close, Lindberg instead used the $99 million

borrowed from PBLA to meet other Lindberg Affiliates’ financial needs, and to bolster the


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financial condition of the involved Lindberg Affiliates for purposes unrelated to PBLA or its

obligations, principally to ULICO as its reinsured. PBLA, moreover, was left with an illiquid asset,

in this circumstance a $99 million Promissory Note that by its terms would not pay income or

return principal for twenty (20) years.

        1347. The SNA Capital Promissory Note transaction concerning PBLA alleged herein

was conceived, structured, and executed from the United States, principally if not exclusively from

headquarters offices maintained by Lindberg and used by the Senior Decision Makers in North

Carolina. PBLA cash was transferred at the direction or consent of Lindberg and the Senior

Decision Makers into bank accounts maintained by the involved Lindberg Affiliates in banks and

similar financial institutions in the United States. These included, inter alia, scores of wire

transfers, thousands of emails, countless telephone calls, and similar repeated uses of the wires and

radio frequencies within the United States to advance and perpetuate an ongoing scheme to defraud

by fraudulent means or false or fraudulent pretenses. The damage to PBLA and its policyholders

and similar stakeholders from the wrongs alleged manifested substantially within North Carolina

and across the United States, inter alia, the place where the substantial majority of the liquid assets

maintained by PBLA for the benefit of its reinsured and its policyholders was diluted, devalued,

or disappeared, including into the Personal Expense Companies and the pockets of Lindberg and

his Senior Decision Makers.

        1348. The SNA Capital Promissory Note was a proximate cause of PBLA’s damages.

       Daisy Seven and Geranium Two Transactions

        1349. Lindberg and the Senior Decision Makers also caused PBLA to enter into a host of

sham transactions, disguised as loans and security purchase agreements, whereby they siphoned

funds from the PBLA ULICO Trusts for the benefit of Lindberg Affiliates.


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            1350. Two such transactions involved SPVs owned and controlled by EMAM and Global

Growth—Geranium Two, LLC (“Geranium Two”) and Daisy Seven, LLC (“Daisy Seven”)—from

which Lindberg and the Senior Decision Makers drained assets from the PBLA ULICO Trusts to

further capitalize GBIG Holdings with the penultimate goal of funding acquisitions, including the

acquisition of PLIC MI in December 2017.

            1351. On September 5, 2017, Lindberg and Herwig caused PBLA to execute a loan and

security agreement with Geranium Two, whereby PBLA agreed to loan $18,000,000.00

($36,000,000 in total) to Geranium Two (“Geranium Loan”).

            1352. On September 5, 2017, Lindberg also executed an assignment agreement on behalf

of PBLA, under which PBLA assigned all of its rights and interests under the Geranium Loan to

the PBLA ULICO Trust.

            1353. On September 5, 2017, Lindberg and Herwig caused Geranium Two and Vista Life

& Casualty Reinsurance Company (“Vista”) to execute a loan and security agreement with AFI,129

whereby Geranium Two agreed to loan $36,000,000 to Atlas, and Vista agreed to loan $10,000,000

to AFI (“AFI Loan”).

            1354. On September 7, 2017, Lindberg caused PBLA to wire $18,000,000 from the PBLA

ULICO 2017 Reinsurance Trust Delaware Wilmington Trust Account [No.                         ] (the

“PBLA ULICO Wilmington Trust Account”) to an Alabama Regions Custodial Account [No.

                 ] for the benefit of Geranium Two [FFC            ]. That same day, Lindberg then

caused Geranium Two to wire the entire $36,000,000 (inclusive of the $18,000,000 received from

PBLA) to AFI’s North Carolina Wells Fargo Account [No.                   ].




129
      AFI, at a later date, merged with AFA.
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           1355. On November 3, 2017, Lindberg and Herwig caused PBLA to execute a separate

yet similar loan and security agreement with Daisy Seven, whereby PBLA agreed to loan

$15,779,788.30 to Daisy Seven (“Daisy Loan”).

           1356. On November 3, 2017, Lindberg also caused PBLA to execute a Preferred Unit

Purchase Agreement with Daisy Seven, under which PBLA agreed to purchase 19,800,000 of

Daisy Seven’s preferred units for a purchase price of $1,753,309.81 (“Daisy Unit Purchase

Agreement”). Lindberg executed the Daisy Unit Purchase Agreement on behalf of PBLA, and

Herwig on behalf of Daisy Seven.

           1357. On November 3, 2017, Lindberg also executed an assignment agreement on behalf

of PBLA, under which PBLA assigned all of its rights and interests under the Daisy Unit Purchase

Agreement to the PBLA ULICO Trust.

           1358. On November 3, 2017, Lindberg additionally caused PBLA to wire $15,779,788.30

and $1,753,309.81, from the PBLA ULICO Wilmington Trust Account [No.                             ] first to

the SEI Wells Fargo Account [No.                          ] for the benefit of Daisy Seven, and then to an

Alabama Regions Custodial Account [No.                          ] for the benefit of Daisy Seven [FFC

                ].

           1359. On November 6, 2017, Herwig then caused Daisy Seven to wire $17,533,098 from

its Alabama Regions Custodial Account [No.                         , FFC               ] to GIC’s North

Carolina Wells Fargo Account [No.                    ].130 Over the next several weeks, Herwig caused

GIC to wire significant portions of the balance back to Global Growth, which then, for example,

wired the funds to Eli Research.




130
      WT T-93005389; Srf# T-93005389; Trn#171106129421.
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      Date       Amount       Wire Transfer from GIC To       Wire Transfer from Global Growth To

                             Global Growth’s North Carolina       Eli Research’s North Carolina
  11/10/2017    $1,075,000        Wells Fargo Account                  Wells Fargo Account
                                 [No.                ]                  [No.            ]
                                   Ref# Bb03Xr2Sdn                     Ref# Bb03Xr2Wqk
                             Global Growth’s North Carolina       Eli Research’s North Carolina
  11/13/2017     $500,000
                                  Wells Fargo Account                  Wells Fargo Account
                                 [No.                ]                  [No.            ]
                                   Ref# Bb03Xxgqtg                      Ref# Bb03Xxgsqy

                             Global Growth’s North Carolina       Eli Research’s North Carolina
  11/17/2017    $1,650,000        Wells Fargo Account                  Wells Fargo Account
                                 [No.                ]                  [No.            ]
                                  Ref# Bb03Yfmp3V                      Ref# Bb03Yfmqpc


  11/20/2017    $1,000,000   Global Growth’s North Carolina       Eli Research’s North Carolina
                                  Wells Fargo Account                  Wells Fargo Account
                                 [No.                ]                  [No.            ]
                                   Ref# Bb03Ymzrbs                      Ref# Bb03Ymzt53


         1360. Additionally, on November 30, 2017, Herwig caused GIC to wire $11,500,000

from its North Carolina Wells Fargo Account [No.                     ] to Global Growth’s North

Carolina Wells Fargo Account [No.                         ],131 and Lindberg caused AFI to wire

$42,500,000 (inclusive of PBLA’s $18,000,000) to Global Growth’s North Carolina Wells Fargo

Account [No.                  ]132, 133 by way of two transactions. Lindberg directed Nordberg,

Pawan Maurya, Solow and White to record both the $42,500,000 wire from AFI and the

$11,500,000 wire from GIC as “short-term loans.”

         1361. On November 30, 2017, Global Growth also wired $166,000,000 (inclusive of the

$29,500,000 from the PBLA ULICO Trust) from its North Carolina Wells Fargo Account [No.

                 ] to SNA Capital’s North Carolina Wells Fargo Account [No.                       ].134

Lindberg directed Nordberg, Pawan Maurya, Solow and White to record this transaction as a loan.


131
    Ref #Bb03Zh828R.
132
    Ref #Bb03Zh7Sz4.
133
    Ref#Bb03Zh7Xbl
134
    Ref #Bb03Zh83K4.
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         1362. On November 30, 2017, SNA Capital then wired $166,000,000 from its Wells

Fargo Account [No.                    ] to GBIG Holding’s North Carolina Wells Fargo Account [No.

              ].135 Lindberg directed Nordberg, Pawan Maurya, Solow and White to record this

transaction as additional paid in capital.

         1363. Ultimately, the Geranium Loan, the Daisy Loan and the Daisy Unit Purchase

Agreement allowed Lindberg and the Senior Decision Makers to extract $35,533,098.11 from the

PBLA ULICO Trust, including the $29,500,000 transferred to GBIG Holdings’ North Carolina

Wells Fargo Account [No.                      ]. On December 28, 2017, the Senior Decision Makers

used cash from that same bank account to complete GBIG Holdings’ acquisition of PLIC MI, for

a purchase price of $120,000,000.

         1364. Lindberg and the Senior Decision Makers used at least $29,500,000 from the PBLA

ULICO Trust to fund the acquisition of PLIC MI, as alleged in detail, below.

         1365. On December 4, 2017, Lindberg caused the PBLA ULICO Trust to sell the

19,800,000 Preferred Units it held in Daisy Seven to TIAM for $1,761,527.39136 cash, which it

received from the SEI Wells Fargo Account [No.                                ] on behalf of TIAM’s Sub-

Account [No.                  ].

         1366. Ultimately, as described above, on February 6, 2019, Herwig and Miller caused

Northstar to enter into a “cashless trade” whereby Northstar traded $2,006,876.57 worth of its

Damovo Preferred Shares with TIAM in exchange for the Daisy Seven Preferred Units then owned

by TIAM, for the same assigned value.




135
  Ref #8b03Zh86T2.
136
   Included as part of a wider transaction in which a total amount of $35,728,323.19 was transferred to the PBLA
ULICO Wilmington Trust Account [No.                             ] on December 4, 2017. Inbound Ref
#20171204B2Q8921C00127512041126FT01, Outbound Ref #20171204I1B7032R007829.
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          1367. After reasonable search of the incomplete books and records and similar

information available presently to the JPLs, and with the exception of the Daisy Seven Preferred

Unit sale described above, no further evidence is available suggesting that the original

$35,533,098.11 transferred from the PBLA ULICO Trust via the Geranium Loan, the Daisy Loan

and the Daisy Unit Purchase Agreement (which was subsequently “sold” to Northstar) was

returned, repaid, or that in some other manner the involved Debtor(s) was made whole, nor does

evidence available to Plaintiffs establish that any obligation connected with any amount transferred

exists and has been performed according to its terms (or performed partially, not performed, or

breached).

          1368. In executing the Geranium Loan, the Daisy Loan and the Daisy Unit Purchase

Agreement – each sham transaction was intended to extract money from PBLA ULICO Trust for

the benefit of Lindberg and the Lindberg Affiliate. The Senior Decision Makers, including

Lindberg and Herwig, breached their fiduciary duties to PBLA and the other Debtors, among other

wrongs.

          1369. The Geranium Loan, the Daisy Loan and the Daisy Unit Purchase Agreement are

three examples of the many sham transactions that resulted in the $524 million civil money

judgment in favor of ULICO against PBLA, detailed infra.

          1370. The breach of and amounts owing pursuant to the Geranium Loan, the Daisy Loan

and the Daisy Unit Purchase Agreement were proximate causes of PBLA’s damages.

          1371. The Geranium Loan, the Daisy Loan and the Daisy Unit Purchase transaction

concerning PBLA alleged herein were conceived, structured, and executed from the United States,

principally if not exclusively from headquarters offices maintained by Lindberg and used by the

Senior Decision Makers in North Carolina. PBLA cash was transferred at the direction or consent


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of Lindberg and the Senior Decision Makers into bank accounts maintained by the involved

Lindberg Affiliates in banks and similar financial institutions in the United States. These included,

inter alia, scores of wire transfers, thousands of emails, countless telephone calls, and similar

repeated uses of the wires and radio frequencies within the United States to advance and perpetuate

an ongoing scheme to defraud by fraudulent means or false or fraudulent pretenses. The damage

to PBLA and its policyholders and similar stakeholders from the wrongs alleged manifested

substantially within North Carolina and across the United States, inter alia, the place where the

substantial majority of the liquid assets maintained by PBLA for the benefit of its reinsured and

its policyholders was diluted, devalued, or disappeared, including into the Personal Expense

Companies and the pockets of Lindberg and his Senior Decision Makers.

        PBLA ULICO Arbitration

         1372. On or about June 30, 2017, PBLA and ULICO entered into a coinsurance

reinsurance agreement (the “Reinsurance Agreement”) whereby PBLA (as grantor) agreed to

reinsure certain policies issued by ULICO (as beneficiary). Under the Reinsurance Agreement,

ULICO agreed to cede to PBLA, and PBLA agreed to reinsure, between seventy-five percent

(75%) and one hundred percent (100%) of ULICO’s obligations under certain insurance policies

or annuity contracts written by ULICO, with the percentage of reinsurance depending upon the

particular type of policy sold.

         1373. In addition, PBLA was to fund the newly created PBLA ULICO Trusts, as security

for the insurance liabilities covered under the Reinsurance Agreement. ULICO deposited a total

of $531,371,518.98 into the PBLA ULICO Trusts. Under the terms of the Trust Agreements137


137
   “Trust Agreements” means the reinsurance trust agreement and comfort trust agreement executed or about June
30, 2017, by and between ULICO (as beneficiary), PBLA (as grantor) and Wilmington Trust, National Association
(“Wilmington”) (as trustee) (the “Wilmington Trust Agreements”), and the reinsurance trust agreement and comfort

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creating and governing the PBLA ULICO Trusts, PBLA was required—among other

requirements—to maintain a minimum reserve in the PBLA ULICO Trusts, and in the event either

account fell below the minimum reserve, PBLA was required to replenish it.

         1374. PBLA, however, through its then-controlling owner, Lindberg—either directly or

through Global Growth—withdrew hundreds of millions of dollars of cash-equivalent assets from

the PBLA ULICO Trusts, and replaced those assets with investments in the Lindberg Affiliates,

which were represented as viable investment vehicles to reinsure ULICO and/or to increase the

benefit to the policyholders.

         1375. These transactions, coupled with the negotiation and execution of the IALA and

MOU—which encumbered and modified the terms of over $500 million of debt and preferred

equity investments held by the Debtors, necessary to satisfy each Debtor’s obligations to its

policyholders and creditors—caused the principal balance of the PBLA ULICO Trusts to fall

below the required reserves, resulting in, inter alia, a lack of liquidity.

         1376. By the end of 2018, ULICO began expressing concerns regarding the viability and

suitability of the assets placed in the PBLA ULICO Trusts by PBLA.

         1377. On November 12, 2018, ULICO provided written notice to PBLA, and directed to

Herwig, that it had failed to meet “certain contractual obligations” under the Reinsurance

Agreement—notably, the requirement to submit a “Quarterly Report.”138

         1378. Upon receiving the requested report, ULICO expressed concerns about the large

number of affiliated investments. In a December 12, 2018 letter to PBLA, and directed to Bostic,

ULICO requested that PBLA “confirm the amount of assets held on account that are considered


trust agreement executed on or about February 16, 2018, by and between ULICO (as beneficiary), PBLA (as grantor),
and BNY (as trustee).
138
    According to a May 8, 2019 letter from ULICO to PBLA, PBLA failed to deliver the “Quarterly Reports” for the
next three (3) consecutive quarters.
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interests of Eli Global or affiliates. Most of corporate debt and additional investment authority

assets seems that fall under that category. [sic]”

        1379. Herwig responded in a December 17, 2018 email, advising:

                None of the assets in the trust fit the definition of affiliate as noted
                in chapter 6 which defines affiliates as being under common control.
                The SPV structure has been analyzed by Rexach and approved as
                not meeting the definition. There are other investments in the
                reinsurance trust that, although not in the SPV structure, are
                investments in entities whose common stock and thus control is held
                by a trust for whom the trustee is unaffiliated with Eli/Greg
                Lindberg.

        1380. Despite these assurances, ULICO remained concerned about the viability and

suitability of the assets in the PBLA ULICO Trusts.

        1381. In early March 2019, before Lindberg’s indictment, a meeting was held in Puerto

Rico where ULICO reiterated its concerns regarding the assets in the PBLA ULICO Trusts to

Lindberg and Herwig, present on behalf of PBLA. Bostic attended as well.

        1382. Shortly thereafter, Lindberg was indicted by a federal grand jury. As one

consequence of the indictment, Lindberg was arrested on April 2, 2019, with the news rapidly

spreading worldwide.

        1383. On June 11, 2019, ULICO notified PBLA—in a letter directed to Boug—that it was

exercising its right to terminate the Reinsurance Agreement, and to recapture all of the business

ceded by ULICO.

        1384. Boug replied by letter dated July 12, 2019, presenting “two recapture options” for

the “estimated liability” of “$657,793,432 with unamortized upfront expenses of approximately

$32,028,646 making the approximate amount due $625,764,786.”




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         1385. ULICO “strongly disagree[d]” with PBLA’s calculations, and advised in an August

5, 2019 letter that it would “prepare and deliver to PBLA the exact calculation of the Recapture

Amount.”

         1386. Thereafter, Lindberg proposed creating a recapture trust to hold assets as collateral

for the recapture of assets in the PBLA ULICO Trusts.

         1387. On August 19, 2019, PBLA and ULICO executed a “Recapture Trust Term Sheet”

to restructure Lindberg’s affiliated companies’ debt to ULICO through the creation of the recapture

trust.

         1388. However, as Lindberg advised in an October 20, 2019 email, “ULICO consent is

required before entering the MOU. . . [a]nd Noble consent is required for the asset swaps

contemplated in the ULICO recapture.” Neither consent was obtained. On October 25, 2019, A.M.

Best downgraded ULICO’s credit ratings.

         1389. On January 16, 2020, ULICO sent PBLA a written notice of breach alleging, inter

alia, that assets contributed to the PBLA ULICO Trust by PBLA were non-compliant with the

BNY Trust Agreements. In particular, ULICO claimed that over sixty-five percent (65%) of the

assets held in the Trust were loan obligations of PBLA’s affiliated entities, and in simplified terms

that the interrelationship between lenders and borrowers was in violation of Puerto Rico law.

         1390. PBLA denied any breach. On January 27, 2020, ULICO initiated arbitration under

the Reinsurance Agreement by written demand.

         1391. On May 29, 2020, the arbitration panel held a two-hour hearing on ULICO’s

motion for interim relief. Both parties were provided with a full opportunity to explain their

positions, submit arguments and evidence including documentary exhibits, respond to the

adversary’s presentations, and answer questions posed by the panel. PBLA refrained from material


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participation in the arbitration, arguing that the dispute was not subject to arbitration, and instead,

litigation was the parties’ recourse.

         1392. On June 2, 2020, the arbitration panel issued a written, reasoned award granting

ULICO’s motion for preliminary relief. It required PBLA as part of its award to deposit

$524,009,051.26 in a separate bank account, maintained strictly to secure PBLA’s obligations

under the Reinsurance Agreement, and if necessary, for ULICO’s payment of any liabilities

incurred pursuant to ULICO’s obligations connected with business ceded pursuant to the

Reinsurance Agreement. PBLA was required to deposit the funds within ten (10) business days,

after which date interest would run at six percent (6%) per annum.

         1393. In reaching its determination, the arbitration panel found that ULICO “clearly and

convincingly . . . raised material issues concerning the type and value of the subject assets since

late 2018” and “that PBLA’s responses were neither timely, consistent, nor accurate.” Specifically,

the panel found that PBLA presented “outdated information” that failed to clearly explain the “true

nature and fair market value of these assets [i.e., investments in Lindberg Affiliates],” or support

its claims and the requirement that these assets conform to regulations.

         1394. PBLA, as a direct result, became obligated to replenish the PBLA ULICO Trusts

with additional funds, which it was unable to do, resulting in, among other direct damages, a $524

million civil money judgment entered on August 11, 2020 in favor of ULICO against PBLA in the

United States District Court for the Southern District of New York (Hon. Lewis J. Liman).139 The

District Court concurred with the arbitration panel’s findings.



139
   See PB Life and Annuity Co. Ltd. f/k/a Private Bankers Life and Annuity Co., Ltd. v. Universal Life Insurance
Company, 1:20-cv-02284-LJL, District Court Opinion and Order dated July 30, 2020, granting ULICO’s motion to
confirm the arbitration award and denying PBLA’s cross-motion to vacate the arbitration award (S.D.N.Y. ECF
No. 47) and Final Judgment entered in the United States District Court for the Southern District of New York (Hon.
Lewis J. Liman) on August 11, 2020 (S.D.N.Y. ECF No. 52).
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        1395. The same disabilities of proof that led to PBLA’s original loss persist today,

although all now involved on behalf of PBLA diligently are attempting to rectify them or determine

reliably that they are unresolvable. The JPLs and PBLA, as a result, are now left with the

consequences of $524 million civil money judgment.

        1396. Lindberg and Global Growth’s wrongful conduct, consistent with related examples

alleged in this Amended Complaint, caused this loss and damage.

       Satori Waters Transactions

        1397. CBL held a term loan and revolver in a company called Satori Waters, a drug

treatment facility located in Florida. CBL inherited its participation in the loan from original lender

Alpine in November 2016.

        1398. In January 2017, Satori Waters defaulted on the loan made to it by Alpine. Alpine

sued Satori Waters later in October 2017. Alpine was a Lindberg affiliate.

        1399. That default and Alpine’s lawsuit were initiated by Satori Waters’ failure to comply

with loan covenants.

        1400. The Lindberg Affiliates, acting principally through Solow for those entities and

Lindberg, then intervened to bail out CBL with PBLA cash.

        1401. PBLA received a “participation interest” in CBL’s exposure to Satori Waters. That

in effect as of calendar year-end 2017 took CBL off the hook as to Satori Waters for $3.7 million

in principal and put PBLA on it.

        1402. Satori Waters’ difficulties and Alpine’s lawsuit were reported directly and in

unmistakable terms to Lindberg. The Lindberg Affiliates within a month caused PBLA to fund the

bail-out of Satori Waters with $3.723 million of liquid reserves held by PBLA for the benefit of

its reinsured, ULICO, and ULICO’s policyholders.


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        1403. Solow appeared for oral examination pursuant to a Rule 2004 subpoena issued by

the Court after he and an attorney appearing for him contested its issuance. Solow was represented

by an attorney of his choosing throughout the oral examination. In response to multiple questions

concerning the CBL-Satori Waters-PBLA transaction and his involvement with it and knowledge

about it, his answer to each question was an invocation by him of the privilege against self-

incrimination provided in the Fifth Amendment to the United States Constitution. Solow 2004

Examination Tr., at 124:24-125:8.

        1404. Herwig appeared for oral examination pursuant to a Rule 2004 subpoena issued by

the Court after he and an attorney appearing for him contested its issuance. Herwig was represented

by an attorney of his choosing throughout his oral examination. In response to multiple questions

concerning the CBL-Satori Waters-PBLA transaction, his involvement with it and knowledge

about it, his answer to each question was an invocation by him of the privilege against self-

incrimination provided by the Fifth Amendment to the United States Constitution. Herwig 2004

Examination Tr., at 120:5-121:4.

        1405. Lindberg and those who acted with and for him in the CBL-Satori Waters-PBLA

transaction knew that Satori Waters was in default, or should have known. They knew or should

have known that the risk associated with an investment in a loan to a distressed drug treatment

facility, itself sued by another lender, was higher than the usual risk a responsible insurer or

reinsurer should accept for the benefit of its policyholder(s). In an email dated March 20, 2019,

Solow admitted that “the loan was in technical default when it was bought, but not payment default.

It went into payment default shortly after it was bought.” In fact, a loan covenant tracking file

which was understood to be created by Eli Global suggests the loan had also been in payment

default since May 2017.


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        1406. There was no economic benefit to PBLA from using its $3.723 million to bail-out

Satori Waters, Alpine, and CBL.

        1407. There is no indication from the books and records available to the Plaintiffs or the

documents produced by the Lindberg Affiliates in response to a subpoena served on them that any

diligence, basis assessment, analysis, or other reasonably appropriate investigation or inquiry was

performed on behalf of PBLA to ascertain the propriety for PBLA of committing the reserves

ceded to it by ULICO to the CBL-Satori Waters-PBLA transaction. At the time, the driving

purpose of the transaction was to remove a loan from CBL’s balance sheet that Lindberg expected

to default, move PBLA cash to CBL for the full principal amount of the loan, and leave PBLA on

the hook for the anticipated default. In fact, although unsurprisingly, Satori Waters remained in

default from the assignment of the obligation to PBLA in mid-December 2017 to date.

        1408. The events leading to the CBL-Satori Waters-PBLA transaction and PBLA’s losses

from it include the following material facts:

         a. Global Growth learned about the Alpine Loan and its lawsuit against Satori Waters

              relatively soon after it was commenced by Alpine in 2017.

         b. By email dated November 16, 2017, Jain of Global Growth reported directly to

              Lindberg that Satori Waters was an entity for which covenants “need to be monitored

              closely[.]” Jain noted in his report to Lindberg that “in case of Satori [Waters], per

              the last update available, a CRO [Chief Restructuring Officer] has been engaged by

              Satori [Waters]. On 10/17, Alpine filed a verified foreclosure complaint and motion

              to appoint a receiver with the US District Court to exit the loan. Post Filing, Satori

              [Waters] identified a party who would purchase the AR to repay the loan.”




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         c. On December 4, 2017, Solow emailed Alan Regdos and Mark Sullivan of Alpine

              asking whether they thought “Satori [Waters] debt will be paid off by yearend” and

              “[i]f not, we would like to participate it over to PBLA.” Regdos replied that “[n]o,

              [i]t won’t be paid off by year end. . . we can do a participation as you mentioned.

              Please send over details of PBLA and we’ll have the participation drafted and make

              the transfer.”

         d. When Sullivan asked Solow whether he would “need accrued interest numbers for

              [December] for the actual payoff of the participation” or to “just distribute

              accordingly between PBLA and [CBL] at the end of the month with the interest

              statement,” Solow replied that “we will not transfer any accrued but will have a hard

              cutoff date for accrual to [CBL] that will then switch to PBLA.”

         e. On December 1, 2017, CBL, PBLA and Alpine executed an Assignment and

              Assumption of Participation Agreement (signed by Boug for PBLA, Stewart for

              CBL, and Alan G. Regdos II for Alpine). The Agreement assigned the Satori Waters

              loan from CBL to PBLA. Once that agreement was executed, on December 15, 2017,

              PBLA wired $3,723,293 from its Delaware Wilmington Trust Account [No.

                  ] to the SEI Wells Fargo Account [No.                  ].

                                                2018

                                                CBL

         Assignment and Assumption of                      $3,723,293 [12-15-2017]
   Participation Agreement (Term Loan
         and Revolver in Satori Waters)

                                               PBLA




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        1409. Soon after the assignment transaction, the Satori Waters loan went into payment

default. PBLA took the losses despite Lindberg and the Global Growth investment team knowing,

at the time that the loan was assigned, that the loan was in default, or certainly on the edge of it.

        1410. Eighteen (18) months later, the NCDOI flagged the transaction. On February 28,

2019, Jeffrey A. Trendel (“Trendel”), PIR Deputy Commissioner, Financial Analysis and

Receivership Division N.C., emailed Dinius and asked about the following:

                Despite [Satori Waters’] failure to pay [Alpine], somehow came off
                the books of CBL in December 2017.

                Is it possible to determine how the revolver was paid off (source of
                money)?

                One of my concerns is how many of these defaults have occurred
                with the loans being “bought out” and perhaps buried in some other
                affiliate investment.

        1411. The date of Trendel’s email – February 28, 2019 – was the date on which the First

Wall Street Journal Article was published.

        1412. Lindberg and the Senior Decision Makers scrambled to develop responses to the

content of the First Wall Street Journal Article, in addition to a series of questions from the NCDOI

and the BMA, particularly after Lindberg was indicted by a federal grand jury within a few weeks

and arrested in April 2019 as a consequence of the indictment.

        1413. As part of the internal scramble by Lindberg and the Senior Decision Makers to

develop responses to the First Wall Street Journal Article published on February 28, 2019,

Lindberg – consistent with his selective recall in other circumstances, including as to the Beaufort-

CBL-Northstar transactions in 2018 and 2019 – concurred with a false writing dated March 5,

2019 pertaining to Satori Waters, and advanced its falsity.




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        1414. Lindberg authorized others to tell the NCDOI that he intervened with respect to

Satori Waters, using his own money (not PBLA’s) “to protect the insurance company [CBL]

balance sheet, even though [he] had no interest in Satori Waters.”

        1415. Lindberg’s rationalization with respect to Satori Waters is additional evidence that

Lindberg, the other Senior Decision Makers, and the Lindberg Affiliates knowingly manipulated

entity balance sheets to suit a particular purpose, and that the veracity of any entry on any particular

balance sheet or other financial record was something knowable only to Lindberg and the Senior

Decision Makers, and even then, only in a particular moment. As Lindberg’s CFO, Miller, wrote

in 2018: “I wish my calculator did Greg [Lindberg] math.”

        1416. Even as that rationalization was developed by Lindberg and advanced by him and

on his behalf, headquarters executives investigated and confirmed the truth. Tamre Edwards

(“Edwards”), Chief Legal Officer of GBIG, wrote to Solow and Herwig on March 6, 2019. He

asked whether “[Solow or Herwig had] any detail on the $20 million Greg [Lindberg] used to

purchase the fraudulent mortgages and Satori Waters notes from the insurance companies[.]” Brian

Smith of GB Capital responded to Edwards after Solow’s request that: “This is a complete wind

down…The assets have been foreclosed on. . . A Receiver is currently in place to sell the

assets. . . A $1mm D&O insurance claim is in process. . . We’re less involved with this one on a

day to day basis as there is no cash pay component, there is no longer a financial reporting/portfolio

management component. . . .”

        1417. Even that truth was one that never was told to the NCDOI and Dinius in response

to the questions from them that commenced on February 28, 2019. Instead, the following opaque

and intentionally partial response was made by Paul Brown (“Brown”) on behalf of the Lindberg

Affiliates in an email to Dinius dated after March 26, 2019:


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                Satori Waters
                - Revolver defaulted in October 2017, CBL’s total $3.7m Satori
                Waters Revolver balance sold to PBLA on 12/14/2017
                - PLBA’s direct exposure to Satori Waters moved/sold to Alpine
                (PBLA now has indirect exposure via Alpine)
                - PBLA holds $4.7 Alpine/Satori Waters exposure as of 12/31/18
                and has posted a loss reserve of 1.4m (~30%)
                - A Receiver is currently in place working to wind down the
                company and sell the assets

        1418. In addition to the contradictions with Lindberg’s statement on March 5, 2019, the

truth as disclosed to Edwards on March 6, 2019, and among other things, the “posted loss reserve”

ascribed to PBLA actually was the full amount of the $3.7 million exposure at the time of the

March 26, 2019 response to Dinius.

        1419. The Satori Waters transactions concerning PBLA alleged herein were conceived,

structured, and executed from the United States, principally if not exclusively from headquarters

offices maintained by Lindberg and used by the Senior Decision Makers in North Carolina. PBLA

cash was transferred at the direction or consent of Lindberg and the Senior Decision Makers into

bank accounts maintained by the involved Lindberg Affiliates in banks and similar financial

institutions in the United States. These included, inter alia, scores of wire transfers, emails,

countless telephone calls, and similar repeated uses of the wires and radio frequencies within the

United States to advance and perpetuate an ongoing scheme to defraud by fraudulent means or

false or fraudulent pretenses. The damage to PBLA and its policyholders and similar stakeholders

from the wrongs alleged manifested substantially within North Carolina and across the United

States, inter alia, the place where the substantial majority of the liquid assets maintained by PBLA

for the benefit of its reinsured and its policyholders was diluted, devalued, or disappeared,

including into the Personal Expense Companies and the pockets of Lindberg and his Senior

Decision Makers.


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        1420. The Satori Waters transactions were proximate causes of PBLA’s damages.

       AFA Transactions

        1421. Lindberg, Solow, and Bostic discussed ways to continue to use PBLA’s assets for

the benefit of other flailing Lindberg Affiliates. In a January 5, 2018 email, Bostic advised

Lindberg that PBLA was “maxed out” on corporate debt, so Solow and Bostic would “brainstorm”

and “come up with something. Maybe SMHL, Triton, BRC [repurchase] the [preferred equity] to

a shell and then shell the repos to PBLA.”

        1422. One such way concocted by Lindberg, Solow, and Bostic was to manufacture a

$34,000,000 loan from PBLA to AFA, which remains outstanding.

        1423. Solow appeared for oral examination pursuant to a Rule 2004 subpoena issued by

the Court after he and an attorney appearing for him contested its issuance. Solow was represented

by an attorney of his choosing throughout the oral examination. In response to multiple questions

concerning the PBLA-AFA loan and his involvement with it and knowledge about it, his answer

to each question was an invocation by him of the privilege against self-incrimination provided in

the Fifth Amendment to the United States Constitution. Solow 2004 Examination Tr., at 72:8-74:2.

        1424. The events leading to the PBLA-AFA transaction and PBLA’s losses from it

include the following material facts:

         a. On January 24, 2018, Lindberg caused PBLA to execute a Repo Agreement with

              Hampton Asset Management, LLC (“HAM”)—a Lindberg Affiliate formed and

              existing in Delaware—whereby PBLA agreed to purchase 17 million preferred shares

              in Triton at a purchase price of $17,000,000. That same day, Lindberg executed an

              Assignment Agreement, transferring PBLA’s interests under the HAM Repo

              Agreement to the PBLA ULICO Trust.


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             b. The next day, January 25, 2018, Lindberg authorized a $17,000,000 wire from the

                 PBLA ULICO Wilmington Trust Account [No.                        ] first to the SEI Wells

                 Fargo Account [No.                        ], and then to HAM’s Alabama Regions

                 Custodial Account [No.                   ]. Immediately thereafter, also on January 25,

                 2018, HAM wired $17,000,000 from its Alabama Regions Custodial Account [No.

                              ] to Triton’s North Carolina Wells Fargo Account [No.                  ].140

             c. On January 25, 2018, Lindberg also caused PBLA to execute a Repo Agreement with

                 Iron City Asset Management, LLC (“ICAM”)—a Lindberg Affiliate formed and

                 existing in Delaware—whereby PBLA agreed to purchase 17 million preferred shares

                 in BRC Holdings, Inc. (“BRC”)—a Lindberg Affiliate formed and existing in North

                 Carolina—at a purchase price of $17,000,000. That same day, Lindberg executed an

                 Assignment Agreement, transferring PBLA’s interests under the ICAM Repo

                 Agreement to the PBLA ULICO Trust. Although, the agreement was not signed by

                 then-trustee Wilmington Trust.

             d. The next day, January 26, 2018, Lindberg authorized a $17,000,000 wire from the

                 PBLA ULICO Wilmington Trust Account [No.                        ] first to the SEI Wells

                 Fargo Account [No.                        ], and then to ICAM’s Alabama Regions

                 Custodial Account [No.                ]. Thereafter, on January 29, 2018, ICAM wired

                 $17,000,000 from its Alabama Regions Custodial Account [No.                         ] to

                 Hutchison’s PNC IOLTA Account [No.                     ] to be held on behalf of BRC.141

             e. Critically, at the time Lindberg caused PBLA to execute the Repo Agreements,

                 neither HAM nor ICAM owned the shares they claimed to be selling. Rather, HAM


140
      Transaction Reference Number 180125122620.
141
      Wire Service Reference Number 01291167033R007514; Transaction Reference Number 180129076736.
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                 and ICAM had both acquired their shares in Triton and BRC, respectively, on the

                 very same date they received the $34,000,000 in wire transfers from the PBLA

                 ULICO Wilmington Trust Account [No.                      ], using those funds to acquire

                 the same.

             f. Then, on February 1, 2018, Lindberg and Solow caused Triton and BRC to execute

                 a loan agreement with PBX, whereby Triton and BRC each agreed to loan to PBX

                 $17,000,000 ($34,000,000 in total).

             g. That same day, Lindberg and Solow authorized a $17,000,000 wire from Hutchison’s

                 PNC IOLTA Account [No.                    ] and a $17,000,000 wire from Triton’s North

                 Carolina Wells Fargo Account [No.                        ], both to PBLA’s Delaware

                 Wilmington Trust Account [No.                   ]. The funds were recorded as additional

                 paid in capital.

             h. However, immediately thereafter—also on February 1, 2018—Lindberg caused

                 PBLA to execute a loan agreement whereby PBLA loaned the entire $34,000,000 to

                 AFA. That same day, Lindberg authorized a $14,000,000 wire from PBLA’s

                 Delaware Wilmington Trust Account [No.                         ] to AFA’s North Carolina

                 Wells Fargo Account [No.                       ].142 On February 2, 2018, Lindberg

                 authorized a $20,000,000 wire from PBLA’s Delaware Wilmington Trust Account

                 [No.               ] to the SEI Wells Fargo Account [No.                    ] and then to

                 AFA’s Alabama Regions Custodial Account [No.                        ].

             i. As Solow explained in his February 7, 2018 email to Lindberg: “[w]e had 20mm go

                 to AFA Regions to put some of the assets in the FinCos without creating [Interest



142
      Federal Wire Transfer No. 04657; Srf#180201010467000; Trn#180201177137.
                                                     287

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               Maintenance Reserve]. We had the other 14mm go into AFA Wells so that Sandi

               [White, then serving as Vice President of corporate treasury for Global Growth for

               the Lindberg Affiliates] could use those funds more immediately.”

         j. White used the funds to pay the expenses of various Lindberg Affiliates which needed

               cash. These included the following:

  Transferee          Date          Amount                            Wire Transfer


                                                     Global Growth’s North Carolina Wells Fargo Account
 Global Growth       2/1/2018      $5,000,000                      [No.                ]
                                                                     Ref# Bb047L3Ldy


                                                     Global Growth’s North Carolina Wells Fargo Account
 Global Growth       2/7/2018      $4,000,000                      [No.                ]
                                                                     Ref# Bb0486Y98W


                                                       New Hill’s North Carolina Wells Fargo Account
    New Hill         2/5/2018       $800,000                         [No.             ]
                                                                    Ref# Bb047Tbmpd


                                                       New Hill’s North Carolina Wells Fargo Account
    New Hill         2/7/2018      $1,000,000                        [No.             ]
                                                                    Ref# Bb0485NM37


    PharmaSys                                          SEI Wells Fargo Account [No.                ]
   Investments                                                         WT Seq#88807
     Limited         2/2/2018      $624,857.25                    Srf#Gw00000010361498
  (“PharmaSys                                                        Trn#180202088807
 Investments”)                                                           Rfb# 9636


     Marval                                            SEI Wells Fargo Account [No.                ]
  Investments                                                          WT Seq#87175
     Limited         2/2/2018      $153,727.44                    Srf#Gw00000010360626
    (“Marval                                                         Trn#180202087175
 Investments”)                                                           Rfb# 9635




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         k. Global Growth, in turn, used these funds to make various payments, including:

       Transferee               Date       Amount                   Wire Transfer


     CMC Holding               2/1/2018    $605,000               Ref# Bb047L5Yn3


     BCC Holdings              2/1/2018    $500,000               Ref# Bb047L5Vfs


    TCI Loan-Backed            2/1/2018    $250,000              Ref# Bb047L5Znm
     Funding, LLC


 Greenfield Capital, LLC       2/1/2018    $231,000       Greenfield Capital’s North Carolina
  (“Greenfield Capital”)                                         Wells Fargo Account
                                                                  [No.              ]
                                                                  Ref# Bb047L5Rkp


  CLTC Holdings, LLC           2/1/2018    $175,000               Ref# Bb047L5Nbg




      Eli Research             2/5/2018    $700,000         Eli Research’s North Carolina
                                                                 Wells Fargo Account
                                                                  [No.            ]
                                                                  Ref# Bb047Zfv88


      Eli Research             2/8/2018    $500,000         Eli Research’s North Carolina
                                                                 Wells Fargo Account
                                                                  [No.            ]
                                                                 Ref# Bb0489PY2Y


                                                            Eli Research’s North Carolina
                                                                 Wells Fargo Account
      Eli Research             2/8/2018    $500,000
                                                                  [No.            ]
                                                                  Ref# Bb048Dzhrc


                                                            Eli Research’s North Carolina
                                                                 Wells Fargo Account
      Eli Research           2/13/2018     $200,000
                                                                  [No.            ]
                                                                  Ref# Bb048Pjs8H


                                                                   UMB Bank, N.A.
      Keith Lilek                                          Federal Wire Transfer No. 08452
                               2/7/2018   $2,570,000
     A/R Allegiance                                           Srf# Gw00000010494472
                                                                 Trn#180207157367
                                                                     Rfb# 9679
                                                289

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                                                                           PNC Bank
                                                                 Federal Wire Transfer No. 00944
          Hutchison             2/8/2018    $1,716,007.63           Srf#Gw00000010494169
                                                                       Trn#180207158278
                                                                           Rfb# 9680


            l. Similarly, New Hill used these funds to make $810,000143 and $995,000144 wires to

                Dunhill’s North Carolina Wells Fargo Account [No.                 ].

                                               PBLA-ULICO


              HAM                                                                    ICAM
          $17M [1-25-2018]                                                       $17M [1-26-2018]


              TRITON                                                              BRC HOLDINGS
          $17M [1-25-2018]                                                       $17M [1-25-2018]
                                         LOAN AGREEMENTS WITH PBX
                                      “ADDED CAPITAL” SENT DIRECTLY TO
                                                   PBLA


                                                   PBLA
                                               $34M [2-1-2018]

           AFA [Regions]
          $20M [2-1-2018]
                                             AFA [Wells Fargo]
                                              $14M [2-1-2018]


               CBL                              Global Growth                        New Hill
          $624K [2-2-2018]                      $4M [2-7-2018]                   $800K [2-5-2018]
          $153K [2-2-2018]                     $5M [2-14-2018]                    $1M [2-7-2018]


       PharmaSys Investments       Marval Investments                                Dunhill
          $624K [2-2-2018]          $153K [2-2-2018]                             $810K [2-5-2018]
          $642K [2-2-2018]                                                       $995K [2-7-2018]



           1425. AFA’s transfers to New Hill were used to pay Lindberg’s personal expenses

(through transfers to Dunhill); various payments, such as loan payments, to other entities (Global


143
      Ref #Bb047Tbpw9.
144
      Ref #Bb0485Nn7P.
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Growth); principal and interest payments to other insurance companies; and deferred

compensation and put option exercise fees (PharmaSys Investments and Medical Business

Systems PTY Ltd.).

        1426. Upon information and belief, PBLA was not repaid the $34 million loan to AFA,

and did not receive any interest. The books and records currently available to the JPLs show that

part of the reason for this is that the loan between AFA and New Hill was forgiven.

        1427. The AFA transaction concerning PBLA alleged herein was conceived, structured,

and executed from the United States, principally if not exclusively from headquarters offices

maintained by Lindberg and used by the Senior Decision Makers in North Carolina. PBLA cash

was transferred at the direction or consent of Lindberg and the Senior Decision Makers into bank

accounts maintained by the involved Lindberg Affiliates in banks and similar financial institutions

in the United States. These included, inter alia, scores of wire transfers and emails, countless

telephone calls, and similar repeated uses of the wires and radio frequencies within the United

States to advance and perpetuate an ongoing scheme to defraud by fraudulent means or false or

fraudulent pretenses. The damage to PBLA and its policyholders and similar stakeholders from

the wrongs alleged manifested substantially within North Carolina and across the United States,

inter alia, the place where the substantial majority of the liquid assets maintained by PBLA for the

benefit of its reinsured and its policyholders was diluted, devalued, or disappeared, including into

the Personal Expense Companies and the pockets of Lindberg and his Senior Decision Makers.

        1428. The AFA transactions were proximate causes of PBLA’s damages.




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        PBLA’s Insolvency

        1429. According to the books and records available to the JPLs, Lindberg and the Senior

Decision Makers depleted PBLA’s available cash and cash equivalents between July 2017 and

September 2018.

        1430. In December 2017 alone, PBLA’s available cash position decreased by eighty

percent (80%), dropping from $15,145,244 to $2,993,947. The Senior Decision Makers caused

PBLA to purchase sham investments and it never received an interest payment or a dividend for

those investments. Detail is alleged, supra, of numerous representative transactions and the use of

wires, wrongfully, that led to this result.

        1431. Between December 2017 and February 2018, PBLA was often involved in “round-

trip transactions,” receiving funds as APIC, then immediately transferring those funds in the form

of investments in other Lindberg Affiliates located in the United States. PBLA’s investments in

the United States based Lindberg Affiliates were typically structured as illiquid, borrower friendly,

long-term debt for which PBLA overpaid. All debt owing to PBLA from these “round-trip

transactions” remains outstanding, with no interest payments or renewal fees having been received

by PBLA.

        1432. By April 2018, PBLA was over-collateralized and experiencing liquidity issues that

were readily apparent to Lindberg and the Senior Decision Makers by virtue of the fact that PBLA

was unable to settle a $632,617 intercompany loan to GBIG because there was “no cash coming

into the PBLA WT account.”

        1433. As of December 2018, PBLA’s debt level was significantly greater than its equity

capital, rendering PBLA balance sheet insolvent by the end of 2018.




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        1434. During her 2004 Examination, Miller testified that by January 2019 PBLA was

experiencing liquidity issues and having “surrender issues.” Miller 2004 Examination Tr., at

202:23-203:2.

        1435. Moreover, by February 2019, PBLA was unable to even pay its own operating

expenses and relied on Northstar to fund such expenses with available cash on hand as low as

$16,007.37. Superina expressed this operational concern to White in an email dated February 22,

2019, “Northstar has been settling the operational expenses of the other Bermuda entities (BMX,

Omnia, PBLA and PHIHL) for the last few months [sic].” Therefore, by no later than February

2019, PBLA was insolvent on a cash flow basis.

        1436. As a result of the illiquid and unmarketable nature of the Lindberg Affiliates’ assets

held on the PBLA books, PBLA’s solvency ratios demonstrate that PBLA was insolvent at the

time the MOU and IALA were executed on June 27, 2019.

        1437. Relatedly, as discussed supra, ULICO began expressing concerns by the end of

2018 regarding the book value of assets placed in the PBLA ULICO Trusts by PBLA. Lindberg

and his Senior Decision Makers knew that some of the assets were worthless, like Agera, infra,

and that assets in the PBLA ULICO Trusts were significantly impaired, overall, well before then.

        1438. On March 31, 2017, Brown advised Lindberg, Boug, Lou Hensley (“Hensley”)—

CEO and President of GBIG, and George Luecke (“Luecke”), “There is a good chance that ULICO

does not know/believe that the existing portfolio has substantial losses in it. Our view is that the

losses could be at least equal to our $30mm cede and maybe worse.”

        1439. Lindberg agreed, noting that they should “craft a way . . . to give ULICO downside

protection on all trust assets and upside potential of still earning the $30M cede.” Lindberg

commented further, “[o]n valuation of trust assets, perhaps ULICO has accepted the [Duff &


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Phelps] recovery numbers, which seem very suspectI me... Like full recovery on a $15M all PIK

sub debt note on a penny stock oil and gas exploration play that has massive losses and no cash

[Agera]. We assumed this was worthless but D&P [Duff & Phelps] says it’s somehow 60% LTV.”

        1440. ULICO’s concerns continued into 2019, and following PBLA’s further repeated

breach of its contractual obligations under the Reinsurance Agreement and Trust Agreements,

ULICO exercised its right to terminate the Reinsurance Agreement, and recapture all of the

business ceded by ULICO.

        1441. ULICO’s intended recapture ultimately did not occur, and on January 16, 2020,

ULICO sent PBLA written notice of breach. PBLA, through its then-controlling owner, Lindberg,

denied any breach, and on January 27, 2020, ULICO initiated arbitration under the Reinsurance

Agreement.

        1442. The circumstances surrounding PBLA’s involvement with Agera alleged herein

were conceived, structured, and executed from the United States, principally if not exclusively

from headquarters offices maintained by Lindberg and used by the Senior Decision Makers in

North Carolina. PBLA cash was transferred at the direction or consent of Lindberg and the Senior

Decision Makers into bank accounts maintained by the involved Lindberg Affiliates in banks and

similar financial institutions in the United States. These included, inter alia, wire transfers, emails,

telephone calls, and similar repeated uses of the wires and radio frequencies within the United

States to advance and perpetuate an ongoing scheme to defraud by fraudulent means or false or

fraudulent pretenses. The damage to PBLA and its policyholders and similar stakeholders from

the wrongs alleged manifested substantially within North Carolina and across the United States,

inter alia, the place where the substantial majority of the liquid assets maintained by PBLA for the




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benefit of its reinsured and its policyholders was diluted, devalued, or disappeared, including into

the Personal Expense Companies and the pockets of Lindberg and his Senior Decision Makers.

        1443. The arbitration concluded with a $524 million civil money judgment entered

against PBLA. This looming judgment significantly affects PBLA’s solvency, because the interest

owed to ULICO is staggering and puts crippling pressure on PBLA’s ability to pay operating

expenses and surrenders.

   VIII. Representative Transactions Causing Harm to PBIHL
        1444. PBIHL was acquired by Lindberg in 2017. PBIHL is a wholly-owned subsidiary of

BMX Bermuda, which in turn is wholly-owned by BMX Holdings. Lindberg holds 100%

ownership in BMX Holdings, and thus, is the sole beneficiary. PBIHL formerly was owned by

Beechwood, or one of its affiliates.

        1445. PBIHL, with Omnia, was acquired as it moved out of Beechwood, linked to the

Platinum Partners (“Platinum”) receivership. Among other things, PBIHL had $21.2 million in

liquid capital on its books. Omnia had $6.2 million in liquid capital (cash and bonds) on its books

at the time of acquisition.

       Agera/Yarrow Three Transactions

        1446. Omnia and PBIHL suffered material reputational injury due to common

connections between and among their leadership and businesses, and the leadership and business

of Platinum. Beechwood was a part of Platinum. Platinum was a hedge fund that collapsed in 2017

while under federal investigation between 2016 and 2017, including after federal criminal fraud

allegations were asserted in connection with it. See, e.g., Lawrence Delevigne, Reinsurer

Beechwood sold following hedge fund woes, REUTERS (August 2, 2017), available at

https://www.reuters.com/article/us-insurance-beechwood/exclusive-reinsurer-beechwood-sold-


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following-hedge-fund-woes-source-idUSKBN1AI2Y0. Multiple Platinum executives later were

convicted of federal crimes connected with their involvement with Platinum.

        1447. Omnia and PBIHL, at the time of their acquisition by Lindberg, each owned assets

acquired from insurance policyholder premium payments, and payments for financial services

products such as annuities. The general purpose of those assets – held as reserves or deposits –

was to pay policyholder or account holder claims and redemptions as and when necessary.

        1448. Lindberg paid the equivalent of $1.00 each for Omnia and PBIHL. Lindberg

represented to outsiders – including to at least one insurance business ratings firm – that his

intention with the acquisition of PBIHL was to runoff, i.e., resolve, its obligations and form a new

entity to engage in the offering and distribution through banks and financial services institutions

of fixed-income investment products directed to high-net-worth persons in markets outside the

United States and Bermuda.

        1449. According to Lindberg, if the runoff was concluded successfully, tangible liquid

assets would have remained to use for other purposes. However, it is evident from the information

made available to Lindberg that would not have been possible.

        1450. The true intention of Lindberg as established by his actions, and subsequent

directions to Bostic and other Global Growth employees, with PBIHL and Omnia over the fifteen

(15) months after the entities were acquired, was not materially different from their intentions with

Northstar, including as evidenced by its similar treatment and fate after it was acquired in 2018.

        1451. Three (3) months before they closed on PBIHL and Omnia, Lindberg and the Senior

Decision Makers knew that the asset values stated on the books of each entity were inflated, other

than cash and liquid assets. Lindberg along with Global Growth employees such as Brown,

Hensley, Luecke, Herwig, Solow, and Bostic knew that the Agera positions owned by PBIHL and


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Omnia were heavily overvalued and inflated. Lindberg even observed to Boug, Hensley, and

Brown that Agera is a “penny stock oil and gas exploration play that has massive losses and no

cash,” and “the Duff & Phelps recovery numbers . . . seem very suspect to me . . . we assumed this

[Agera Energy asset] was worthless by [Duff & Phelps] says it’s somehow 60% LTV.”

         1452. Additionally, Lindberg and the Senior Decision Makers were also aware of the

depth of the connections that existed between Beechwood, Platinum, and Agera.

         1453. In particular, the connections and familial ties these entities had with Agera’s

executives and decision makers, such as Michael Nordlicht (“Nordlicht”) and Kevin Cassidy

(“Cassidy”), who had both been subject to multiple allegations and/or convictions of fraudulent

business practices in which they may have been and/or were known to be involved. For example,

Bostic, when confronted about the level of due diligence that was done in relation to Agera as part

of the Omnia and PBIHL acquisitions, admitted in an email dated May 22, 2019, that “we were

aware of Michael Nordlicht’s familial ties to Platinum, but in our research never saw anything that

seemed fraudulent.”

         1454. Cassidy, who was a sales executive at Agera, had already served three sentences in

prison for fraud and tax evasion145 by the time the Omnia and PBIHL acquisitions took place. This

also did not appear to raise any concerns with Lindberg or the Senior Decision Makers.

         1455. On October 21, 2022, Bostic appeared for oral examination pursuant to a Rule 2004

subpoena issued by the Court. Bostic was represented by an attorney of his choosing throughout




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   See Press Release: SEC Charges Banker and Brokerage Executives With Multi-Million Dollar Financial Fraud,
SEC (November 18, 2008), available at https://www.sec.gov/news/press/2008/2008-274.htm; Bill Singer,
Commodities CEO Gets 30 Months in Prison in Mark to Market Scheme, FORBES (April 26, 2012), available at
https://www.forbes.com/sites/billsinger/2012/04/26/commodities-ceo-gets-30-months-in-prison-in-mark-to-market-
scheme/?sh=3757afa870c8; Lawrence Delevigne, The top-performing hedge fund manager that’s too hot for big
money to handle, REUTERS (April 13, 2016), available at https://www.reuters.com/investigates/special-report/usa-
hedgefunds-platinum/.
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the oral examination (the “Bostic 2004 Examination”). In response to multiple questions

concerning the Agera-PBIHL and Agera-Omnia transactions, his involvement with it and

knowledge about it, specifically whether the Agera assets on the Debtors books were impaired and

whether Global Growth engaged Duff and Phelps to value the Debtors’ positions in Agera, his

answer to each question was an invocation of the privilege against self-incrimination provided in

the Fifth Amendment to the United States Constitution. Bostic 2004 Examination Tr., at 133:6-

137:15.

          1456. The value of the classes of PBIHL and Omnia shares as of June 30, 2017 stated on

the books of each were as follows:

   [PBIHL] AGH Parent B1 Preferred
                 $38,180,383
                                      [Omnia] AGH Parent B1
  [Omnia] AGH Parent Class C                                        [Omnia] AGH Parent (Loan)
                                            Preferred
            $17,193,067.77                  $8,084,488.13                 $17,405,364.96

          1457. Lindberg and the Senior Decision Makers also knew that the cash and liquid assets

such as United States Treasury securities owned by each exceeded $27.4 million. PBIHL presented

an even more attractive catch, because it owned more than $21.2 million in cash and liquid

securities, and its business scope and customer base left it unregulated by the BMA, or any other

regulatory authority.

          1458. The knowingly inflated assets of PBIHL and Omnia – principally equity stakes

acquired in an overvalued energy speculator and exploratory oil drilling rights owner named Agera

Energy and its parent or holding company – were left at the inflated values on PBIHL’s and

Omnia’s books for more than fifteen (15) months post-acquisition.




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        1459. In fact, Agera Energy and its parent or holding company functionally were affiliates

of Lindberg in 2017. That was because Lindberg and the Lindberg Affiliates in mid-2017 owned

the majority of the issued and outstanding equity in those entities and exercised their voting rights

to take control of them in April 2018.

        1460. The Agera assets also were left on the PBIHL and Omnia books at inflated values,

among other reasons, to appease the then auditors of Omnia, and to show to others to address any

general concerns if inquiries were made about the viability of the businesses.

        1461. Lindberg even wrote, whether to comfort himself or the recipients of his email, that

the “BMA seems to believe that all of the trusts [holding assets for PBIHL, Omnia, etc.] are whole

if Agera is valued at par.”

        1462. As at the end of December 2017, in the case of Omnia, 11,721 Preferred Equity

Class B shares of its parent or holding company, AGH, were held on its books at a value of

$11,806,537.48 and 171,930.68 Preferred Equity Class C Shares at a value of $17,193,067.77.

According to Omnia’s Wilmington Trust Statements, there was a further loan note of

$18,049,502.67 from Omnia to AGH recorded in Omnia’s records.

        1463. In the case of PBIHL, as at the end of December 2017, PBIHL held Preferred Equity

Class B shares in AGH at a value of $61,041,875.58 on their books. Originally PBIHL held 50,600

Preferred Equity Class B shares in AGH were at a value of $50,968,800.63 on their books.

However, in September 2017, PBIHL acquired 10,000 Preferred Equity Class B shares in AGH

from the PBLA ULICO Trusts at a book value of $10,073,074.95.

        1464. Promptly after the cash and liquid assets were stripped by Lindberg and the Senior

Decision Makers in PBIHL and Omnia (and after its auditor signed-off on its financial statements




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in the case of Omnia), in October 2018, the AGH Class B1 preferred equity shares were written-

down by eighty-one and one quarter percent (81.25%).

        1465. During the fifteen (15) month period post-acquisition beginning in July 2017,

Lindberg and the Senior Decision Makers engaged in a series of transactions to strip cash and

liquid assets from PBIHL and Omnia.

        1466. Among other things, this asset-stripping foreshadowed what they did with

Northstar once its acquisition closed in 2018. The PBIHL and Omnia cash and equivalents stripped

then were directed to other Lindberg Affiliates, like Agera Energy, LLC, see infra, located in the

United States.

        1467. On March 13, 2019, in a meeting between Lindberg, Herwig, Bostic, and ULICO,

Lindberg stated that “they [Agera management] were selling contracts at a loss, just to get the sales

in. Salespeople were wrongly incentivized.”

        1468. Additionally, Miller stated in an email to Dinius, dated April 20, 2019, “the

previous [Agera] management team made some really bad decisions and financial reporting seems

to have been unreliable to say the least” further claiming that the Agera management, which

included Nordlicht and Cassidy, had put “many less than ideal business practices” in place which

had to be corrected. By October 2018, a $35 million misstatement was uncovered in the financials

of Agera Energy, related to the recorded unbilled receivables.

        1469. In the same email dated April 20, 2019 to Dinius, Miller also stated that the previous

Agera management team had “entered into a lot of bad contracts” and that their previous sales

commission plan was based on revenue and not gross margin,” which likely encouraged the Agera

management team to misstate the financials.




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        1470. In addition to this, consistent with Lindberg’s and the other Senior Decision

Makers’, usual modus operandi, affiliated entities such as GBIG and SASL received fees from the

sale, acquisition, and management of Omnia and PBIHL’s assets.

        1471. Lindberg and the Senior Decision Makers wrongly stripped the value from Omnia

and PBIHL which far exceeded the $1.00 price paid.

        1472. Solow appeared for oral examination pursuant to a Rule 2004 subpoena issued by

the Court after he and an attorney appearing for him contested its issuance. Solow was represented

by an attorney of his choosing throughout the oral examination. In response to multiple questions

concerning the Agera-PBIHL and Agera-Omnia transactions, his involvement with it and

knowledge about it, specifically whether PBIHL was directed and used to prop up other entities,

like Agera, his answer to each question was an invocation of the privilege against self-

incrimination provided in the Fifth Amendment to the United States Constitution. Solow 2004

Examination Tr., at 94:22-99:23.

        1473. The Debtors’ books and records of Omnia and PBIHL currently available to the

JPLs and the business records produced by Lindberg and the Lindberg Affiliates in response to a

Rule 2004 subpoena served on them, as one example of the abuse of Omnia and PBIHL, show that

in 2018 more than $4,000,000, presumably in asset management fees, was allocated to GBIG from

Omnia and PBIHL. The information available does not permit the JPLs to ascertain what other

fees Lindberg and/or the Lindberg Affiliates collected from PBIHL or Omnia relating to the sale,

acquisition, and management of assets.

        1474. In the case of PBIHL and Omnia, the liquid-asset stripping and progression of

events under the leadership of Lindberg and the Senior Decision Makers included the following

material transactions and omissions, for purposes of illustration:


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       PBIHL Raided in September 2017 to Reduce Agera/AGH Overconcentration in the
       PBLA ULICO Trusts

        1475. In 2017, the PBLA ULICO Trusts were too concentrated in their investments in

AGH. On September 28, 2017, to address that overconcentration, Lindberg and the Senior

Decision Makers caused PBIHL to wire $10,073,075 from its Delaware Wilmington Trust

Account [No.                 ] to the PBLA ULICO Wilmington Trust Account [No.              ].

        1476. In exchange, the PBLA ULICO Trusts transferred 10,000 preferred units of AGH

to PBIHL.

        1477. The price that PBIHL paid for each unit (or share) was pegged to the already

admittedly overstated value at which PBIHL held the AGH shares on its books.

        1478. In one swoop, most of PBIHL’s liquidity—$10,073,075— was wiped-out and the

PBLA ULICO Trusts were relieved of an overconcentration issue with Agera that Lindberg and

the Senior Decision Makers knew that the BMA would flag if it were identified or disclosed to it.

        1479. The transaction itself, however, did nothing materially beneficial for any party to

it. Among other things, it was sleight-of-hand to wash a PBLA ULICO Trusts issue with liquidity

taken from PBIHL.

                                        PBLA-ULICO 2017

                   10,000 Preferred Units                 $10,073,074.95 [9-28-2017]
                     of Overstated Agera


                                               PBIHL

       PBIHL Pays Agera Energy to Plug Immediate Cash Flow Needs

        1480. Another representative transaction was closed on January 10, 2018.

        1481. It involved a transaction where PBIHL subscribed to 3,000 Preferred Units in Agera

Holdings, LLC (“Agera Holdings”) at $1,000 per share.

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          1482. PBIHL wired $3,000,000 from its Delaware Wilmington Trust Account [No.

            ] directly to Agera Holdings’ subsidiary, Agera Energy’s Texas First National Bank of

Central Texas Account [No.             ], where the money was needed. PBIHL was identified as a

cash source for Agera Energy, along with CBL.

          1483. The transaction did nothing to materially benefit PBIHL. It instead reduced

PBIHL’s liquidity, and diminished PBIHL’s ability to pay short term surrenders.



                                             AGERA
                                            HOLDINGS

                 3,000 Preferred Units of                 $3M [1-10-2018]
               Overstated Agera Holdings


                                              PBIHL

          CBL Pays Agera in a Deal to Reduce CBL’s Exposure to Yarrow Three

          1484. A week later, Lindberg, Herwig, Solow, and Bostic decided that CBL needed to

liquidate an asset it held in Yarrow Three—a Lindberg Affiliate formed and existing in North

Carolina.

          1485. Yarrow Three, a special purpose vehicle or “SPV,” held a loan to Red River

Development, LLC, itself a shell used to hold AGH stock denominated as “Class B-1 Preferred

Units.”

          1486. CBL through this transaction on January 17, 2018 sold its Yarrow Three interest

for $24 million to several Lindberg Affiliates, as well as to PBLA, PBIHL, and Omnia. PBLA paid

$2.1 million; PBIHL paid almost all of its remaining liquidity, or $3.7 million; and Omnia paid

$1.787 million to CBL.

          1487. CBL then directed the cash immediately to Agera Holdings.

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                                 CBL                                          AGERA HOLDINGS
                                                              $7,587,918


    $2,100,000                       $3,700,000          $1,787,918
   [1-17-2018]                      [1-17-2018]         [1-17-2018]



 PBLA                           PBIHL                         OMNIA
                THE DEBTORS TRANSFERRED THE CASH
      IN EXCHANGE FOR CBL’S INTEREST IN YARROW THREE

        1488. Each Debtor was expected to invest in stable, liquid assets with a readily

ascertainable and realizable value; to limit investment concentration, particularly in affiliated or

otherwise related businesses or other investment opportunities; and to conduct its business at all

times consistent with its long-term obligations to policyholders and account holders.

        1489. As with the other Debtors and other Lindberg Affiliates, PBIHL and Omnia within

months of Lindberg’s, Bostic’s, Solow’s, Herwig’s, and various Global Growth investment

employees’ exercise of their control in mid-2017 were left without liquidity to meet basic operating

expenses, eventually becoming dependent by mid-to-late 2018 on Northstar’s available liquidity

and Bermuda staff to fund and execute basic business operations.

        1490. PBIHL and Omnia within months of Lindberg’s and the Global Growth investment

team’s exercise of their control were left by their pillaging and related malfeasance to ad hoc fire

drills and the raiding of others to satisfy policyholder redemptions and similar events.

        1491. Examples pertaining to the fire drills and raiding of others to satisfy policyholder

redemptions and similar events include the following:

                    In March 2018, PBIHL had to sell its entire Yarrow Three interest to a different
                     Lindberg Affiliate —Forest Park Asset Management, LLC (“FPAM”)—to,
                     according to Bostic, “free up a cash for the surrender of a PBIHL policy. [sic]”


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                     Shortly after in May 2018, it had to sell another $3,000,000 for another
                     surrender.

                    Omnia’s sole nonaffiliated assets were significantly depleted by March 2018.
                     Omnia struggled to make future surrender payments and at first proceeded to
                     sell liquid affiliated assets to cover surrender requests. From September 2018
                     Omnia could not pay surrenders in the normal course, and started to use
                     company earned income to supplement payments of policyholder redemptions.

                    On December 26, 2018, Lindberg and Herwig at Bostic’s request authorized a
                     transaction to cause PBLA to purchase $800,000 worth of Agera Class B-1
                     Preferred Units from PBIHL so that PBIHL had $800,000 to fund a pending
                     surrender.

        1492. With the implementation of the Senior Decision Makers’ raiding and pillaging of

PBIHL and Omnia, as with the other Debtors, Lindberg, and the Senior Decision Makers by late

2018 eviscerated Omnia’s and PBIHL’s capacity to satisfy obligations to their policyholders and

account holders. They left each unable to fund their operating expenses.

        1493. Moreover, if the Agera positions owned by Omnia and the loan due to Omnia were

valued prudently in its books for year-end 2018, the inconvenient truth would have rendered

Omnia insolvent in the midst of BMA scrutiny of PBLA, Northstar, and Omnia in May 2019. It

caused the same result for Northstar. Lindberg knew or fully understood these and similar facts

about the Debtors, suppressed their disclosure, and punished those within the Debtors who

attempted to challenge or remediate that falsity.

        1494. It was noted by Global Growth in that regard that the Duff & Phelps report received

in May 2019 had marked the Agera shares down by ninety-nine percent (99%) between December

2018 and March 2019, a fact known or understood by Lindberg.

        1495. The Agera and Yarrow Three transactions were proximate causes of PBIHL’s

damages.




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           Flagship Transactions

            1496. In an effort to plug the capital shortfalls from an anticipated write-down of Agera

in October 2018, the Senior Decision Makers decided to infuse $41,000,000 of preferred equity

from Flagship Holdings, LLC (“Flagship”)—a Lindberg Affiliate formed and existing in North

Carolina—into Omnia, PBIHL and PBLA.146

            1497. On November 21, 2018, Bostic advised Solow and Herwig, “we need [$]50-60

[million] of [preferred equity] to put into Omnia PBIHL by year-end,” to which Herwig responded,

“Can we use Flagship [preferred equity] then?” Bostic replied, “That should work for

Omnia/PBIHL.”

            1498. On November 26, 2018, Bostic provided Solow with a “writedown for Yarrow

Three and Bermuda AGH Parent assets,” commenting that “[$84 million] of the total need could

be accomplished with any sort of assets while the [$30 million] for PBLA, which has been

discussed previously, will take some mortgages/real estate/TVA bond, etc.”

            1499. In a responsive email, Solow asked, “[a]re there any solid asset[s] to use here other

than ASL Pref[erred] or SNA debt? Maybe Finazen Pref[erred]?” Herwig added, “Flagship

pref[erred]? Stradford [sic] debt? CCM [CC Mortgage] debt?”

            1500.




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      Wilmington Trust never acknowledged the preferred equity contributed to Omnia and PBIHL.
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        1501. Herwig—as of December 22, 2022, an admitted criminal fraudster—directed his

subordinates to fire up the printer. He responded, “Create some more then. Should be plenty of

equity at Flagship as far as I can tell.”

        1502. Solow then asked Eli Global investment analyst Henry Capants, “how much

cushion in the common Flagship do we have to issue pref[erred] based on your numbers for

Ares/Apollo?” Capants replied, “[a]round $500 [million].”

        1503. On December 7, 2018, Dawn Mota (“Mota”)—GBIG Offshore Controller—acting

for Omnia, emailed Solow, Bostic and Boug advising, that “[t]he Omnia capital position is actually

okay,” and asking whether they “still plan on an additional contribution to both Omnia and PBLA

even though they aren’t below capital requirements?”

        1504. Bostic responded, “if [Omnia and PBIHL] are in an adequate capital position then

no we would likely not contribute assets. I thought as of an earlier email you sent that they both

could only stand a writedown of roughly [$5 million] or so before needing additional capital?”

        1505. Mota replied:

                PBIHL needs capital to the tune of $40ish million. Current capital
                position for PBIHL is -$30 [million]. Still not clear with the BMA
                what the capital requirements will be since the entity is unlicensed.
                Omnia does not need capital. I was using a draft June 30
                management accounts to estimate, adjusting only for the writedown
                (assuming no other movements in the financials), but once they
                updated for Q3, reserves decreased more than the assets, so we
                actually ended up ok capital wise. [sic]
        1506. Bostic then requested “a final number on how much we need to put into Omnia and

PBIHL,” and Mota advised:

                PBIHL has enough capital, but I thought you said you had to do an
                infusion to keep the 105%? So I will leave that up to you. We also
                have to run some sensitivities should the BMA not approve the
                change from [Edward Jones] to HR [Ratings] (shouldn’t be an issue,
                but we should be prepared).
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                For Omnia, the 9/30 capital position was $9 [million], so another $1
                [million] to get us to $10 [million]. PBIHL also needs to be made
                whole again. Our capital position in the draft 9/30 management
                accounts is -$30 [million], with the loss on Agera at -$44 [million].
                We don’t have a required capital calculation right now (we are
                waiting for BMA to give us guidelines since the entity is
                unlicensed), but I think it’s safe to say we need to fix the negative
                capital position. [sic]
        1507. Bostic replied, “Ok so $1 [million] at Omnia and $30 [million] at PBIHL will cover

it?” Mota responded, “[$1 million] at [O]mnia. I think $30 [million] at PBIHL is going to only

give equity of nil. So I’d plan on covering the whole loss to make the company whole again ($44

[million]). [sic]”

        1508. Bostic then emailed Solow asking, “So do we just do $31 [million] of Flagship

[preferred] (plus the $10 [million] going to PBLA) for now?”

        1509. Solow responded, “I guess so. Did Chris [Herwig] mention where the Flagship

[preferred] was coming from?”

        1510. Bostic replied, “We’re just creating it right? Since there is room for [preferred].”

        1511. Solow responded, “I guess so. It was going to be tight, but we might get Christa

[Miller] comfortable with 30 [million] more.”

        1512. Portions were created and later sold (to Lindberg Affiliates) to fund the pending

surrenders and redemptions on the rise at Omnia and PBIHL.

        1513. As of December 31, 2018, AFA, having merged with Atlas Financial Investments,

LLC (“AFI”), held 84% of the preferred membership interests in Flagship.

        1514. On February 19, 2019, AFA executed a Membership Interest Contribution

Agreement, whereby AFA contributed 100% of its interest in Flagship to AFA. Immediately

thereafter, Flagship contributed 100% of its interest to Global Growth.

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        1515. This pattern continued as such:

                a.     Lindberg contributed 100% of his interest to PBX Holdings;

                b.     PBX Holdings then contributed 100% of its interest to PBX Bermuda;

                c.     PBX Bermuda then contributed 100% of its interest to PBLA; and

                d.     PBLA then contributed 100% of its interest to the PBLA ULICO Trusts.

        1516. There was no consideration for this exchange. On April 5, 2019, an employee of

AON—the Debtors’ third-party actuary—emailed Bostic asking:

                The Flagship Holdings, as I could not trace any outflow in 2018
                given that this was just entered into in 2019 with effective date of
                2018 I could deduce that this was intended to be recognized as a
                liability in 2018 as counterpart for the investment entry. For
                subsequent to yearend procedure, can you please provide support for
                the cash outflow in respect of the $ 1 [million] interest contribution?

                Also, we would need the supporting third party valuation for the
                market values of MBW and Yarrow. Is this forthcoming?
        1517. Bostic responded, “[t]he Flagship positions were contributed to PBLA, Omnia, and

PBIHL in exchange for [preferred] equity in the entities’ parent companies. So no cash outflow.”

        1518. Bostic expanded in a later email, “The shares were exchanged into PBX Holdings

in exchange for preferred equity of PBX Holdings. The shares were then contributed down the

chain to PBLA and also to the PBLA ULICO Trusts. This was to recapitalize these entities after

the Agera writedown. There was no cash consideration.”

        1519. Herwig and Solow both appeared for 2004 Examinations in November 2022. When

asked about the Flagship transaction, Solow invoked his privilege against self-incrimination

provided in the Fifth Amendment to the United States Constitution, and Herwig answered that he

did not remember.




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        1520. The “capital injection” into Omnia failed to ameliorate its insolvency. Even after

the “capital injection,” Omnia was unable to pay its surrenders as they came due, evidenced by the

fact that it needed to sell off the Flagship preferred equity that it received as a “capital injection”

to other Lindberg affiliates to pay surrenders.

        1521. The “capital injection” was a ruse to mislead the BMA, with the Flagship preferred

equity used to artificially inflate the asset value of Omnia and PBIHL to keep both entities balance

sheet solvent on paper, and to keep the entire Lindberg scheme afloat in the United States.

        1522. The Flagship transactions concerning PBIHL alleged herein all were conceived,

structured, and executed from the United States, principally if not exclusively from headquarters

offices maintained by Lindberg and used by the Senior Decision Makers in North Carolina. PBIHL

cash was transferred at the direction or consent of Lindberg and the Senior Decision Makers into

bank accounts maintained by the involved Lindberg Affiliates in banks and similar financial

institutions in the United States. These included, inter alia, scores of wire transfers, emails,

telephone calls, and similar repeated uses of the wires and radio frequencies within the United

States to advance and perpetuate an ongoing scheme to defraud by means of false or fraudulent

pretenses. The damage to PBIHL and its policyholders and similar stakeholders from the wrongs

alleged manifested substantially in North Carolina, inter alia, the place where the substantial

majority of the liquid assets maintained by PBIHL for itself and the benefit of its policyholders

and stakeholders was diluted, devalued, or disappeared, including wrongfully into the Personal

Expense Companies and the pockets of Lindberg and his Senior Decision Makers.

       PBIHL’s Insolvency

        1523. Since as early as July 2017, PBIHL experienced liquidity issues due to the Agera

overconcentration.


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        1524. Between July 2017 and December 2018, PBIHL’s available cash positions held

with Wilmington Trust decreased ninety-two percent (92%), dropping from $12,340,472 to

$1,029,603. During this time, Lindberg and the Senior Decision Makers liquidated PBIHL’s

United States Treasury Bonds and other corporate bonds, reducing PBIHL’s stable, liquid assets

from $8,852,268 to $143,469.

        1525. As of April 2018, PBIHL was unable to pay its obligations as they became due,

primarily consisting of surrenders by policyholders or owners of similar financial products. PBIHL

was insolvent by no later than April 2018, and was only able to continue operations because its

affiliate Northstar began paying its bills.

        1526. According to the current books and records available to the JPLs, as of December

2018, PBIHL was balance sheet insolvent, in that it had a debt-to-equity ratio of -3.76 – a clear

indication of insolvency.

        1527. Although Lindberg and the Senior Decision Makers determined that PBIHL needed

a capital injection of $44 million to make PBIHL “whole again,” there is no evidence that any

capital was contributed to PBIHL. As a result, PBIHL continued to fail to meet its obligations to

policyholders as they became due.

        1528. In May 2019, PBIHL failed to pay a $1.2 million surrender that was due on May

16, 2019 because of the lack of liquidity.

        1529. In June 2019, Miller advised Lindberg and the Senior Decision Makers that PBIHL

had a pending $2.9 million surrender that it was unable to pay.

        1530. On August 28, 2019, Miller advised Lindberg, “I just got off of a phone call with

Bermuda. They have the following current funding requests related to surrenders – Northstar $3




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million this week and $3 million within the next couple weeks; PBIHL $4 million; Omnia $4

million… We obviously do not have the necessary liquidity to meet these needs.”

   IX.      Representative Transactions Causing Harm to Omnia
         1531. Omnia was acquired by Lindberg in 2017, a wholly-owned subsidiary of PBX

Bermuda, which in turn is wholly-owned by PBX Holdings. Lindberg held 100% ownership in

PBX Holdings, and thus was the sole beneficiary.

         1532. Within the first four months of the acquisition, Lindberg, the Senior Decision

Makers, and the Global Growth investment team liquidated the bonds of Omnia, and within nine

months the remaining alienable assets were liquidated.

         MBW Transaction

         1533. Within a couple of months after the acquisition of Omnia from Beechwood,

Lindberg and the Senior Decision Makers seemingly realized that Omnia’s policyholders were

surrendering faster than they had forecast. By the end of March 2018 Omnia’s liquid assets had

declined significantly and the remaining assets were highly illiquid and/or worthless. The AGH

Parent asset was impaired, under its Share Purchase Agreement with Beechwood, the Platinum

Partners Value Arbitrage Fund Limited (“PPVA”) asset then-held by Omnia would eventually be

returned to Beechwood, and the Yarrow Three transaction in January 2018, in particular, wiped

out a large portion of Omnia’s remaining immediate liquidity. According to the books and records

available to the JPLs, the PPVA asset was never returned.

         1534. As a result of the above and the capital requirements of the BMA, Omnia was in

need of a “capital injection” to support its solvency position as early as January 2018.

         1535. Dean Fisher, Vice President of Corporate Finance, Mergers & Acquisitions at

GBIG, estimated that a $7.3 million “capital injection” was needed to “top-up” Omnia’s Bermuda

Solvency Capital Requirement (“BSCR”), and proposed rounding the value up to $7.5 million.
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         1536. Stewart, in response, suggested that $10 million would be “more prudent . . . in case

the BMA takes a different position on the BSCR calc[ulation].”

         1537. Initially, the plan was to have GBIG Holdings loan $10 million to PBLA, which

then issued a $10 million surplus note to Omnia. However, Stewart suggested instead that GBIG

Holdings send the $10 million in funding to Omnia directly, “and then get the documents done and

backdated.” As Fisher explained, “[i]t’s just nice to start the [conversation] with the regulator with:

‘the money is in there now, here’s our structure…’” On January 31, 2018, Fisher emailed Lindberg

explaining:

                  We’ve learned that structuring the injection as a Tier 2 Subordinated
                  Note and Tier 3 Subordinated Note will allow us to backdate to
                  12/31. The Tier rules that Brian [Stewart] mentioned below would
                  allow us to count $6.5m New Tier 2 and $3.0m New Tier 3 = $
                  9.5m new capital towards our solvency [calculation] as of
                  8/31/17….
         1538. Lindberg approved the transaction, and on February 2, 2018, White directed a wire

transfer of $9,500,000 million from GBIG Holdings’ North Carolina’s Wells Fargo Account [No.

               ]147 account to Omnia’s Delaware Wilmington Trust Account [No.                                 ].148

         1539. The infusion was given less than a week to rest before it was moved.

         1540. Less than one week later, in effectuating the directives of the Senior Decision

Makers in North Carolina, Grant Powley (“Powley”), directed over $4,000,000 of the $9,500,000

million in capital received by Omnia be used to purchase preferred equity in MBW Interco, LLC

(“MBW”), another Lindberg Affiliate formed and existing in North Carolina.




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    At the time of this transaction, the Wells Fargo Account was in the name of Southland National Holdings Inc., now
known as GBIG Holdings LLC. For ease of reference in this Amended Complaint, all accounts previously held in the
name of Southland National Holdings Inc. are referred to as GBIG Holdings’ accounts.
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    Federal Wire Transfer No. 03098; Srf# Gw00000010358365; Trn# 180202077457; Rfb# 9632.
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        1541. The funds from Omnia, along with additional funding from HAM, JAM, and

ICAM, were to be used to fund MBW’s acquisition of McCarthy, Burgess & Wolff, Inc.

(“McCarthy”)—an Ohio-based debt collection agency.

        1542. As explained in the underwriting for this transaction—prepared three weeks after

the funds had already been transferred, and backdated to February 2, 2018:

                An additional $4,118,741 of preferred equity is being injected into
                the balance sheet via Omnia, Ltd, a Bermuda based insurance
                company under the Eli Global corporate umbrella. Omnia has excess
                capital on their balance sheet, resulting in the deployment of said
                capital into the MBW transaction. Omnia’s preferred shares are
                restricted securities and cannot be sold, transferred or otherwise
                disposed of unless they are subsequently registered under the
                Securities Act or an exemption from the registration is available.
        1543. However, the Closing Instructions for this transaction—dated February 9, 2018,

and signed by Lindberg and Solow on behalf of MBW—tell a different story. As is relevant here,

the closing instructions provide:

                6. Greg [Lindberg] to approve [Wilmington Trust] to send
                $1,926,156 from Omnia Ltd. to [Steida Holdings, Inc.] for stock
                purchase.

                7. Greg [Lindberg] to approve [Wilmington Trust] to send
                $1,731,108 to SICL for M&A Advisory Fees from Omnia, on behalf
                of MBW Interco.

                8. Greg [Lindberg] to approve [Wilmington Trust] to send
                $461,476.88 to Hutchinson PNC Trust for ($153,825.63 each)
                origination fee from Omnia, on behalf of MBW Interco.
        1544. On February 12, 2018, Herwig directed the transfer of $4,118,740.88 in liquid

capital from Omnia’s Delaware Wilmington Trust Account [No.                  ] for the purchase of

“preferred equity”. Specifically, Omnia wired:

                    $1,926,156 to Steida Holdings, Inc.’s (“Steida”) New York Bank of America
                     Account [No.             ];

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                       $1,731,108 to SICL’s North Carolina Wells Fargo Account [No.
                                   ];149 and

                       $461,476.88 to Hutchison’s PNC IOLTA Account [No.                ].

            1545. Of the $4,118,741.88 in preferred equity Omnia was purportedly purchasing, all

the funds were being diverted to other sources. Moreover, available records do not establish a basis

for the number of shares to be purchased.

            1546. The $1,926,156 wired to Steida—formed and no longer existing in Ohio—was for

its preferred equity in MBW. As to the remaining funds, Omnia was required to pay to SICL

$1,731,108 in M&A Advisor Fees. These fees far exceed any fee reasonably resulting from

services purportedly performed by SICL, especially for the purported benefit to Omnia, which is

none because upon information and belief, SICL did not perform any services for Omnia. The

JPLs have not identified any agreements between Omnia and SICL identifying what services, if

any, were actually rendered to Omnia to warrant payment of these fees.

            1547. Omnia was also required to pay to Hutchison $461,476.88 in “origination fees,” on

February 12, 2018 which were quickly redirected on February 13, 2018 to: HAM’s Alabama

Regions Custodial Account [No.                      ]; JAM’s Alabama Regions Custodial Account [No.

                ]; and ICAM’s Alabama Regions Custodial Account [No.                     ], in equal

payments of $153,826, again, with no clear benefit to Omnia.

            1548. Throughout 2018 and 2019, Omnia policyholders continued to submit contract

surrenders, requiring liquidity which Omnia did not have, even after the February 2018 “capital

injection.”




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      Federal Wire Transfer No. 01475; Srf# 180212004364000; Trn# 180212098044.
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         1549. Given the immediacy of the need to pay the surrenders, Omnia on several occasions

had to resort to using earned income to fund surrenders, and ultimately resorted to selling portions

of the newly acquired MBW preferred equity in and around September 2018, and in October 2019.

         1550. On August 29, 2018, Stacey Orndoff (“Orndoff”)—Treasurer of GBIG—emailed

Lindberg and Herwig requesting approval to execute an intercompany wire transfer “to fund

policyholder disbursements.” Herwig approved, and Bostic promptly responded, “FYI this pretty

much clears out the cash we have there so will need to work on selling assets out of OMNIA.”

         1551. Solow, also on the correspondence, asked “Are any of them foreign? If so, it may

make sense to sell them to Northstar.” Bostic advised that the assets were “Agera, MBW

pref[erred], and Platimum hedge fund debt, [sic]” to which Solow responded, “Okay, so no good

options…”

         1552. On September 17, 2018, Orndoff again advised Bostic, “[w]e need to fund the

Omnia disbursements account again – another $2 [million].” Bostic and Solow ultimately

concluded that selling Omnia’s preferred equity in MBW would be “the best move based on value

going into the FinCo.” Accordingly, on September 19, 2018, Omnia and Paradise Asset

Management, LLC (“PAM”) executed a Membership Interest Transfer Agreement, whereby

Omnia transferred 46% of its preferred equity in MBW to PAM in exchange for $2,038,215.99.150

         1553. Omnia’s liquidity woes continued throughout 2019.

         1554. On July 17, 2019, Hawkins—a financial controller for Northstar—advised Miller,

“[w]e now have eleven (11) surrenders that cannot go out until we receive funding, totaling

$1,890,128.14.” Bostic ultimately decided to sell Omnia’s remaining preferred equity in MBW to

AFA in exchange for $1,800,000.


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  On September 19, 2018, Omnia received a wire from PAM in the amount of $2,038,215.99, into its Delaware
Wilmington Trust Account [No.       ].
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        1555. The original $9.5 million “capital injection” into Omnia, veiled under the guise to

cover its 2017 liquidity problem and assist with its inability to pay surrenders, was a ploy to

artificially infuse cash into Omnia to purchase more investments held in Lindberg Affiliates.

        1556. Even after the “capital injection,” Omnia was still unable to pay its surrenders as

they came due, evidenced by the fact that it (i) resorted to using company earned income to fund

these surrender payments and (ii) needed to sell off recently acquired preferred equity that it

purchased with the “capital injection” – the MBW preferred equity.

        1557. The “capital injection” was a ruse to mislead the BMA and put more cash into

Lindberg’s pockets, because it was used to purchase and infuse thousands of dollars into Lindberg

Affiliates.

        1558. The MBW and Yarrow Three transactions concerning Omnia alleged herein were

conceived, structured, and executed from the United States, principally if not exclusively from

headquarters offices maintained by Lindberg and used by the Senior Decision Makers in North

Carolina. Omnia cash was transferred at the direction or consent of Lindberg and the Senior

Decision Makers into bank accounts maintained by the involved Lindberg Affiliates in banks and

similar financial institutions in the United States. These included, inter alia, scores of wire

transfers, emails, telephone calls, and similar repeated uses of the wires and radio frequencies

within the United States to advance and perpetuate an ongoing scheme to defraud by fraudulent

means or false or fraudulent pretenses. The damage to Omnia and its policyholders and similar

stakeholders from the wrongs alleged manifested substantially within North Carolina and across

the United States, inter alia, the place where the substantial majority of the liquid assets maintained

by Omnia for the benefit of its reinsured and its policyholders was diluted, devalued, or




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disappeared, including into the Personal Expense Companies and the pockets of Lindberg and his

Senior Decision Makers.

        1559. The MBW transaction, as well as the Yarrow Three transaction reflected in VIII

above, were proximate causes of Omnia’s damages.

       Omnia’s Insolvency

        1560. As of September 2017, Bostic and Solow were aware that Omnia had liquidity

concerns because after Bostic attempted to “load up” Omnia with “nearly 100% AGH,” Solow

questioned whether that was viable given Omnia’s “liquidity concern.”

        1561. Several months later, on January 31, 2018, Matt Weeks—Director of Financial

Planning and Analysis of GBIG—advised Bostic and Solow that “Omnia [was] rapidly declining.”

        1562. Neither Bostic nor Solow, nor any other Senior Decision Maker, took any

appropriate actions to resolve or report Omnia’s liquidity issues.

        1563. Omnia’s solvency ratios demonstrate that Omnia held debt far in excess of its equity

capital given the over inflated AGH assets. As a result, Omnia should have been rendered balance

sheet insolvent as early as December 2017—had management been honest.

        1564. In August 2018, an ordinary surrender payment rendered Omnia cash flow

insolvent. On August 28, 2018, Bostic wrote to Herwig and Solow, advising “FYI this [the

surrender payment] pretty much clears out the cash we [Omnia] have there so will need to work

on selling assets out of OMNIA.”

        1565. On September 17, 2018, Orndoff sent an email to Bostic that Omnia was

experiencing cash flow issues: “We need to fund the Omnia disbursements account again – another

$2M…,” but Omnia was unable to pay this $2 million surrender because it lacked the cash to do




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so. Instead, Solow and Bostic devised a plan to sell Omnia’s preferred equity stake in MBW Interco

to another Lindberg-affiliated finance company.

        1566. As of September 2018, Omnia had $2,184,005 in cash assets held with Wilmington

Trust in Delaware. However, in October 2018, according to the current books and records available

to the JPLs, there was a ninety-one percent (91%) decrease in cash held, as Omnia’s cash position

dropped from $2,184,005 to $187,920. Apart from the investments in Lindberg Affiliated assets,

Omnia held no other liquid assets which would have been available to meet fixed policyholder

surrenders linked to the US assets.

        1567. As a result, Omnia lacked the liquidity to pay policyholders in the normal course

of business as obligations arose. On November 27, 2018, Omnia lacked the liquidity to pay a

$900,000 surrender by a policyholder, with Bostic emailing Miller, “We need to send $900k to

Omnia to generate cash there for a policy redemption.”

        1568. Lindberg, the Senior Decision Makers, and other Global Growth employees were

well aware that Omnia was experiencing liquidity issues and essentially rendered insolvent, but

failed to rectify the same in a reasonably prudent manner.

        1569. Omnia’s distress was exacerbated by the fact that the AGH—an entity formed and

existing in Delaware—Class B1 preferred equity shares were written down by eighty-one and one-

quarter percent (81.25%) in October 2018. According to the books and records available to the

JPLs, this was a write down in excess of $8,000,000.

        1570. On December 6, 2018, Mota sent an email to Bostic and Boug. She requested

direction to make Omnia’s balance sheet “whole” after the Agera write off: “Do you have a few

bullets on the strategy in Omnia and PBIHL to address the Agera shortfall? Maybe some more




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detail as to where we are in the process, what assets (or at least $ $ amount) we will be contributing

and where it will be coming from? [sic]”

        1571. Bostic answered, “We’ll be adding affiliated pref[erred] equity to make up for the

shortfall. The amount for each entity will be the amount of the Agera writedown [sic].” That

affiliated preferred equity was the Flagship transaction whereby Omnia received a $1,000,000

capital contribution of Flagship preferred equity, in a failed attempt to make up or disguise the

shortfall left by the Agera write down.

        1572. A further write down of the Agera asset was reflected in the valuation prepared by

Duff and Phelps in March 2019, which marked the shares down by ninety-nine percent (99%)

between December 2018 and March 2019.

        1573. Omnia’s liquidity and solvency issues persisted through 2019. In March 2019,

Omnia’s cash assets held at Wilmington Trust decreased by ninety-six percent (96%), dropping

from $187,920 to $7,920, making it impossible for Omnia to pay obligations as they came due.

        1574. In an effort to hide Omnia’s insolvency, on May 9, 2019 Boug proposed to

Lindberg a series of investments that would “(i) contribute illiquid affiliate assets to top up and

capitalize the entities; (ii) use the Keep Well [proposal sent to ULICO] concept to provide cash as

needed in exchange for return of the same amount of assets. This creates a solvent balance sheet

and only contributing the cash as needed.”

        1575. As alleged in detail, supra, Lindberg knew or fully understood these and similar

facts about the Debtors, suppressed their disclosure, and punished those within the Debtors who

attempted to challenge or remediate that falsity. The Senior Decision Makers similarly acted and

failed to act to prevent the Debtors to operate consistent with their business and legal obligations.




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   X.       Racketeering Enterprise
            RICO Defendants and Involved Persons & Entities
        1576. The Defendants specifically named as a Defendant to the RICO claims in this

Amended Complaint include the following persons and entities presently known to the Plaintiffs

(each a “RICO Defendant” and collectively, the “RICO Defendants”):

        Admitted Federal Felons, Fraudsters, and the Doubly Indicted Who Led & Owned the
        Enterprise.

        1577. Herwig, also a RICO Defendant, served as director of each of the Debtors from

their formation (in the case of PBLA) and their acquisition (in the case of the other Debtors) by

Lindberg through entities controlled and dominated by Lindberg. Sitting in his offices and acting

from other places in North Carolina, Herwig served as Lindberg’s right hand in the daily operation,

perpetuation, and advancement of the RICO Defendants’ systematic pillaging of each Debtor’s

liquid assets. Those liquid assets resulted directly from the insurance premium payments or

comparable financial contributions that were accepted and held by each Debtor for the benefit of

persons insured, insurance obligations reinsured, and investment promises – such as the return on

an annuity – made to stakeholders in each Debtor for the Debtors’ promise to pay the obligation.

As alleged throughout this Amended Complaint, each Debtor’s liquid assets intentionally were

redirected with the leadership and direction of Herwig and his co-conspirators for misuse in the

racketeering Enterprise (defined below) that Lindberg, Herwig, and the other RICO Defendants

operated with the assistance of the Facilitating Persons (defined below) to defraud the Debtors,

their policyholders, and their similar stakeholders. The racketeering Enterprise caused well more

than $500 million of liquid assets to be diverted or stolen from the Debtors and their policyholders

and similar stakeholders, and adversely modified the economic terms of over $1 billion of debt

and preferred equity held by the Debtors and the PBLA ULICO Trusts. Each Debtor has been

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rendered insolvent. Each Debtor’s policyholders and similar stakeholders have been left to any

remedy attainable through this lawsuit and related proceedings in liquidation in Bermuda.

        1578. Herwig on December 22, 2022 pled guilty to Conspiracy to Defraud the United

States, including the underlying federal crimes of wire fraud, money laundering, and investment

advisor fraud, among other crimes, set forth in the December 19, 2022 Bill of Information. See

United States of America v. Christopher Herwig, 3:22-cr-314-MOC (W.D.N.C. 2022) [ECF Nos.

3, 10]. That admitted criminal conspiracy – one led by Herwig, Solow, and Lindberg, and aimed

at deceiving and defrauding insurance regulators and policyholders as detailed and expressed in

the Bill of Information – connects directly with the racketeering Enterprise that defrauded and

injured each Debtor and its policyholders and similar stakeholders set forth in this Amended

Complaint. Herwig’s sentencing remains deferred pending, inter alia, the results from his

agreement to provide truthful evidence and to cooperate with the federal government in its ongoing

criminal prosecutions of Lindberg. The allegations in those criminal proceedings in which Herwig

made his agreements with the government all connect with or relate to the racketeering Enterprise.

        1579. Herwig on July 3, 2023 additionally entered into a consent judgment against

himself in the SEC Lawsuit a civil regulatory enforcement action brought by the SEC [ECF No.

49]. That consent judgment, accepted by the Court, relates directly to the racketeering Enterprise

operated, advanced, and perpetuated by Herwig, the RICO Defendants, and the Facilitating

Persons (defined below), to the direct harm of the Debtors. As one example, the repurchase

agreement (“Repo”) transactions involving PBLA alleged in this Amended Complaint, supra, are

at the core of the allegations and claims in response to which Herwig consented to judgment. See,

e.g., SEC Lawsuit Complaint [ECF No. 1, ¶¶ 90-111]. Herwig also repeatedly and intentionally

deceived and acted fraudulently from April through at least September 2019 to the BMA and its


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representatives in the negotiation and attempt to bind the Debtors and their assets to the MOU and

IALA as part of the racketeering enterprise to the direct harm of the Debtors, their policyholders,

and their similar stakeholders as alleged in this Amended Complaint.

        1580. Solow, also a RICO Defendant, sitting in his offices and acting from other places

in North Carolina, served as Herwig’s right hand in the daily operation, perpetuation, and

advancement of the racketeering Enterprise’s systematic pillaging of each Debtor’s liquid assets

and as the internal architect and chief operating engineer of the racketeering Enterprise. Those

liquid assets resulted directly from the insurance premium payments or comparable financial

contributions that were accepted and held by each Debtor for the benefit of persons insured,

insurance obligations reinsured, and investment promises – such as the return on an annuity – made

to stakeholders in each Debtor for the Debtors’ promise to pay the obligation. As alleged

throughout this Amended Complaint, each Debtor’s liquid assets intentionally were redirected at

the direction of Solow and his co-conspirators for misuse in the racketeering Enterprise that

Lindberg, Solow, and the other RICO Defendants, and the Facilitating Persons (defined below)

operated to defraud the Debtors, their policyholders, and their similar stakeholders. The

racketeering Enterprise caused well more than $500 million of liquid assets to be diverted or stolen

from the Debtors and their policyholders and similar stakeholders, and adversely modified the

economic terms of over $1 billion of debt and preferred equity held by the Debtors and the PBLA

ULICO Trusts. Each Debtor has been rendered insolvent. Each Debtor’s policyholders and similar

stakeholders have been left to any remedy attainable through this lawsuit and related proceedings

in liquidation in Bermuda.

        1581. Solow on December 19, 2022 was charged with Conspiracy to Defraud the United

States, including the underlying federal crimes of wire fraud, money laundering, and investment


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advisor fraud, in a Bill of Information comparable in its content to Herwig’s Bill of Information,

including the same underlying conspiracy to defraud insurance regulators and policyholders led

by Herwig, Solow, and Lindberg. See United States of America v. Devin Solow, 3:22-cr-315-MOC

(W.D.N.C. 2022). Like Herwig’s Bill of Information, that criminal conspiracy connects directly

with the racketeering Enterprise that defrauded and injured each Debtor and its policyholders and

similar stakeholders. Id. [ECF No. 3]. Solow entered into a Deferred Prosecution Agreement with

the United States on January 23, 2023. Id. [ECF No. 8]. In it, he admitted guilt to Conspiracy to

Defraud the United States and all underlying crimes in exchange for deferred prosecution and his

promise of full cooperation with the federal government’s ongoing investigation. Id.

        1582. Lindberg, also a RICO Defendant, above all others conceived, led, and perpetuated

the racketeering Enterprise, principally sitting in his offices and acting from other places in North

Carolina. As the lead among the RICO Defendants, Lindberg claimed the lion’s share of the spoils

stolen by and through its frauds, schemes, and artifices for himself. Lindberg, once convicted by a

jury and the beneficiary of a reversal on appeal due to an objectionable jury instruction, presently

is awaiting retrial scheduled for November 6, 2023 before the United States District Court for the

Western District of North Carolina on an indictment originally unsealed in 2019 alleging that he

attempted to bribe then, and current, NCDOI Insurance Commissioner Causey in violation of 18

U.S.C. § 1349 [Conspiracy to Commit Honest Services Wire Fraud]; 18 U.S.C. § 666(a)(2)

[Bribery Concerning Programs Receiving Federal Funds]; 18 U.S.C. § 1001(a)(2) [False

Statements]; 18 U.S.C. § 2 [Aiding and Abetting].

        1583. Within approximately ninety (90) days from the completion of the trial in that

criminal case, Lindberg is scheduled to be tried before the same federal District Court as a result

of an indictment unsealed on February 23, 2023 alleging that he conspired to defraud the United


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States, engaged in numerous instances of wire fraud, false insurance business statements presented

to regulators, false entries about the financial condition or solvency of an insurance business, and

money laundering conspiracy, all directly connected with and relating to his wrongful acts

amounting to racketeering causing damage to the Debtors from and within the United States as

alleged further in this Amended Complaint in violation of 18 U.S.C. § 371 [Conspiracy]; 18 U.S.C.

§ 1343 [Wire Fraud]; 18 U.S.C. § 1033(a) [False Insurance Business Statements Presented to

Regulators]; 18 U.S.C. § 1033(c) [False Entries about the Financial Condition or Solvency of an

Insurance Business]; 18 U.S.C. § 1956(h) [Money Laundering Conspiracy], with the fact

allegations and crimes charged all connected with and relating to the racketeering Enterprise that

caused and contributed to the decimation of each Debtors’ legitimate insurance and financial

services and reinsurance businesses from their formation (in the case of PBLA) in 2017 and their

acquisition, domination, and decimation of the other Debtors’ businesses by Lindberg from their

respective dates of acquisition.

         1584. Lindberg additionally is the remaining principal defendant the SEC Lawsuit, which

among its allegations extensively involves and addresses the fraudulent Repo transactions

involving PBLA that were part of the racketeering Enterprise. This is the same action in which

RICO Defendant Herwig already has consented to a judgment against himself, as established,

supra.

         1585. RICO Defendants Lindberg, Herwig, and Solow, each when examined pursuant to

Rule 2004 Orders issued by this Court and while under oath, invoked his Fifth Amendment

privilege against self-incrimination in response to scores of material questions posed concerning

the Representative Transactions alleged, supra, and repeatedly in response to questions pertaining

to material aspects of each Debtor and the respective wrongful acts and omissions pertaining to


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that Debtor. The facts asserted throughout this Amended Complaint repeatedly note the

invocations, and the facts and Fifth Amendment invocations apply to the racketeering Enterprise

and RICO claims alleged in this Amended Complaint. Adverse inferences therefore are appropriate

with respect to the RICO allegations and claims.

        1586. The proceeds from the proposed transactions would have inured to the benefit of

Debtors and other Lindberg Affiliates damaged by the racketeering Enterprise. Lindberg refused

his consent because he sought greater cash payments to him, or in respect of his personal interests,

among other things as a consequence of Lindberg’s wrongly self-interested position relieving the

Debtors of any obligation to mitigate their damages or reducing that obligation.

       Co-Conspirators with the Felons and the Indicted in the Racketeering

        1587. Bostic, also a RICO Defendant, repeatedly and without question found ways to

implement fraudulent transactions, paper circular transactions, and conjure pretexts to justify

dispositions of the Debtors’ liquid assets for illiquid and nearly valueless or actually valueless

“assets,” among other wrongs, sitting in his offices and acting from other places in North Carolina.

Bostic’s acts with respect to the Debtors as alleged in this Amended Complaint nearly all were

done to advance the ongoing scheme of the racketeering Enterprise to defraud the Debtors, their

policyholders, and their similar stakeholders.

        1588. As indicated, supra, among the more egregious wrongs perpetrated or advanced by

Bostic was the decision with Solow to print, i.e., falsely issue, more Flagship stock to swap it with

the liquid assets of a Debtor in an otherwise fraudulent transaction, and his extensive efforts to

deceive and eventually circumvent outside counsel’s stated doubts about another fraudulent

transaction involving a Debtor.




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        1589. Bostic during the Rule 2004 examination ordered by this Court, as indicated, supra

and infra, consistently and inappropriately (e.g., whether he attended college) invoked his Fifth

Amendment privilege against self-incrimination and declined to answer material questions posed

to him concerning his involvement with the Debtors’ business. Adverse inferences are appropriate

with respect to the RICO allegations and claims in this Amended Complaint for the same reasons

they are with RICO Defendants Herwig, Solow, and Lindberg.

        1590. Miller, also a RICO Defendant, nominally served as Chief Financial Officer for

Global Growth from March 2018 and into September 2019. The title assigned to her was not a

limitation. Miller consistently acted from offices assigned to her and other locations in North

Carolina to advance and perpetuate the scheme to defraud the Debtors, their policyholders, and

their similar stakeholders, including as her participation in that scheme and the racketeering

Enterprise is alleged in the Representative Transactions, and relating to the negotiation and

application of the MOU and IALA to the Debtors. Miller repeatedly accepted and repeated the

proposition with respect to liquid reserves held by the Debtors for the benefit of their insureds and

stakeholders that anything was permissible because “it was all Greg’s [Lindberg’s] money in any

event,” or words to that effect. She even expressly accepted frauds in furtherance of the

racketeering Enterprise with observations such as that she wished that her “calculator did Greg

[Lindberg] math.”

        1591. Herwig, Solow, Lindberg, Bostic, and Miller knowingly agreed to and participated

in the racketeering Enterprise.

       Other Members and Associates of the Racketeering Enterprise

        1592. Those entities through which the individual RICO Defendants repeatedly acted,

eventually corrupting and co-opting each entity, are themselves RICO Defendants.


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        1593. Global Growth, identified more fully supra at paragraph 1, is a corporation formed

and existing under the laws of the State of North Carolina during the operation of the racketeering

Enterprise as it affected each Debtor, is the ultimate holding company of the OpCos (defined

below), FinCos (defined below), Corporate Service Entities (defined below), and Portfolio

Companies (defined below). Cash and assets wrongly taken from the Debtors typically flowed first

to Global Growth’s domestic United States bank accounts after instructions given by an individual

RICO Defendant from North Carolina to a Facilitating Person (defined below) to cause the

necessary acts. The Debtors’ cash or equivalent liquid assets then were distributed within and

outside the racketeering Enterprise, often on an ad hoc basis according to a subjective

determination having minimal connection to the initially documented transaction and purpose.

First recipients of the Debtors’ wrongly taken cash and assets inside and outside the racketeering

Enterprise included the OpCos (defined below), FinCos (defined below), Corporate Service

Entities (defined below), Personal Expense Companies (defined below), and Portfolio Companies

(defined below).

        1594. The following entities, which purported to transact with a Debtor in one or more of

the Representative Transactions also are RICO Defendants:

          Academy Financial Assets, LLC           Global Growth Holdings, Inc.
          Agera Energy, LLC                       Hampton Asset Management, LLC
          Atlanta TopCo Limited                   Hutchison PLLC
          Atlas Financial Investments, LLC        Hampton Asset Management, LLC
          Beaufort Holding S.A.                   Iron City Asset Management, LLC
          Capital Assets Fund I, LLC              Jackson Asset Management, LLC
          Capital Assets Management II, LLC       Paradise Asset Management, LLC
          Damovo Deutschland GMBH & Co.
                                                  Standard Financial Limited
          KG
          Daisy Seven, LLC                        Standard Investment Capital Limited
          Geranium Two, LLC                       Steida Holdings, LLC
          GBIG Holdings, LLC                      Triton Financial Limited

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        1595. GBIG Holdings engaged frequently in sham transactions involving the Debtors

which individual RICO Defendants and Facilitating Persons (defined below) often used to further

the racketeering Enterprise.

        1596. The entities identified in this paragraph are a “Company Borrower,” or if more than

one or all of them “Company Borrowers.” The Company Borrowers are RICO Defendants. Each

has an unsatisfied obligation, or more than one, to a Debtor from a loan extended to it, or from a

Debtor’s acquisition of preferred equity issued by the Company Borrower and received by a

Debtor through one or more transactions directed by one or more of the individual RICO

Defendants and Facilitating Persons involved by the involved individual RICO Defendant(s), or

as a consequence of his or her direction. The Company Borrowers include:

          Academy Financial Assets, LLC           Global Growth Holdings, Inc.
          Agera Energy, LLC                       Hampton Asset Management, LLC
          Atlanta TopCo Limited                   Hutchison PLLC
          Atlas Financial Investments, LLC        Hampton Asset Management, LLC
          Beaufort Holding S.A.                   Iron City Asset Management, LLC
          Capital Assets Fund I, LLC              Jackson Asset Management, LLC
          Capital Assets Management II, LLC       Standard Financial Limited
          Damovo Deutschland GMBH & Co.
                                                  Standard Investment Capital Limited
          KG
          Daisy Seven, LLC                        Steida Holdings, LLC
          Geranium Two, LLC                       Triton Financial Limited

        1597. AFA is a Portfolio Company owned by Lindberg. Individual RICO Defendants and

Facilitating Persons (defined below) often used AFA to further the racketeering Enterprise.

        1598. The Personal Expense Companies, defined and identified supra at paragraph 13,

footnote 4, also are RICO Defendants. The Personal Expense Companies received as a

consequence of the Enterprise’s racketeering millions of dollars of cash wrongly taken by

individual RICO Defendant Lindberg for his personal enrichment, with the proceeds ordinarily

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laundered through an entity in the racketeering Enterprise as cash originating at the recipient entity

through a transaction conceived and executed by one or more of Lindberg and individual RICO

Defendants Herwig, Solow, Bostic, and Miller. These Personal Expense Companies included:

          American Yacht Charters, LLC              First International Financial, LLC
          Apex International, LLC                   New Hill Asset Management, LLC
          Dunhill Holdings, LLC                     South Hill Holdings, LLC
          Englert Holdings, LLC                     Unit 77, LLC

        1599. Certain operating companies (the “OpCos”) received from the individual RICO

Defendants and Facilitating Persons through the racketeering Enterprise cash taken from the

Debtors’ held as policyholder reserves, and cash held by the Debtors from the investments of their

similar stakeholders in OpCos. The cash caused by the individual RICO Defendants and

Facilitating Persons to be directed – often through the Special Purpose Vehicles (“SPVs”),

Financing Companies (“FinCos”) and/or Global Growth portfolio companies (“Portfolio

Companies”) – resulted in the return to the Debtors of participation in all or parts of loans extended

by the SPVs, FinCos, or Portfolio Companies or the acquisition through the SPVs, FinCos or

Portfolio Companies of preferred equity interests. The loans were made to, and preferred equity

interests issued by, other businesses owned or ultimately controlled by Lindberg, or for the

acquisition of one or more of those businesses. The racketeering Enterprise through these

transactions with the Debtors’ cash – transactions in which Lindberg, Herwig, Solow, Bostic, and

Miller inevitably extracted a fee or received an entitlement to a bonus for their involvement and

consent – often were given a patina of legitimacy by the involvement of the Hutchison law firm

and the blessing of a ratings agency based in Mexico with a disclaimer that its views were as good

as the information provided to it by what ultimately was the racketeering Enterprise controlled and

operated by the individual RICO Defendants. Among the frauds in the scheme, the racketeering


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Enterprise replaced the OpCo’s operating risk and reduced its costs with the Debtors’ cash and

collected an unearned fee for it. These OpCos, SPVs, FinCos and Portfolio Companies included:

                                           OpCos
          Alta Billing, LLC                  Harvard Collection Services, Inc.
          Arrevio, LLC                       Integrity EMR, LLC
          ASIM CE, LLC                       IMW EMR, LLC
          BCC Research, LLC                  MBW Interco, LLC
          CAPLOC, LLC                        McCarthy, Burgess & Wolff, Inc.
          Century Vision Global, LLC         Medflow Holdings, LLC
          CMC Holding Company, LLC           Paradigm Park Holdings, LLC
          GBIG Holdings, LLC                 Triton Financial Limited
          Global Health Technology Group, SN Malta Services Limited
          LLC
                                           SPVs
          Daisy Seven, LLC                   Geranium Two, LLC
                                          FinCos
          Capital Assets Fund I, LLC         Jackson Asset Management, LLC
          Capital Assets Fund V, LLC         Lilly Asset Management, LLC
          Capital Assets Management II, LLC Marshal Asset Management, LLC
          Hampton Asset Management, LLC      Paradise Asset Management, LLC
          Iron City Asset Management, LLC    Tybee Island Asset Management, LLC

                                      Portfolio Companies
          Agera Holdings, LLC                    Pelton Group, LLC
          Alpine Capital, LLC                    SNA Capital, LLC
          Atlas Financial Investments, LLC       Standard Life Holdings Limited
          Beaufort Holding S.A.                  Standard Financial Limited
          Carolina Longevity Institute, LLC      Talent Acquisition Innovation, LLC
          Damovo Deutschland GmbH & Co.
                                                 UK Atlanta Holdings, LLC
          KG
          GB Capital, LLC                        UK Atlanta Holdings, LLC
          Global Mortgage Capital Holdings,
                                                 UKAT Interco Limited
          LLC
          Metronome Financial, LLC               Yaras Group, LLC

        1600. Certain Global Growth corporate service entities (the “Corporate Service Entities”)

received from the individual RICO Defendants and Facilitating Persons through the racketeering

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Enterprise cash taken from the Debtors’ held as policyholder reserves, and cash held by the Debtors

from the investments of their similar stakeholders to often pay for merger and acquisition advisory

services the Debtors never received. These Corporate Service Entities included:

        Eli Research, LLC                          Standard Investment Capital Limited
        GB Capital, LLC                            Standard Malta Holdings Limited
        Standard Advisory Services Limited

       Facilitating Persons

        1601. Additional persons, not named as RICO Defendants in this Amended Complaint,

facilitated, assisted, and furthered the fraudulent scheme set forth more fully, supra, and

summarized, infra. Each person is listed below, and is a “Facilitating Person,” with more than one

referred to as “Facilitating Persons.”

    Paul Brown               Vandana Gupta        Carson McGuffin        Brian Stewart
    Roy Burnett              Krishnan Harihara    Dawn Mota              Mark Sullivan
    Henry Capants            Lou Hensley          Peter Nordberg
    Sharath Chandra          Dave Hersom          Stacey Orndoff         Matt Weeks
    Rajan Chopra             Taft Husley          Isha Pathak            Jennifer Westerlund
    Clint Dobson             Surinder Jain        Grant Powley           Sandi White
    Lio Drian                Poonam Jindal        Alan G. Regdos II      Lisa Wurthmann
    Tamre Edwards            Greg Johnson         Lauren Rinebold        David Young
    Dean Fisher              Vipin Kumra          Will Romero
    Jeremy Freifeld          Matt Lane            Sulkhaymie Saripulla
    Robert "Bo" Gaddy        Yolanda Liu          Rahul Sharma
    Shannon D.
                             George Luecke        Brian Smith
    Gamber
    Kristi Gilbaugh          Jamie Lumsden        Casey Smith

            RICO Predicate Acts

       (i) Wire Fraud in Violation of 18 U.S.C. § 1343.

        1602. The RICO Defendants, willfully and knowingly and with the intent to defraud,

having devised a scheme and artifice to defraud and for obtaining money and property by means




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of materially false and fraudulent pretenses, representations, and promises, and by concealment of

material facts, participated in a scheme to defraud the Debtors.

        1603. The racketeering allegations set forth in this Amended Complaint – including the

indictments and admitted felonies of the three (3) of the five (5) RICO Defendants and potentially

on information and belief another of them, and the Representative Transactions directly connected

with those criminal activities – extensively show the scheme and artifice to defraud Debtors. These

allegations specifically include, without limitation, the following:

       Indictments and Admitted Felonies in Connection with the Scheme to Defraud

                (a) Herwig’s December 2022 Bill of Information and corresponding guilty plea,
                detailed supra at ¶¶ 11, 46-49, in which he admitted guilt to conspiracy to deceive
                and defraud the United States government, including the underlying crimes of wire
                fraud, money laundering, and investment advisor fraud, among other crimes, all
                directly connected with and relating to the racketeering conspiracy and enterprise
                alleged in this Amended Complaint.

                (b) Herwig’s July 3, 2023 agreement to a consent judgment against himself in the
                SEC Lawsuit detailed supra at ¶¶ 36, 1579, under which Herwig admitted fault and
                accepted responsibility, including permanent injunctive relief and disgorgement of
                ill-gotten gains, in connection with the SEC’s allegations and claims that Herwig
                collaborated with Lindberg to employ devices, schemes and artifices, and engaged
                in transactions, to defraud PBLA, including the PPN abuses detailed supra, all of
                which relates directly to the racketeering conspiracy and enterprise alleged in this
                Amended Complaint.

                (c) Solow’s December 2022 Bill of Information and corresponding January 2023
                Deferred Prosecution Agreement, detailed supra at ¶¶ 11, 50-53, 1581, in which he
                admitted guilt to conspiracy to deceive and defraud the United States government,
                including the underlying crimes of wire fraud, money laundering, and investment
                advisor fraud, among other crimes, all directly connected with and relating to the
                racketeering conspiracy and enterprise alleged in this Amended Complaint.

                (d) The Judgment entered against Solow, inter alia, relates directly to the
                racketeering conspiracy and enterprise alleged in this Amended Complaint.

                (e) Lindberg’s first indictment unsealed in March 2019, detailed supra at ¶¶ 11, 40-
                44, 1582, with charges including conspiracy to commit honest-services wire fraud
                and bribery in connection with his interactions between November 2017 and


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                August 2018 with NCDOI Commission, Mike Causey, scheduled for retrial in
                November 2023, after the reversing of his original conviction in June 2022.

                (f) Lindberg’s second indictment unsealed in February 2023, detailed supra at ¶¶
                11, 45, 1105, 1583, with charges including conspiracy to defraud the United States,
                wire fraud, false insurance business statements presented to regulators, false entries
                about the financial condition or solvency of an insurance business, and money
                laundering conspiracy, all directly connected with and relating to the racketeering
                conspiracy and enterprise alleged in this Amended Complaint.

       Representative Transactions and Other Acts: The above crimes, guilty pleas, and
underlying facts asserted by the government all specifically connect with and relate to the
following fraudulent and wrongful acts of the RICO Defendants, each of which furthered and
formed part of the scheme to defraud:

                (a) Triton Transactions, alleged in this Amended Complaint at ¶¶ 1172-89, supra,
                incorporated by reference as if each allegation fully was stated herein.

                (b) UKAT Transactions, alleged in this Amended Complaint at ¶¶ 1190-1216,
                supra, incorporated by reference as if each allegation fully was stated herein.

                (c) ATL Transactions, alleged in this Amended Complaint at ¶¶ 1217-41, supra,
                incorporated by reference as if each allegation fully was stated herein.

                (d) Beaufort Transactions, alleged in this Amended Complaint at ¶¶ 1242-72,
                supra, incorporated by reference as if each allegation fully was stated herein.

                (e) December 2017 Repo Agreements, alleged in this Amended Complaint at ¶¶
                1303-29, supra, incorporated by reference as if each allegation fully was stated
                herein.

                (f) SNA Capital Promissory Note, alleged in this Amended Complaint at ¶¶ 1330-
                48, supra, incorporated by reference as if each allegation fully was stated herein.

                (g) Daisy Seven and Geranium Two Transactions, alleged in this Amended
                Complaint at ¶¶ 1349-71, supra, incorporated by reference as if each allegation
                fully was stated herein.

                (h) Satori Waters Transactions, alleged in this Amended Complaint at ¶¶ 1397-
                1420, supra, incorporated by reference as if each allegation fully was stated herein.

                (i) AFA Transactions, alleged in this Amended Complaint at ¶¶ 1421-28, supra,
                incorporated by reference as if each allegation fully was stated herein.




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                (j) Agera Transactions concerning PBLA, alleged in this Amended Complaint at ¶¶
                1446-95, supra, incorporated by reference as if each allegation fully was stated
                herein.

                (k) Flagship Transactions, alleged in this Amended Complaint at ¶¶ 1406-22, supra,
                incorporated by reference as if each allegation fully was stated herein.

                (l) MBW Transaction concerning Omnia, alleged in this Amended Complaint at ¶¶
                1533-59, supra, incorporated by reference as if each allegation fully was stated
                herein.

                (m) Yarrow Three Transaction concerning Omnia, alleged in this Amended
                Complaint at ¶¶ 1446-95, supra, incorporated by reference as if each allegation
                fully was stated herein.

                (n) As detailed in this Amended Complaint supra, Lindberg’s repeated use of
                Debtor cash to fund his various Personal Expense Companies to pay: Lindberg’s
                personal American Express cards; salary payments to Lindberg’s Personal Expense
                Company staff, including Facilitating Persons among them; Lindberg’s public-
                relations consultant and ghost writer for his self-published book; operating
                expenses and lease payments related to Lindberg’s personal jets, lavish parties in
                Las Vegas and Miami, among other destinations; crew, maintenance, and operating
                expenses related to Lindberg’s yacht, the “Double Down”; acquisition, mortgage,
                taxes, and/or property and household operating expenses for properties Lindberg
                acquired and diverted for personal use; Lindberg’s personal security team to
                identify and thoroughly vet Lindberg’s prospective fertile egg donors, as well as to
                consummate and fund donor payment, egg delivery, and harvesting agreements as
                part of dealmaking with the prospective and actual donors, followed since, in part,
                by the use of Debtor case obtained by the racketeering Enterprise to fund surrogacy
                and ongoing child-rearing expenses from the completed donations.

                (o) Herwig’s repeated deceptions and fraudulent acts to the BMA and its
                representatives in the negotiation and attempt to bind the Debtors and their assets
                to the MOU and IALA, as alleged in this Amended Complaint at ¶¶ 57; 1112; 1579;
                1648-53, supra and infra, incorporated by reference as if each allegation fully was
                stated herein.

                (p) As detailed in this Amended Complaint supra, for the purpose of executing and
                attempting to execute each of the above Representative Transactions and other
                actions, RICO Defendants transmitted, caused to be transmitted, or received (i) by
                means of wire, radio, and/or television communications in interstate or foreign
                commerce, writings, signs, signals, pictures, and/or sounds; and (b) by means of
                the U.S. Postal Service and other private or commercial interstate carriers, mail for
                the purpose of executing such scheme or artifice.



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                (q) Herwig and Solow – each individual RICO Defendants, and each having pled
                guilty to conspiracy, including wire fraud – have admitted to using such wires in
                connection with their execution of the above scheme to defraud, including in
                connection with the Representative Transactions.

       (ii) Mail Fraud in Violation of 18 U.S.C. § 1341. As detailed supra in this Amended
Complaint, including the above Indictments and Admitted felonies, and associated Representative
Transactions and other acts, the RICO Defendants engaged in a scheme and artifice intended to
defraud Debtors. For the purpose of executing and attempting to execute the scheme and artifice,
the RICO Defendants transmitted, caused to be transmitted, or received by means of the U.S. Postal
Service and other private or commercial interstate carriers, mail for the purpose of executing such
scheme or artifice in violation of 18 U.S.C. § 1341.

       (iii) Bank Fraud in Violation of 18 U.S.C. § 1344. As detailed supra in this Amended
Complaint, including the above Indictments and Admitted felonies, and associated Representative
Transactions and other acts, the, the RICO Defendants knowingly executed, or attempted to
execute, a scheme or artifice to (a) defraud a financial institution (which includes an insurance
business); or (b) to obtain any of the moneys, funds, credits, assets, securities, or other property
owned by, or under the custody or control of, a financial institution, by means of false or fraudulent
pretenses, representations, or promises.

        (iv) Laundering of Monetary Instruments in Violation of 18 U.S.C. § 1956. As detailed
supra this Amended Complaint, the RICO Defendants engaged in mail, wire and bank fraud in
violation of 18 U.S.C. §§ 1341, 1343 and 1344, thereby engaging in a “specified unlawful activity”
within the meaning of 18 U.S.C. § 1956(c)(7)(A). The RICO Defendants then conducted or
attempted to conduct financial transactions affecting interstate and foreign commerce, knowing
that the property involved in such financial transactions represented the proceeds of some form of
unlawful activity, with the intent to (a) promote the carrying on of specified unlawful activity; or
(b) conceal and disguise in whole and in part the nature, location, source, ownership, and control
of the proceeds of a specified unlawful activity, in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i) and
1956(a)(1)(B)(i).

        (v) Engaging in Monetary Transactions in Property Derived from Specified Unlawful
Activity in Violation of 18 U.S.C. § 1957. As detailed supra in this Amended Complaint, the RICO
Defendants engaged in mail, wire and bank fraud in violation of 18 U.S.C. §§ 1341, 1343 and
1344, thereby engaging in an “specified unlawful activity” within the meaning of 18 U.S.C. §
1957(f)(3). The RICO Defendants then knowingly engaged in, and caused to occur, monetary
transactions in property derived from the mail and wire fraud violations of a value greater than
$10,000 in violation of 18 U.S.C. § 1957.

        (vi) Interstate and Foreign Travel in Aid of Racketeering Enterprises in Violation of 18
U.S.C. § 1952. As detailed supra in this Amended Complaint, the RICO Defendants engaged in
the laundering of money instruments in violation of 18 U.S.C. § 1956 and monetary transactions
in property derived from specified unlawful activity in violation of 18 U.S.C. § 1957, thereby
engaging in “unlawful activity” within the meaning of 18 U.S.C. § 1952(b). The RICO Defendants
then traveled in interstate and foreign commerce and/or used the mail or any facility in interstate

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or foreign commerce, with intent to (a) distribute the proceeds of such unlawful activity; or (b)
otherwise promote, manage, establish, carry on, or facilitate the promotion, management,
establishment, or carrying on, of such unlawful activity.

       The Enterprise

        1604. At all times relevant hereto, and without Debtors’ knowledge or consent, the RICO

Defendants associated together to form an ongoing informal organization for the purposes of

carrying out the wrongful activities set forth herein, and thus, have constituted an association-in-

fact “enterprise” within the meaning of 18 U.S.C. § 1961(4) (as used, supra, and in the remainder

of this Amended Complaint, the “Enterprise”).

        1605. The Enterprise engaged in a multi-year scheme to defraud the Debtors and their

policyholders and similar stakeholders. Between 2017 and 2019, Lindberg with the ongoing and

inseparable involvement of one or more of the individual RICO Defendants, engineered, executed

and operated, and perpetuated an intricate fraudulent scheme to drain at least $500 million of liquid

assets from the Debtors, and caused these liquid assets to be transferred to a convoluted and opaque

network beginning with the entity RICO Defendants and the individual RICO Defendants, with

eventual distribution to scores more Lindberg Affiliates.

        1606. By and through Global Growth, Lindberg formed, acquired, and directly and

indirectly controlled the Lindberg Affiliates as majority owner, as controlling shareholder, through

power of appointment of a majority of board seats, as managing partner or member pursuant to a

partnership or LLC management agreement, as managing member in a joint venture, or as an alter

ego.

        1607. Each Lindberg Affiliate commonly was controlled, managed, and/or operated by

Lindberg, and by him as he directed or authorized the RICO Defendants. Under Lindberg’s




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direction, the RICO Defendants and other Facilitating Persons were integral to the management

and operations, or lack thereof, of each Lindberg Affiliate and Global Growth overall.

        1608. Herwig served as a director of each Debtor at all material times. Lindberg, Herwig,

and the other RICO Defendants and Facilitating Persons intentionally kept the Debtors’ Bermuda

employees as unaware as possible as they pillaged each Debtor's appropriate liquid assets and

reserves, or the equivalent for financial products stakeholders, in exchange for illiquid and

inappropriate liquid assets and reserves, and the equivalent for financial products stakeholders.

        1609. Prior to Lindberg’s acquisition, as alleged in this Amended Complaint at ¶¶ 1161-

75, supra, Northstar was invested with, held and managed for the benefit of its policyholders and

similar stakeholders, more than $200 million in liquid securities. Within one year of acquiring

Northstar, the individual RICO Defendants with the other RICO Defendants through the

racketeering Enterprise and scheme to defraud Northstar, its policyholders, and its similar

stakeholders pillaged that $200 million liquid reserve, first converting the liquid instruments to

cash or simply taking them, then causing them to be replaced on Northstar’s books with illiquid

loans, preferred equity, and similar interests with no ready market or capacity for ready valuation

by any market in the entity RICO Defendants and other entities connected with the racketeering

Enterprise.

        1610. Similarly, as alleged in this Amended Complaint at ¶¶ 1303-29, supra, PBLA held

$96 million in liquid capital at Wilmington Trust before the RICO Defendants caused PBLA to

drain that account for the purchase of illiquid, sham Repo Agreements issued by Lindberg

Affiliates. As one example, on March 27, 2018, Amie Badgett—a staff accountant for GBIG—

asked Stewart whether they could “use the PBLA ULICO account (                       ) to settle the

Intercompany due to GBIG.” On April 2, 2018, Stewart responded, “Unless we are sufficiently


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overcollateralized in the ULICO trust account and we get approval from ULICO, we can’t use

those funds to settle the intercompany.” By then, however, it was too late. Orndoff advised, “Sorry

but we had to pay back intercompany last week and I didn’t get a response from anyone so I had

to make a decision and we paid it out of the ULICO Trust. What is the best way to fix this? Do we

now need to send funds back to the Trust from GBIG (which has no money)?” Stewart responded,

“Yes, we need to send back to the trust. We are not allowed to withdraw from the trust unless we

have approval from ULICO. I’m surprised the trustee event sent the wire because they shouldn’t

have.” There was, however, insufficient cash at PBLA to satisfy this payment. As Bostic explained,

“[w]e need to generate $2.1mm and looks like this will be an ongoing problem since there is no

cash coming into the PBLA WT account” and the December 2017 Repo Agreements “would [be

unable to] cover that.”

        1611. As alleged in this Amended Complaint at ¶¶ 1523-30, supra, between July 2017

and December 2018, PBIHL’s available cash positions held with Wilmington Trust decreased

ninety-two percent (92%), dropping from $12,340,472 to $1,029,603. In May 2018, PBIHL was

unable to satisfy a $2,091,049.42 redemption because, as Bostic explained, “there is virtually no

cash” and “I don’t know if we can get away with putting more Agera into PBLA.” The individual

RICO Defendants caused the liquidation of PBIHL’s United States Treasury Bonds portfolio and

corporate bonds or reasonably comparable liquidity and marketability. They returned illiquid and

unmarketable loans, preferred equity interests, and similar interests in the entity RICO Defendants

and other entities connected with Lindberg and the racketeering Enterprise. Those assets uniformly

lacked any ready market or capacity for ready valuation. PBIHL’s stable, liquid cash and

reasonably equivalent assets were reduced from $8,852,268 to $143,469 during the time period.




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          1612. As alleged in this Amended Complaint at ¶¶ 1560-75, supra, between September

2018 and October 2018, Omnia’s available cash positions held with Wilmington Trust decreased

ninety-one percent (91%), dropping from $2,184,005 to $187,920. In November 2018, Omnia was

unable to satisfy $900,000 in policy redemptions because, as Bostic explained, “[t]here is no cash

there.” By March 2019, Omnia’s cash assets held at Wilmington Trust had further decreased from

$187,920 to $7,920, a total decrease of ninety-six percent (96%).

          1613. RICO Defendants Lindberg, Herwig, and Solow, regularly assisted by RICO

Defendants Bostic and Miller and with the assistance of the Facilitating Persons, among others,

from at or about the formation of PBLA in 2017; continuing with the acquisition of each other

Debtor; and through the cessation of their involvement with each Debtor purported to act through

a number of business entities with respect to the Debtors. The entities through which Lindberg,

Herwig, Solow, and the other RICO Defendants purported to act almost all – in materiality and

volume – were formed and existing under the laws of one of the States and territories of the United

States.

          1614. The entities through which the RICO Defendants acted had two-fold purposes: (1)

to engage in legitimate business; and (2) to pursue, advance, and perpetuate some aspect of the

ongoing racketeering Enterprise. The effect was to deceive others and to provide cover for the

Enterprise in varying degrees, with the racketeering sometimes, e.g., in the case of the Debtors,

eventually overwhelming many entities’ legitimate business. The effects of the Enterprise’s

racketeering on the Debtors, in fact and proximately, corrupted and co-opted each Debtor, resulting

in breathtaking and wipeout losses to the Debtors, their policyholders, and their similar

stakeholders.




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         1615. The reverse alchemy of the Enterprise’s racketeering spun the equivalent of gold

into the equivalent of straw. The insolvency and eventual liquidation of each Debtor in Bermuda

caused by the RICO Defendants through the Enterprise’s racketeering is one of many results from

the RICO Defendants’ scheme to defraud the Debtors. By 2019151 and 2020,152 the Debtors lacked

available cash to pay policyholder and stakeholder claims or redemption requests, and ultimately

stopped doing so.

         1616. Plainly evident from the allegations concerning the Representative Transactions,

supra, is that the Enterprise’s racketeering involved interstate commerce between and among the

States and territories of the United States, e.g., scores of wire transfers between and among banks

and financial institutions in different states within the United States; emails among citizens of

different States, such as from and between North Carolina and Delaware and other States where

the RICO Defendants controlled bank accounts, and from and among North Carolina and Indiana

among the RICO Defendants and persons acting in connection with the negotiation of the MOU

and IALA.

         1617. The Debtors’ Bermuda executives continued to believe – based on the information

provided to them by the RICO Defendants, and the fact that substantiated or proper policyholder

and similar stakeholder claims or redemption requests continued to be made – that the returns to

the Debtors from the Representative Transactions and similar transactions caused by the RICO

Defendants were legitimate.




151
    Omnia stopped paying out fixed payments on or about October 9, 2019 and PBIHL stopped paying out non-
scheduled withdrawals on or about September 6, 2019.
152
    Northstar stopped paying non-scheduled withdrawals on or about January 21, 2020 and scheduled payments on or
about September 25, 2020; Omnia stopped paying variable payments on or about September 23, 2020; and PBIHL
stopped paying fixed scheduled payments on or about November 5, 2020.
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   XI.      Memorandum of Understanding and Interim Amendments to Loan Agreement
         Rehabilitation of NCIC

         1618. In 2018, Causey expressed doubts about the long-term liquidity (and hence, the

viability) of the NCIC.

         1619. The NCIC’s ultimate regulator was the NCDOI. The gravity of its expressed doubts

with respect to the NCIC in 2018 cannot be understated.

         1620. Rehabilitation – in effect, the intercession and subordination of existing

management to the State of North Carolina in an attempt to save the interests of an insurance

company’s policyholders – would have displaced Lindberg’s control over the NCIC.

         1621. That displacement included control over what was left of each of the NCIC’s

reserves to pay policyholder claims. Those reserves, in a manner comparable to the allegations

throughout this Amended Complaint with respect to the reserves of each Debtor, had been abused

and disbursed, often untraceably among counterparties affiliated with Lindberg including the

FinCos, and paid or diverted to Lindberg for his personal benefit, among other abuses contrary to

promises made to policyholders and similar financial products owners.

         1622. The enterprise risk raised by the NCDOI’s concerns was that rehabilitation, itself a

publicly disclosed status and exercise, exposed Lindberg and the Lindberg Affiliates as

unsustainable. As these inevitable events eventually unfolded beginning in the late winter and

spring of 2019, they among other events caused the “runs on the bank” that befell the Debtors in

2019.

         1623. Lindberg immediately understood these risks.

         1624. So did the North Carolina Global Growth executives, to varying degrees.

         1625. In an effort to dodge the NCDOI’s bullet and avoid rehabilitation, Lindberg caused

GBIG and the NCIC to propose a “Remediation Plan” intended to address Causey’s concerns.
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        1626. The Remediation Plan ultimately failed in relatively short order. It did so because

it was filled with promises not unlike the PPNs, Flagship stock, and similar instruments that

Lindberg and his Senior Decision Makers concocted and reduced to writing their raiding of the

Debtors. The promises in the Remediation Plan were ones that Lindberg never intended to keep –

and at that point in time could not keep – but they were enough to buy time to continue draining

and secreting the Debtors’ assets, among the assets of the other Lindberg Affiliates.

        1627. As a simple example, the acquisition of Northstar closed and from July 3, 2018

through June 27, 2019, more than $180 million of its liquid assets were stripped by Lindberg and

the Senior Decision Makers during the attempted execution of the Remediation Plan for the NCIC.

Succeeding allegations, infra, concerning the MOU and IALA show how the Debtors’ losses in

that regard were compounded for the benefit of the NCIC in 2019, continuing through the present.

        1628. Once the Remediation Plan itself was approved by Causey and Deputy

Commissioner Trendel on May 2, 2018, GBIG engaged Dinius and Murphy of Noble to assist with

effectuating the Remediation Plan.

        1629. By Consent Order dated October 18, 2018, the NCIC were placed into

Administrative Rehabilitation (the “Consent Rehabilitation Order”). Thereafter, Noble and its

team began to examine the NCIC’s financial situation.

        1630. They identified significant liquidity issues. For example, on December 6, 2018,

Miller advised Herwig, “[w]e need $31 [million] from Northstar just to meet December obligations

and make the [CBL] equity infusion. So really difficult for me to see how we can manage to use

Northstar to fund Northwest Eye.” Northwest Eye was another operating company that was

hemorrhaging cash and the Senior Decision Makers planned to use Northstar’s money for that

purpose, and would have had no benefit to Northstar if it had been consummated.


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        1631. In or around January 2019, Herwig, Bostic, Solow, Stewart, and Johnson developed

an “investment restructuring plan,” whereby GBIG swapped Northstar’s investment-grade

holdings with “lower rated US loans” held by the FinCos, to achieve better year-end ratings.

        1632. Stated differently, the NCIC drained Northstar of its liquid assets to reduce their

own affiliate/PPN exposure.

        1633. One such transaction was the ATL Transaction, discussed supra, which was a “plan

of trades to bring the 14 fincos153 up to [investment grade].” To effect it, Johnson proposed to

Herwig and Stewart to “pull[] Damovo [ATL] pref[erred] out of Northstar and [Investment Grade]

assets from [CAF].”

        1634. On January 17, 2019, Johnson relayed to Herwig and Solow a plan for various

trades to bring the FinCos up to investment grade, suggesting that “anything that moved out of

[CAF]/[Northstar] went to the fincos in exchange for the B rated assets. Northstar has more

diversity in their [balance sheet] after but, they are lower rated US credits being swapped in.”

        1635. By February 6, 2019, the plan of trades had ballooned to “60+ cashless trades,”

whereby “Northstar will be trading $12.8 [million] of [Standard Malta Holdings Ltd.] debt (Malta)

and the equivalent of $50.5 [million] of Damovo pref[erred] (UK). [Northstar] will receive US

debt in exchange for these assets.”

        1636. Dinius was made aware of this “investment restructuring plan” in January 2019.




153
   Chatsworth Asset Management, LLC; Damascus Asset Management, LLC; Ephesus Asset Management, LLC;
FPAM; Gilford Asset Management, LLC; ICAM; JAM; Kite Asset Management, LLC; LAM; MAM; PAM; Rockdale
Asset Management, LLC; and TIAM, all of which were formed and existing under the laws of the United States,
specifically the state of Delaware.

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        1637. Stewart explained in a January 23, 2019 email to Dinius that




        1638. Stewart included a PowerPoint in the explanations to Dinius. It detailed examples

of “FinCo Rebalancing” transactions and “Segregate FinCo” transactions, identified as the

“eliminat[ion] [of] non-GBIG exposure in FinCos where GBIG has exposure.” On January 24,

2019, Stewart wrote to Herwig and Johnson, “Noble has not expressed any concerns so . . . okay

to proceed.”

        1639. Following a February 14, 2019 meeting among Dinius, Lindberg and the other

Senior Decision Makers, Dinius noted progress, and as importantly noted the failures of Lindberg

and his headquarters executives:




        1640. Thereafter, Lindberg and the Senior Decision Makers began to prepare an

investment restructuring plan for the NCIC.

        1641. On March 6, 2019 Dinius wrote to Stewart stating,




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        1642. Stewart responded, “Before these transactions, CBL had no exposure to Damovo,

but after the transactions, CBL had a pro-rata share of the $51.3MM, which equates to the

~$35MM.” Further clarifying on March 7, 2019, Stewart wrote, “The FinCo rebalancing was

included in the investment restructuring file I sent you on January 23rd and was done for year-end

ratings purposes based on initial feedback from HR [rating agency].”

        1643. Meanwhile, Lindberg and his headquarters executives continued to engineer and

execute disadvantageous trades on behalf of the Debtors, as illustrated through the multiple

examples alleged in this Amended Complaint.

        1644. On April 11, 2019, Hensley forwarded Dinius an email he sent to Miller, hours

earlier, expressing his frustration in this regard:

                You understand, we need to do this investment restructuring
                (remove layers/revise controls) on private instruments, in order to
                have transparency and control around the insurance companies
                investment portfolios. This [AFA/PBLA Trade] is another example
                of a trade where I have no insight, rational [sic], financial impact to
                review or control. There is no way we can continue to operate under
                this current format, it does not work from an [enterprise risk
                management], compliance, etc. . . . standpoint. That is why we need
                to do [sic] agree to a new structure today, in addition, we have
                promised this to our regulators.

        Use of Debtors’ Assets to Address NCIC’s Liquidity Needs

        1645. To fund and effectuate the administrative rehabilitation, the NCIC required

liquidity that they undeniably lacked themselves.

        1646. By April 2019, it had become clear to all involved that liquidation of the NCIC’s

assets resulted in a considerable shortfall.

        1647. Several weeks earlier, the First Wall Street Journal Article was published claiming

that Lindberg had diverted $2 billion of insurance company funds for his personal benefit by

causing the insurers to lend money to entities he owned. Shortly thereafter, Lindberg was indicted

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and arrested on charges of attempting to bribe the NCDOI Commissioner, a public official elected

in a statewide election.

        1648. On April 15, 2019, the BMA imposed conditions to be added to the Certificates of

Registration for PBLA, Omnia, and Northstar, including that these three Debtors obtain prior

written approval from the BMA before establishing bank accounts or moving assets. The BMA

also restricted these Debtors from modifying the terms of their investments without prior written

approval.

        1649. In the spring of 2019, the NCDOI and Noble accelerated and shortened negotiations

with Global Growth and its executives, including Lindberg, to restructure the debt of the NCIC.

        1650. In an April 16, 2019 email from Stewart to Lindberg and the Senior Decision

Makers, Stewart explained:




        1651. Herwig replied,



        1652. Herwig’s words belie the callous and dismissive disregard of Lindberg and his

headquarters executives of the Debtors’ obligations to policyholders and owners of their financial

products, and further establish their malign intent to attempt to save the NCIC and themselves at

the Debtors’ expense.
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        1653. On April 18, 2019, Miller replied,



             Stewart also warned,




       Negotiation and Execution of the MOU and IALA

        1654. On May 13, 2019, Dinius authorized for the benefit of the NCIC the suspension

until June 1, 2019 of all principal and interest payments for all affiliated loans made to the NCIC,

including any payments then-past due or due and owing within the month. This did not resolve the

NCIC liquidity crisis.

        1655. On May 15, 2019, Lindberg emailed Nordberg, Miller and Herwig with “Draft

Talking Points” for Noble. The “Financial Model” included “NHC [new holding company]

overhead, [Lindberg] salary, and Eli management fee,” as well as “a 20 [Basis Points] fee to SASL

for asset management, with no affiliate investments allowed beyond the NHC [new holding

company] debt and [preferred equity].” The plan also contemplated “selling control of PBLA to

ULICO and taking a dividend of $250 [million] of the $300 [million] of PBLA surplus . . . in the

form of affiliated assets.”

        1656. Lindberg’s intentions with his “Draft Talking Points” were plain. In the midst of an

enterprise crisis, the answer was about how Lindberg could help Lindberg, and others could help

Lindberg help Lindberg.

        1657. On the same day, Nordberg wrote to Lindberg, and questioned the plan:




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        1658. As to the Debtors and the obligations to their policyholders and financial products

owners, Hensley’s response underscores the magnitude of illiquid and non-performing assets that

Lindberg proposed to leave or dump there:

                This sheet really needs to reflect paydowns and how much will
                Bermuda/others will hold. How much current cashflow will the
                remaining asset produce, versus net worth . . . What will Bermuda
                really live with, I hear mixed messages. . . [C]an you [Herwig] give
                a breakdown of what you are expecting the Bermuda companies to
                hold back by legal entity, e. g. PBLA, OMNIA, [PBIHL] and NS
                after the sale of CBL. It might be stated below and in the [Excel
                spreadsheet], but the end balances are unclear to me. . . [B]ased on
                your numbers that would be $363 [million] staying in Bermuda.
                This is my high- level view based on Bermuda holding $363
                [million] in affiliates. The question will be what are the cashflows
                on the remaining $363 [million] in assets left. [sic]
        1659. Even Herwig, Lindberg’s effective second, close ally, and a director of each Debtor

raised his hand:




        1660. Nordberg asked Lindberg to




        1661. Miller similarly expressed her frustrations on May 15, 2019 with Lindberg’s plan:




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         1662. Lindberg agreed to remove the numbers from their presentation, and Miller added,



                                             Lindberg replied,

                             Miller requested that Lindberg use a different version, and allow Global

Growth

         1663. Lindberg, again, declined, and ignoring Nordberg, Herwig, and Miller he explained

that

                                        Lindberg undeniably put his personal interest ahead of the

interest of the Debtors and their policyholders and financial product owners. This did not change

in succeeding days and weeks leading to the MOU and the IALA. The Senior Decision Makers all

eventually went along with Lindberg, including to serve their personal self-interest.

         1664. Between June 3 and June 27, 2019, the NCDOI, Lindberg and the Senior Decision

Makers, directly or through counsel, negotiated the terms and exchanged drafts of [what would

become] the MOU, IALA and Consent Rehabilitation Order. Dinius led the negotiation and

implementation of the MOU and IALA on behalf of the NCIC, going so far as to threaten to place

the NCIC in liquidation if Lindberg did not sign the MOU. Dinius Examination 2004 Tr., at 79:21-

80:4; 144:4-145:18.

         1665. On June 7, 2019, Miller emailed Dinius. She sought “an advance of $6 million to

cover off [sic] needs for this week and maintain a buffer of cash,” as the NCIC were “down to

$2,012,512 in cash.”

         1666. On the same day, Dinius replied:



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        1667. To effectuate their shared goals and distinct interests, Dinius, Lindberg and the

other Senior Decision Makers decided to move underperforming and otherwise struggling assets

from the NCIC to the Debtors. The loan-to-value ratio of the assets moved was unambiguous—

they were largely illiquid, sham, and readily manipulated investments in other Lindberg Affiliates.

        1668. Dinius, Lindberg and the other Senior Decision Makers knowingly sacrificed the

Debtors’ continued viability and their capacity to honor their obligations to policyholders and

financial product owners for the benefit of the NCIC. As Lindberg explained in his May 6, 2019

email, “[b]ottom line, after all payoffs [Debtors] are left with a low [loan-to-value] loan on the

remaining assets for the run off period.”

        1669. On June 9, 2019, Dinius circulated drafts of the MOU and IALA, stating:




        1670. In a subsequent email, Dinius clarified:




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        1671. On June 12, 2019, Dinius emailed Stewart and Hensley,




        1672. Hensley replied,

        1673. Stewart attempted to minimize the true state of affairs with respect to Northstar in

response to Dinius’s question, at the same time admitting the calamity that Lindberg, Senior

Decision Makers and the Global Growth investment team made after pillaging Northstar’s assets

and excluding its legacy management since Lindberg took control of it in August 2018:




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        1674. Dinius crystallized the intended pillaging of Northstar. He wrote:




        1675. In other words, at the same time that negotiations leading to the MOU and IALA

were underway, Dinius specifically admitted that the obligations to Northstar and its interests were

sacrificed for the benefit of the New Holdco (“NHC”). NHC was the vehicle intended to save the

NCIC.

        1676. Stewart answered:




        1677. On June 27, 2019, as part of the agreement to enter into the MOU and on consent

of the NCIC, Lindberg and Dinius, the Superior Court of North Carolina entered an order of

rehabilitation pursuant to Article 30 of Chapter 58 of the North Carolina General Statutes and

appointed Causey, in his official capacity on behalf of the State of North Carolina as Commissioner

of Insurance, as Rehabilitator for the NCIC in the matter captioned Causey v. Southland National

Insurance Corporation, et al., in the NC Rehabilitation and Liquidation Court.

        1678. On June 27, 2019, Causey elevated Dinius and Murphy from their prior roles and

appointed each as a Special Deputy Rehabilitator (Causey, Dinius and Murphy, collectively and

individually, the “Rehabilitators”).

        1679. On June 27, 2019, the following parties entered into the MOU: (i) the NCIC;

(ii) Global Growth; (iii) all entities listed in Exhibit A to the MOU—the Specified Affiliated

Companies (“SACs”); (iv) EMAM, as holder of all SPV common class A units; (v) CBL, SNIC,




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NEC, and PBLA as agents under the senior term loan agreement (“Agents”); and (vi) Lindberg,

individually and as attorney-in-fact for the SACs154 and Agents.155

            1680. In addition to being an agent, PBLA provided credit facilities to affiliates of Global

Growth, in the amounts and pursuant to the agreements set forth in Schedule 5 to the MOU (“PBLA

Loan Agreements”).

            1681. The Agents serve as agents: (i) under the senior term loan agreements in which

lenders, including one or more of the NCIC, have extended credit facilities to certain of the SACs

in the amounts and pursuant to the agreement set forth in Schedule 1 to the MOU (“Senior Debt”);

(ii) under the subordinated debt arrangements in which lenders, including one or more of the NCIC,

have extended credit facilities to certain of the SACs in the amounts and pursuant to the agreement

set forth in Schedule 2 to the MOU (“Junior Debt”); and (iii) under the preferred equity financing

arrangements in which lenders, including one or more of the NCIC, have provided equity financing

to certain of the SACs in the amounts and pursuant to the agreements set forth in Schedule 3 to the

MOU (“Preferred Equity”).

            1682. Lindberg signed the MOU on behalf of the Agents, which included PBLA. The

final content and execution of it was a fact kept from Boug and others in Bermuda, including the

BMA, for more than two weeks. So, too, was the IALA.

           The MOU’s Intended Operation, Beginning with the IALA

            1683. The MOU involved three steps. The first step was the execution of the IALA,

whereby the terms of loans to, and preferred equity in, hundreds of Lindberg Affiliates were

materially amended.



154
      See list of SACs in Schedule I.
155
      See list of “MOU Affected Parties” in Schedule II.

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            1684. The following parties executed the IALA: (i) CBL, SNIC, NEC and PBLA, as

agents for senior term loan agreements and junior term loan agreements (the terms loans are listed

in Exhibits A and B of the IALA); (ii) the borrowers listed in Exhibits A and B of the IALA; (iii)

the preferred equity holders listed in Exhibit C of the IALA; (iv) AGH; (v) Global Growth; (vi)

EMAM, as holder of certain Class A units of SPVs (listed in Exhibit H of the IALA); and (vii)

Lindberg, individually and as attorney-in-fact for the borrowers, preferred equity holders and

preferred equity issuers.156

            1685. Herwig signed the IALA, purportedly on behalf of PBLA.

            1686. Northstar, Omnia and PBIHL are not parties to the MOU or IALA, although all

three are lenders and preferred equity holders whose respective interests were impaired under the

IALA and MOU.

            1687. The following adverse modifications were imposed on the Debtors under the IALA:

                a. deferral of interest payments on approximately $509.5 million of scheduled Senior
                   Debt, set forth on Exhibit A to the IALA, for six (6) months, reduction of any
                   prepayment penalties under the Senior Debt to zero, resetting the interest rate to 5%
                   per annum, and amendment of loan maturity dates to December 31, 2029;

                b. modification of the preferred return on approximately $104.8 million of preferred
                   equity, set forth on Exhibit C to the IALA, to 6% per annum and mandatory
                   redemption on the 10-year anniversary of the IALA effective date;

                c. on approximately $259.4 million of loans provided by PBLA to certain borrowers
                   controlled by Global Growth and Lindberg set forth on Exhibit E to the IALA, no
                   interest would accrue or be paid or payable after the IALA effective date, waiver
                   of all prepayment penalties, and amendment of loan maturity dates to June 30,
                   2029; no other party to the MOU or IALA suffered this “zero coupon” amendment;

                d. deferral of interest payments on approximately $26 million of loans and preferred
                   equity financing to certain borrowers controlled by Global Growth and Lindberg,
                   set forth on Exhibit F to the IALA, for forty-eight (48) months, reduction to zero of
                   any prepayment penalties, resetting the interest rate to 5% per annum, and
                   amendment of the loan maturity dates to June 30, 2024;

156
      See list of “IALA Affected Parties” in Schedule III.

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            e. modification of approximately $84.8 million of loans and preferred equity
               financing to certain affiliated insurance holding companies controlled by Global
               Growth and Lindberg, set forth on Exhibit G to the IALA, amendment of the
               maturity date to June 30, 2026, no interest would accrue or be paid or payable from
               and after the IALA effective date, and waiver of prepayment penalties;

            f. on approximately $52.6 million of loans and preferred equity financing to AGH
               and its subsidiaries, no interest would accrue or be paid or payable after the IALA
               effective date, waiver of prepayment penalties for both the loans and preferred
               equity, and amendment of the maturity dates to June 30, 2029; and

            g. as to PBLA and Northstar specifically, an eighteen (18) month deferral of the
               interest payments on approximately $9.8 million of scheduled Junior Debt, set forth
               on Exhibit B to the IALA, waiver of prepayment penalties, resetting of the interest
               rate on all loans to 5.5% per annum, and amendment of the maturity date to June 30,
               2029.

        1688. The IALA was given effect by the NCIC, Lindberg, and the Lindberg Affiliates

immediately upon execution and purported to amend 119 investments, comprised of loans and

preferred equity, held by the Debtors and the PBLA ULICO Trusts in Lindberg affiliates with total

outstanding principal and interest of $1,035,306,455.00 and preferred equity of $104,880,659, as

of June 27, 2019.

        1689. Specifically, the IALA purported to amend: (a) forty-six (46) investments of

Northstar with outstanding principal and interest of $188,968,975.00; (b) seven (7) investments of

Omnia with outstanding principal and interest of $41,468,311.00; (c) five (5) investments of

PBIHL with outstanding principal and interest of $43,359,504.00; and (d) sixty-one (61)

investments of PBLA and the PBLA ULICO Trusts with outstanding principal and interest of

$761,509,665.00. Id. (numbers aggregated from Exhibits A-G thereto).

        1690. Since the execution of the IALA, more than three years of interest and/or dividends

has accrued on each of the above-mentioned amended interests. In that time, the Debtors have

received minimal payments of interest and/or dividends. The Debtors, as of July 31, 2023,


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reasonably believe the non-payment of interest and/or dividends due to them exceeds $141.9

million. As broken down by Debtor: (i) Northstar is owed $56.5 million ($45,031 daily interest);

(ii) PBLA is owed $72.4 million ($47,264 daily interest); (iii) Omnia is owed $679,238 ($516

interest daily); and (iv) PBIHL is owed $12.3 million ($8,413 interest daily).157 This is based on

the base rates and current information available to the JPLs that has been collected from the

Debtors’ books and records, and third parties.

          1691. Second, the MOU called for a global restructuring of the SACs (“Global

Restructuring”), including the Debtors’ and the PBLA ULICO Trusts’ loan counterparties,

whereby:

             a. all SACs were to become subsidiaries of NHC, and NHC was to manage all its
                subsidiaries pursuant to management service agreements between NHC and each
                subsidiary as was deemed necessary;

             b. NHC would indemnify the NHC Board, and NHC directors and officers, and
                procure Directors & Officer insurance; and

             c. companies not subject to the Global Restructuring (listed on Exhibit C to the MOU)
                would remain under Lindberg’s control and management. MOU, pgs. 4-8, Article
                II. Global Restructuring.

          1692. Under the terms of the MOU, Moshin Meghji (“Meghji”)158 was to be named Chief

Restructuring Officer of NHC, “to assist NHC with the Global Restructuring plan set forth [in the

MOU], under such terms and conditions as may be determined by the NHC Board.” MOU, pg. 6,

¶ 3.iv.

          1693. The “In The Arena” (ITA) entities – which included UKAT – were a group of

companies that were excluded from the control of the NHC. However, under the MOU, these


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    When using the default rates, the calculations change to the following: (i) Northstar is owed $83.4million ($63,010
interest daily); (ii) PBLA is owed $117.5 million ($76,184 interest daily); (iii) Omnia is owed $1.2 million ($866
interest daily); and (iv) PBIHL is owed $12.6 million ($8,627 interest daily).
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    Meghji and M-III Partners, LP (“M-III”) were previously retained by Lindberg in April of 2019 as financial
advisors to assist with trouble involving the Agera valuation issues.
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entities benefited from the reduction in the interest rate and extended maturity dates with respect

to the various loans to the Debtors. This allowed Lindberg to retain ultimate control to strip cash

out of these entities under the pretense of favorable lending terms. This negatively impacted the

Debtors that had investments in these ITA entities.

        1694. Third, the MOU contemplated a restructuring and modification of all loans

(“Global Loan Amendments”), including loans made by the Debtors and Trusts, whereby in

relevant part:

            a. all loans as amended by the IALA (with exceptions), would be assumed by and
               assigned to NHC as borrower;

            b. all loans, but not preferred equity, would be adequately collateralized, including
               granting first-priority liens on borrower’s assets unless already encumbered by an
               unaffiliated third party – if assets were already encumbered, the SACs would offer
               their assets as security for said loan;

            c. all loans would be personally guaranteed by Lindberg;

            d. all subsidiaries would become co-borrowers, would jointly and severally guaranty
               NHC’s obligations as borrower, and would provide collateral support as determined
               by NHC; and

            e. Lindberg and NHC would execute a Management Services Agreement, whereby
               Lindberg would receive a 1.5% success fee for all net principal reduction in Senior
               Debt, Junior Debt, Preferred Equity, Agera Debt and PBLA Loans, as defined in
               the MOU. MOU, pgs. 8-10, Article III, Global Loan Amendments.

        1695. The success fee would be payable even if Lindberg were to be convicted of a felony;

in that case, the fee would be paid to an irrevocable trust established exclusively for Lindberg’s

children. MOU, pg. 9, Article III, ¶ 3.

        1696. On December 13, 2022, Dinius appeared for oral examination pursuant to a Rule

2004 subpoena issued by the Court (the “Dinius 2004 Examination”). Dinius testified that the

success fee was used as an incentive for Lindberg “to get these loans paid” and that Dinius was



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unaware of any benefit that the Debtors received as a result of that success fee. Dinius 2004

Examination Tr., at 55:15-25-56:2.

        1697. In addition, upon information and belief, the NCIC and certain Lindberg Affiliates

executed a Subordination Agreement on or about July 1, 2019, under which the Debtors’ debt was

subordinated in favor of the NCIC’s debt to Aspida. In response to questioning during the drafting

of the Agreement, Dinius advised that



        Adverse Effect of the MOU and IALA on the Debtors’ Assets

        1698. Each Debtor was adversely affected by the terms and operation of the MOU and

IALA.

        1699. At the time of execution of the agreements, PBLA, Northstar, Omnia and PBIHL

were insolvent or were rendered insolvent as a result thereof. Northstar, for one, stopped paying

surrender requests of its policyholders at or about the time the MOU and IALA were executed.

        1700. Through the terms and operation of the MOU and IALA, Lindberg and the NCIC

adversely modified the economic terms of over $1 billion of debt and preferred equity held by the

Debtors by imposing lengthy maturity extensions of up to nine years, interest rate deferrals and

reductions, and other waivers.

        1701. These modifications had the effect of wrongly improving the position of: (a) the

NCIC vis-à-vis their own policyholders and creditors, to which the Debtors had no obligation; and

(b) the Lindberg Affiliates.

        1702. When the agreements were executed, CBL and SNIC acted as agents for the

Debtors in their capacities as lenders under at least twenty-nine (29) loans to Lindberg affiliates.

CBL and SNIC breached their duties as agents to the Debtors.


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        1703. PBLA is a party to the MOU and IALA as a lender and preferred equity holder in

investments listed in the IALA and MOU, and also as an Agent for certain loans. Under the IALA

and MOU, PBLA suffered adverse modifications to approximately $259.4 million in non-Trust

investments, for which, inter alia, the IALA deferred all interest payments until June 30, 2029.

        1704. This has resulted in a loss of over $72.4 million of interest and preferred equity

dividends, including $45.1 million in default penalties to July 31, 2023 which, absent the IALA,

would otherwise have been due and payable to or on behalf of PBLA. Moreover, the interest

deferral through to 2029 continues to significantly increase PBLA’s losses.

        1705. With respect to PBLA, Dinius testified that PBLA was “intentionally excluded”

from receiving any loan paydowns and that Global Growth “never directed us to pay anything to

PBLA.” Dinius 2004 Examination Tr., at 75:15-25.

        1706. Under the IALA and MOU, Northstar, as a lender and preferred equity holder, had

approximately $188,968,975 million in loan principal and interest as well as $51,688,650 of

preferred equity adversely modified without receiving any economic benefit and without being a

party to either agreement. IALA, Exhibits A-G and MOU, Schedules 1-7. The JPLs conservatively

estimate that the impairment of assets under the IALA and MOU has damaged Northstar alone in

an amount of at least $36.2 million of interest and preferred equity dividends, including $28.14

million in default penalties which, absent the IALA, would have been due and payable to or on

behalf of Northstar.

        1707. Omnia and PBIHL have each also suffered similar damages as a direct result of the

modification of the terms of their investments pursuant to the IALA, in an amount subject to proof

at trial but reasonably estimated to exceed $5.4 million.




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          1708. The cash flow, liquidity and marketability of the Debtors’ investments were

severely impaired, impeding each Debtor’s ability to satisfy its obligations to its policyholders and

creditors. Liquidity and regulatory non-compliance issues, caused in substantial part by the terms

of the IALA, which in turn caused the BMA to file petitions to wind up PBLA, Northstar and

Omnia, and appoint the JPLs and the subsequent petition by the JPLs to wind up PBIHL.

          1709. In addition, as a result of Lindberg’s failure to perform timely certain obligations

identified in the MOU, the NCIC commenced the NC MOU Action on October 1, 2019, seeking,

inter alia, specific performance of the MOU, compounding the adverse effects of the IALA on the

Debtors. Lindberg, Global Growth, EMAM, NEC, and PBLA were named as defendants.

          1710. By virtue of the Recognition Order and the commensurate stay of any litigation

against PBLA (and the other Debtors), the North Carolina Court severed PBLA from the NC MOU

Action.

          1711. On May 18, 2022, the initial Judgment and Order was entered in the NC MOU

Action, ordering specific performance of the MOU.

          1712. On May 26, 2022, an Amended Judgment and Order was entered in the NC MOU

Action.

          1713. The Amended Judgment and Order has no res judicata or collateral estoppel effect

as to PBLA or the other Debtors.

          1714. The Amended Judgment and Order required Lindberg, Global Growth and NEC to

execute and deliver documents to NHC to effectuate the transfer of the SACs to NHC pursuant to

the MOU. See Amended Judgment and Order at 43, ¶ 5.

          1715. Pursuant to the Amended Judgment and Order, the SACs are to be transferred to

NHC. As a result, the Rehabilitators will have control over the SACs via NHC through the seven-


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person NHC Board, which includes Dinius and two other persons designated by Dinius. There will

also be two independent directors who will be elected by a majority of the NHC Board and because

the Rehabilitators would control the majority of non-independent NHC Board seats, they will

control whom the independent directors will be and thus will control the NHC Board.

         1716. The result of the MOU would effectively improperly cede, to the NCIC and

Rehabilitators, control of over 500 entities affecting at least seventy (70) Debtor Investments. This

would allow them to control the Debtors Investments aggregating more than $510 million in face

value                               in accrued and unpaid interest, as well as dividends on those

assets since June 27, 2019 and an additional $59.7 million in default penalties. These 500 plus

entities are either Debtor Investment Counterparties or Lindberg Affiliates to which the proceeds

of the Debtors’ so-called investments were subsequently fraudulently transferred for the benefit of

Lindberg and the Lindberg Affiliates, and to the Debtors’ detriment.

         1717. The result is that the fate of the Debtors’ Investments would be in the hands of the

NCIC, whose interests are not aligned with the interests of the Debtors, their policyholders, and

creditors. The JPLs will have no control over the Debtors’ assets, rightfully should control them,

and at present and since their appointment have been unable to effectively monitor and monetize

the Debtor Investments for the benefit of the Debtors’ respective policyholders and creditors.

         The MOU and IALA are Void or Voidable as to the Debtors

         Lack of Authority of Lindberg and Herwig to Execute the MOU and IALA

         1718. The MOU and IALA are void as to the Debtors, or voidable by this Court, as ultra

vires.

         1719. Lindberg and Herwig signed the MOU and IALA on behalf of PBLA, from within

the United States. Each at the time knew that he lacked authority to bind PBLA, or to affect


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adversely in any way the economic interests of PBLA, Northstar, or Omnia because they did not

obtain prior written approval from the BMA to modify the Debtors’ Investments.

        1720. PBLA, Northstar and Omnia, when operating, were regulated by the BMA, the

government authority responsible, among other things, for supervising, regulating and inspecting

financial institutions operating in Bermuda, including insurance, reinsurance and investment

businesses operating as did the Debtors. See About Us, BERMUDA MONETARY AUTHORITY,

available at https://www.bma.bm/about-us. Any (or any purported) representation made on behalf

of any of the Debtors that it consented to the MOU and IALA, or entry of the Rehabilitation Order,

was made without then-required prior written approval from the BMA and should have been

known by any representee to have been made without authority.

        1721. On April 15, 2019, the BMA implemented conditions to be added to the Certificates

of Registration for PBLA, Omnia, and Northstar, including that the companies “shall not without

prior written approval from the [BMA] establish vary or change the structure of bank or investment

accounts,” nor “without prior written approval from the [BMA] vary, sell, withdraw, transfer or

make any reduction or vary the structure of all bonds, debentures, equities, loans and or any other

form of investments, presently held in any bank, trust or investment account, with any financial

institution or affiliate or corporate structure or by the Company in Bermuda or overseas” (the

“Conditions”). See Lamb Aff., ¶¶ 1, 3 [ECF No. 250].

        1722. Boug as President of each Debtor accepted the conditions with authority from

Lindberg and Herwig, and advised, among others, Lindberg, Herwig, Miller, and Bostic of that

acceptance. The conditions to the Certificates of Registration became effective midnight April 16,

2019.




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        1723. In response to a question about whether he knew that the BMA’s written approval

was required to modify the Debtors’ investments, Herwig invoked his privilege against self-

incrimination provided in the Fifth Amendment to the United States Constitution. Herwig 2004

Examination Tr., at 81:20-23.

        1724. On April 17, 2019, the BMA on a telephone conference call with NCDOI, the

Pennsylvania Insurance Department, and Dinius explained the Conditions that were added to the

PBLA, Omnia, and Northstar Certificates of Registration, including the requirement for prior

written approval from the BMA for any variation of the assets of the companies. Lamb Aff., ¶¶ 4,

6.

        1725. According to Dinius, “[t]he IALA, the MOU, and the revolver were all one

transaction, so they were all intertwined and dependent on each other. . . along with Lindberg’s

consent to place the North Carolina companies into rehabilitation.” Dinius 2004 Examination Tr.,

at 36:4-18. It is clear from Dinius’ testimony that Lindberg would not have signed the MOU

without the IALA memorialized and in place. The IALA was nothing more than a quid pro quo

for Lindberg, and there was no consideration received by the Debtors.

        1726. On May 21, 2019, it became clear that Northstar needed $5.5 million to fund

immediate surrenders that were due within the week. To prepare, Herwig devised and shared the

following plan to fund those surrenders to Dinius:

                We have $4 mm of OMPC/Medical Physics, which is currently
                under LOI and marching towards close in the next 30 days. We also
                have $1 mm of Practice Insight, which is currently awaiting HSR
                approval but should close shortly. Would you [Dinius] be open to
                having one of the US insurers either buy these assets from Northstar
                or enter into repurchase agreements with Northstar where these have
                to be bought back in some agreed upon time frame if for some reason
                they don't sell? The MBO has been well received from what we
                understand and should be executed in the next one to two weeks. We

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                believe that will greatly reduce the surrenders and allow for new
                production.

        1727. In response to Herwig’s proposed method described above, Dinius advised Herwig,

Stewart, Miller, Solow, and Bostic,




        1728. Lindberg conceded that BMA approval was required during his trial testimony in

the NC MOU Action. When asked why Farrell was being contacted during the MOU negotiations,

Lindberg explained:

                Well, because I had an interest in Bermuda insurance companies and
                he’s the regulator for those insurance companies. . . . [T]he reviewed
                insurance companies have significant pieces of investments in the
                what later became the specified affiliated companies in they were
                key counterparties and if they’re not board, if the key counterparties
                are not board the deal is not going to work, and as we later found
                out, they are not on board. Bermuda is a key constituent [sic].

Lindberg NC MOU Action Trial Testimony [Volume 5] Tr., at 36:14-22.

        1729. The negotiation and execution of the IALA and MOU—which adversely modified

the Debtors’ Investments in a manner that expressly required the BMA’s prior written approval—

occurred after the BMA’s conditions went into effect.

        1730. The required prior written approval never was obtained.

        1731. The NCIC failed to disclose to Judge Shirley in the NC MOU Action that the IALA

required the prior written approval of the BMA, and that such approval had never been obtained.

If Judge Shirley had known that the IALA, which was the only consideration for the MOU, was

ultra vires, then he may not have issued his ruling finding that the MOU was a valid and

enforceable agreement.

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        1732. Dinius went forward and attempted to bind PBLA, Northstar, and Omnia knowing

that the requisite BMA approval was absent. In a June 11, 2019 email, Miller advised Lindberg,




        1733. Dinius denied knowing anything about such a requirement in his Rule 2004

examination, testifying that as he was “not [a] regulator of the BMA companies, he would not have

that information” and that “the [D]ebtors had to get approval from the BMA, not – myself would

not have required that approval. [sic]” Dinius Examination 2004 Tr., at 32:12-15; 133-134. He

further testified that he did not recall seeing a prior written approval from the BMA. Id., at 40:22-

24. Dinius testified that while he did not recall a conversation where Farrell ever questioned

Lindberg’s authority to sign the MOU and IALA on behalf of the Debtors, Dinius acknowledged

he sent an email on August 31, 2019 that Farrell is “not sure that Greg [Lindberg] had the authority

to sign on behalf of BMA entities” and “wanted to have a conversation about it.” Id., at 128.

        1734. Dinius, the NCIC and the Lindberg Affiliates ultimately elected to move ahead,

knowing that authority for PBLA, Northstar and Omnia to execute was absent. All involved

executed the MOU and IALA without prior written approval from the BMA.

        1735. Given the restrictions placed in each of PBLA, Northstar, and Omnia’s Certificates

of Registration, the Board of Directors for those companies could not have authorized anyone to

execute the MOU or IALA without prior written approval from the BMA. No one possessed actual

or apparent authority to bind any of the Debtors to the MOU and IALA. The acts therefore were

ultra vires and void (alternatively voidable), and the MOU and IALA do not bind the Debtors.

        1736. On or around September 12, 2019, Lindberg, Herwig, Miller, Meghji, and Dinius

participated in a call with Farrell and Boug. They were provided with “clear notice from the


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Bermuda insurers that they are not on board with the MOU. . . [and] they consider the MOU a

‘tangent’.”

         1737. In a September 17, 2019 email directed to Dinius (and others), copying Lindberg

(and others involved in the MOU), George A. Vandeman (“Vandeman”)159— Chairman of Global

Growth - made plain the wrong visited on the affected Debtors, and the rejection of the attempted

imposition of the MOU and IALA on them:

                 It was our understanding when the MOU was signed that Bermuda
                 and any other regulatory bodies with an interest had approved what
                 was contemplated by the MOU. Unfortunately, this was not the case
                 with respect to the Bermuda Insurance Commissioner. . . [and he]
                 has made it clear that he will not participate in the MOU, and will
                 not approve participation in the MOU by the Bermuda OpCos,
                 which are the debtors of his insurance companies. Had the truth been
                 known, the MOU would never have been signed.
         1738. The NCIC nonetheless imposed the terms of the IALA on the affected Debtors and

continue to do so.

         1739. The NCIC sued PBLA to seek specific performance of the IALA and MOU. The

NCIC have continued to apply the terms against the affected Debtors’ assets. That has included

the unilateral or conspiratorial (with the Lindberg Affiliates) disproportionate and adverse

allocation of interest and dividends paid to NCIC away from the Debtors.

        Herwig Failed to Act in the Debtors’ Best Interest by Entering Into the IALA

         1740. In his execution of the IALA, Herwig held himself out as a Director of PBLA.

         1741. As a Director of PBLA, Northstar, Omnia and PBIHL, Herwig had a duty to

discharge his duties honestly, conscientiously, fairly and with undivided loyalty to PBLA,

Northstar, Omnia and PBIHL.



159
   From 1966 to 1995, Vandeman was a senior partner and head of the Mergers and Acquisitions practice at the
international law firm of Latham & Watkins.
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        1742. In addition to his other wrongful acts, Herwig executed the IALA with actual

knowledge that he was precluded by PBLA’s Amended Certificate of Registration from signing

the IALA on behalf of PBLA and was not authorized to do so. At Herwig’s 2004 Examination, in

response to questions about whether he was authorized to execute the IALA on behalf of PBLA

and who authorized him to execute the IALA on behalf of PBLA, Herwig invoked the privilege

against self-incrimination provided in the Fifth Amendment to the United States Constitution.

Herwig 2004 Examination Tr., at 71:9-14.

        1743. Herwig executed the IALA with actual knowledge that the IALA would harm

PBLA by substantially reducing payments to PBLA (in fact PBLA has received no payments under

the IALA) including to advance and perpetuate an ongoing scheme to defraud the Debtors, the

policyholders, and similar stakeholders. At Herwig’s 2004 Examination, in response to a question

about whether a reasonably prudent director would have allowed PBLA to sign the IALA, Herwig

invoked the privilege against self-incrimination provided in the Fifth Amendment to the United

States Constitution. Herwig 2004 Examination Tr., at 35:17-24. Similarly, when asked whether

Herwig failed to adequately discharge his fiduciary duties that he owed to the Debtors by entering

into the MOU and the IALA on behalf of the Debtors, Lindberg invoked the privilege against self-

incrimination provided in the Fifth Amendment to the United States Constitution. Lindberg 2004

Examination Tr., at 67:20-68:3.

        1744. Herwig signed the IALA for his own personal benefit—to remain employed and

continue to earn his                       annual compensation (              a year salary plus

bonuses)—and for the benefit of Lindberg with disregard to the rights of PBLA, Northstar, Omnia,

and PBIHL. When asked whether he paid the Debtors’ directors to breach their fiduciary duties to




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the Debtors, Lindberg invoked the privilege against self-incrimination provided in the Fifth

Amendment to the United States Constitution. Lindberg 2004 Examination Tr., at 138:13-16.

          1745. Herwig failed to exercise the reasonable skill or care expected of a director or act

in a manner that he reasonably believed was authorized or in the best interests of PBLA, Northstar,

Omnia and PBIHL. At Herwig’s 2004 Examination, in response to a question about whether the

IALA and the amendments therein were in the best interest of the Debtors, specifically PBLA,

Herwig invoked the privilege against self-incrimination provided in the Fifth Amendment to the

United States Constitution. Herwig 2004 Examination Tr., at 37:19-22.

          1746. The value of the loans and preferred equity held by PBLA, Northstar, Omnia and

PBIHL have been substantially impaired as a direct and proximate result of Herwig’s wrongful

action.

          1747. In executing the IALA when he lacked authority to do so, Herwig breached his

fiduciary duties owed to PBLA, Northstar, Omnia and PBIHL.

          1748. Relatedly, records available to the JPLs indicate that in mid-2020, Herwig and

Lindberg began to negotiate monetary and ongoing litigation cooperation terms concerning

Herwig’s exit from one or more of his employment and director and officer positions with

Lindberg and the Lindberg Affiliates. While Herwig’s relationship and performance of duties for

one or more of the Lindberg Affiliates continued alongside the negotiations, the negotiations

between Lindberg and Herwig eventually resulted in a written agreement made effective in the

spring of 2021. The agreement and its terms are evidence of Herwig’s and Lindberg’s individual

and conspiratorial scheme to defraud the Debtors, their policyholders, and similar stakeholders,

including to perpetuate the Enterprise.




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        1749. Moreover, the records available to the JPLs show that the material terms negotiated

beginning in mid-2020 and the terms eventually agreed to include the following: (a) a monthly

payment of            (i) for consulting services inclusive of advice, services, and management and

(ii) cooperation and consultation on litigation and similar disputes, with selection of counsel by

Herwig and payment of all legal fees in addition to the monthly payment; (b) business expense

reimbursement; (c) full indemnification, inclusive of attorneys’ fees, connected with services

rendered during the consultancy, excepting fraud and criminal and similarly wrongful acts; and (d)

incentive compensation opportunities based on the closure of transactions in which Herwig was

involved during the engagement, which based on specifics exchanged during negotiations leading

to the eventual agreement may have neared or exceeded                 .

        1750. On December 22, 2022, Herwig pled guilty to a federal crime directly related to his

involvement with the PBLA transactions alleged in SEC v. Lindberg, et al., Case No. 22-cv-715

(M.D.N.C.) [ECF No. 1]. The crime was conspiracy to defraud the United States. His criminal

act(s) breached his fiduciary duties to PBLA, Northstar, Omnia and PBIHL.

        1751. In executing the MOU, Lindberg held himself out as attorney-in-fact for, among

others, the SACs and PBLA, as an agent under the senior term loan agreements. Northstar, Omnia

and PBIHL are not parties to the MOU or IALA. They are lenders and preferred equity holders,

however, whose respective interests were impaired under the IALA and MOU.

        1752. As such, Lindberg had a duty to discharge his duties honestly, conscientiously,

fairly and with undivided loyalty to the Debtors.

        1753. Lindberg executed the MOU with actual knowledge that he was precluded by

PBLA, Northstar and Omnia’s respective Amended Certificates of Registration from signing the

MOU on their behalf.


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        1754. Lindberg executed the MOU with actual knowledge that the MOU would harm the

Debtors by substantially reducing payments to the Debtors. Lindberg also had actual knowledge

that the MOU would result in no benefit to the Debtors. He did so for his own personal benefit, in

disregard of the rights of the Debtors and their obligations to policyholders, financial product

owners, and similar stakeholders.

        1755. At Lindberg’s 2004 Examination, in response to a question about whether entering

into the MOU and the IALA was in the best interest of the Debtors and the policyholders, he

invoked the privilege against self-incrimination provided in the Fifth Amendment to the United

States Constitution. Lindberg 2004 Examination Tr., at 67:3-10.

        1756. Lindberg failed to act in a manner that he reasonably believed to be in the best

interests of the Debtors.

        1757. The value of the loans and preferred equity held by the Debtors have been

substantially impaired as a direct and proximate result of Lindberg’s wrongful action.

        1758. In executing the MOU when he lacked authority to do so, Lindberg breached his

fiduciary duties owed to PBLA and the other Debtors, among the other wrongs alleged in this

Amended Complaint.

       Breach of Fiduciary Duty by CBL and SNIC

        1759. CBL and SNIC were the agents of the Debtors with respect to one or more of the

Debtors’ Investments (loans and preferred equity).

        1760. Under North Carolina law, the relationship of agent and principal gives rise to a

fiduciary duty.

        1761. CBL and SNIC did not act for the benefit of the Debtors. Rather, they knowingly

harmed the Debtors’ financial interests and improved their financial interests in breach of their


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fiduciary duties. As one example, CBL and SNIC traded loan modifications under the IALA in

order to induce Lindberg to sign the MOU in that they could gain complete control over the 511

SACs.

        1762. The SACs are comprised of Global Growth operating companies as well as the

pass-through vehicles, through which the NCIC admit the Debtors’ Investments flowed. See MOU,

Exhibit A [Specified Affiliated Companies].

        1763. As a result, if the SACs are transferred to NHC, then the NCIC will not only be

able to unilaterally modify multiple Debtor loans, but they will also be in control of the companies

through which over $500 million of the Debtors’ assets disappeared (not counting assets emanating

from the PBLA ULICO Trusts).

        1764. Court appointed fiduciaries, such as the JPLs, may not be compelled to be

compromised or subordinated to another, particularly parties such as the NCIC and Dinius, each

of which has previously agreed to adversely modify the Debtor Investments, and through NHC,

would have total control over the Debtor Investment Counterparties and subsequent transferees of

the Debtors’ so-called “investments.”

        1765. Such self-dealing constitutes a breach of a fiduciary duty under North Carolina law.

Moreover, these breaches were readily apparent to and known by Dinius and the NCDOI.

        1766. CBL and SNIC executed the MOU and IALA with actual knowledge that the MOU

and IALA would substantially harm the Debtors by materially reducing payments to the Debtors.

CBL and SNIC also had actual knowledge that the MOU and IALA would result in no benefit to

the Debtors. They did so for their own benefit in disregard of the Debtors’ rights. They have

continued to do so, as one example by keeping for themselves interest and principal payments due

to the Debtors.


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        1767. CBL and SNIC failed to act in a manner that they reasonably believed to be in the

best interests of the Debtors and their obligations to their policyholders, financial product owners,

and similar stakeholders.

        1768. The value of the loans and preferred equity held by each of the Debtors have been

substantially impaired as a direct and proximate result of the wrongful actions of CBL and SNIC.

       Insufficiency of Consideration

        1769. Under the terms of the MOU and IALA, the Debtors were forced to forego receipt

of hundreds of millions of dollars in principal and interest payments, the primary purpose of which

was to fund the rehabilitation of CBL and SNIC.

        1770. The Debtors received no consideration in exchange for the significant concessions

they were forced to make under the IALA and MOU.

        1771. At Herwig’s 2004 Examination, when asked to confirm that the Debtors received

no consideration for the loan modifications under the IALA, Herwig invoked the privilege against

self-incrimination provided in the Fifth Amendment to the United States Constitution. Herwig

2004 Examination Tr., at 73:3-6.

        1772. To the extent the Debtors received any consideration from the NCIC for entry into

or application of the IALA and MOU, any such consideration is grossly inadequate and is

disproportionate to the value of the significant concessions the Debtors were forced to make under

the MOU and IALA.

       CBL and SNIC Continue to Breach Their Fiduciary Duties

        1773. All the loan agreements whereby CBL or SNIC acted as agents to the Debtors

provide in relevant part that “Borrower shall have no right to specify the order or the accounts to

which Agent shall allocate or apply any payments required to be made by Borrower to Agent on


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behalf of Lenders or otherwise received by Agent on behalf of Lenders under this Agreement when

any such allocation or application is not specified elsewhere in this Agreement.”

        1774. CBL and SNIC, as agents for the Debtors on at least twenty-nine (29) loan

agreements, have breached this provision of the loan agreement, and will continue to breach this

provision.

        1775. Dinius further testified that CBL and SNIC were instructed by Global Growth to

not pay PBLA its proportional share of any partial paydown, saying Global Growth “intentionally

excluded PBLA from … everything.” Dinius 2004 Examination Tr., at 75:12-75:25; Tr., at 77:7-

77:17 (“Q. But the exclusion is coming solely from the Global Growth side; is that -- is that your

testimony? A. That’s my understanding. Q. And so where PBLA is the lender, Global Growth has

insisted that the money not go to PBLA and go, instead, to the other lenders; is that your testimony?

A. Well, I -- my testimony is that they’ve never directed us to pay – they’ve never directed us to

pay anything to PBLA.”). Similarly, when asked whether he knew how partial loan repayments

are supposed to be allocated among the lenders and whether it was supposed to be proportionally.

Lindberg invoked his privilege against self-incrimination provided in the Fifth Amendment to the

United States Constitution. Lindberg 2004 Examination Tr., at 29:20-25.

        1776. Moreover, when asked whether (i) he ever told Dinius not to remit loan payments

to PBLA and (ii) whether he or anyone at Global Growth ever told Dinius how to allocate loan

repayments under loans where one or more of the Debtors was a lender, Lindberg invoked his

privilege against self-incrimination provided in the Fifth Amendment to the United States

Constitution. Lindberg 2004 Examination Tr., at 32:9-25.

        1777. Dinius went so far as to say that if Global Growth or the Lindberg Affiliates directed

CBL or SNIC to pay the entire paydown to CBL and none to PBLA, that CBL and SNIC would


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comply with the directive. Dinius 2004 Examination Tr., at 75:1-75:8 (“Q. So if the borrower, i.e.,

the Lindberg Global Growth affiliate, said ‘Pay all of the money to CBL and none to PBLA,’ you

would pay it all to CBL -- CBL and none to PBLA; is that your testimony? A. If that was how it

was determined, yes.”).

        1778. When asked how CBL and SNIC would allocate payments to lenders where a loan

was partially paid down, Dinius testified that CBL and SNIC would allocate the payments based

on information received from the borrowers – i.e., Global Growth and the Lindberg Affiliates.

Dinius 2004 Examination Tr., at 74:74:15-74:25; Tr., at 77:21-77:24 (“Q. Have you always applied

the paydowns in the manner specified by Global Growth or its affiliates? A. Yes.”).

        1779. In a July 1, 2019 email to Dinius, Stewart attached a flow of funds chart concerning

the paydown of a loan to GBIG Holdings, advising that Northstar and PBLA were to receive small

paydowns. Dinius responded that more needed to go to CBL,

                   and further pressured Stewart

Stewart ultimately obliged. Moreover, Dinius testified that he believed “there [was] no obligation

to pay [loan proceeds] proportionally,” and “[they] need[ed] more to go to CBL,” instead of the

Debtors such as Northstar and PBLA. Dinius Examination 2004 Tr., at 97:20-99:5. As agents for

the Debtors under at least twenty-nine (29) loan agreements, CBL and SNIC are obligated to treat

the Debtors at least as well as they treat themselves, if not put the Debtors’ interests above their

own. Yet, on multiple occasions, CBL and SNIC have put their own interests above the interests

of their principals, thereby causing harm to the Debtors, and undoubtedly will continue to do so.

        1780. Furthermore, CBL and SNIC, as agents for the Debtors on twenty-nine (29) loan

agreements, have received three separate interest payments on said loan agreements in 2022, and

have failed to remit said payments to the Debtors.


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        1781. At his Rule 2004 Examination, Dinius admitted that CBL and SNIC received three

interest payments in May 2022, August 2022, and November 2022, and that the Plaintiffs have not

received any remittances from those three payments. Id., at 99:17-99:24.

        1782. When asked why CBL and SNIC failed to remit the interest payments to the

Debtors and other lenders, Dinius testified:

           We do not have sufficient information to allocate those payments and counsel
           has been working with Global Growth’s counsel over many months to get
           that information. And we still do not have sufficient information to fully
           reconcile how much money the agents received. Q. How much money the
           agents received or how it should be allocated among the lenders? A. Well,
           we know how much we received, but we don’t know how -- how that should
           be allocated.

Id., at 99:24-100:12.

        1783. Dinius further testified that none of the three interest payments has been disbursed

to any lenders, as CBL and SNIC await a reconciliation from Global Growth describing which

interest payments attached to which loan. Id., at 102:14-102:23. There does not appear to be any

legitimate justification for CBL and SNIC to have failed to rectify these issues over the last eight

months and distribute past due interest payments to the Debtors. Failure to have done so on a

timely basis is a breach of CBL’s and SNIC’s duties as the Debtors’ agents, and compounded the

Debtors’ ongoing loss and damage, among other things adversely affecting its policyholders and

owners of similar financial products.

        1784. Based on the NCIC’s past conduct, Plaintiffs reasonably believe that the NCIC may

continue to pay themselves and other lenders other than proportionally – and not pay the Debtors

any loan proceeds – in violation of the Debtors’ rights respecting the subject of this action, which

would tend to render any Judgment and Order ineffectual, or if such actions are committed or

continued during the pendency of this action, would produce injury to the Debtors.


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   XII.     PLIC MI Sale

        1785. Lindberg engineered and consented to the rehabilitation of PLIC MI with the

Director of the Michigan Department of Insurance and Financial Services, which brought a

petition to place PLIC MI into rehabilitation on July 9, 2019. Upon information and belief, PLIC

MI was not insolvent, nor was it in need of regulatory rehabilitation at the time. Instead, it was

occasioned by Lindberg and intended as a vehicle to facilitate the sale of PLIC MI, including its

then-subsidiary GBIG, LLC, from GBIG Holdings to a third party, with the penultimate goal of

separating it from Lindberg following his indictment on criminal charges and recouping money

for the ultimate benefit of, among others, Lindberg.

        1786. Upon information and belief, Lindberg’s use of the Michigan rehabilitation

proceedings, at least in part, was to cause a principal transaction: a stock purchase under which

GBIG Holdings would sell the stock of PLIC MI, including GBIG, LLC, to Aspida Holdco—

formed and existing in Delaware—in exchange for cash and an immediate $25,000,000.00 loan

from Aspida Holdco to GBIG Holdings.

        1787. To secure the loan with Aspida Holdco, GBIG Holdings pledged collateral,

including its own stock and the stock of PLIC MI, with which the Debtors’ assets are intertwined

for the reasons noted supra.

        1788. The NCIC and certain Lindberg Affiliates executed a Subordination Agreement on

or about July 9, 2019, under which the Debtors’ debt was subordinated in favor of the NCIC’s debt

to Aspida Holdco.

        1789. While Aspida Holdco completed the loan to GBIG Holdings, Lindberg reneged on

the agreement to sell the stock of PLIC MI, including GBIG, LLC, to Aspida Holdco. The parties

agreed to refinance the Aspida Holdco loan, the mechanics of which involved Aspida Holdco’s


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assignment of its entire interest under the loan, including its collateral, to another entity, Strategic

Income Fund LLC (“SCIF”), in exchange for a payment of                           from SCIF as well as

an additional payment of                   from GBIG Holdings.

        1790. In January 2022, Lindberg caused GBIG Holdings to enter into a stock purchase

transaction, under which GBIG Holdings would sell the stock of PLIC MI (minus GBIG, LLC) to

Axar in exchange for $75,000,000.00 cash.

        1791. Lindberg ultimately executed both Aspida Holdco and Axar transactions, including

without notice to the Plaintiffs and many other affected parties, despite the fact that all involved

should have known that the transactions affected the Debtors.

        1792. Like the Aspida Holdco loan proceeds, neither the Debtors, nor the PBLA ULICO

Trust, received any of the proceeds from GBIG Holding’s sale of PLIC MI to Axar, despite the

nearly $30 million Lindberg and the Senior Decision Makers pillaged from the Trust to acquire

PLIC MI in December 2017. Upon information and belief, the sale proceeds were instead directed

to other Lindberg Affiliates.

                                       COUNT I
            Fraudulent Trading Pursuant to Bermuda Companies Act 1981, § 246

              (Lindberg; Herwig; Lindberg Affiliates; Senior Decision Makers)

        1793. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1794. Lindberg and the Senior Decision Makers were each knowingly parties to the

carrying on of the Debtors’ businesses and/or were directors of the Debtors.

        1795. Lindberg and the Senior Decision Makers knowingly caused or allowed PBLA,

Northstar, Omnia, and PBIHL to carry on their respective businesses, with the knowledge that

PBLA, Northstar, Omnia, and PBIHL were insolvent or near insolvent.

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        1796. The respective businesses of PBLA, Northstar, Omnia, and PBIHL were carried on

by Lindberg and the Senior Decision Makers with the intent to defraud creditors of these

companies or creditors of any person or for any other fraudulent purpose in each case as pled supra

and with the knowledge that there was no reasonable prospect of the creditors ever receiving

payment of those debts.

        1797. Lindberg and the Senior Decision Makers were knowingly parties to the carrying

on of the businesses in the manner aforesaid.

        1798. As a result, each of the Debtors suffered economic injury and damages.

                                         COUNT II
                             Fraud Pursuant to North Carolina Law

                   (Lindberg; Lindberg Affiliates; Senior Decision Makers)

        1799. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1800. Each of the Lindberg Affiliates, Lindberg, Herwig, Solow, Miller, and Bostic,

individually and collectively, concealed material facts from each of the Debtors concerning the

use of the Debtors’ assets to improperly fund the operations of the Lindberg Affiliates.

        1801. Each of the Lindberg Affiliates, Lindberg, Herwig, Solow, Miller, and Bostic,

individually and collectively, concealed these material facts to deceive the Debtors, their

respective creditors and their respective policyholders.

        1802. Each of the Lindberg Affiliates, Lindberg, Herwig, Solow, Miller, and Bostic,

individually and collectively, knowingly took such actions with the intent to deceive the Debtors,

their respective creditors and their respective policyholders.




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        1803. The actions by each of the Lindberg Affiliates, Lindberg, Herwig, Solow, Miller,

and Bostic, individually and collectively, did in fact deceive the Debtors, their respective creditors

and their respective policyholders.

        1804. As a result, each of the Debtors suffered economic injury and damages.

                                         COUNT III
                      Constructive Fraud Pursuant to North Carolina Law

                              (Lindberg; Senior Decision Makers)

        1805. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1806. Herwig was a director of PBLA, Northstar, Omnia, and PBIHL from November

2018 through 2021. By virtue of that role, he owed the Debtors fiduciary duties, including but not

limited to the duty of loyalty and the implied covenant of good faith and fair dealing, as well as

the duties of honesty and care.

        1807. Lindberg was a director of PBLA in 2017 only (and owed PBLA fiduciary duties,

including but not limited to the duty of loyalty and the implied covenant of good faith and fair

dealing, as well as the duties of honesty and care for this period by virtue of this office), and was

never a de jure Director of Northstar, Omnia, or PBIHL.

        1808. Miller, Bostic, and Solow were never de jure Directors of PBLA, Northstar, Omnia,

or PBIHL.

        1809. Lindberg, Miller, Bostic, and Solow were each knowingly parties to the carrying

on of the Debtors’ businesses, and voluntarily assumed fiduciary duties to each of the Debtors, as

well as a duty to exercise care, skill, and diligence, by undertaking to perform the following

functions for, or having assumed a responsibility to, each of the Debtors as would thereby



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reasonably entitle the Debtors to expect that Lindberg, Miller, Bostic, and Solow would act in the

Debtors’ interest to the exclusion of their own or a third party’s interest:

      (a)   Lindberg, Miller, Bostic, and Solow held unfettered discretion to transfer cash and
            other assets in and out of the Debtors.

      (b)   Lindberg, Miller, Bostic, and Solow held all authority over the daily business
            operations and other affairs of the Debtors.

      (c)   The extent of delegation of decision-making power to Lindberg, Miller, Bostic, and
            Solow, in that corporate formalities were rarely if ever observed and the administrative
            steps of all transactions concerning the Debtors were ceded to Lindberg, Miller, Bostic
            and Solow (or their agents).

      (d)   The extent of the power that, through that delegation and influence, Lindberg, Miller,
            Bostic, and Solow had to affect the commercial interests of the Debtors (including by
            entering all financial transactions on Debtors’ behalf; including but not limited to the
            MOU and IALA).

        1810. To that extent, the Debtors were at the mercy of Lindberg and the Senior Decision

Makers and reliant upon them to act in their interests. This relationship meant that Lindberg and

the Senior Decision Makers owed the Debtors the fiduciary duties set out herein.

        1811. Each of Lindberg and the Senior Decision Makers, by virtue of their respective

positions at Global Growth and the Debtors, was in a relation of trust and confidence vis-à-vis the

Debtors, and was required to act in good faith and with due regard for each of the Debtors’

respective interest.

        1812. Each of Lindberg and the Senior Decision Makers undertook the transactions

described herein with the intent to benefit themselves and each other, taking advantage of their

position of trust to the detriment of the Debtors.

        1813. The actions taken by each of Lindberg and the Senior Decision Makers proximately

caused each of the Debtors to suffer economic injury and damages.



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        1814. The Plaintiffs are entitled to avoid the transfers and obligations incurred herein as

against Lindberg and/or the Lindberg Affiliates: (i) as the first transferee of the asset for whose

benefit the transfer was made; or (ii) an immediate or mediate transferee of the first transferee.

                                    COUNT IV
Avoidance and Recovery of Actual Fraudulent Transfers Pursuant to North Carolina Law
       Under North Carolina Uniform Voidable Transactions Act § 39-23.4(a)(1)

  (Lindberg; Debtor Investment Counterparties; Lindberg Affiliates (as Transferees and
                               Subsequent Transferees)

        1815. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1816. The Debtor Investment Counterparties intentionally transferred assets received

from the Debtors to Lindberg and the Lindberg Affiliates.

        1817. Plaintiffs seek to avoid the overarching transfers from (i) the Debtor Investment

Counterparties to the Lindberg Affiliates, and (ii) the Debtor Investment Counterparties to

Lindberg.

        1818. Plaintiffs do not seek to avoid the component transactions by which the overarching

transfers from the Debtor Investment Counterparties to either the Lindberg Affiliates or Lindberg

were executed.

        1819. The transfers were made with knowledge that the Debtor Investment Counterparties

would be unable to pay the claims of their creditors as a result of said transfers.

        1820. The Debtor Investment Counterparties, Lindberg, and the Lindberg Affiliates used

the assets for their sole benefit, or intentionally transferred the assets to another Lindberg Affiliate.

        1821. The Debtor Investment Counterparties, Lindberg, and the Lindberg Affiliates knew

that the transfers would enrich Lindberg and/or the Lindberg Affiliates to the detriment of the

Debtors.

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        1822. The Debtor Investment Counterparties, Lindberg, and the Lindberg Affiliates knew

the Debtors would receive no consideration or equivalent value as a result of the Debtor Investment

Counterparties’ transfers to Lindberg and/or the Lindberg Affiliates, and any subsequent transfer

thereafter to another Lindberg Affiliate.

        1823. The Debtor Investment Counterparties, Lindberg, and the Lindberg Affiliates knew

that at the time of the transfers, the Debtors were insolvent or would be rendered insolvent by the

transfers.

        1824. The Debtor Investment Counterparties, Lindberg, and the Lindberg Affiliates

intended the consequences of their actions.

        1825. The Debtors, as creditors of the Debtor Investment Counterparties, have standing

to avoid the fraudulent transfers made by the Debtor Investment Counterparties to Lindberg and/or

the Lindberg Affiliates.

        1826. The Debtors also have standing to sue those Lindberg Affiliates that were

subsequent transferees of said transfers.

        1827. JPLs, as the Debtors’ foreign representatives, have the rights and powers to bring

such claims on behalf of the Debtors.

        1828. The transfers were made with actual intent to hinder, delay or defraud the Debtors

and enrich and benefit the Debtor Investment Counterparties, Lindberg, the Lindberg Affiliates

and any and all subsequent transferees.

        1829. Lindberg, as initial transferee and subsequent transferee, did not take the transfers

in good faith or for value.

        1830. The Lindberg Affiliates, as initial transferees and subsequent transferees, did not

take the transfers in good faith or for value.


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        1831. The Plaintiffs are entitled to avoid the transfers and obligations incurred herein as

against Lindberg and/or the Lindberg Affiliates: (i) as the first transferee of the asset for whose

benefit the transfer was made; or (ii) an immediate or mediate transferee of the first transferee.

                                      COUNT V
     Avoidance and Recovery of Constructive Fraudulent Transfers Pursuant to North
                                    Carolina Law
         Under North Carolina Uniform Voidable Transactions Act §39-23.4(a)(2)

  (Lindberg; Debtor Investment Counterparties; Lindberg Affiliates (as Transferees and
                               Subsequent Transferees)

        1832. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1833. The Debtors made the transfers and incurred the obligations to the Debtor

Investment Counterparties, the Lindberg Affiliates, and/or Lindberg without receiving a

reasonably equivalent value in exchange for the transfer or obligation, and the Debtors (i) were

engaged or were about to engage in a business or a transaction for which the remaining assets of

the Debtors were unreasonably small in relation to the business or transaction; or (ii) intended to

incur, or believed or reasonably should have believed that the Debtors would incur, debts beyond

the Debtors’ ability to pay as they became due.

        1834. Plaintiffs seek to avoid the overarching transfers from (i) the Debtor Investment

Counterparties to the Lindberg Affiliates, and (ii) the Debtor Investment Counterparties to

Lindberg.

        1835. Plaintiffs do not seek to avoid the component transactions by which the overarching

transfers from the Debtor Investment Counterparties to either the Lindberg Affiliates or Lindberg

were executed.




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        1836. None of the Debtor Investment Counterparties, the Lindberg Affiliates, or Lindberg

is a commodity broker, forward contract merchant, stockbroker, financial institution, financial

participant, or securities clearing agency.

        1837. None of the transfers constitute a margin payment or settlement payment made by,

or to, or for the benefit of, a commodity broker, forward contract merchant, stockbroker, financial

institution, financial participant, or securities clearing agency.

        1838. None of the transfers were made by, or to, or for the benefit of, a commodity broker,

forward contract merchant, stockbroker, financial institution, financial participant, or securities

clearing agency, in connection with a securities contract, commodity contract, or forward contract,

that is made before the commencement of these Chapter 15 cases.

        1839. Any financial institutions or securities clearing agencies that either received or

disbursed the transfers from the Debtor Investment Counterparties to the Lindberg Affiliates

and/or Lindberg were either mere conduits or intermediaries, and not transferees.

        1840. No commodity broker, forward contract merchant, stockbroker, financial

institution, financial participant, or securities clearing agency acted as an actual or implied agent

for any of the Debtors, the Debtor Investment Counterparties, the Lindberg Affiliates, or Lindberg.

        1841. The Debtors, as creditors of the Debtor Investment Counterparties, have standing

to avoid the fraudulent transfers made by the Debtor Investment Counterparties to the Lindberg

Affiliates and/or Lindberg.

        1842. The Debtors have standing to sue Lindberg and/or those Lindberg Affiliates that

were subsequent transferees of said transfers.

        1843. JPLs, as the Debtors’ foreign representatives, have the rights and powers to bring

such claims on behalf of the Debtors.


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        1844. By reason of the foregoing, the transfers and subsequent transfers are constructively

fraudulent as to the Debtors.

                                     COUNT VI
     Avoidance and Recovery of Constructive Fraudulent Transfers Pursuant to North
                                    Carolina Law
           Under North Carolina Uniform Voidable Transactions Act §39-23.5

  (Lindberg; Debtor Investment Counterparties; Lindberg Affiliates (as Transferees and
                               Subsequent Transferees)

        1845. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1846. The Debtors made the transfers and incurred the obligations to the Debtor

Investment Counterparties without receiving a reasonably equivalent value in exchange for the

transfers or obligations, and the Debtors were insolvent at that time, or the Debtors became

insolvent as a result of the transfers or obligations.

        1847. Plaintiffs seek to avoid the overarching transfers from (i) the Debtor Investment

Counterparties to the Lindberg Affiliates, and (ii) the Debtor Investment Counterparties to

Lindberg.

        1848. Plaintiffs do not seek to avoid the component transactions by which the overarching

transfers from the Debtor Investment Counterparties to the Lindberg Affiliates and/or Lindberg

were executed.

        1849. None of the Debtor Investment Counterparties, the Lindberg Affiliates or Lindberg

is a commodity broker, forward contract merchant, stockbroker, financial institution, financial

participant, or securities clearing agency.

        1850. None of the transfers constitute a margin payment or settlement payment made by,

or to, or for the benefit of, a commodity broker, forward contract merchant, stockbroker, financial

institution, financial participant, or securities clearing agency.
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        1851. None of the transfers were made by, or to, or for the benefit of, a commodity broker,

forward contract merchant, stockbroker, financial institution, financial participant, or securities

clearing agency, in connection with a securities contract, commodity contract, or forward contract,

that is made before the commencement of these Chapter 15 cases.

        1852. Any financial institutions or securities clearing agencies that either received or

disbursed the transfers from the Debtor Investment Counterparties to the Lindberg Affiliates

and/or Lindberg were either mere conduits or intermediaries, and not transferees.

        1853. No commodity broker, forward contract merchant, stockbroker, financial

institution, financial participant, or securities clearing agency acted as an actual or implied agent

for any of the Debtors, the Debtor Investment Counterparties, the Lindberg Affiliates, or Lindberg.

        1854. The Debtors, as creditors of the Debtor Investment Counterparties, have standing

to avoid the fraudulent transfers made by the Debtor Investment Counterparties to the Lindberg

Affiliates and/or Lindberg.

        1855. The Debtors have standing to sue Lindberg and/or those Lindberg Affiliates that

were subsequent transferees of said transfers.

        1856. JPLs, as the Debtors’ foreign representatives, have the rights and powers to bring

such claims on behalf of the Debtors.

        1857. By reason of the foregoing, the transfers and subsequent transfers are constructively

fraudulent as to the Debtors.




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                                      COUNT VII
   Avoidance of Fraudulently Incurred Indebtedness and Recovery of Actual Fraudulent
                      Transfers Pursuant to North Carolina Law
        Under North Carolina Uniform Voidable Transactions Act § 39-23.4(a)(1)

                                            (NCIC)

        1858. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1859. By virtue of the MOU and IALA, the Lindberg Affiliates and the Debtor Investment

Counterparties fraudulently incurred indebtedness and/or intentionally transferred assets received

from the Debtors to NCIC.

        1860. Plaintiffs seek to avoid the overarching transfers from (i) the Debtor Investment

Counterparties to the Lindberg Affiliates, and (ii) the Debtor Investment Counterparties to

Lindberg.

        1861. Plaintiffs do not seek to avoid the component transactions by which the overarching

transfers from the Debtor Investment Counterparties to either the Lindberg Affiliates or Lindberg

were executed.

        1862. NCIC used the assets for their sole benefit.

        1863. The Debtor Investment Counterparties and the Lindberg Affiliates knew that the

transfers would enrich NCIC to the detriment of the Debtors.

        1864. The Debtor Investment Counterparties and the Lindberg Affiliates knew the

Debtors would receive no consideration or equivalent value as a result of the transfers to NCIC.

        1865. The Debtor Investment Counterparties, the Lindberg Affiliates, and NCIC knew

that at the time of the transfers, the Debtors were insolvent or would be rendered insolvent by the

transfers.



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        1866. The Debtor Investment Counterparties, the Lindberg Affiliates, and NCIC intended

the consequences of their actions.

        1867. The Debtors, as creditors of the Debtor Investment Counterparties, have standing

to avoid the fraudulent transfers made by the Debtor Investment Counterparties to NCIC.

        1868. JPLs, as the Debtors’ foreign representatives, have the rights and powers to bring

such claims on behalf of the Debtors.

        1869. The transfers were made with actual intent to hinder, delay, or defraud the Debtors

and enrich and benefit NCIC and any and all subsequent transferees.

        1870. NCIC, as initial transferees and subsequent transferees, knowingly did not take the

transfers in good faith or for value.

        1871. The Plaintiffs are entitled to avoid the transfers and obligations incurred herein as

against NCIC: (i) as the first transferee of the asset for whose benefit the transfer was made; or

(ii) an immediate or mediate transferee of the first transferee.

                                     COUNT VIII
      Avoidance of Fraudulently Incurred Indebtedness and Recovery of Constructive
                 Fraudulent Transfers Pursuant to North Carolina Law
         Under North Carolina Uniform Voidable Transactions Act §39-23.4(a)(2)

                                              (NCIC)

        1872. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1873. By virtue of the MOU and IALA, the Debtors made the transfers and fraudulently

incurred the obligations to NCIC without receiving a reasonably equivalent value in exchange for

the transfer or obligation, and the Debtors (i) were engaged or were about to engage in a business

or a transaction for which the remaining assets of the Debtors were unreasonably small in relation

to the business or transaction; or (ii) intended to incur, or believed or reasonably should have

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believed that the Debtors would incur, debts beyond the Debtors’ ability to pay as they became

due.

        1874. Plaintiffs seek to avoid the overarching transfers from the Debtors to NCIC.

        1875. Plaintiffs do not seek to avoid the component transactions by which the overarching

transfers from the Debtors to NCIC were executed.

        1876. None of the NCIC is a commodity broker, forward contract merchant, stockbroker,

financial institution, financial participant, or securities clearing agency.

        1877. None of the transfers or incurrences of indebtedness constitute a margin payment

or settlement payment made by, or to, or for the benefit of, a commodity broker, forward contract

merchant, stockbroker, financial institution, financial participant, or securities clearing agency.

        1878. None of the transfers or incurrences of indebtedness were made by, or to, or for the

benefit of, a commodity broker, forward contract merchant, stockbroker, financial institution,

financial participant, or securities clearing agency, in connection with a securities contract,

commodity contract, or forward contract, that is made before the commencement of these Chapter

15 cases.

        1879. Any financial institutions or securities clearing agencies that either received or

disbursed the transfers from the Debtors to NCIC were either mere conduits or intermediaries, and

not transferees.

        1880. No commodity broker, forward contract merchant, stockbroker, financial

institution, financial participant, or securities clearing agency acted as an actual or implied agent

for any of the Debtors or NCIC.

        1881. JPLs, as the Debtors’ foreign representatives, have the rights and powers to bring

such claims on behalf of the Debtors.


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        1882. By reason of the foregoing, the transfers and subsequent transfers are constructively

fraudulent as to the Debtors.

                                      COUNT IX
      Avoidance of Fraudulently Incurred Indebtedness and Recovery of Constructive
                 Fraudulent Transfers Pursuant to North Carolina Law
           Under North Carolina Uniform Voidable Transactions Act §39-23.5

                                               (NCIC)

        1883. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1884. By virtue of the MOU and IALA, the Debtors made the transfers and fraudulently

incurred the obligations to NCIC without receiving a reasonably equivalent value in exchange for

the transfers or obligations, and the Debtors were insolvent at that time, or the Debtors became

insolvent as a result of the transfers or obligations.

        1885. Plaintiffs seek to avoid the overarching transfers from the Debtors to NCIC.

        1886. Plaintiffs do not seek to avoid the component transactions by which the overarching

transfers from the Debtors to NCIC were executed.

        1887. None of the Debtors or NCIC is a commodity broker, forward contract merchant,

stockbroker, financial institution, financial participant, or securities clearing agency.

        1888. None of the transfers or incurrences of indebtedness constitute a margin payment

or settlement payment made by, or to, or for the benefit of, a commodity broker, forward contract

merchant, stockbroker, financial institution, financial participant, or securities clearing agency.

        1889. None of the transfers or incurrences of indebtedness were made by, or to, or for the

benefit of, a commodity broker, forward contract merchant, stockbroker, financial institution,

financial participant, or securities clearing agency, in connection with a securities contract,



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commodity contract, or forward contract, that is made before the commencement of these Chapter

15 cases.

        1890. Any financial institutions or securities clearing agencies that either received or

disbursed the transfers from the Debtors to NCIC were either mere conduits or intermediaries, and

not transferees.

        1891. No commodity broker, forward contract merchant, stockbroker, financial

institution, financial participant, or securities clearing agency acted as an actual or implied agent

for any of the Debtors or NCIC.

        1892. JPLs, as the Debtors’ foreign representatives, have the rights and powers to bring

such claims on behalf of the Debtors.

        1893. By reason of the foregoing, the transfers and subsequent transfers are constructively

fraudulent as to the Debtors.

                                        COUNT X
            Avoidance and Recovery of Fraudulent Transfer of Assets Pursuant to
                     Part IV A of the Bermuda Conveyancing Act 1983

                                (Debtor Investment Counterparties)

        1894. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1895. The Debtors directly or indirectly (i) made a disposition of their property or any

interest in property, or (ii) caused such a disposition of their property or any interest in property to

be made to the Debtor Investment Counterparties.

        1896. The Debtors’ disposition of their property to the Debtor Investment Counterparties

was made for no or substantially undervalued consideration and therefore was at an undervalue.




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        1897. Alternatively, the value of the consideration given was, in money or money’s worth,

significantly less than the value, in money or money’s worth, of the property disposed of and

therefore was at an undervalue.

        1898. The Senior Decision Makers, in breach of their fiduciary duties to the Debtors,

directly or indirectly made or caused the Debtors to make a disposition of their property or any

interest in property to the Debtor Investment Counterparties. As a result, the Senior Decision

Makers are “transferors” of the Debtors’ property pursuant to Bermuda statute.

        1899. The Senior Decision Makers’ dominant purpose in causing the Debtors’ transfers

to the Debtor Investment Counterparties was to deprive the Debtors of assets and to insulate the

Senior Decision Makers from claims that might be made against them by doing so.

        1900. The Senior Decision Makers’ breach of fiduciary duties, and subsequent actions in

causing the Debtors to make a disposition of their property to the Debtor Investment

Counterparties, results in the Debtors being eligible creditors that can assert a claim for fraudulent

transfer within the meaning of Part IV A of the Fraudulent Conveyancing Act 1983 of Bermuda.

        1901. JPLs, as the Debtors’ foreign representatives, have the rights and powers to bring

such claims on behalf of the Debtors.

        1902. The Plaintiffs are entitled to avoid the transfers and obligations incurred herein as

against the Lindberg and/or the Lindberg Affiliates: (i) as the first transferee of the asset for whose

benefit the transfer was made; or (ii) an immediate or mediate transferee of the first transferee.




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                                       COUNT XI
           Avoidance and Recovery of Fraudulent Transfer of Assets Pursuant to
                    Part IV A of the Bermuda Conveyancing Act 1983

    (Lindberg; Lindberg Affiliates (as Transferees and Subsequent Transferees); NCIC)

        1903. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1904. The Debtors directly or indirectly (i) made a disposition of their property or any

interest in property, or (ii) caused such a disposition of their property or any interest in property to

be made to the Debtor Investment Counterparties.

        1905. The Debtors’ disposition of their property to the Debtor Investment Counterparties

was made for no or substantially undervalued consideration and therefore was at an undervalue.

        1906. Alternatively, the value of the consideration given was, in money or money’s worth,

significantly less than the value, in money or money’s worth, of the property disposed of and

therefore was at an undervalue.

        1907. The Debtor Investment Counterparties and other entities in the transactional

“chain” of transactions pled herein between the Debtors and the ultimate recipients (the

“Transferors”) made relevant dispositions of property (i.e. the onward transfer of assets directly

or indirectly received from the Debtors).

        1908. The Transferors owed obligations to the Debtors (whether in debt under the

contracts by which they acquired the relevant assets from the Debtors or by reason of other

wrongdoing alleged herein) at the time of the relevant dispositions, or came to owe such

obligations on or within two years of the relevant dispositions, and the relevant Debtors were

reasonably foreseeable as creditors of the Transferors, so that they are “transferors” within the

meaning of the statute, and the Debtors are “eligible creditors”.


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        1909. The Transferors did so with the dominant purpose of putting the assets beyond the

reach of the Debtors and defeating any claim that the Debtors might have against them (not least

by depleting their own assets, so that there would be little or no assets against which the Debtors

could enforce their claims).

        1910. The JPLs, as foreign representatives of the Debtors, are therefore entitled to avoid

them and are specifically entitled to orders (i) avoiding and setting aside all transfers made from

each of the Debtors to (ultimately) the NCIC, the Lindberg Affiliates, Lindberg and other ultimate

recipients; and (ii) directing the ultimate recipients to turn over the property transferred or the

value thereof to the Debtors.

                                     COUNT XII
      Declaratory Judgment Voiding the IALA and MOU Pursuant to Bermuda Law

(Lindberg; Herwig; Lindberg Affiliates; Debtor Investment Counterparties; NCIC; SACs;
             EMAM; NEC; MOU Affected Parties; IALA Affected Parties)

        1911. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1912. The investment modifications purportedly instituted under the MOU and IALA

expressly required prior written approval from the BMA, which was never obtained.

        1913. As set forth in the Lamb Affidavit filed with this Court on May 5, 2022, Lindberg,

Herwig, the Lindberg Affiliates, the Debtor Investment Counterparties, and NCIC knew they

needed the prior approval of the BMA to impair the Debtors’ assets, yet they failed to obtain the

required prior approval prior to executing the MOU and IALA.

        1914. The NCIC and their agents and representatives knew, as a result of the BMA’s not

having approved the MOU and IALA, that the MOU and IALA could not be in the interests of the

Debtors.


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        1915. The MOU and IALA adversely modified the economic terms of over $500 million

of debt and preferred equity held by the Debtors by imposing lengthy maturity extensions of up to

nine years, interest rate deferrals and reductions, and other waivers, for absolutely no

consideration.

        1916. There is insufficient evidence that PBLA was duly authorized to execute the MOU

or IALA, and the JPLs have not been provided any corporate resolutions or other corporate

formalities authorizing same.

        1917. There is insufficient evidence that any of Northstar, Omnia, and PBIHL was duly

authorized to be bound by the MOU or IALA, since none executed the MOU or IALA, and the

JPLs have not been provided any corporate resolutions or other corporate formalities authorizing

same.

        1918. The entry into the MOU and IALA on behalf of Debtors was an ultra vires act in

that it was undertaken without either actual or apparent authority, and for that reason incapable of

binding the Debtors.

        1919. The only consideration the Lindberg Affiliates, Debtor Investment Counterparties,

and NCIC received for the MOU were the loan concessions under the IALA. The IALA is ultra

vires, in that there was no actual or apparent authority to enter into a transaction for no

consideration on behalf of the Debtors, and for that reason is incapable of binding the Debtors. As

a result, the MOU is also invalid for failure of consideration and/or by virtue of an absence of

authority which is attributable to a failure of consideration.

        1920. The only law firms which may have been engaged for any Debtor in connection

with the negotiation and execution of the IALA and MOU—Cadwalader and MVA—have

repeatedly disclaimed any engagement by or for a Debtor, including with MVA as recently as the


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May 12, 2022 hearing in the Chapter 15 Proceeding, leaving the Debtors without any

representation in the entry of the MOU and IALA. In properly authorized negotiations of this scale

and significance, corporate entities such as the Debtors would have been represented by counsel

whose role would be to ensure their interests were adequately protected. When questioned under

oath by the Court in the MOU trial, Lindberg could not testify that any Debtor was so represented,

terming it “a good question.” The Debtors’ lack of counsel in the negotiation and execution of the

MOU and IALA, and the knowledge of all parties to the MOU and IALA that the Debtors were

not represented by counsel, demonstrates the MOU and IALA were not properly authorized by the

Debtors.

        1921. With respect to assets held in the Trusts established for the benefit of ULICO, the

Trustee (then Bank of New York Mellon, now TMI Trust Company) was not a party to the IALA

or MOU, so the purported modifications cannot possibly be binding on assets held in the Trusts.

        1922. The modifications purportedly made pursuant to the IALA and MOU represent

avoidable transactions on the basis that they were made when the Debtors were insolvent (or

rendered insolvent) for no consideration such that, for the reasons given elsewhere:


           (i) no valid consideration was given for the contractual obligations allegedly
           modified;

           (ii) the MOU and IALA were executed for a substantial improper purpose, in
           breach of the duty of Lindberg, the Senior Decision Makers, CBL (as agent) and
           SNIC (as agent) to exercise their powers only for the purposes for which they
           are conferred;

           (iii) the modifications were conducted without the actual or apparent authority
           of the Debtors; and

           (iv) any purported gratuitous disposition of the Debtors’ property amounted to
           an unlawful disguised distribution of capital and/or an unlawful gratuitous
           corporate gift.

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Improper Purpose Transaction

        1923. Lindberg and the Senior Decision Makers, by causing the Debtors’ assets to be

included in the MOU and IALA, exercised a fiduciary power for a substantial purpose outside the

purposes for which that power had been conferred – namely, alleviating regulatory pressures on

the NCIC at the Debtors’ expense – constituting a breach of the “proper purpose” fiduciary duty

under Bermuda law.

        1924. This transaction was in breach of the proper purpose duty and/or as a result of that

breach, such that the MOU and IALA are void or, alternatively, voidable, and the Plaintiffs have

elected to avoid the MOU and IALA in commencing the present proceedings.

                                     COUNT XIII
   Declaratory Judgment Voiding the IALA and MOU Pursuant to North Carolina Law

(Lindberg; Herwig; Lindberg Affiliates; Debtor Investment Counterparties; NCIC; SACs;
             EMAM; NEC; MOU Affected Parties; IALA Affected Parties)

        1925. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1926. A real controversy exists between the Plaintiffs; Lindberg; Herwig; the Lindberg

Affiliates; Debtor Investment Counterparties; NCIC; SACs; EMAM; NEC; MOU Affected

Parties; and IALA Affected Parties in that: (i) the investment modifications purportedly instituted

under the MOU and IALA expressly required prior written approval from the BMA, which was

never obtained, and; (ii) the failure of consideration given to the Debtors in exchange for having

their interests adversely affected by the MOU and IALA.

        1927. As set forth in the Lamb Affidavit filed with this Court on May 5, 2022, Lindberg,

the Lindberg Affiliates, the Debtor Investment Counterparties, and NCIC knew they needed the




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prior approval of the BMA to impair the Debtors’ assets, yet they failed to obtain the required prior

approval prior to executing the MOU and IALA.

        1928. Consideration is a necessary element for the formation of an enforceable contract.

        1929. The MOU and IALA adversely modified the economic terms of over $500 million

of debt and preferred equity held by the Debtors by imposing lengthy maturity extensions of up to

nine years, interest rate deferrals and reductions, and other waivers, for absolutely no

consideration.

        1930. There is insufficient evidence that PBLA was duly authorized to execute the MOU

or IALA, and the JPLs have not been provided any corporate resolutions or other corporate

formalities authorizing same.

        1931. There is insufficient evidence that any of Northstar, Omnia, and PBIHL was duly

authorized to be bound by the MOU or IALA, since none executed the MOU or IALA, and the

JPLs have not been provided any corporate resolutions or other corporate formalities authorizing

same. The entry into the MOU and IALA on behalf of Debtors was an ultra vires act.

        1932. The only law firms which may have been engaged for any Debtor in connection

with the negotiation and execution of the IALA and MOU—Cadwalader and MVA—have

repeatedly disclaimed any engagement by or for a Debtor, including with MVA as recently as the

May 12, 2022 hearing in the Chapter 15 Proceeding, leaving the Debtors without any

representation in the entry of the MOU and IALA. In properly authorized negotiations of this scale

and significance, corporate entities such as the Debtors would have been represented by counsel

whose role would be to ensure their interests were adequately protected and that when questioned

under oath by the Court in the MOU trial, Lindberg could not testify that any Debtor was so

represented, terming it “a good question.” The Debtors’ lack of counsel in the negotiation and


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execution of the MOU and IALA, and the knowledge of all parties to the MOU and IALA that the

Debtors were not represented by counsel, demonstrates the MOU and IALA were not properly

authorized by the Debtors.

        1933. With respect to assets held in the Trusts established for the benefit of ULICO, the

Trustee (then Bank of New York Mellon, now TMI Trust Company) was not a party to the IALA

or MOU, so the purported modifications cannot possibly be binding on assets held in the Trusts.

        1934. The Plaintiffs and the defendants hold opposing views as to the validity of the MOU

and IALA.

        1935. The Plaintiffs and defendants herein have or may have legal rights, or are or may

be under legal liabilities concerning the MOU and IALA, and on the facts admitted in the pleadings

or established at the trial, this Court may render judgment, declaring the rights and liabilities of

the respective parties, as between or among themselves, and affording the relief to which the

parties are entitled under the judgment.

                                         COUNT XIV
                      Breach of Fiduciary Duty Pursuant to Bermuda Law

                             (Lindberg; Herwig; Senior Decision Makers)

        1936. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1937. Herwig was a director of PBLA, Northstar, Omnia, and PBIHL from 2017 through

2020. By virtue of that role, he owed the Debtors fiduciary duties, including but not limited to the

duties set out more particularly below.

        1938. Herwig was under a fiduciary duty to exercise powers conferred upon him only for

a proper purpose. As alleged supra, Herwig breached this fiduciary duty by causing the Debtors

to engage in the various fraudulent transactions with the various substantial improper purposes

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detailed herein, and by causing the Debtors’ assets to be included in the MOU and IALA. Herwig’s

exercise of these powers was not delegated to him by any of the Debtors, served no substantial

purpose for any of the Debtors’ businesses, and the purpose was improper.

        1939. Herwig also breached his duty to each of the Debtors to have regard to the interests

of their respective creditors. As alleged supra, Herwig breached this duty by causing the Debtors

(without any or any proper or sufficient regard to the interests of their creditors) to engage in the

various fraudulent transactions detailed herein, and by causing the Debtors’ assets to be included

in the MOU and IALA, in circumstances in which the Debtors were insolvent or bordering

insolvency, or where an insolvent liquidation was more probable than not, and Herwig knew, or

ought to have known, that each of the Debtors were insolvent or bordering on insolvency, or that

an insolvent liquidation was probable.

        1940. On December 22, 2022, Herwig pled guilty to one count of conspiracy to defraud

the United States government.

        1941. Lindberg was a director of PBLA in 2017 only (and owed the fiduciary duties set

out below for this period by virtue of this office), and was never a de jure Director of Northstar,

Omnia, or PBIHL.

        1942. Miller, Bostic, and Solow were never de jure Directors of PBLA, Northstar, Omnia,

or PBIHL.

        1943. Lindberg, Miller, Bostic, and Solow voluntarily assumed fiduciary duties to each

of the Debtors, as well as a duty to exercise care, skill, and diligence, by undertaking to perform

the following functions for, or by assuming a responsibility to, each of the Debtors as would

thereby reasonably entitle the Debtors to expect that Lindberg and the other Senior Decision

Makers would act in the Debtors’ interest to the exclusion of their own or a third party’s interest:


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      (a)    The fact that Lindberg, Miller, Bostic, and Solow held unfettered discretion to transfer
             cash and other assets in and out of the Debtors.

      (b)    The fact that Lindberg, Miller, Bostic, and Solow held all authority over the daily
             business operations and other affairs of the Debtors.



       (c)    The extent of delegation of decision-making power to Lindberg, Miller, Bostic, and
              Solow, in that corporate formalities were rarely if ever observed and the
              administrative steps of all transactions concerning the Debtors were ceded to
              Lindberg and the Senior Decision Makers or their agents.

      (d)    The extent of the power that, through that delegation and influence, Lindberg, Miller,
             Bostic, and Solow had to affect the commercial interests of the Debtors (including by
             entering all financial transactions on Debtors’ behalf; including but not limited to the
             MOU and IALA).

        1944. To that extent, the Debtors were at the mercy of Lindberg, Miller, Bostic, and

Solow and reliant upon them to act in their interests. This relationship meant that Lindberg and the

Senior Decision Makers owed the Debtors the duties set out below.

        1945. Lindberg and the Senior Decision Makers owed each of the Debtors a duty to act

honestly and in good faith with a view to the Debtors’ best interests. As alleged supra, Lindberg

and the Senior Decision Makers breached this duty by causing the Debtors to engage in the various

fraudulent transactions detailed herein, through and with the involvement and use of SASL, SICL,

SFL, and similar entities to enrich themselves, among other things; by causing the Debtors’ assets

to be included in the MOU and IALA.

        1946. Lindberg and the Senior Decision Makers each owed a duty to exercise their powers

only for the purposes for which they were conferred. As alleged supra, Lindberg and the Senior

Decision Makers breached this duty by causing the Debtors to engage in the various fraudulent



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transactions (with the substantial improper purposes) detailed herein, and by causing the Debtors’

assets to be included in the MOU and IALA.

        1947. Lindberg and the Senior Decision Makers each owed a duty to avoid a situation in

which their duties to the Debtors conflicted, or possibly might conflict, with their duties to any

other person or with their own interests. As alleged supra, Lindberg and the Senior Decision

Makers breached this duty by causing the Debtors to engage in the various fraudulent transactions

detailed herein, and by causing the Debtors’ assets to be included in the MOU and IALA.

        1948. Lindberg and the Senior Decision Makers owed each of the Debtors a duty to act

honestly and in good faith with a view to the Debtors’ best interests. As alleged supra, Lindberg

and the Senior Decision Makers breached this duty by causing the Debtors to engage in the various

fraudulent transactions detailed herein, through and with the involvement and use of SASL, SICL,

SFL, and similar entities to enrich themselves, among other things, and by causing the Debtors’

assets to be included in the MOU and IALA.

        1949. Lindberg and the Senior Decision Makers were required to exercise care, diligence

and skill concerning the Debtors’ businesses that a reasonably prudent person would exercise in

comparable circumstances. As alleged supra, Lindberg and the Senior Decision Makers breached

this duty, and failed to act as a reasonably prudent individual in comparable circumstances would

have acted, and failed to act with the requisite degree of care, skill and diligence, by causing the

Debtors to engage in the various fraudulent transactions detailed herein, and by causing the

Debtors’ assets to be included in the MOU and IALA, each being acts which no reasonably

competent individual, acting in the best interests of the Debtors, would have carried out.




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          1950. By orchestrating and implementing the foregoing putative “investments” that

benefited Lindberg personally and his non-Debtor Lindberg Affiliates, and in breach of the

aforementioned duties, the Senior Decision Makers caused harmed to the Debtors.

          1951. Lindberg and the Senior Decision Makers improperly received bonuses upon the

closing of the foregoing “investments,” personally benefitting Lindberg and the Senior Decision

Makers and causing harm to the Debtors in breach of the aforementioned duties.

          1952. By implementing the foregoing transactions under the IALA and MOU that

benefited Lindberg personally, his non-Debtor Lindberg Affiliates and the NCIC, the Senior

Decision Makers caused harm to the Debtors in breach of the aforementioned duties. The Senior

Decision Makers’ actions failed to abide by the ordinary standards of reasonable and honest

people.

          1953. Lindberg and the Senior Decision Makers knew their conduct was dishonest by

those standards and/or knew that the actions taken were contrary to the interests of the Debtors

and/or were recklessly indifferent as to whether the actions taken were contrary to the interests of

the Debtors or not.

          1954. As a result, Lindberg and the Senior Decision Makers breached the fiduciary duties

and the duty of care, skill, and diligence that they owed to the Debtors.

                                    COUNT XV
   Avoidance and Recovery of Fraudulent Transfer of Assets Pursuant to Bermuda Law
                           (Improper Purpose Transaction)

                               (Debtor Investment Counterparties)

          1955. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.




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        1956. Lindberg and the Senior Decision Makers, by causing the Debtors’ assets to be

transferred to the Debtor Investment Counterparties, exercised a power for a substantial purpose

outside the purposes for which that power had been conferred, constituting a breach of the “proper

purpose” duty under Bermuda law.

        1957. To the extent that the Debtors transferred assets to the Debtor Investment

Counterparties in breach of the proper purpose duty and/or to the extent that any such transfers

were caused by such a breach, such transactions were void or, alternatively, voidable, and the

Plaintiffs have elected to avoid them in commencing the present proceedings.

        1958. Plaintiffs are entitled to declaratory judgment that the transfers to the Debtor

Investment Counterparties are void, thereby restoring the Debtors’ position to that if the

transactions had never been made.

                                      COUNT XVI
       Declaratory Relief Pursuant to Bermuda Law as to the Effect of Transactions
                         Purportedly Entered Into by the Debtors

                         (Lindberg; Lindberg Affiliates; Global Growth)

        1959. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1960. Lindberg did not respect the separateness of the Debtors, the Debtor Investment

Counterparties, or the Lindberg Affiliates in his dealings with the Debtors, the Debtor Investment

Counterparties and the Lindberg Affiliates.

        1961. The lack of internal controls at Global Growth allowed Lindberg to commingle

assets and transfer money between the Debtors, the Debtor Investment Counterparties, and the

Lindberg Affiliates freely whenever the need for funds arose (including without limitation the

examples cited above).


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        1962. Lindberg failed to adhere to corporate formalities and appropriate governance

procedures, including the lack of financial controls and accurate recordkeeping, the failure to

properly perform due diligence before making investments, the failure to monitor investments or

comply with loan covenants, the failure to obtain required corporate and regulatory consents, and

the failure to maintain adequate capitalization.

        1963. The purpose of these actions was to create a complex web of companies behind the

Debtor Investment Counterparties into which the Debtors’ funds disappeared and were concealed

from the purview of creditors and regulators, thereby making it extremely difficult if not

impossible for the Debtors to ever be repaid on loans or equity investments, to sell such

investments or otherwise realize value therefrom.

        1964. These transactions were shams as a matter of Bermuda law (the “Sham

Transactions”).

        1965. Lindberg, Global Growth, and the Lindberg Affiliates, as parties to the Sham

Transactions, did not intend to give effect to the purported terms of the Sham Transactions, but

rather: (i) intended to create different legal rights and obligations to those contained in the Sham

Transaction documents; or (ii) intended to use the purposed terms of the Sham Transactions to

give a false impression to third parties.

        1966. Lindberg used the Debtors, Global Growth, and Debtor Investment Counterparties

and the Lindberg Affiliates as agents or nominees so that Lindberg could receive property for his

personal use and benefit, as is more particularly pled herein. The Court is entitled to look through

or otherwise disregard the separate legal personality of those other parties on principles of agency

and/or under the “concealment principle” (to the extent they differ) when determining the liability

of Lindberg and other parties.


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        1967. Further or alternatively, the Debtors effected countless Sham Transactions the true

purpose, substance and effect of which was, as is more particularly pled supra, different from that

appearing on the face of the transaction documents that were used to paper them. To the extent of

that difference, the Sham Transactions were not intended to have the purported effect described

on the face of the relevant documents, which were used to convey a false impression of these

transactions to third parties and were (for that reason) Sham Transactions that had only the true

effect pled more particularly supra.

                                     COUNT XVII
    Piercing the Corporate Veil Pursuant to North Carolina Law to Reach the Assets of
                       Global Growth and the Lindberg Affiliates

        1968. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1969. Lindberg did not respect the separateness of the Debtors, the Debtor Investment

Counterparties, or the Lindberg Affiliates in his dealings with the Debtors, the Debtor Investment

Counterparties and the Lindberg Affiliates.

        1970. The lack of internal controls at Global Growth allowed Lindberg to commingle

assets and transfer money between the Debtors, the Debtor Investment Counterparties, and the

Lindberg Affiliates freely whenever the need for funds arose (including without limitation the

examples cited above).

        1971. The commingling of assets was necessary and occurred because the Debtor

Investment Counterparties and the Lindberg Affiliates were inadequately capitalized, often

perpetually.

        1972. Lindberg failed to adhere to corporate formalities and appropriate governance

procedures, including the lack of financial controls and accurate recordkeeping, the failure to


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properly perform due diligence before making investments, the failure to monitor investments or

comply with loan covenants, the failure to obtain required corporate and regulatory consents, and

the failure to maintain adequate capitalization.

        1973. Lindberg created and perpetuated a complex web of companies behind the Debtor

Investment Counterparties - excessively fragmenting a single enterprise into separate corporate

entities - into which the Debtors’ funds disappeared and were concealed from the purview of

creditors and regulators, thereby making it extremely difficult if not impossible for the Debtors to

ever be repaid on loans or equity investments, to sell such investments or otherwise realize value

therefrom.

        1974. Lindberg exercised complete domination over the Debtors so that none of the

Debtors had a separate existence from any of Global Growth, the Debtor Investment

Counterparties, and the Lindberg Affiliates. Lindberg completely dominated not only the finances

of Global Growth, the Debtor Investment Counterparties, and the Lindberg Affiliates, but of policy

and business practice so that none of Global Growth, the Debtor Investment Counterparties, and

the Lindberg Affiliates had at the time a separate mind, will or existence of its own.

        1975. This domination has been used to commit a fraud or wrong against the Debtors, to

perpetrate the violation of a statutory or other positive legal duty, or to perform or allow a dishonest

and unjust act and series of them in contravention of the Debtors’ legal rights.

        1976. The control and concomitant fraud caused injury or unjust loss to the Debtors.

        1977. As a result, this Court should pierce the corporate veils of Global Growth and the

Lindberg Affiliates to allow the Debtors, as creditors of and investors in the Debtor Investment

Counterparties, all of which are merely shell companies, to reach the assets of Global Growth and

all of the Lindberg Affiliates.


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                                      COUNT XVIII
 Piercing the Corporate Veils of the Debtor Investment Counterparties Pursuant to North
 Carolina Law to Reach the Assets of The Lindberg Affiliates as Subsequent Transferees

        1978. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1979. Lindberg did not respect the separateness of the Debtors, the Debtor Investment

Counterparties, or the Lindberg Affiliates in his dealings with the Debtors, the Debtor Investment

Counterparties and the Lindberg Affiliates.

        1980. The lack of internal controls at Global Growth allowed Lindberg to commingle

assets and transfer money between the Debtors, the Debtor Investment Counterparties, and the

Lindberg Affiliates freely whenever the need for funds arose (including without limitation the

examples cited above).

        1981. The commingling of assets was necessary and occurred because the Debtor

Investment Counterparties and the Lindberg Affiliates were inadequately capitalized, often

perpetually.

        1982. Lindberg failed to adhere to corporate formalities and appropriate governance

procedures, including the lack of financial controls and accurate recordkeeping, the failure to

properly perform due diligence before making investments, the failure to monitor investments or

comply with loan covenants, the failure to obtain required corporate and regulatory consents, and

the failure to maintain adequate capitalization.

        1983. Lindberg created and perpetuated a complex web of companies behind the Debtor

Investment Counterparties - excessively fragmenting a single enterprise into separate corporate

entities - into which the Debtors’ funds disappeared and were concealed from the purview of

creditors and regulators, thereby making it extremely difficult if not impossible for the Debtors to


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ever be repaid on loans or equity investments, to sell such investments or otherwise realize value

therefrom.

        1984. Lindberg exercised complete domination over the Debtors so that none of the

Debtors had a separate existence from any of Global Growth, the Debtor Investment

Counterparties, and the Lindberg Affiliates. Lindberg completely dominated not only the finances

of Global Growth, the Debtor Investment Counterparties, and the Lindberg Affiliates, but of policy

and business practice so that none of Global Growth, the Debtor Investment Counterparties, and

the Lindberg Affiliates had at the time a separate mind, will or existence of its own.

        1985. This domination has been used to commit a fraud or wrong against the Debtors, to

perpetrate the violation of a statutory or other positive legal duty, or to perform or allow a dishonest

and unjust act and series of them in contravention of the Debtors’ legal rights.

        1986. The control and concomitant fraud caused injury or unjust loss to the Debtors.

        1987. As a result, this Court should pierce the corporate veils of the Debtor Investment

Counterparties to allow the Debtors to reach the assets of subsequent transferees including the

Lindberg Affiliates, and the Operating Companies.

                                     COUNT XIX
Imposition of a Constructive Trust Over the Assets of Lindberg and Lindberg Affiliates as
                Subsequent Transferees Pursuant to North Carolina Law

        1988. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1989. Prior to the acts described herein, each of the Debtors held an interest in cash and

other liquid assets.

        1990. The JPLs, as the representatives of each of the Debtors, have a right to possession

of these assets on behalf of the Debtors and the Debtors’ respective creditors.


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        1991. Each of the Debtors, through the direction of Lindberg, entered into and executed

hundreds of transactions whereby the Debtors entered into various loans and preferred equity

investments with the Lindberg Affiliates with knowledge of the effect such transactions would

have on the Debtors’ future creditors, with the actual and specific intent to hinder, delay, or defraud

those creditors.

        1992. All subsequent transferees of the fraudulent transfers alleged herein have

wrongfully acquired their respective interest in the Debtors’ assets, continue to wrongfully possess

said assets, and are not entitled to continued possession of said assets.

        1993. As a result of the hundreds of transactions, over $500 million of the Debtors’ assets

were wrongfully transferred from the Debtors, at the detriment of the Debtors’ creditors.

        1994. The Lindberg Affiliates had no equitable title or rights to these assets.

                                       COUNT XX
   Substantive Consolidation of the Debtors with Global Growth, the Debtor Investment
                      Counterparties and Other Lindberg Affiliates

        1995. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1996. The Debtors, Global Growth, the Debtor Investment Counterparties, and the other

Lindberg Affiliates can be substantively consolidated for the following reasons: (i) there are

consolidated financial statements; (ii) there is a unity of interest and ownership among the Debtors,

Global Growth, the Debtor Investment Counterparties, and the other Lindberg Affiliates –

Lindberg; (iii) it is impossible to segregate and ascertain the individual assets and liabilities of the

Debtors, Global Growth, the Debtor Investment Counterparties, and Lindberg Affiliates; (iv)

Lindberg caused the transfers of assets among the Debtors, Global Growth, the Debtor Investment

Counterparties, and the Lindberg Affiliates without formal observance of corporate formalities;


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(v) Lindberg caused the commingling of assets and business functions; and (vi) there has been a

disregard of legal formalities.

        1997. In addition: (i) creditors dealt with the Debtors, Global Growth, the Debtor

Investment Counterparties, and the Lindberg Affiliates as a single economic unit and did not rely

on their separate identity in extending credit; (ii) the affairs of the Debtors, Global Growth, the

Debtor Investment Counterparties, and the Lindberg Affiliates are so entangled that consolidation

will benefit all creditors; and (iii) substantive consolidation will yield an equitable treatment of

creditors without any undue prejudice to any particular group.

                                       COUNT XXI
            Unfair and Deceptive Trade Practice Pursuant to North Carolina Law
                                  N.C. Gen. Stat. § 75-1.1

                              (Lindberg; Senior Decision Makers)

        1998. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        1999. Each of Lindberg, Herwig, Solow, Miller, and Bostic, by virtue of their respective

positions at Global Growth and the Debtors, were in a relation of trust and confidence vis-à-vis

the Debtors, and were required to act in good faith and with due regard for each of the Debtors’

respective interest.

        2000. On December 22, 2022, Herwig pled guilty to one count of conspiracy to defraud

the United States government.

        2001. Each of Lindberg, Herwig, Solow, Miller, and Bostic’s actions in initiating,

authorizing, or otherwise binding the Debtors to the various transactions detailed supra, stand as

unfair and deceptive trade practices under North Carolina General Statute § 75-1.1.

        2002. The wrongful acts committed by each of Lindberg, Herwig, Solow, Miller, and

Bostic were in or affecting commerce in North Carolina.
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        2003. The violation of North Carolina’s Unfair and Deceptive Trade Practices Act by

each of Lindberg, Herwig, Solow, Miller, and Bostic has resulted in direct and proximate damages

to the Debtors.

                                         COUNT XXII
                             Setoff Pursuant to North Carolina Law

                                            (NCIC)

        2004. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2005. The NCIC assert they are a creditor or otherwise hold a claim against PBLA,

Northstar, and possibly other Debtors.

        2006. As alleged herein, the Debtors have claims against, and were damaged by, the

NCIC.

        2007. NCIC and the Debtors owe mutual debts against each other, in that the debts are

due to and from the same entities in the same capacity.

        2008. To the extent Debtors do not achieve an affirmative recovery from NCIC on the

claims alleged herein, Debtors have the right to apply the quantum of their damages to offset any

liabilities any of the Debtors may owe NCIC.

                                       COUNT XXIII
                  Breach of Loan Agreements Pursuant to North Carolina Law

                              (Debtor Investment Counterparties)

        2009. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2010. The Debtors have valid loan agreements with the Debtor Investment

Counterparties.


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        2011. Upon information and belief, each of the Debtor Investment Counterparties are

either controlled or ultimately owned by Lindberg.

        2012. The Debtor Investment Counterparties had actual or constructive knowledge that

the Debtors lacked authority to enter into the MOU and/or IALA; that the MOU and/or IALA was

not supported by adequate consideration as to the Debtors; and that the MOU and/or IALA was

unlawful and invalid as a result of the various breaches of fiduciary duty in the execution of the

MOU and/or IALA.

        2013. By executing the MOU and/or IALA and amending the terms of the loan

agreements without the BMA’s prior written approval, the amendments to the loan agreements are

invalid, and the attempt to amend breaches the relevant loan agreements.

        2014. As a result of the Debtor Investment Counterparties’ failure to make interest and

principal payments in accordance with their loan agreement (in effect prior to the purported

modification by the MOU and/or IALA), the Debtor Investment Counterparties are in default of

their loan agreements.

        2015. The Debtor Investment Counterparties are in breach of various non-monetary

obligations imposed under the loan agreements, including the failure to provide financial reports.

        2016. The Debtors are therefore entitled to receive: (a) all past interest due and owing

calculated at the default interest rate set forth in the loan agreement provided; (b) all other

payments that are due and owing; and (c) all of their other contractual rights under the loan

agreements including any right to accelerate payments as a result of this default, and statutory

attorney fees.




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                                      COUNT XXIV
          Breach of Preferred Equity Agreements Pursuant to North Carolina Law

                             (Debtor Investment Counterparties)

        2017. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2018. The Debtors have valid preferred equity agreements with the Debtor Investment

Counterparties.

        2019. Upon information and belief, each of the Debtor Investment Counterparties are

either controlled or ultimately owned by Lindberg.

        2020. The Debtor Investment Counterparties had actual or constructive knowledge that

the Debtors lacked authority to enter into the MOU and/or IALA; that the MOU and/or IALA was

not supported by adequate consideration as to the Debtors; and that the MOU and/or IALA was

unlawful and invalid as a result of the various breaches of fiduciary duty in the execution of the

MOU and/or IALA.

        2021. By executing the MOU and/or IALA and amending the terms of preferred equity

without the BMA’s prior written approval, the amendments to the preferred equity agreements are

invalid, and the attempt to amend breaches the relevant equity agreements.

        2022. As a result of the Debtor Investment Counterparties’ failure to make distributions

in accordance with their preferred equity agreement (in effect prior to the purported modification

by the MOU and/or IALA), the Debtor Investment Counterparties are in default of their preferred

equity agreements.

        2023. The Debtors are therefore entitled to receive all payments that are due and owing,

all of their other contractual rights under the preferred equity agreements, and statutory attorney

fees.

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                                   COUNT XXV
    Declaratory Judgment to Void Acts of Lindberg, Herwig, CBL, and SNIC in Their
    Respective Capacity As Agents For the Debtors Pursuant to North Carolina Law

                              (Lindberg, Herwig, CBL and SNIC)

        2024. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2025. Each of Lindberg, Herwig, CBL, and SNIC, in their respective capacity as agent

for the Debtors, lacked actual authority to bind any of the Debtors as principal to the MOU and/or

IALA because the agents knew before, at, and after execution of the MOU and/or IALA that it was

without the BMA’s prior written consent.

        2026. Each of Lindberg, Herwig, CBL, and SNIC, in their respective capacity as agent

for the Debtors, had no actual authority to bind the Debtors as principals, as the Debtors did not

actually authorize any of Lindberg, Herwig, CBL, and SNIC to act on the Debtors’ behalf, either

in writing, orally, or otherwise with respect to the MOU and/or IALA.

        2027. Each of Lindberg, Herwig, CBL, and SNIC, in their respective capacity as agent

for the Debtors, had no apparent authority to bind the Debtors as principals.

        2028. In the exercise of reasonable care, none of the parties to the MOU and/or IALA was

justified in believing that the Debtors had conferred any authority upon any of Lindberg, Herwig,

CBL, and SNIC to negotiate or otherwise execute the MOU and/or IALA.

        2029. Furthermore, as alleged supra, CBL and SNIC failed to remit interest payments to

the Debtors received under loans adversely affected by the IALA.

        2030. Apparent authority does not exist where, as here, Lindberg, the Lindberg Affiliates,

and NCIC knew they needed the prior approval of the BMA to impair the Debtors’ assets, yet they

failed to obtain the required prior approval prior to executing the MOU and/or IALA.


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        2031. The Debtors did not ratify the unauthorized acts of Lindberg, Herwig, CBL, or

SNIC.

                                      COUNT XXVI
             Breach of Fiduciary Duty as Agent Pursuant to North Carolina Law

                                        (CBL and SNIC)

        2032. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2033. CBL and SNIC, acting as agents for the Debtors under various loan agreements and

preferred equity investments, were each required to act as a fiduciary for each of the Debtors.

        2034. At the time of the negotiation and execution of the MOU and IALA, CBL and SNIC

were acting as agents for the Debtors in their capacities as lenders under at least 29 loans to

Lindberg Affiliates.

        2035. CBL and SNIC breached their fiduciary duties owed to the Debtors, including but

not limited to the duty of loyalty and the implied covenant of good faith and fair dealing, by

adversely modifying loan terms under the IALA for their own benefit, and to the Debtors’

detriment. Furthermore, as alleged supra, CBL and SNIC failed to remit interest payments to the

Debtors received under loans adversely affected by the IALA.

        2036. Since execution of the IALA and MOU, CBL and SNIC have continued to breach

their fiduciary duties owed to the Debtors as agents by improperly executing transactions for

CBL’s and SNIC’s own benefit, tortiously interfering with the Debtors’ contract rights under loan

agreements, failing to remit interest due to the Debtors, and charging excessive fees.

        2037. CBL and SNIC breached their fiduciary duties owed to the Debtors by improperly

diverting funds that belong to the Debtors and that should have been paid to the Debtors.

        2038. As a result, each of the Debtors has suffered substantial damages.

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                                          COUNT XXVII
                             Conversion Pursuant to North Carolina Law

                                         (CBL and SNIC)

        2039. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2040. CBL and SNIC were agents to the Debtors on various Investments, thereby owing

a duty to safeguard the Debtors’ Investments.

        2041. Rather than performing their duties as agents, CBL and SNIC improperly exercised

dominion over, interfered with, and used the proceeds from, the Debtors’ Investments for their

own use and benefit in utter contempt of the Debtors’ rights.

        2042. CBL and SNIC, as agents to the Debtors on various Investments, have willfully

failed to remit funds belonging to the Debtors, violating their obligations to the Debtors.

        2043. CBL and SNIC intentionally converted property of the Debtors in order to enrich

themselves, acting with malicious and reckless disregard of, or with actual intention to interfere

with, Debtors’ rights in their Investments.

        2044. As a direct and proximate result of the actions of CBL and SNIC, the Debtors have

suffered and will continue to suffer damages.

                                   COUNT XXVIII
     Preliminary and Permanent Injunction Concerning Payment of Loan Interest and
                       Principal Pursuant to North Carolina Law

                                              (NCIC)

        2045. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2046. All loan agreements whereby CBL or SNIC acted as agents to the Debtors provide

in relevant part that “Borrower shall have no right to specify the order or the accounts to which

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Agent shall allocate or apply any payments required to be made by Borrower to Agent on behalf

of Lenders or otherwise received by Agent on behalf of Lenders under this Agreement when any

such allocation or application is not specified elsewhere in this Agreement.”

        2047. The NCIC, and CBL and SNIC as agents for the Debtors on twenty-nine (29) loan

agreements, have breached this provision of the loan agreement, and will continue to breach this

provision.

        2048. When asked how CBL and SNIC would allocate payments to lenders where a loan

was partially paid down, Dinius testified that CBL and SNIC would allocate the payments based

on information received from the borrowers—i.e., Global Growth and the Lindberg Affiliates.

        2049. Dinius further testified that CBL and SNIC were instructed by Global Growth not

to pay PBLA its proportional share of any partial paydown as Global Growth “intentionally

excluded PBLA from . . . everything.”

        2050. Dinius went so far as to say that if Global Growth or the Lindberg Affiliates directed

CBL or SNIC to pay the entire paydown to CBL and none to PBLA, that CBL and SNIC would

comply with the directive.

        2051. In a July 1, 2019 email to Dinius, Stewart attached a flow of funds chart concerning

the paydown of a loan to GBIG Holdings, advising that Northstar and PBLA were to receive small

paydowns.

        2052. Dinius responded that more needed to go to CBL, since there was



        2053. When asked what that statement meant, Dinius testified that in connection with the

Revolving Credit Agreement, “where CBL agreed to increase the revolver from 15 million to 40

million and that Ares would loan GBIG Holdings 25 million to be paid out. And so it was


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attempting to get as much of that 25 million to the North Carolina companies as -- in consideration

of the increase of the line of credit.”

        2054. Furthermore, CBL and SNIC, as agents for the Debtors on twenty-nine (29) loan

agreements, have received three separate interest payments on said loan agreements in 2022, and

have failed to remit said payments to the Debtors.

        2055. Dinius also admitted that CBL and SNIC received three interest payments in May

2022, August 2022, and November 2022, and that the Plaintiffs have not received any remittances

from those three payments.

        2056. When asked why CBL and SNIC failed to remit the interest payments to the

Debtors and other lenders, Dinius testified:

           We do not have sufficient information to allocate those payments and counsel
           has been working with Global Growth’s counsel over many months to get
           that information. And we still do not have sufficient information to fully
           reconcile how much money the agents received. Q. How much money the
           agents received or how it should be allocated among the lenders? A. Well,
           we know how much we received, but we don’t know how -- how that should
           be allocated. [sic]

        2057. Dinius further testified that none of the three interest payments has been disbursed

to any lenders, as CBL and SNIC await a reconciliation from Global Growth describing which

interest payments attached to which loan.

        2058. Based on the NCIC’s past conduct, Plaintiffs reasonably believe that the NCIC may

continue to pay themselves and other lenders other than proportionally – and not pay the Debtors

any loan proceeds – in violation of the Debtors’ rights respecting the subject of this action, which

would tend to render any Judgment and Order ineffectual, or if such actions are committed or

continued during the pendency of this action, would produce injury to the Debtors.




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        2059. Plaintiffs should be granted a preliminary and permanent injunction prohibiting the

NCIC from such action because Plaintiffs do not have an adequate remedy at law and will suffer

irreparable injury and prejudice if the NCIC are permitted to continue paying the lenders other

than proportionally.

        2060. To the extent any of the NCIC, as lender, received more than its proportional share

of payment proceeds, the NCIC must be directed to disgorge said proceeds and hold said proceeds

in constructive trust for the benefit of the Debtors.

        2061. The NCIC will not suffer any injury or prejudice if Plaintiffs are granted injunctive

relief because the relief sought will not adversely impact the operations of any of the NCIC while

the merits of Plaintiffs’ claims are fully and fairly decided.

        2062. Based on the foregoing, the NCIC and their respective representatives and agents

should be enjoined from continuing to pay lenders under the loan agreements other than

proportionally as to all lenders to said agreement, including where applicable PBLA, Northstar,

Omnia, and PBIHL. To the extent any of the NCIC, as lender, received more than its proportional

share of payment proceeds, the NCIC must disgorge said proceeds and hold said proceeds in

constructive trust for the benefit of the Debtors.

                                   COUNT XXIX
 Preliminary and Permanent Injunction Concerning Implementation of MOU Pursuant to
                                North Carolina Law

                                              (NCIC)

        2063. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2064. As alleged supra, PBLA (if not all four Debtors) was a necessary party to the NC

MOU Action under North Carolina law. Therefore, any attempt by the NCIC to enforce the

Amended Judgment and Order and/or implement the MOU is a violation of the Recognition Orders
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and the stay under sections 362 and 1520 of the Bankruptcy Code as a matter of law because it:

(i) per se, requires the enforcement of a judgment against the Debtors; (ii) requires the

implementation of a prepetition contract—the MOU—against the Debtors, all of whom were either

severed (PBLA) or not joined (Northstar, Omnia and PBIHL) as necessary parties in the NC MOU

Action; (iii) would have collateral estoppel or res judicata effect on the Debtors and thereby

undermine the Debtors’ right to challenge the validity and enforceability of the MOU and the

IALA; and (iv) would permit the NCIC to exercise dominion and control over the Debtor

Investments.

        2065. To the extent not already prohibited by the Recognition Orders and the stay under

sections 362 and 1520 of the Bankruptcy Code, the Plaintiffs seek preliminary and permanent

injunctive relief prohibiting the NCIC from implementing the MOU against the Debtors, Debtors’

Investments, or the Debtor Investment Counterparties.

        2066. Plaintiffs should be granted a preliminary and permanent injunction because they

do not have an adequate remedy at law and will suffer irreparable injury and prejudice if the NCIC

are permitted to implement the MOU against the Debtors, Debtors’ Investments, or the Debtor

Investment Counterparties.

        2067. The NCIC will not suffer any injury or prejudice if Plaintiffs are granted injunctive

relief because the relief sought will not adversely impact the operations of any of the NCIC while

the merits of Plaintiffs’ claims are fully and fairly decided.

        2068. Based on the foregoing, the NCIC and their respective representatives and agents

should be enjoined from all actions in pursuit of or to otherwise implement the MOU against the

Debtors, Debtors’ Investments, or the Debtor Investment Counterparties.




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                                           COUNT XXX
                             Accounting Pursuant to North Carolina Law

                                         (CBL and SNIC)

        2069. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2070. As legal representatives of the Debtors, JPLs are entitled to an accounting of any

and all activity concerning the Debtors’ loans and preferred equity investments where either CBL

or SNIC acted as agent.

        2071. Plaintiffs repeatedly requested an accounting of any and all activity concerning the

Debtors’ loans and preferred equity investments where either CBL or SNIC acted as agent.

        2072. Despite demand, no such accounting has been provided by either CBL or SNIC.

                                          COUNT XXXI
                               Fraud Pursuant to North Carolina Law

                                             (NCIC)

        2073. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2074. The NCIC, individually and collectively, concealed material facts from each of the

Debtors concerning the use of the Debtors’ assets to improperly fund the operations of the NCIC.

        2075. The NCIC, individually and collectively, concealed these material facts to deceive

the Debtors, their respective creditors and their respective policyholders.

        2076. The NCIC, individually and collectively, knowingly took such actions with the

intent to deceive the Debtors, their respective creditors and their respective policyholders.

        2077. Furthermore, as alleged supra, CBL and SNIC failed to remit interest payments to

the Debtors received under loans adversely affected by the IALA


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        2078. The actions by the NCIC, individually and collectively, did in fact deceive the

Debtors, their respective creditors and their respective policyholders.

        2079. As a result, each of the Debtors suffered economic injury and damages.

                                           COUNT XXXII
                             Proprietary Claim Pursuant to Bermuda Law

        (Lindberg; Lindberg Affiliates; Debtor Investment Counterparties; NCIC)

        2080. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2081. The Debtors have (or, will be declared to have as a result of the relief granted by

this Court in the present proceedings) an equitable proprietary interest in certain of their assets

held by other persons as a result of the misappropriations of their property and avoidance of

transactions pled herein.

        2082. The Debtors are no longer in possession of those assets.

        2083. Lindberg, the Lindberg Affiliates, the Debtor Investment Counterparties, and NCIC

are each in possession of the “traceable proceeds” of the Debtors’ assets, including: (i) an asset for

which the Debtors’ assets have been swapped; (ii) where the Debtors’ Asset is money, an asset

purchased with it; and/or (iii) where the Debtors’ assets or its proceeds have been mixed with other

property, a portion of that mixture.

        2084. The Debtors’ legal interest in the assets or their “traceable proceeds” were not

transferred to a bona fide purchaser for value without notice.

        2085. The assets that were caused to be transferred by the Debtors to Lindberg, the

Lindberg Affiliates, the Debtor Investment Counterparties, and NCIC in breach of fiduciary duties

owed to the Debtors (as pled herein) are to be treated as held by each of Lindberg, the Lindberg

Affiliates, the Debtor Investment Counterparties, and NCIC on constructive trust for Plaintiffs.

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        2086. In addition, those individuals and/or entities who received onward transfers of the

traceable proceeds of the Debtors’ assets either as volunteers or as purchasers with notice of the

breach(es) of duty pursuant to which the Debtors’ assets were transferred hold the sums received

by them (or their traceable proceeds) on constructive trust for Debtors.

                                        COUNT XXXIII
                         Dishonest Assistance Pursuant to Bermuda Law

                   (Lindberg Affiliates; Debtor Investment Counterparties)

        2087. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2088. Herwig, in his capacity as a director of the Debtors, owed fiduciary and other duties

of loyalty, honesty and care to each of the Debtors.

        2089. Lindberg and the Senior Decision Makers (other than Herwig by virtue of his status

as a director), by virtue of a voluntary assumption of responsibility and fiduciary obligations and

relationships, owed fiduciary and other duties of loyalty, honesty and care to each of the Debtors.

        2090. In misappropriating the Debtors’ assets, Lindberg and the Senior Decision Makers

each breached their fiduciary duties to the Debtors.

        2091. In creating and/or facilitating the creation of Sham Transactions, and fraudulently

transferring and/or causing, directly or indirectly, the fraudulent transfer of the Debtors' assets as

more particularly pled herein, the Lindberg Affiliates and Debtor Investment Counterparties

knowingly induced, procured or assisted in Lindberg’s and the Senior Decision Makers’ breach of

their fiduciary duties to the Debtors.

        2092. As alleged herein, there was a complete lack of corporate formalities or internal

financial controls at Global Growth, and Lindberg and the Senior Decision Makers treated the

Debtors, the Lindberg Affiliates, and the Debtor Investment Counterparties as one corporate and

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financial entity with no distinction among them. As a result, the knowledge and states of mind of

Lindberg and the Senior Decision Makers are to be attributed to the Lindberg Affiliates and the

Debtor Investment Counterparties at the time of each of the Sham Transactions and fraudulent

transfers, such that the Lindberg Affiliates and the Debtor Investment Counterparties knew that

Lindberg and the Senior Decision Makers were not entitled to act as they have done, and the

Lindberg Affiliates and the Debtor Investment Counterparties acted dishonestly in participating in

said transactions and receiving the Debtors’ assets.

        2093. By reason of the Lindberg Affiliates and Debtor Investment Counterparties’

dishonest assistance in the breaches of fiduciary duty pled herein, the Debtors have suffered loss

and damage.

                                       COUNT XXXIV
                       Unconscionable Receipt Pursuant to Bermuda Law

        (Lindberg; Lindberg Affiliates; Debtor Investment Counterparties; NCIC)

        2094. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2095. Herwig was a director of PBLA, Northstar, Omnia, and PBIHL from 2017 through

2020. By virtue of that role, he owed the Debtors fiduciary duties, including but not limited to the

duty of loyalty and the implied covenant of good faith and fair dealing, as well as the duties of

honesty and care.

        2096. Lindberg (other than to the extent that he was a director of PBLA in 2017) and the

Senior Decision Makers, by virtue of a voluntary assumption of responsibility and fiduciary

obligations and relationships, owed fiduciary and other duties of loyalty, honesty and care to

administer the Debtors’ assets.



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        2097. CBL and SNIC, as agents for the Debtors, owed a fiduciary duty of loyalty, honesty

and care to administer the Debtors’ assets.

        2098. The Debtors’ assets were misappropriated and transferred away by each of

Lindberg, the Senior Decision Makers, CBL and SNIC in breach of their fiduciary duties, and/or

were transferred away because those fiduciaries were in breach of those duties.

        2099. As a direct cause of the breaches of fiduciary duty, the Lindberg Affiliates received

the Debtors’ assets or their traceable proceeds.

        2100. The Lindberg Affiliates retained the Debtors’ assets for their own benefit. As

alleged herein, there was a complete lack of corporate formalities or internal financial controls at

Global Growth, and Lindberg and the Senior Decision Makers treated the Debtors, the Lindberg

Affiliates, and the Debtor Investment Counterparties as one corporate and financial entity with no

distinction among them. As a result, the knowledge and states of mind of Lindberg and the Senior

Decision Makers are to be attributed to the Lindberg Affiliates such that the Lindberg Affiliates

knew at the time of receipt of the Debtors’ assets (or discovered while they still retained some part

of the Debtors’ assets) that the assets were traceable to a breach of fiduciary duty, and that it was

unconscionable for the Lindberg Affiliates to retain the benefit of the receipt.

        2101. As a direct cause of the breaches of fiduciary duty, the Debtor Investment

Counterparties received the Debtors’ assets or their traceable proceeds.

        2102. The Debtor Investment Counterparties retained the Debtors’ assets for their own

benefit. As alleged herein, there was a complete lack of corporate formalities or internal financial

controls at Global Growth, and Lindberg and the Senior Decision Makers treated the Debtors, the

Lindberg Affiliates, and the Debtor Investment Counterparties as one corporate and financial entity

with no distinction among them. As a result, the knowledge and states of mind of Lindberg and


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the Senior Decision Makers are to be attributed to the Debtor Investment Counterparties such that

the Debtor Investment Counterparties knew at the time of receipt of the Debtors’ assets (or

discovered while they still retained some part of the Debtors’ assets) that the assets were traceable

to a breach of fiduciary duty, and that it was unconscionable for the Debtor Investment

Counterparties to retain the benefit of the receipt.

        2103. As a direct cause of the breaches of fiduciary duty, Lindberg received the Debtors’

assets or their traceable proceeds.

        2104. Lindberg retained the Debtors’ assets for their own benefit. As alleged supra, the

Rehabilitators, acting on behalf of the Lindberg, knew that the required BMA approval to execute

the MOU and IALA was not provided by the BMA. Nonetheless, the MOU and IALA were

executed. As a result, the NCIC knew at the time of receipt of the Debtors’ assets (or discovered

while they still retained some part of the Debtors’ assets) that the assets were traceable to a breach

of fiduciary duty, and that it was unconscionable for the NCIC to retain the benefit of the receipt.

        2105. The Debtors have as a result of the unconscionable receipt as pled herein by

Lindberg, the Lindberg Affiliates, the Debtor Investment Counterparties and the NCIC, suffered

loss and damage equal to the value of the assets misappropriated and transferred away.

                                      COUNT XXXV
                      Unjust Enrichment Pursuant to North Carolina Law

        (Lindberg; Lindberg Affiliates; Debtor Investment Counterparties; NCIC)

        2106. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2107. Each of Lindberg, the Lindberg Affiliates, the Debtor Investment Counterparties,

and NCIC has been enriched by either a direct transfer of value from the Debtors to the defendant



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or an indirect transfer pursuant to a sequence of coordinated transactions, whereby the Debtors’

assets have moved through intermediate entities as part of a coordinated plan.

        2108. Each of Lindberg, the Lindberg Affiliates, the Debtor Investment Counterparties,

and NCIC has unfairly benefited by receiving and retaining the benefits of the use of the Debtors’

assets: (i) for loans to, and preferred equity investments in, the Lindberg Affiliates and the Debtor

Investment Counterparties, and (ii) the MOU and IALA, without justification and without

providing any consideration to the Debtors, and Lindberg, the Lindberg Affiliates, the Debtor

Investment Counterparties, and NCIC have each been unjustly enriched thereby.

        2109. Lindberg and the Senior Decision Makers improperly received bonuses upon the

closing of the foregoing “investments”, personally benefitting Lindberg and the Senior Decision

Makers and causing harm to the Debtors in breach of the aforementioned duties.

        2110. It would be inequitable to allow any of Lindberg, the Lindberg Affiliates, the

Debtor Investment Counterparties, and NCIC to retain the benefits that have been conferred on

them by the Debtors.

        2111. The JPLs, as representatives of the Debtors, do not have an adequate remedy at law.

                                          COUNT XXXVI
                             Unjust Enrichment Pursuant to Bermuda Law

                   (Lindberg; Senior Decision Makers; Lindberg Affiliates;
                         Debtor Investment Counterparties; NCIC)

        2112. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2113. Each of Lindberg, the Senior Decision Makers, the Lindberg Affiliates, the

Debtor Investment Counterparties, and NCIC has been enriched by either a direct transfer of value

from the Debtors to the defendant or an indirect transfer pursuant to a sequence of coordinated


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transactions, whereby the Debtors’ assets have moved through intermediate entities as part of a

coordinated plan.

         2114. The enrichment was unjust in that (i) as is pled supra, the Debtors agreed to transfer

money or assets to any of Lindberg, the Senior Decision Makers, the Lindberg Affiliates, the

Debtor Investment Counterparties, or NCIC on the condition that they would receive consideration

for the same; (ii) in the cases pled supra, no consideration has been received; and (iii) the state of

affairs contemplated as the basis or reason or the transfer of the Debtors’ assets has, to that extent,

failed to materialize or, if it did exist, has failed to sustain itself.

         2115. Alternatively, the Debtors’ assets were transferred from the Debtors to Lindberg,

the Lindberg Affiliates, the Debtor Investment Counterparties, and NCIC by Lindberg, the Senior

Decision Makers, and CBL and SNIC, each purportedly acting as Debtors’ agent, without authority

to do so and without consent of the Debtors, so that the transfers of value from the Debtors were

made without a proper basis, unjustly enriching the Lindberg Affiliates, the Debtor Investment

Counterparties, and NCIC.

         2116. Alternatively, Lindberg and the Senior Decision Makers breached their respective

fiduciary duties to the Debtors by causing the transfer of the Debtors’ assets, so that the transfers

of value from the Debtors to each of Lindberg, the Senior Decision Makers, the Lindberg

Affiliates, the Debtor Investment Counterparties, and NCIC pled supra were made without a

proper basis, unjustly enriching Lindberg, the Senior Decision Makers, the Lindberg Affiliates,

the Debtor Investment Counterparties, and NCIC.

         2117. Finally, Lindberg and the Senior Decision Makers improperly received bonuses

upon the closing of the foregoing “investments,” personally benefitting Lindberg and the Senior

Decision Makers and causing harm to the Debtors, without any proper basis and for which they


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are obliged (but have failed) to account to the Debtors, and have therefore been enriched by the

amount of those bonuses.

                                   COUNT XXXVII
Recovery of Dividends or Distributions Pursuant to Section 54 of the Companies Act 1981

                                            (Lindberg)

        2118. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2119. Lindberg is the ultimate beneficial owner of each of the Debtors.

        2120. Upon information and belief, Lindberg and the Senior Decision Makers caused

each of the Debtors to issue to Lindberg (or for his ultimate commercial benefit) a dividend or a

distribution out of a contributed surplus in the manner more particularly described supra, including

by way of entering into uncommercial transactions designed to transfer value away from the

Debtors for the direct or indirect benefit of Lindberg without any (or any sufficient) countervailing

benefit to the Debtors.

        2121. A Debtor could not declare or pay a dividend, or make a distribution out of

contributed surplus, if there were reasonable grounds for believing that (i) a Debtor was, or would

after the payment would be, unable to pay its liabilities as they become due; or (ii) the realizable

value of a Debtors’ assets would thereby be less than its liabilities (the “Section 54 Prohibition”).

        2122. At the time these dividends or distributions out of contributed surplus were made,

and in breach of the Section 54 Prohibition, there were reasonable grounds for believing that each

of the Debtors was, or as a result of the payments would be, cash-flow or balance sheet insolvent.




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                                    COUNT XXXVIII
         Recovery of “Disguised Distribution” of Capital Pursuant to Bermuda Law

                                        (Lindberg; Herwig)

        2123. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2124. Lindberg is the ultimate beneficial owner of each of the Debtors.

        2125. Herwig was a Director of each of the Debtors from 2017 through 2020.

        2126. The various transactions alleged supra amounted to an unlawful disguised

distribution of the Debtors’ capital to each of their direct and indirect shareholders, members and

beneficial owners.

        2127. The true substance of the alleged transactions was an unlawful distribution of

capital, and the labels and formalities attached to those transactions did not reflect their true nature.

        2128. Objectively construed, such payments were of the nature of an unlawful distribution

of capital since they resulted in each of the Debtors paying out substantial sums for the benefit of

their shareholders and members (direct and indirect) without receiving any concomitant benefit.

There was no genuine commercial justification for such payments or transfer of assets to be made.

        2129. The intentions of those responsible for arranging and orchestrating the transactions

alleged supra was to effect a distribution of the Debtors’ funds for the benefit of their shareholders

and members (direct and indirect) rather than to effect genuine commercial transactions.

        2130. In the circumstances, such disguised distributions of capital were ultra vires as to

the Debtors and consequently were void. Lindberg and Herwig are liable to account for sums

received as constructive trustees.

        2131. Further or alternatively, Herwig, as a director of each of the Debtors at the time

each disguised distribution was made, knew or ought to have known that the payments made

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amounted to an unlawful distribution of the Debtors’ capital. In particular, Herwig knew that the

payments out of the Debtors for the benefits of Lindberg, their direct and indirect shareholders and

members were made for the personal benefit of those recipients.

        2132. Further or alternatively, if Herwig was unaware of the facts which rendered the

dividend unlawful then, in making causing or permitting these disguised distributions to be made,

he failed to exercise his duty to take reasonable care and skill.

                                   COUNT XXXIX
           Avoidance and Recovery of Corporate Gift Pursuant to Bermuda Law

                                            (Lindberg)

        2133. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2134. Lindberg is the ultimate beneficial owner of each of the Debtors.

        2135. The transactions described supra amounted to an unlawful payment (in effect, a

corporate gift) out of the Debtors’ capital to Lindberg, each of the Debtors’ indirect shareholder

and ultimate beneficial owner because, in particular, the Debtors received no valid or sufficient

consideration for the gratuitous disposition of their property.

        2136. In the circumstances, such unlawful corporate gifts were ultra vires the Debtors

and consequently were void. Any recipient, including Lindberg, is liable to account for sums

received as a constructive trustee.

                                        COUNT XL
                   Procuring Breach of Contract Pursuant to Bermuda Law

                              (Lindberg; Senior Decision Makers)

        2137. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.


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        2138. To the extent that the Court is not satisfied that the Debtors’ Investments are void,

the Debtors have valid loan agreements and preferred equity agreements with the Debtor

Investment Counterparties.

        2139. The loan agreements and preferred equity agreements were breached by the Debtor

Investment Counterparties, causing the Debtors’ loss.

        2140. Lindberg and the Senior Decision Makers had a sufficient degree of information

about the Debtor Investment Counterparties to identify the relevant contracts and their relevant

terms and any risk that these contracts were at risk of breach.

        2141. Lindberg and the Senior Decision Makers also had a sufficient degree of influence

and control over the Debtor Investment Counterparties to mitigate that risk in advance and to

prevent those breaches.

        2142. In knowingly failing to do so, Lindberg and the Senior Decision Makers must be

taken to have knowingly procured the Debtor Investment Counterparties to breach their contractual

obligations to the Debtors.

                                      COUNT XLI
            Conspiracy to Injure By Unlawful Means Pursuant to Bermuda Law

                   (Lindberg; Senior Decision Makers; Lindberg Affiliates)

        2143. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2144. Lindberg, the Senior Decision Makers, and the Lindberg Affiliates, in combination

with one another, and pursuant to a common understanding and design, agreed to commit the

various acts of malfeasance, breach of duty, and fraud alleged supra.

        2145. Lindberg, the Senior Decision Makers, and the Lindberg Affiliates intended to

injure the Debtors and to benefit themselves (as an end in itself or as a means of obtaining personal

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benefits or avoiding personal disadvantage), either by funding the Personal Expense Companies

or by artificially propping up the Lindberg Affiliates’ finances, by unlawful means.

        2146. The unlawful acts pled supra were carried out pursuant to the combination or

agreement as a means of injuring the Debtors, and each conspiratorial act fell within the overall

scope of the conspirators’ common design and was known by them to be unlawful (alternatively,

each should have known the fact that it was unlawful and/or turned a blind eye to that fact).

        2147. The unlawful acts caused loss suffered by the Debtors.

                                   COUNT XLII
Declaratory Judgement as to PBLA’s rights and interests with respect PLIC MI Pursuant
                               to North Carolina Law

                             (Lindberg; Lindberg Affiliates; Axar)

        2148. Plaintiffs hereby incorporate by reference all allegations contained in the previous

paragraphs of this Amended Complaint as if fully set forth herein.

        2149. A real controversy exists between Plaintiffs and Lindberg, the Lindberg Affiliates,

and Axar in that PBLA retains ownership rights and interests with respect to PLIC MI.

        2150. As more particularly pled supra, Lindberg and the Senior Decision Makers caused

PBLA to extract $35,533,098.11 from the PBLA ULICO Trust via the Geranium Loan, the Daisy

Loan and the Daisy Unit Purchase Agreement. Lindberg and the Senior Decision Makers used at

least $29,500,000 of those funds for Southland National Holdings Inc.’s (n/k/a GBIG Holdings)

acquisition of PLIC MI for $120 million in December 2017.

        2151. No evidence presently available to Plaintiffs establishes the $35,533,098.11

transferred from the PBLA ULICO Trust, including the $29,500,000 used to acquire PLIC MI,

was returned, repaid, or that in some other manner the involved Debtor(s) was made whole, nor

does evidence available to Plaintiffs establish that any obligation connected with any amount


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transferred exists and has been performed according to its terms (or performed partially, not

performed, or breached).

        2152. On information and belief, the eventual acquisition of PLIC MI by Axar was

inclusive of PBLA’s original $29.5 million contribution to the acquisition of PLIC MI, and it was

inclusive of the associated obligation(s) to PBLA from its original contribution.

        2153. The Geranium Loan, the Daisy Loan and the Daisy Unit Purchase Agreement were

sham transactions causing harm to PBLA. including the $524 million civil money judgment in

favor of ULICO against PBLA.

        2154. While Lindberg caused GBIG Holdings to sell PLIC MI to Axar for $75 million in

January 2022, PBLA did not receive any of those proceeds, which were instead directed to other

Lindberg Affiliates.

        2155. The $29,500,000.00 extracted from the PBLA ULICO Trust for GBIG Holdings’

acquisition of PLIC MI on information and belief means that the original $29.5 million remains

with PLIC MI and PBLA possesses ownership rights and interests with respect to PLIC MI, that

PLIC MI through its acquisition by Axar succeeded or remains obligated to PBLA in accordance

with the terms of PBLA’s initial contribution to the acquisition by Lindberg of PLIC MI, or that

PLIC MI succeeded or remains obligated to PBLA in accordance with any later or modified terms

applicable to the terms of PBLA’s initial contribution to the acquisition by Lindberg of PLIC MI.

        2156. To the extent that PBLA’s interest in PLIC MI as alleged herein was not disclosed

by Lindberg, personally, and those acting with or through him to Axar, he and those persons at the

time had ongoing duties of disclosure, undeniably were on notice of the Recognition Orders

entered by this Court in this proceeding on behalf of the Debtors, acted without regard to those




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obligations, and are liable to PBLA to the fullest extent permitted by the Recognition Orders and

associated applicable law for violation of the Recognition Orders.

         2157. The Plaintiffs have legal rights concerning PLIC MI, and on the facts admitted in

the pleadings or established at the trial, this Court may render judgment, declaring the rights of

Plaintiffs, and affording the relief to which Plaintiffs are entitled under the judgment.

                                         COUNT XLIII
                                 Violation of 18 U.S.C. § 1962(c)

                             (RICO Defendants and the Enterprise)

         2158. Plaintiffs hereby incorporate with this reference the material allegations of ¶¶ 1576-

1617, [collectively, the “RICO Allegations”]; the allegations of this Amended Complaint outside

the RICO Allegations in ¶¶ 1157-1575, [collectively, the “Representative Transaction

Allegations”]; and the allegations of ¶¶ 1-1156, 1618-1792 of this Amended Complaint, as if each

allegation fully was stated herein.

         2159. Each RICO Defendant is a “person” within the meaning of 18 U.S.C. § 1961(3),

inter alia, as each is “capable of holding a legal or beneficial interest in property.”

         2160. At all times relevant hereto, and without Debtors’ knowledge or consent, the RICO

Defendants associated together to form an ongoing informal, extralegal organization for the

purposes of carrying, advancing, and perpetuating out the wrongful activities set forth herein, and

thus, have constituted an association-in-fact “enterprise” within the meaning of 18 U.S.C. §

1961(4).

         2161. The racketeering activity, as that term is defined in 18 U.S.C. § 1961(1), included

the following predicate offenses, as detailed in this Amended Complaint and in the allegations

above:

                (i) Wire Fraud in Violation of 18 U.S.C. § 1343;

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                (ii) Mail Fraud in Violation of 18 U.S.C. § 1341;

                (iii) Bank Fraud in Violation of 18 U.S.C. § 1344;

                (iv) Laundering of Monetary Instruments in Violation of 18 U.S.C. § 1956;

                (v) Engaging in Monetary Transactions in Property Derived from Specified
                Unlawful Activity in Violation of 18 U.S.C. § 1957; and

                (vi) Interstate and Foreign Travel in Aid of Racketeering Enterprises in Violation
                of 18 U.S.C. § 1952.

        2162. These actions committed by the racketeering Enterprise are not isolated events, but

constitute a pattern of racketeering activity, as defined by 18 U.S.C. § 1961(5). Occurring over a

prolonged period of time, these actions share common purpose, method of commission,

participants, victims, and result.

        2163. The RICO Defendants each benefitted from the infusion of racketeering income

and knowingly agreed to facilitate the scheme of the racketeering Enterprise as a regular part of

the RICO Defendants’ business practices. Through these actions, the individual RICO Defendants

and their co-conspirators siphoned off hundreds of millions of dollars entrusted to the Debtors by

their policyholders and similar stakeholders and held by them, and used that money or its

equivalent to fund: (1) activities of the RICO Defendants, particularly but not exclusively Lindberg

among them, beneficial to the RICO Defendants and contrary to the obligations, commitments,

and promises made and relied upon the Debtors’ policyholders and similar stakeholders in

exchange for the legitimate insurance, reinsurance, and financial services business in which the

Debtors engaged and purported to engage with them while dominated by the racketeering

Enterprise and its ongoing scheme to defraud; and (2) the personal enrichment of the individual

RICO Defendants, primarily among them Lindberg for his self-enrichment, private jets and yacht,




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mansions and similar real estate, extravagant parties and events having nothing to do with the

business of the Debtors, and his extensive procreative activities.

          2164. The individual RICO Defendants devised, initiated and carried out these

transactions through domestic actions and communications from offices, residences, and other

places principally within North Carolina. The Enterprise’s racketeering activity that defrauded and

otherwise harmed the Debtors principally was conceived, structured, executed, and was

perpetuated from North Carolina and/or within other States within the United States. The damage

inflicted upon the Debtors and correspondingly their policyholders and similar stakeholders from

this racketeering activity was completed, came to rest, and continues to rest for recovery and

execution predominantly in North Carolina and within other States and territories of the United

States.

          2165. As a direct and proximate cause of the racketeering Enterprise’s actions, the

Debtors have been injured, and continue to be injured, in their business or property by reason of

the violations of 18 U.S.C. § 1962 in an amount to be proven at trial. The continuing injuries, for

purposes of illustration and not limitation, include the ongoing control of Debtors’ assets by

persons other than the Plaintiffs within the liquidation pending before the Courts of Bermuda. The

damage inflicted upon the Debtors and correspondingly their policyholders and similar

stakeholders from this racketeering activity was completed, came to rest, and continues to rest for

recovery and execution in North Carolina and within other States and territories of the United

States.

          2166. By reason of these RICO violations, the Debtors are entitled to damages in an

amount to be proven at trial and all civil remedies afforded by 18 U.S.C. § 1964(c), including

treble damages, reasonable attorneys’ fees, and the recoverable costs allowed by the RICO statutes


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and decisional authority applying it, inclusive of investigative costs, and equitable relief, pursuant

to 18 U.S.C. § 1964(a), in the form of disgorgement of all unlawful proceeds and profits.

                                         COUNT XLIV
                                 Violation of 18 U.S.C. § 1962(a)

                             (RICO Defendants and the Enterprise)

        2167. Plaintiffs hereby incorporate with this reference the material allegations of ¶¶ 1576-

1617, [the RICO Allegations]; the allegations of this Amended Complaint outside the RICO

Allegations in ¶¶ 1157-1575, [the Representative Transaction Allegations]; and the allegations of

¶¶ 1-1156, 1618-1792 of this Amended Complaint, as if each allegation fully was stated herein.

        2168. The RICO Defendants each participated in the pattern of racketeering activity

established in this Amended Complaint.

        2169. The RICO Defendants each received income from the pattern of racketeering

activity established in this Amended Complaint.

        2170. The RICO Defendants each invested or used all or part of that income in the

establishment, operation, maintenance, and perpetuation of the racketeering Enterprise.

        2171. The racketeering Enterprise engaged in and affected domestic interstate and foreign

commerce.

        2172. Each RICO Defendant’s investment or use of the income allocated to them, derived

by them, or received by them in the racketeering Enterprise caused injury to the Debtors’ business

and property in an amount to be proven at trial.

        2173. By reason of these RICO violations, the Debtors are entitled to damages in an

amount to be proven at trial and all civil remedies afforded by 18 U.S.C. § 1964(c), including

treble damages, reasonable attorneys’ fees, and the recoverable costs allowed by the RICO statutes



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and decisional authority applying it, inclusive of investigative costs, and equitable relief, pursuant

to 18 U.S.C. § 1964(a), in the form of disgorgement of all unlawful proceeds and profits.

                                          COUNT XLV
                                 Violation of 18 U.S.C. § 1962(b)

                             (RICO Defendants and the Enterprise)

         2174. Plaintiffs hereby incorporate with this reference the material allegations of ¶¶ 1576-

1617, [the RICO Allegations]; the allegations of this Amended Complaint outside the RICO

Allegations in ¶¶ 1157-1575, [the Representative Transaction Allegations]; and the allegations of

¶¶ 1-1156, 1618-1792 of this Amended Complaint, as if each allegation fully was stated herein.

         2175. The RICO Defendants each through the pattern of racketeering activity set forth in

Count I, acquired or maintained an interest in or control over the racketeering Enterprise.

         2176. Each RICO Defendant’s interest in or control over the racketeering Enterprise was

associated with and connected to the pattern of racketeering activity in this Amended Complaint.

         2177. The racketeering Enterprise engaged in and affected domestic interstate and foreign

commerce.

         2178. Each RICO Defendant’s acquisition or maintenance of an interest in or control over

the Enterprise caused injury to the Debtors’ business and property in an amount to be proven at

trial.

         2179. By reason of these RICO violations, the Debtors are entitled to damages in an

amount to be proven at trial and all civil remedies afforded by 18 U.S.C. § 1964(c), including

treble damages, reasonable attorneys’ fees, and the recoverable costs allowed by the RICO statutes

and decisional authority applying it, inclusive of investigative costs, and equitable relief, pursuant

to 18 U.S.C. § 1964(a), in the form of disgorgement of all unlawful proceeds and profits.



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                                         COUNT XLVI
                                 Violation of 18 U.S.C. § 1962(d)

                             (RICO Defendants and the Enterprise)

        2180. Plaintiffs hereby incorporate with this reference the material allegations of ¶¶ 1576-

1617, [the RICO Allegations]; the allegations of this Amended Complaint outside the RICO

Allegations in ¶¶ 1157-1575, [the Representative Transaction Allegations]; and the allegations of

¶¶ 1-1156, 1618-1792 of this Amended Complaint, as if each allegation fully was stated herein.

        2181. In violation of 18 U.S.C. § 1962(d), the RICO Defendants conspired with each other

to violate 18 U.S.C. § 1962(a), (b), and (c).

        2182. The objects of the conspiracy included, without limitation, the misappropriation of

funds from the Debtors and others by means of a scheme to defraud. By these misappropriations,

the RICO Defendants gained personal benefits and supported their fraudulent scheme.

        2183. The RICO Defendants agreed and combined with persons known and unknown to

engage in a pattern of racketeering activity. Through their words and actions, each agreed to

commit two or more predicate acts of wire fraud, mail fraud, bank fraud, laundering of money

instruments, monetary transactions in property derived from specified unlawful activity, interstate

and foreign travel in aid of racketeering enterprises, as alleged in this Amended Complaint, in

furtherance of their scheme to advance and perpetuate the racketeering Enterprise and its scheme

to defraud the Debtors and their policyholders and similar stakeholders. The RICO Defendants

knew that their predicate acts were part of a pattern of racketeering activity and agreed to the

commission of those acts to advance and perpetuate it.

        2184. The RICO Defendants’ agreement, in addition to be evident from the acts and

express statements of each of them alleged in this Amended Complaint, can be inferred readily



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and reasonably from their close professional ties and from their mutually dependent, coordinated

efforts in achieving the objectives of the Enterprise.

        2185. The predicate acts of wire fraud, mail fraud, bank fraud, laundering of money

instruments, monetary transactions in property derived from specified unlawful activity, interstate

and foreign travel in aid of racketeering enterprises, described above, constitute overt acts of the

foregoing conspiracy, in violation of 18 U.S.C. § 1962(d), by reason of which the Debtors have

suffered a loss, in reality a multitude of losses, as set forth herein.

        2186. By reason of these RICO violations, the Debtors are entitled to damages in an

amount to be proven at trial and all civil remedies afforded by 18 U.S.C. § 1964(c), including

treble damages, reasonable attorneys’ fees, and the recoverable costs allowed by the RICO statutes

and decisional authority applying it, inclusive of investigative costs, and equitable relief, pursuant

to 18 U.S.C. § 1964(a), in the form of disgorgement of all unlawful proceeds and profits.

                                            Count XLVII
                             Racketeering Pursuant to North Carolina Law

                                (RICO Defendants and the Enterprise)

        2187. Plaintiffs hereby incorporate with this reference the material allegations of ¶¶ 1576-

1617, [the RICO Allegations]; the allegations of this Amended Complaint outside the RICO

Allegations in ¶¶ 1157-1575, [the Representative Transaction Allegations]; and the allegations of

¶¶ 1-1156, 1618-1792 of this Amended Complaint, as if each allegation fully was stated herein.

        2188. By their actions alleged in this Amended Complaint, and on information and belief

other similarly wrongful actions, the RICO Defendants engaged and participated in a racketeering

Enterprise in violation of 18 U.S.C. § 1962(a), (b), (c) and (d).

        2189. By reason of those actions, and on information and belief other similarly wrongful

actions, the RICO Defendants committed, participated in, aided and abetted, and conspired to

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commit racketeering activities in violation of the North Carolina Racketeer Influenced and Corrupt

Organizations Act, N.C. Gen. Stat. § 75D-1, et seq.,

         2190. At all times relevant hereto, and without Plaintiffs’ knowledge or consent, the

RICO Defendants associated together to form an ongoing informal organization for the purposes

of carrying out, advancing, and perpetuating the wrongful activities set forth herein, i.e., the

racketeering Enterprise set forth supra, and thus have constituted an association-in-fact

“enterprise” within the meaning of N.C. Gen. Stat. § 75D-3(a).

         2191. Each RICO Defendant is a “person” within the meaning of N.C. Gen. Stat. § 75D-

1, et seq.

         2192. The racketeering activity, as that term is defined in N.C. Gen. Stat. § 75D-3(c),

included the following predicate offenses, as alleged in this Amended Complaint, and as pled

immediately above:

                (i) Wire Fraud in Violation of 18 U.S.C. § 1343;

                (ii) Mail Fraud in Violation of 18 U.S.C. § 1341;

                (iii) Bank Fraud in Violation of 18 U.S.C. § 1344;

                (iv) Laundering of Monetary Instruments in Violation of 18 U.S.C. § 1956;

                (v) Engaging in Monetary Transactions in Property Derived from Specified

                Unlawful Activity in Violation of 18 U.S.C. § 1957; and

                (vi) Interstate and Foreign Travel in Aid of Racketeering Enterprises in Violation

                of 18 U.S.C. § 1952.

         2193. These actions committed by the racketeering Enterprise are not isolated events.

They constitute a “pattern of racketeering activity” within the meaning of N.C. Gen. Stat. § 75D-




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3(b). As alleged in this Amended Complaint, these actions occurred over a prolonged period of

time and share a common purpose, method of commission, participants, victims, and result.

        2194. As more fully alleged, supra, the racketeering activity that defrauded and otherwise

harmed the Debtors and correspondingly their policyholders and similar stakeholders principally

was devised, structured, initiated, executed, or carried out by the individual RICO Defendants from

offices, residences, and other places principally within North Carolina.

        2195. The RICO Defendants each through the above-described pattern of racketeering

activity acquired and maintained, directly and indirectly, an interest in or control of the

racketeering Enterprise, including proceeds and property derived therefrom, in violation of N.C.

Gen. Stat. § 75D-4(a)(1).

        2196. Each RICO Defendant conducted and participated in the racketeering Enterprise,

directly and indirectly, through the above-described pattern of racketeering activity in violation of

N.C. Gen. Stat. § 75D-4(a)(2).

        2197. As evidenced by the RICO Defendants’ words, actions, close associations

constituting “professional ties” for purposes of the applicable statute, and common purpose alleged

in this Amended Complaint, including as set forth in Count XLVI, supra, the RICO Defendants,

in violation of N.C. Gen. Stat. § 75D-4(a)(3), agreed and conspired with each other to violate or

attempt to violate N.C. Gen. Stat. § 75D-4(a)(1) and (2).

        2198. The RICO Defendants, through the above-described pattern of racketeering

activity, gained pecuniary and personal benefits and supported their fraudulent scheme.

        2199. As a direct and proximate cause of the racketeering Enterprise’s actions, the

Debtors have been injured, and continue to be injured, in their business or property by reason of

the violations of N.C. Gen. Stat. § 75D-4(a)(1), (2), and (3) in an amount to be proven at trial.


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        2200. By reason of these violations of N.C. Gen. Stat. § 75D-4(a)(1), (2), and (3), the

Plaintiffs are entitled to damages in an amount to be proven at trial and all civil remedies afforded

by N.C. Gen. Stat. § 75D-8(a) and (c), including, without limitation, treble damages, reasonable

attorneys’ fees, and equitable relief.

        2201. In accordance with N.C. Gen. Stat. § 75D-8(c), Plaintiffs, concurrently with the

filing of this Amended Complaint, have notified the Attorney General of North Carolina in writing

of the commencement of this action.

                                     PRAYERS FOR RELIEF

        2202. On Count I, Plaintiffs request that the Court enter Judgment and an Order that:

                     (i) Declares the Lindberg Affiliates; Lindberg; Herwig; Solow; Miller; and

          Bostic, jointly and severally, shall be personally liable for such debts or other liabilities

          of PBLA, Northstar, Omnia, and PBIHL as the Court may direct;

                    (ii) Plaintiffs recover from the Lindberg Affiliates; Lindberg; Herwig; Solow;

          Miller; and Bostic, jointly and severally, damages of approximately $700 million, plus

          applicable interest; and

                    (iii) Plaintiffs recover post-judgment interest from the Lindberg Affiliates;

          Lindberg; Herwig; Solow; Miller; and Bostic, jointly and severally.

        2203. On Count II, Plaintiffs request that the Court enter Judgment and an Order that:

                     (i) Plaintiffs recover from the Lindberg Affiliates; Lindberg; Herwig; Solow;

          Miller; and Bostic, jointly and severally, damages of approximately $700 million, plus

          applicable interest;

                    (ii) Plaintiffs recover post-judgment interest from the Lindberg Affiliates;

          Lindberg; Herwig; Solow; Miller; and Bostic, jointly and severally; and


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                    (iii) Plaintiffs recover punitive damages from the Lindberg Affiliates;

          Lindberg; Herwig; Solow; Miller; and Bostic, jointly and severally.

        2204. On Count III, Plaintiffs request that the Court enter Judgment and an Order that:

                       (i) Plaintiffs recover from Lindberg; Herwig; Solow; Miller; and Bostic,

         jointly and severally, damages of approximately $700 million, plus applicable interest;

                    (ii) Plaintiffs recover post-judgment interest from Lindberg; Herwig; Solow;

         Miller; and Bostic, jointly and severally; and

                    (iii) Plaintiffs recover punitive damages Lindberg; Herwig; Solow; Miller; and

         Bostic, jointly and severally.

        2205. On Count IV, Plaintiffs request that the Court enter Judgment and an Order:

                    (i) Avoiding and setting aside all transfers made from each of the Debtors to

         any of the Debtor Investment Counterparties;

                   (ii) Avoiding and setting aside all transfers made from each of the Debtor

         Investment Counterparties to any of the Lindberg Affiliates;

                   (iii) Avoiding and setting aside all transfers made from each of the Debtor

         Investment Counterparties to Lindberg;

                   (iv) Avoiding and setting aside all subsequent transfers to any of the Lindberg

         Affiliates;

                   (v) Avoiding and setting aside all subsequent transfers to Lindberg;

                   (vi) Directing the Debtor Investment Counterparties, the Lindberg Affiliates as

         initial transferees, and the Lindberg Affiliates as subsequent transferees to turn over the

         property transferred or the value thereof to Plaintiffs; and




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                  (vii) Directing the Debtor Investment Counterparties, Lindberg as initial

         transferee, and Lindberg as subsequent transferee to turn over the property transferred or

         the value thereof to Plaintiffs.

        2206. On Count V, Plaintiffs request that the Court enter Judgment and an Order:

                  (i) Avoiding and setting aside all transfers made from each of the Debtors to any

         of the Debtor Investment Counterparties;

                 (ii) Avoiding and setting aside all transfers made from each of the Debtor

         Investment Counterparties to any of the Lindberg Affiliates;

                (iii) Avoiding and setting aside all transfers made from each of the Debtor

         Investment Counterparties to Lindberg;

                 (iv) Avoiding and setting aside all subsequent transfers to any of the Lindberg

         Affiliates;

                 (v) Avoiding and setting aside all subsequent transfers to Lindberg;

                 (vi) Directing the Debtor Investment Counterparties, the Lindberg Affiliates as

         initial transferees, and the Lindberg Affiliates as subsequent transferees to turn over the

         property transferred or the value thereof to Plaintiffs; and

                (vii) Directing the Debtor Investment Counterparties, Lindberg as initial

         transferee, and Lindberg as subsequent transferee to turn over the property transferred or

         the value thereof to Plaintiffs.

        2207. On Count VI, Plaintiffs request that the Court enter Judgment and an Order:

                 (i) Avoiding and setting aside all transfers made from each of the Debtors to any

         of the Debtor Investment Counterparties;




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                (ii) Avoiding and setting aside all transfers made from each of the Debtor

         Investment Counterparties to any of the Lindberg Affiliates;

               (iii) Avoiding and setting aside all transfers made from each of the Debtor

         Investment Counterparties to Lindberg;

                (iv) Avoiding and setting aside all subsequent transfers to any of the Lindberg

         Affiliates;

                (v) Avoiding and setting aside all subsequent transfers to Lindberg;

                (vi) Directing the Debtor Investment Counterparties, the Lindberg Affiliates as

         initial transferees, and the Lindberg Affiliates as subsequent transferees to turn over the

         property transferred or the value thereof to Plaintiffs; and

               (vii) Directing the Debtor Investment Counterparties, Lindberg as initial transferee,

         and Lindberg as subsequent transferee to turn over the property transferred or the value

         thereof to Plaintiffs.

        2208. On Count VII, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Avoiding and setting aside all transfers made from each of the Debtors to any

         of the NCIC;

               (ii) Avoiding and setting aside all transfers made from each of the Debtor

         Investment Counterparties to any of the NCIC; and

              (iii) Directing NCIC to turn over the property transferred or the value thereof to

         Plaintiffs

        2209. On Count VIII, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Avoiding and setting aside all transfers made from each of the Debtors to any

         of the NCIC; and


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               (ii) Directing NCIC to turn over the property transferred or the value thereof to

         Plaintiffs.

        2210. On Count IX, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Avoiding and setting aside all transfers made from each of the Debtors to any

         of the NCIC; and

               (ii) Directing the NCIC to turn over the property transferred or the value thereof to

         Plaintiffs.

        2211. On Count X, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Avoiding and setting aside all transfers made from each of the Debtors to any

         of the Debtor Investment Counterparties;

               (ii) Directing the Debtor Investment Counterparties to turn over the property

         transferred or the value thereof to Plaintiffs;

              (iii) That the monies transferred the Debtor Investment Counterparties to any

         subsequent transferee be returned to the Debtors by the relevant Debtor Investment

         Counterparties;

               (iv) Declaring that the proceeds of the transfers are held by the Debtor Investment

         Counterparties as constructive trustees for the Debtors; and

               (v) Directing the Debtor Investment Counterparties to provide the Plaintiffs all

         necessary accounts and enquiries.

        2212. On Count XI, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Avoiding and setting aside all transfers made from any of the Debtor Investment

         Counterparties to any of Lindberg, the Lindberg Affiliates, NCIC, and any other ultimate

         recipient; and


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               (ii) Directing any of Lindberg, the Lindberg Affiliates, NCIC, and any other

         ultimate recipient to turn over the property transferred or the value thereof to Plaintiffs.

        2213. On Count XII, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Declaring the MOU and IALA are void and/or voidable and/or not binding upon

         the Debtors (or any of them);

               (ii) Directing that Lindberg; Herwig; the Lindberg Affiliates; the Debtor

         Investment Counterparties; the NCIC; the SACs; EMAM; NEC; the MOU Affected

         Parties; and the IALA Affected Parties are obliged to pay to the Debtors those sums that

         they would have been obliged to pay under the terms of the loans and preferred equity

         purportedly modified by the MOU and IALA between the date of execution of the MOU

         and the date of judgment;

              (iii) Directing Lindberg; Herwig; Lindberg Affiliates; Debtor Investment

         Counterparties; NCIC; SACs; EMAM; NEC; MOU Affected Parties; and IALA Affected

         Parties to provide the Plaintiffs all necessary accounts and enquiries.

        2214. On Count XIII, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Declaring the MOU and IALA void and/or voidable and/or not binding upon

         the Debtors (or any of them).

        2215. On Count XIV, Plaintiffs request that the Court enter Judgment and an Order that:

                (i) Plaintiffs recover from Lindberg; Herwig; Solow; Miller; and Bostic, jointly

         and severally, damages and or equitable compensation of approximately $700 million,

         plus applicable interest (pursuant to section 10 of the Bermuda Interest and Credit

         Charges (Regulation) Act 1975 or otherwise);




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               (ii) Plaintiffs recover post-judgment interest (and/or alternatively, compound

         interest) from Lindberg; Herwig; Solow; Miller; and Bostic, jointly and severally;

              (iii) Declaring that the proceeds of any undisclosed and/or unauthorized profits

         made by the relevant fiduciaries in the capacities pled herein are held by Lindberg;

         Herwig; Solow; Miller; and Bostic as constructive trustees for the Debtors; and

               (iv) Directing an accounting of any undisclosed and/or unauthorized profits made

         by the relevant fiduciaries in the capacities pled herein.

        2216. On Count XV, Plaintiffs request that the Court enter Judgment and an Order:

                 (i) Declaring that the relevant transfers to the Debtor Investment Counterparties

         were entered into for a substantial improper purpose and in breach of the proper purpose

         duty;

               (ii) Directing all necessary accounts and enquiries, including but not limited to

         those necessary to follow, trace and identify the traceable proceeds of the Debtors’ assets

         received by Lindberg, the Lindberg Affiliates, the Debtor Investment Counterparties, and

         NCIC and held by Lindberg, the Lindberg Affiliates, the Debtor Investment

         Counterparties, and NCIC on constructive trust for the Debtors; and

              (iii) Declaring that they are for that reason, void; alternatively that they are voidable

         (and if voidable, an order setting aside those transactions as voidable).

        2217. On Count XVI, Plaintiffs request that the Court enter Judgment and an Order:

                 (i) Declaring that, to the extent alleged by the Plaintiffs herein, Lindberg was the

         agent or nominee of Global Growth and the Lindberg Affiliates in relation to Sham

         Transactions, such that Lindberg’s actions (and all liabilities and remedies associated

         therewith) may be attributed to Global Growth and the Lindberg Affiliates;


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               (ii) Declaring that, to the extent it differs from the declaration sought immediately

         above, the Court may disregard the separate legal personality of Lindberg, the Lindberg

         Affiliates, and Global Growth on the basis of the “concealment principle” for the

         purposes of determining the liability (and remedies associated therewith) of Lindberg,

         the Lindberg Affiliates, Global Growth, and other parties;

              (iii) Declaring that, to the extent that the purported purpose, substance and effect of

         Sham Transactions (as appearing on the face of the relevant transaction documents)

         differed from the purpose, substance and/or effect pled supra, the Sham Transactions

         were shams whose true effect was that more particularly alleged by the Plaintiffs herein.

               (iv) To the extent that, in consequence, any Sham Transaction is void or voidable,

         declaring the recipients of any money or assets of the Debtors transferred pursuant to

         such transactions to be constructive trustees of the same;

               (v) Ordering those recipients to restore those assets to the Debtors; and

               (vi) Ordering such accounts and enquiries as may be necessary.

        2218. On Count XVII, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Piercing the corporate veils of Global Growth and the Lindberg Affiliates to

         allow the Debtors, as creditors of and investors in the Debtor Investment Counterparties,

         to reach the assets of Global Growth and all of the Lindberg Affiliates.

        2219. On Count XVIII, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Piercing the corporate veils of the Debtor Investment Counterparties to allow

         the Debtors to reach the assets of the Lindberg Affiliates as subsequent transferees.

        2220. On Count XIX, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Imposing a constructive trust over the assets of Lindberg; and


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               (ii) Imposing a constructive trust over the assets of the Lindberg Affiliates as

         subsequent transferees.

        2221. On Count XX, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Substantively consolidating the assets and liabilities of the Debtors with the

         assets and liabilities of Global Growth, the Debtor Investment Counterparties and the

         other Lindberg Affiliates

        2222. On Count XXI, Plaintiffs request that the Court enter Judgment and an Order that:

                (i) Plaintiffs recover from Lindberg; Herwig; Solow; Miller; and Bostic, jointly

         and severally, damages of approximately $700 million, as well as treble damages;

               (ii) Plaintiffs recover post-judgment interest from Lindberg; Herwig; Solow;

         Miller; and Bostic, jointly and severally; and

              (iii) Plaintiffs recover punitive damages Lindberg; Herwig; Solow; Miller; and

         Bostic, jointly and severally.

        2223. On Count XXII, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Declaring that, to the extent Debtors do not achieve an affirmative recovery on

         their damage claims against NCIC, Debtors can apply the quantum of their damages to

         offset any liabilities any of the Debtors may owe to NCIC.

        2224. On Count XXIII, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Awarding damages in accordance with the terms of the applicable loan

         agreements (without modification by the MOU or IALA);

               (ii) Awarding interest at the default rate, late fees, costs and expenses as calculated,

         and attorneys’ fees, etc. as set forth in the loan agreement; and




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              (iii) Pursuant to N.C.G.S.A. § 6-21.2, awarding attorney fees in the amount of 15%

         of the damages awarded hereunder.

        2225. On Count XXIV, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Awarding damages in accordance with the terms of the applicable preferred

         equity agreements (without modification by the MOU or IALA); and

               (ii) Pursuant to N.C.G.S.A. § 6-21.2, awarding attorney fees in the amount of 15%

         of the damages awarded hereunder.

        2226. On Count XXV, Plaintiffs request that the Court enter Judgment and an Order:

                (i) For declaratory relief to void the acts of Lindberg, Herwig, CBL, and SNIC, in

         their respective capacity as agents for each Debtor, in purporting to amend and/or

         adversely affect the Debtors’ assets under the MOU and/or IALA.

        2227. On Count XXVI, Plaintiffs request that the Court enter Judgment and an Order

that:

                (i) Plaintiffs recover from CBL and SNIC, jointly and severally, damages in excess

         of $700 million, plus applicable interest;

               (ii) Plaintiffs recover post-judgment interest from CBL and SNIC, jointly and

         severally; and

              (iii) Plaintiffs recover punitive damages from CBL and SNIC, jointly and severally.

        2228. On Count XXVII, Plaintiffs request that the Court enter Judgment and an Order

that:

                (i) Plaintiffs recover from CBL and SNIC, jointly and severally, damages in excess

         of $700 million, plus applicable interest; and




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               (ii) Plaintiffs recover post-judgment interest from CBL and SNIC, jointly and

         severally.

        2229. On Count XXIII, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Granting a preliminary injunction, and then a permanent injunction, enjoining

         the NCIC and their respective representatives and agents, from continuing to pay lenders

         under the loan agreements other than proportionally as to all lenders to said agreement,

         including where applicable PBLA, Northstar, Omnia, and PBIHL; and

               (ii) To the extent any of the NCIC, as lender, received more than its proportional

         share of payment proceeds, directing the NCIC to disgorge said proceeds and hold said

         proceeds in constructive trust for the benefit of the Debtors.

        2230. On Count XXIX, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Granting a preliminary injunction, and then a permanent injunction, enjoining

         the NCIC and their respective representatives and agents, from implementing the MOU

         against the Debtors, Debtors’ Investments, or the Debtor Investment Counterparties to

         the extent not already prohibited by the automatic stay and the Recognition Orders.

        2231. On Count XXX, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Directing CBL and SNIC to provide the Plaintiffs an accounting of any and all

         activity concerning the Debtors’ loans and preferred equity investments where either

         CBL or SNIC acted as agent from September 20, 2017 to the present.

        2232. On Count XXXI, Plaintiffs request that the Court enter Judgment and an Order

that:

                (i) Plaintiffs recover from the NCIC, jointly and severally, damages in excess of

         $700 million, plus applicable interest;


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               (ii) Plaintiffs recover post-judgment interest from the NCIC, jointly and severally;

         and

               (iii) Plaintiffs recover punitive damages from the NCIC, jointly and severally.

        2233. On Count XXXII, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Declaring the Debtors hold a continuing beneficial ownership of the traceable

         proceeds of their assets, and that said proceeds be restored to the Debtors;

               (ii) Directing all necessary accounts and enquiries, including but not limited to

         those necessary to follow, trace and identify the traceable proceeds of the Debtors’ assets

         received by Lindberg, the Lindberg Affiliates, the Debtor Investment Counterparties, and

         NCIC and held by Lindberg, the Lindberg Affiliates, the Debtor Investment

         Counterparties, and NCIC on constructive trust for the Debtors;

               (iii) Directing that the traceable proceeds of the Debtors’ assets be paid and/or

         otherwise restored to the Debtors; and

               (iv) Subrogating and creating a new security interest in favor of the Debtors where

         and to the extent that the traceable proceeds of the Debtors’ assets have been used to pay

         off a secured loan.

        2234. On Count XXXIII, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Plaintiffs recover from Lindberg Affiliates and Debtor Investment

         Counterparties, jointly and severally, equitable compensation of approximately $700

         million (being the loss suffered by the Debtors) resulting from the breaches of fiduciary

         duty that any and all of the Lindberg Affiliates and Debtor Investment Counterparties

         dishonestly induced or assisted), plus compound and/or other applicable interest; and




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               (ii) Directing an accounting of profits of any and all of the Lindberg Affiliates and

         Debtor Investment Counterparties made through the dishonest assistance, and the

         disgorgement of said profits to the Plaintiffs.

        2235. On Count XXXIV, Plaintiffs request that the Court enter Judgment and an Order:

                (i) In an amount of the value of the Debtors’ assets received by Lindberg, together

         with any profits derived from the Debtors’ assets, or in the amount of the loss that the

         Debtors suffered as a consequence of the misappropriation of the Debtors’ assets, plus

         applicable interest;

               (ii) In an amount of the value of the Debtors’ assets received by the Lindberg

         Affiliates, together with any profits derived from the Debtors’ assets, or in the amount of

         the loss that the Debtors suffered as a consequence of the misappropriation of the

         Debtors’ assets, plus applicable interest; and

              (iii) In an amount of the value of the Debtors’ assets received by the Debtor

         Investment Counterparties, together with any profits derived from the Debtors assets, or

         in the amount of the loss that the Debtors suffered as a consequence of the

         misappropriation of the Debtors’ assets, plus applicable interest; and

               (iv) In an amount of the value of the Debtors’ assets received by the NCIC, together

         with any profits derived from the Debtors assets, or in the amount of the loss that the

         Debtors suffered as a consequence of the misappropriation of the Debtors’ assets, plus

         applicable interest.

        2236. On Count XXXV, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Against Lindberg, in an amount to be determined at trial;

               (ii) Against the Lindberg Affiliates, in an amount to be determined at trial;


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              (iii) Against the Debtor Investment Counterparties, in an amount to be determined

         at trial; and

               (iv) Against the NCIC, in an amount to be determined at trial, including pre- and

         post-judgment interest.

        2237. On Count XXXVI, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Against Lindberg, in an amount equivalent in value to the enrichment received;

               (ii) Against the Lindberg Affiliates, in an amount equivalent in value to the

         enrichment received;

              (iii) Against the Debtor Investment Counterparties, in an amount equivalent in value

         to the enrichment received; and

               (iv) Against the NCIC, in an amount equivalent in value to the enrichment received,

         plus interest pursuant to section 10 of the Bermuda Interest and Credit Charges

         (Regulation) Act 1975 and/or equitable interest.

        2238. On Count XXXVII, Plaintiffs request that the Court enter Judgment and an Order

that:

                (i) Declaring that such dividends and/or other distributions paid to Lindberg in

         breach of the Section 54 Prohibition are void;

               (ii) Directing Lindberg to repay the amount of the dividends and/or distribution in

         an amount to be determined at trial; and

              (iii) Declaring that the proceeds of any dividends and/or other distributions are held

         by Lindberg as constructive trustee for the Debtors.

        2239. On Count XXXVIII, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Declaring all disguised distributions to Lindberg are void;


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               (ii) Directing Lindberg to repay the amount of the unlawful distribution in an

         amount to be determined at trial;

              (iii) Declaring that the proceeds of any dividends and/or other distributions are held

         by Lindberg as constructive trustee for the Debtors or alternatively are held on resulting

         trust for the Debtors; and

               (iv) Directing Herwig to repay the amount of the unlawful distribution in an amount

         to be determined at trial, or alternatively to pay equitable compensation for a breach of

         his duty of care, skill and diligence by virtue of causing or allowing such distributions to

         be made in an amount to be determined at trial.

        2240. On Count XXXIX, Plaintiffs request that the Court enter Judgment and an Order:

                 (i) Declaring all such “corporate gifts” or equivalent dispositions to Lindberg are

         void;

               (ii) Directing Lindberg to repay the amount of such “corporate gifts” or equivalent

         dispositions in an amount to be determined at trial; and

              (iii) Declaring that the proceeds of any such “corporate gifts” or equivalent

         dispositions are held by Lindberg as constructive trustee for the Debtors or alternatively

         are held on resulting trust for the Debtors.

        2241. On Count XL, Plaintiffs request that the Court enter Judgment and an Order that:

                 (i) Plaintiffs recover from Lindberg and the Senior Decision Makers, jointly and

         severally, damages of approximately $700 million, plus applicable interest (pursuant to

         section 10 of the Bermuda Interest and Credit Charges (Regulation) Act 1975 or

         otherwise);




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               (ii) Plaintiffs recover post-judgment interest from Lindberg and the Senior

         Decision Makers, jointly and severally.

        2242. On Count XLI, Plaintiffs request that the Court enter Judgment and an Order that:

                (i) Plaintiffs recover from Lindberg; the Senior Decision Makers; and Lindberg

         Affiliates, jointly and severally, damages of approximately $700 million, plus applicable

         interest (pursuant to section 10 of the Bermuda Interest and Credit Charges (Regulation)

         Act 1975 or otherwise); and

               (ii) Plaintiffs recover post-judgment interest from Lindberg; the Senior Decision

         Makers; and Lindberg Affiliates, jointly and severally.

        2243. On Count XLII, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Declaring that PBLA retains ownership rights and interests with respect to

         PLIC MI; and

               (ii) Directing Axar to repay PBLA for its ownership interest in PLIC MI in an

         amount to be determined at trial.

        2244. On Count XLIII, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Awarding Plaintiffs monetary damages in an amount to be proven at trial,

         inclusive of pre-judgment interest and all costs recoverable;

               (ii) Awarding Plaintiffs all civil remedies authorized by 18 U.S.C. § 1964(c),

         including, without limitation, treble damages, reasonable prevailing party attorneys’ fees,

         and investigative costs arising from and relating to the prosecution of these claims; and

              (iii) Granting to and for the benefit of Plaintiffs equitable relief pursuant to

         18 U.S.C. § 1964(a) from or against the RICO Defendants, including ordering each RICO

         Defendant to: (a) divest any interest or property they hold or control, directly or


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         indirectly, in the racketeering Enterprise or as a consequence of the racketeering

         Enterprise, and convey all such divested interest or property to or for the benefit of the

         Plaintiffs as the Court determines same to be just and equitable; (b) dissolve or reorganize

         the racketeering Enterprise and its constituent entities and property, making due

         provision for the rights of innocent persons; (c) appoint and authorize a receiver, trustee,

         or similar fiduciary to administer anything divested, dissolved, or reorganized in

         connection with the Judgment for the benefit of the Plaintiffs and the best interests of the

         involved policyholders and similar stakeholders; and (d) permanently enjoining all RICO

         Defendants found liable from engaging in the type or manner of activities connected with

         or relating to the racketeering Enterprise.

        2245. On Count XLIV, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Awarding Plaintiffs monetary damages in an amount to be proven at trial,

         inclusive of pre-judgment interest and all costs recoverable;

               (ii) Awarding Plaintiffs all civil remedies authorized by 18 U.S.C. § 1964(c),

         including, without limitation, treble damages, reasonable prevailing party attorneys’ fees,

         and investigative costs arising from and relating to the prosecution of these claims; and

              (iii) Granting to and for the benefit of Plaintiffs equitable relief pursuant to

         18 U.S.C. § 1964(a) from or against the RICO Defendants, including ordering each RICO

         Defendant to: (a) divest any interest or property they hold or control, directly or

         indirectly, in the racketeering Enterprise or as a consequence of the racketeering

         Enterprise, and convey all such divested interest or property to or for the benefit of the

         Plaintiffs as the Court determines same to be just and equitable; (b) dissolve or reorganize

         the racketeering Enterprise and its constituent entities and property, making due


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         provision for the rights of innocent persons; (c) appoint and authorize a receiver, trustee,

         or similar fiduciary to administer anything divested, dissolved, or reorganized in

         connection with the Judgment for the benefit of the Plaintiffs and the best interests of the

         involved policyholders and similar stakeholders; and (d) permanently enjoining all RICO

         Defendants found liable from engaging in the type or manner of activities connected with

         or relating to the racketeering Enterprise.

        2246. On Count XLV, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Awarding Plaintiffs monetary damages in an amount to be proven at trial,

         inclusive of pre-judgment interest and all costs recoverable;

               (ii) Awarding Plaintiffs all civil remedies authorized by 18 U.S.C. § 1964(c),

         including, without limitation, treble damages, reasonable prevailing party attorneys’ fees,

         and investigative costs arising from and relating to the prosecution of these claims; and

              (iii) Granting to and for the benefit of Plaintiffs equitable relief pursuant to

         18 U.S.C. § 1964(a) from or against the RICO Defendants, including ordering each RICO

         Defendant to: (a) divest any interest or property they hold or control, directly or

         indirectly, in the racketeering Enterprise or as a consequence of the racketeering

         Enterprise, and convey all such divested interest or property to or for the benefit of the

         Plaintiffs as the Court determines same to be just and equitable; (b) dissolve or reorganize

         the racketeering Enterprise and its constituent entities and property, making due

         provision for the rights of innocent persons; (c) appoint and authorize a receiver, trustee,

         or similar fiduciary to administer anything divested, dissolved, or reorganized in

         connection with the Judgment for the benefit of the Plaintiffs and the best interests of the

         involved policyholders and similar stakeholders; and (d) permanently enjoining all RICO


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         Defendants found liable from engaging in the type or manner of activities connected with

         or relating to the racketeering Enterprise.

        2247. On Count XLVI, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Awarding Plaintiffs monetary damages in an amount to be proven at trial,

         inclusive of pre-judgment interest and all costs recoverable;

               (ii) Awarding Plaintiffs all civil remedies authorized by 18 U.S.C. § 1964(c),

         including, without limitation, treble damages, reasonable prevailing party attorneys’ fees,

         and investigative costs arising from and relating to the prosecution of these claims; and

              (iii) Granting to and for the benefit of Plaintiffs equitable relief pursuant to

         18 U.S.C. § 1964(a) from or against the RICO Defendants, including ordering each RICO

         Defendant to: (a) divest any interest or property they hold or control, directly or

         indirectly, in the racketeering Enterprise or as a consequence of the racketeering

         Enterprise, and convey all such divested interest or property to or for the benefit of the

         Plaintiffs as the Court determines same to be just and equitable; (b) dissolve or reorganize

         the racketeering Enterprise and its constituent entities and property, making due

         provision for the rights of innocent persons; (c) appoint and authorize a receiver, trustee,

         or similar fiduciary to administer anything divested, dissolved, or reorganized in

         connection with the Judgment for the benefit of the Plaintiffs and the best interests of the

         involved policyholders and similar stakeholders; and (d) permanently enjoining all RICO

         Defendants found liable from engaging in the type or manner of activities connected with

         or relating to the racketeering Enterprise.




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        2248. On Count XLVII, Plaintiffs request that the Court enter Judgment and an Order:

                (i) Awarding Plaintiffs monetary damages in an amount to be proven at trial,

         inclusive of pre-judgment interest and all costs recoverable;

               (ii) Awarding Plaintiffs all civil remedies authorized by N.C. Gen. Stat. § 75D-8(c),

         including, without limitation, treble damages, reasonable prevailing party attorneys’ fees,

         and investigative costs arising from and relating to the prosecution of these claims to the

         extent authorized or allowed pursuant to North Carolina law; and

              (iii) Granting to and for the benefit of Plaintiffs equitable relief pursuant to N.C.

         Gen. Stat. § 75D-8(a) from or against the RICO Defendants, including ordering each

         RICO Defendant to: (a) divest any interest or property they hold or control, directly or

         indirectly, in the racketeering Enterprise or as a consequence of the racketeering

         Enterprise, and convey all such divested interest or property to or for the benefit of the

         Plaintiffs as the Court determines same to be just and equitable; (b) dissolve or reorganize

         the racketeering Enterprise and its constituent entities and property, making due

         provision for the rights of innocent persons; (c) appoint and authorize a receiver, trustee,

         or similar fiduciary to administer anything divested, dissolved, or reorganized in

         connection with the Judgment for the benefit of the Plaintiffs and the best interests of the

         involved policyholders and similar stakeholders; and (d) permanently enjoining all RICO

         Defendants found liable from engaging in the type or manner of activities connected with

         or relating to the racketeering Enterprise.




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Dated: February 13, 2024
       New York, New York

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